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        EXHIBIT C
     PUBLIC REDACTED
         VERSION
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 8                                UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                           SAN JOSE DIVISION
11

12   APPLE INC., a California corporation,                Case No.11-cv-01846-LHK
13                         Plaintiff,                     EXPERT REPORT OF TERRY L.
             v.                                           MUSIKA, CPA
14
     SAMSUNG ELECTRONICS CO., LTD., a
15   Korean business entity; SAMSUNG
     ELECTRONICS AMERICA, INC., a New York
16   corporation; SAMSUNG
     TELECOMMUNICATIONS AMERICA, LLC, a
17   Delaware limited liability company,
18
                           Defendants.
19

20

21

22

23

24                                  SUBJECT TO PROTECTIVE ORDER
25                       HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
26

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28
     EXPERT REPORT OF TERRY L. MUSIKA, CPA
     Case No. 11-cv-01846-LHK
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 1
                                                           APPLE INC.
 2
                                                               V.
 3
                 SAMSUNG ELECTRONICS CO., LTD., SAMSUNG ELECTRONICS AMERICA,
 4
                      INC., AND SAMSUNG TELECOMMUNICATIONS AMERICA, LLC
 5

 6
                                           EXPERT WITNESS REPORT OF
 7
                                                TERRY L. MUSIKA, CPA
 8

 9
          A. QUALIFICATIONS
10
     1.    I am a CPA with over 37 years of business experience. I am a former audit and consulting partner for
11
           the    international   accounting   firm   of    Coopers   &   Lybrand   which   is   today   named
12
           PricewaterhouseCoopers, former Managing Director for Navigant Consulting, Inc. and have
13
           previously formed, owned and operated a proprietary database company, two national financial and
14
           economic consulting firms, and a merger and acquisition company. Additionally, I have frequently
15
           served the Federal Court system as a Court Appointed Chapter 11 Operating Trustee, Liquidating
16
           Chapter 7 Trustee, Operating Chapter 7 Trustee, Examiner, and Paying Agent. My resume, attached
17
           as Exhibit 1, lists my work experience, academic degrees, and publications.
18
     2.    My business address is 1637 Thames Street, Baltimore, Maryland 21231.
19
     3.    During the past 37 years I have provided expert testimony in over 200 separate proceedings before 47
20
           different Federal District Courts throughout the U.S., nine separate state courts, numerous
21
           proceedings before the U.S. Court of Federal Claims, four separate U.S. Bankruptcy Courts,
22
           numerous arbitration matters and the United States International Trade Commission. I was accepted
23
           as a designated expert in all cases. Exhibit 2 lists the cases in which I have testified as an expert
24
           witness in deposition and at trial from 2007 to the present.
25
     B.    ASSIGNMENT
26
     4.    In the matter of Apple Inc. v. Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., and
27
           Samsung Telecommunications America, LLC, I have been asked by counsel for Apple Inc. (“Apple”)
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1            to determine the amount of damages as well as address the irreparable harm that result from the

 2            assumed infringement of Apple’s asserted U.S. utility patents, U.S. design patents, U.S. trademark

 3            registrations/applications, and U.S. trade dress registrations/applications by Samsung Electronics Co.,

 4            Ltd., Samsung Electronics America, Inc. and Samsung Telecommunications America, LLC

 5            (collectively, “Samsung”) as identified in Apple’s Amended Complaint. 1            Apple’s intellectual

 6            property described above and identified in detail below is collectively referred to herein as the “Apple

 7            Intellectual Property In Suit.” The 32 Samsung products which Apple asserts infringe the Apple

 8            Intellectual Property In Suit (“Samsung Accused Products”) are identified on Exhibit 4.

 9   5.       I am prepared to explain my opinions in testimony at deposition and at trial.

10   C.       DATA AND OTHER INFORMATION CONSIDERED

11   6.       In arriving at the testimony outlined below, I have based my opinions on my expertise in accounting,

12            auditing, financial and damage analysis, independent research of publicly-available information, and

13            my review of various documents and pleadings produced thus far by both the Plaintiff and the

14            Defendants. I considered the documents identified in Exhibit 3 to this report in forming the opinions

15            expressed in this report.

16   7.       In addition, I discussed this matter with the following Apple representatives:

17                    x    Mark Buckley, Financial Analyst V 2

18                    x    Rory Sexton, Vice President of Supply Demand Management

19                    x    Anuj Saigal, Director of Supply Demand Management

20                    x    Elisa De Martel, Senior Manager of Worldwide FP&A

21                    x    Tang Tan, Senior Director iPhone Product Design

22                    x    Henri Lamiraux, Vice President of Engineering for iOS

23                    x    Steve Hotelling, Senior Director Touch Sensitive Hardware

24                    x    Boris Teksler, Director, Patent Licensing & Strategy

25   8.       I have considered and evaluated the reliability of the underlying data and the degree to which my

26            assumptions are supported by the record. The techniques I used to calculate damages are generally

27    1
          Apple Inc. Amended Complaint dated June 16, 2011, pp.7 9, 16 17, and 21 24.
      2
          Deposition of Mark Buckley, February 23, 2012, p. 33.
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
      Case No. 11-cv-01846-LHK                                                                                      2
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 1           accepted within and reliable according to the standards of my profession, and are sufficiently

 2           explained and disclosed to permit a review of my work.

 3   D.      APPLE’S UTILITY PATENTS

 4   9.      It is my understanding that Samsung is accused of infringing the following U.S. utility patents:

 5   10.     U.S. Patent No. 6,493,002 (“the ‘002 Patent”) covers, for example, a system that generates and

 6           displays a window region (e.g., a status bar) having multiple display areas that are associated with

 7           independent programming modules. These modules may provide status information. 3

 8   11.     U.S. Patent No. 7,469,381 (“the ‘381 Patent”) covers, for example, a method, on a device with a

 9           touch screen display, for displaying an electronic document and translating the document in response

10           to object movement detected on the display (e.g., a finger gesture). When the document is translated

11           in a direction that causes an edge of the document to be reached, an area beyond the edge is

12           displayed. The ‘381 Patent discloses that this provides a visual indicator to a user that one or more

13           edges of an electronic document are being displayed.        When the device no longer detects the

14           movement of the object, the document is translated back so that the area beyond the edge is no longer

15           displayed. 4 This effect, sometimes referred to as a “bounce” effect, is commonly associated with

16           Apple products.

17   12.     U.S. Patent No. 7,663,607 (“the ‘607 Patent”) covers, for example, a touch panel capable of detecting

18           multiple touches that occur at or near the same time at distinct locations on the panel. The touch

19           panel has a transparent capacitive sensing medium that includes a first layer having multiple

20           conductive lines and a second layer, spatially separated from the first layer, having multiple

21           conductive lines arranged at right angles from the conductive lines of the first layer. The touch panel

22           also includes capacitive monitory circuitry to detect changes in charge coupling between the

23           conductive lines of the first and second layers. 5

24   13.     U.S. Patent No. 7,844,915 (“the ‘915 Patent”) covers, for example, a method for scrolling on a touch-

25           sensitive display of a device and for distinguishing between scrolling and other actions. The method

26
     3
       Apple Inc. Amended Complaint dated June 16, 2011, Exhibit 2.
27   4
       Apple Inc. Amended Complaint dated June 16, 2011, Exhibit 3.
     5
       Apple Inc. Amended Complaint dated June 16, 2011, Exhibit 6.
28
         EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1           includes creating an event object in response to receiving a user input on the display and determining

 2           whether the event object invokes a scroll (e.g., a window scroll) or a gesture operation (e.g., scaling

 3           the view) by distinguishing between a single input point (interpreted as a scroll operation) or two or

 4           more input points (interpreted as a gesture operation). 6 These actions, viewed by users as involving

 5           actions such as scrolling, pinching and zooming, are commonly associated with Apple products.

 6   14.     U.S. Patent No. 7,853,891 (“the ‘891 Patent”) covers, for example, a method to display a user

 7           interface window for a digital processing system. The method includes displaying a window that

 8           closes after a timer expires and in some embodiments does not close in response to any inputs from a

 9           user input device of the system. In some embodiments, the window is translucent. The ‘891 Patent

10           discloses that the window may be a volume window, for example. 7

11   15.     U.S. Patent No. 7,864,163 (“the ‘163 Patent”) covers, for example, a method for displaying and

12           manipulating a structured electronic document (e.g., an HTML web page) on a device with a touch

13           screen display. The method includes enlarging and translating the document to substantially center a

14           first box of the document based on detecting a first touch gesture at the first box’s location and then

15           translating the document so that a second box is substantially centered based on detecting a second

16           touch gesture at the second box’s location. The patent also claims various other touches and gestures

17           for restoring a web page to its original size, matching a page width to the display width, rotating a

18           web page in portrait and landscape modes, and translating and scaling pages using swipes and

19           gestures. 8

20   16.     U.S. Patent No. 7,920,129 (“the ‘129 Patent”) covers, for example, a capacitive touch sensor panel

21           that includes a first set of conductive traces and a second set of conductive traces spatially separated

22           from the first set of traces. The minimum width of the second set of traces is substantially greater

23           than the maximum width of the first set of traces at least at an intersection of the first and second set

24           of traces. This width difference provides shielding for the first set of traces. 9

25   17.     See Exhibit 5 for a summary of Apple’s utility patents asserted in this case.

26   6
       Apple Inc. Amended Complaint dated June 16, 2011, Exhibit 4.
     7
       Apple Inc. Amended Complaint dated June 16, 2011, Exhibit 5.
27   8
       Apple Inc. Amended Complaint dated June 16, 2011, Exhibit 7.
     9
       Apple Inc. Amended Complaint dated June 16, 2011, Exhibit 8.
28
         EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1   E.    APPLE’S DESIGN PATENTS

 2   18.   It is my understanding that Samsung is accused of infringing the following U.S. design patents:

 3                x    U.S. Patent No. D627,790 (“the D’790 Patent”)

 4                x    U.S. Patent No. D617,334 (“the D’334 Patent”

 5                x    U.S. Patent No. D604,305 (“’the D’305 Patent”)

 6                x    U.S. Patent No. D618,677 (“the D’677 Patent”)

 7                x    U.S. Patent No. D504,889 (“the D’889 Patent”)

 8                x    U.S. Patent No. D593,087 (“the D’087 Patent”)

 9                x    U.S. Patent No. D622,270 (“the D’270 Patent”)

10   19.   See Exhibit 6 for a summary of Apple’s seven design patents asserted in this case.

11   F.    APPLE’S TRADE DRESS REGISTRATIONS

12   20.   It is my understanding that Samsung is accused of infringing the following U.S. trade dress

13         registrations:

14   21.   The trade dress shown in U.S. Registration No. 3,470,983 is described as follows: “The color(s)

15         black, blue, brown, brown-gray, gray-green, green, orange, red, silver, tan, white and yellow is/are

16         claimed as a feature of the mark. The mark consists of the configuration of a rectangular handheld

17         mobile digital electronic device with rounded silver edges, a black face, and an array of 16 square

18         icons with rounded edges. The top 12 icons appear on a black background, and the bottom 4 appear

19         on a silver background. The first icon depicts the letters “SMS” in green inside a white speech bubble

20         on a green background; the second icon is white with a thin red stripe at the top; the third icon depicts

21         a sunflower with yellow petals, a brown center, and a green stem in front of a blue sky; the fourth

22         icon depicts a camera lens with a black barrel and blue glass on a silver background; the fifth icon

23         depicts a tan television console with brown knobs and a gray-green screen; the sixth icon depicts a

24         white graph line on a blue background; the seventh icon depicts a map with yellow and orange roads,

25         a pin with a red head, and a red-and- blue road sign with the numeral “280” in white; the eighth icon

26         depicts an orange sun on a blue background, with the temperature in white; the ninth icon depicts a

27         white clock with black and red hands and numerals on a black background; the tenth icon depicts

28         three brown-gray circles and one orange circle on a black background with a white border, with the
     EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1         mathematical symbols for addition, subtraction, multiplication, and the equal sign displayed in white

 2         on the circles; the eleventh icon depicts a portion of a yellow notepad with blue and red ruling, with

 3         brown binding at the top; the twelfth icon depicts three silver gears over a thatched black-and-silver

 4         background; the thirteenth icon depicts a white telephone receiver against a green background; the

 5         fourteenth icon depicts a white envelope over a blue sky with white clouds; the fifteenth icon depicts

 6         a white compass with a white- and-red needle over a blue map; the sixteenth icon depicts the

 7         distinctive configuration of applicant’s media player device in white over an orange background.” 10

 8   22.   The trade dress shown in U.S. Registration No. 3,457,218 is described as follows: “Color is not

 9         claimed as a feature of the mark. The mark consists of the configuration of a rectangular handheld

10         mobile digital electronic device with rounded corners.” 11

11   23.   The trade dress shown in U.S. Registration No. 3,475,327 is described as follows: “The color(s) gray,

12         silver and black is/are claimed as a feature of the mark. The mark consists of the configuration of a

13         handheld mobile digital electronic device. The material shown in dotted lines, namely, the buttons

14         and openings on the device show the position of the mark in relation to the device and are not

15         considered a part of the mark. The color gray appears as a rectangle at the front, center of the device.

16         The color black appears on the front of the device above and below the gray rectangle and on the

17         curved corners of the device. The color silver appears as the outer border and sides of the device.

18         The color white is shown solely to identify placement of the mark and is not claimed as a part of the

19         mark.” 12

20   24.   See Exhibit 7 for a summary of the registered trade dresses asserted in this case.

21   G.    APPLE’S UNREGISTERED TRADE DRESS

22   25.   The following elements of Apple’s product designs comprise the “Original iPhone Trade Dress” at

23         issue in this case:

24         x   a rectangular product with four evenly rounded corners;

25         x   a flat clear surface covering the front of the product;

26
     10
        Apple Inc. Amended Complaint dated June 16, 2011, Exhibit 16.
27   11
        Apple Inc. Amended Complaint dated June 16, 2011, Exhibit 17.
     12
        Apple Inc. Amended Complaint dated June 16, 2011, Exhibit 18.
28
     EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1         x    the appearance of a metallic bezel around the flat clear surface;

 2         x    a display screen under the clear surface;

 3         x    under the clear surface, substantial black borders above and below the display screen and narrower

 4              black borders on either side of the screen;

 5         x    when the device is on, a matrix of colorful square icons with evenly rounded corners within the

 6              display screen; and

 7         x    when the device is on, a bottom dock of colorful square icons with evenly rounded corners set off

 8              from the other icons on the display, which does not change as other pages of the user interface are

 9              viewed. 13

10   26.    The following elements of Apple’s product designs comprise the “iPhone 3G Trade Dress” at issue in

11          this case:

12         x    a rectangular product with four evenly rounded corners;

13         x    a flat clear surface covering the front of the product;

14         x    the appearance of a metallic bezel around the flat clear surface;

15         x    a display screen under the clear surface;

16         x    under the clear surface, substantial black borders above and below the display screen and narrower

17              black borders on either side of the screen;

18         x    when the device is on, a row of small dots on the display screen;

19         x    when the device is on, a matrix of colorful square icons with evenly rounded corners within the

20              display screen; and

21         x    when the device is on, a bottom dock of colorful square icons with evenly rounded corners set off

22              from the other icons on the display, which does not change as other pages of the user interface are

23              viewed. 14

24   27.    The following elements of Apple’s product designs comprise the “iPhone 4 Trade Dress” at issue in

25          this case:

26         x    a rectangular product with four evenly rounded corners;

27   13
       Apple Inc. Amended Complaint dated June 16, 2011, p. 17, ¶ 57.
     14
       Apple Inc. Amended Complaint dated June 16, 2011, pp. 18 19, ¶ 59.
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1         x    a flat clear surface covering the front of the product;

 2         x    a display screen under the clear surface;

 3         x    under the clear surface, substantial neutral (black or white) borders above and below the display

 4              screen and narrower black borders on either side of the screen;

 5         x    a thin metallic band around the outside edge of the phone;

 6         x    when the device is on, a row of small dots on the display screen;

 7         x    when the device is on, a matrix of colorful square icons with evenly rounded corners within the

 8              display screen; and

 9         x    when the device is on, a bottom dock of colorful square icons with evenly rounded corners set off

10              from the other icons on the display, which does not change as other pages of the user interface are

11              viewed. 15

12   28.    The following elements of Apple’s product designs comprise the “iPhone Trade Dress” at issue in

13          this case:

14         x    a rectangular product with four evenly rounded corners;

15         x    a flat clear surface covering the front of the product;

16         x    a display screen under the clear surface;

17         x    under the clear surface, substantial black borders above and below the display screen and narrower

18              black borders on either side of the screen;

19         x    when the device is on, a matrix of colorful square icons with evenly rounded corners within the

20              display screen; and

21         x    when the device is on, a bottom dock of colorful square icons with evenly rounded corners set off

22              from the other icons on the display, which does not change as other pages of the user interface are

23              viewed. 16

24   29.    The following elements of Apple’s product designs comprise the “iPad Trade Dress” at issue in this

25          case:

26         x    a rectangular product with four evenly rounded corners;

27   15
       Apple Inc. Amended Complaint dated June 16, 2011, p. 19, ¶ 61.
     16
       Apple Inc. Amended Complaint dated June 16, 2011, pp. 19 20, ¶ 63.
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1         x   a flat clear surface covering the front of the product;

 2         x   the appearance of a metallic rim around the flat clear surface;

 3         x   a display screen under the clear surface;

 4         x   under the clear surface, substantial neutral (black or white) borders on all sides of the display

 5             screen; and

 6         x   when the device is on, a matrix of colorful square icons with evenly rounded corners within the

 7             display screen.17

 8   30.    The following elements of Apple’s product designs comprise the “iPad 2 Trade Dress” at issue in this

 9          case:

10         x   a rectangular product with four evenly rounded corners;

11         x   a flat clear surface covering the front of the product;

12         x   the appearance of a metallic rim around the flat clear surface;

13         x   a display screen under the clear surface;

14         x   under the clear surface, substantial neutral (black or white) borders on all sides of the display

15             screen; and

16         x   when the device is on, a matrix of colorful square icons with evenly rounded corners within the

17             display screen.18

18   31.    See Exhibit 8 for a summary of the common law trade dresses asserted in this case.

19   H.     APPLE’S TRADEMARK REGISTRATIONS

20   32.    It is my understanding that Samsung is accused of infringing the icon trademark in the following U.S.

21          trademark registrations:

22   33.    The mark in U.S. Registration No. 3,886,196 is described as follows: “The color(s) green, light green,

23          dark green and white is/are claimed as a feature of the mark. The mark consists of a rectangle with

24          rounded corners depicting a stylized white telephone receiver against a striped green and dark green

25          background. A shade of light green covers the upper half of the rectangle design.” 19

26
      17
         Apple Inc. Amended Complaint dated June 16, 2011, p. 20, ¶ 65.
27    18
         Apple Inc. Amended Complaint dated June 16, 2011, pp. 20 21, ¶ 67.
      19
         Apple Inc. Amended Complaint dated June 16, 2011, Exhibit 23.
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1   34.   The mark in U.S. Registration No. 3,889,642 is described as follows: “The color(s) green, dark green

 2         and light green is/are claimed as a feature of the mark. The mark consists of a rectangle with rounded

 3         corners depicting a stylized speech bubble on a diagonal striped background. The color white

 4         appears in the speech bubble design; the colors green and dark green appear in the diagonal stripes in

 5         the background of the rectangle design; and the color light green appears in the upper half of the

 6         rectangle design.” 20

 7   35.   The mark in U.S. Registration No. 3,886,200 is described as follows: “The color(s) yellow, blue,

 8         green, brown, black, gray and white is/are claimed as a feature of the mark. The mark consists of a

 9         gray, white, and blue rectangle with rounded corners depicting a stylized flower in the colors green,

10         yellow, brown, black, white and gray.” 21

11   36.   The mark in U.S. Registration No. 3,889,685 is described as follows: “The color(s) gray, white,

12         silver and black is/are claimed as a feature of the mark. The mark consists of partial images of three

13         gears shown in gray, white and silver, on a background of gray with black dots, all contained within a

14         rectangular grey and white frame with rounded corners.” 22

15   37.   The mark in U.S. Registration No. 3,886,169is described as follows: “The color(s) yellow, brown

16         and gray is/are claimed as a feature of the mark. The mark consists of a rectangle with rounded

17         corners depicting a stylized cross section of a page of notebook paper. The color yellow appears in

18         the notebook paper; the color brown appears at the top above the notebook paper and in the vertical

19         lines on the left side of the notebook paper; and the color gray appears in the horizontal lines across

20         the notebook paper.” 23

21   38.   The mark in U.S. Registration No. 3,886,197is described as follows: “The color(s) brown, white and

22         gray is/are claimed as a feature of the mark. The mark consists of a brown rectangle with rounded

23         corners depicting a stylized wire-bound book with the silhouette of a man in the middle. The wire

24

25

26    20
         Apple Inc. Amended Complaint dated June 16, 2011, Exhibit 24.
      21
         Apple Inc. Amended Complaint dated June 16, 2011, Exhibit 25.
27    22
         Apple Inc. Amended Complaint dated June 16, 2011, Exhibit 26
      23
         Apple Inc. Amended Complaint dated June 16, 2011, Exhibit 27.
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1          binding appears in white and gray. There are brown tabs on the right of the book with the letters

 2          ‘ABCDEF’ in gray and white.” 24

 3   39.    The mark in U.S. Registration No. 2,935,038is described as follows: “The mark consists of a design

 4          of a compact disc with two musical notes.” 25

 5   40.    See Exhibit 9 for a summary of registered trademarks asserted in this case.

 6   I.     APPLE’S UNREGISTERED TRADEMARK

 7   41.    Apple also asserts an icon with a purple background color with a circle and a silhouette of two white

 8          eighth notes within the white circle (the “Purple iTunes Store Trademark”). This mark is shown in

 9          pending U.S. Application No. 85/041,463.26

10   42.    See Exhibit 8 for a summary of the unregistered trademark asserted in this case

11   J.     APPLE INC.

12   43.    Apple Inc. is a California corporation which was established in 1977 and is headquartered in

13          Cupertino, California.27 The company is traded on the NASDAQ Global Select Market under the

14          symbol AAPL. 28 From its inception, innovation has been at the core of Apple’s existence. Steve

15          Jobs’ uncompromising focus on innovation and the pursuit of a unique corporate design has resulted

16          in the development of Apple’s entire ecosystem of products.          Apple’s Form 10-K states, “The

17          Company’s overall business strategy is to control the design and development of the hardware and

18          software for all of its products, including the personal computer, mobile communications and

19          consumer electronics devices. The Company’s business strategy leverages its unique ability to design

20          and develop its own operating system, hardware, application software, and services to provide its

21          customers new products and solutions with superior ease-of-use, seamless integration, and innovative

22          industrial design.” 29

23   44.    Apple “designs, manufactures and markets mobile communication and media devices, personal

24          computers, and portable digital music players, and sells a variety of related software, services,

25
      24
         Apple Inc. Amended Complaint dated June 16, 2011, Exhibit 28.
      25
26       Apple Inc. Amended Complaint dated June 16, 2011, Exhibit 30.
      26
         Apple Inc. Amended Complaint dated June 16, 2011, p.23, ¶ 77, Ex. 29.
      27
         Apple Inc. Form 10 K, fiscal year ended 9/24/11, pp. 1 and 20.
27    28
         Apple Inc. Form 10 K, fiscal year ended 9/24/11, p. 22.
      29
         Apple Inc. Amended Form 10 K, fiscal year ended 9/26/09, p. 4.
28
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 1         peripherals, networking solutions, and third-party digital content and applications.” 30 Apple’s direct

 2         involvement in the design and manufacture of both the hardware and the operating software

 3         distinguishes Apple from other market competitors that are only directly involved with the design and

 4         manufacture of hardware or the operating software but not both. Apple’s enhanced control of the

 5         design and manufacturing process of its entire product offering allows Apple to incorporate a highly

 6         integrated and reinforcing relationship between the method of operation and appearance of the

 7         various products within the Apple ecosystem. The company’s “products and services include iPhone,

 8         iPad, Mac, iPod, Apple TV, a portfolio of consumer and professional software applications, the iOS

 9         and Mac OS X operating systems, iCloud, and a variety of accessory, service and support offerings.

10         The Company also sells and delivers digital content and applications through the iTunes Store, App

11         Store, iBookstore, and Mac App Store. The Company sells its products worldwide through its retail

12         stores, online stores, and direct sales force, as well as through third-party cellular network carriers,

13         wholesalers, retailers, and value-added resellers. In addition, the Company sells a variety of third-

14         party iPhone, iPad, Mac and iPod compatible products, including application software, printers,

15         storage devices, speakers, headphones, and various other accessories and peripherals, through its

16         online and retail stores.” 31

17   45.   Apple’s worldwide sales in fiscal year 2011 were $108 billion, an increase of 66% over the prior

18         year. iPhone and iPad sales made up $47.1 billion and $20.4 billion, respectively, of Apple’s total

19         sales. 32 Combined, the two products represented approximately 62.5% of Apple’s 2011 fiscal year

20         sales. As of December 31, 2011, Apple records show that it had sold a cumulative 238 million

21         iPhone and iPad devices; approximately 91 million units were sold in the United States.33

22         iPhone

23   46.   Apple first introduced its iPhone on January 9, 2007 and began selling it on June 29, 2007.34 At the

24
      30
         Apple Inc. Form 10 K, fiscal year ended 9/24/11, p. 1.
25    31
         Apple Inc. Form 10 K, fiscal year ended 9/24/11, p. 1.
      32
         Apple Inc. Form 10 K, fiscal year ended 9/24/11, p. 30.
      33
26       GAAP Line of Business Report, iPad (APL794 F0000008233 to APL794 F0000008236); GAAP Line of Business Report,
      iPhone (APL794 F0000008237 to APL794 F0000008240); Apple Billings Report (US) iPod Touch and iPad, Q4 FY07 through
      Q1 FY12 (APLNDC Y0000051605); Apple Billings Report (US) iPhone, Q3 FY07 through Q1 FY12 (APLNDC
27    Y0000051362).
      34
         Apple Inc. Press Release, 1/9/07 (http://www.apple.com/pr/library/2007/01/09Apple Reinvents the Phone with iPhone.html).
28                                                                                           (Footnote continues on next page.)
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 1         product launch, Steve Jobs described the iPhone as “a revolutionary and magical product that is

 2         literally five years ahead of any other mobile phone.” 35 At the time, Apple stated the following

 3         regarding its newest product:

 4         “iPhone introduces an entirely new user interface based on a revolutionary multi-touch display and

 5         pioneering new software that allows users to control iPhone with just a tap, flick or pinch of their

 6         fingers. iPhone combines three products into one small and lightweight handheld device—a

 7         revolutionary mobile phone, a widescreen iPod®, and the Internet in your pocket with best-ever

 8         applications on a mobile phone for email, web browsing and maps. iPhone ushers in an era of

 9         software power and sophistication never before seen in a mobile device, which completely redefines

10         what users can do on their mobile phones.” 36

11   47.   As summarized below, between June 2007 and October 2011 Apple released four updated models of

12         its iPhone:
                      Pr oduct                       Release Date                         Car r ier
13                            37
                     iPhone                            06/29/07                           AT&T
14                   iPhone 3G     38
                                                       07/11/08                           AT&T
                                    39
15                   iPhone 3GS                        06/09/09                       AT&T
                                                       06/24/10                       AT&T
                     iPhone 4 40
16                                                     02/03/11                      Verizon
                     iPhone 4S 41                      10/14/11                AT&T, Verizon & Sprint
17

18

19
      (Footnote continued from previous page.)
20
       Apple Inc. Press Release, 6/28/07 (http://www.apple.com/pr/library/2007/06/28iPhone Premieres This Friday Night at Apple
      Retail Stores.html).
21    35
         Apple Inc. Press Release, 1/9/07 (http://www.apple.com/pr/library/2007/01/09Apple Reinvents the Phone with iPhone.html).
      36
         Apple Inc. Press Release, 6/28/07 (http://www.apple.com/pr/library/2007/06/28iPhone Premieres This Friday Night at Apple
22    Retail Stores.html).
      37
         Apple Inc. Press Release, 6/28/07
23    (http://www.apple.com/pr/library/2007/06/28iPhone Premieres This Friday Night at Apple Retail Stores.html).
      38
         Apple Inc. Press Release, 7/10/08
       (http://www.apple.com/pr/library/2008/07/10iPhone 3G on Sale Tomorrow.html).
24    39
         Apple Inc. Press Release, 6/8/09
      (http://www.apple.com/pr/library/2009/06/08Apple Announces the New iPhone 3GS The Fastest Most Powerful iPhone
25    Yet.html).
      40
         Apple Inc. Press Release, 6/7/10
26    (http://www.apple.com/pr/library/2010/06/07Apple Presents iPhone 4.html); Apple Inc. Press Release, 2/2/11
      http://www.apple.com/pr/library/2011/02/02iPhone 4 on Verizon Wireless Available for Pre Order Tomorrow.html.
      41
         Apple Inc. Press Release, 10/4/11
27    (http://www.apple.com/pr/library/2011/10/04Apple Launches iPhone 4S iOS 5 iCloud.html);
      http://newsroom.sprint.com/article display.cfm?article id 2073.
28
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 1   48.    By December 31, 2011, Apple had sold more than 183 million iPhone units worldwide, of which

 2          approximately 67 million units were sold in the United States.42

 3   iPad

 4   49.    On January 27, 2010, Apple introduced to the public the iPad and described it as “a revolutionary

 5          device for browsing the web, reading and sending email, enjoying photos, watching videos, listening

 6          to music, playing games, reading e-books and much more. iPad’s responsive high-resolution Multi-

 7          Touch™ display lets users physically interact with applications and content. iPad is just 0.5 inches

 8          thick and weighs just 1.5 pounds— thinner and lighter than any laptop or netbook.” 43 Steve Jobs

 9          further described the iPad as “our most advanced technology in a magical and revolutionary device at

10          an unbelievable price…iPad creates and defines an entirely new category of devices that will connect

11          users with their apps and content in a much more intimate, intuitive and fun way than ever before.”44

12   50.    The iPad launched on April 3, 2010 and, as summarized below, Apple has since released two updated

13          models:

14                                  Pr oduct                          Release Date

15                                iPad 45                                 4/3/10
16                                iPad 2 46                              3/10/11
17
                                  iPad (3rd generation) 47               3/16/12
18

19
     51.    Apple sold 3 million iPads in the first 80 days on the market 48 and by December 31, 2011 had sold 55
20
            million iPads worldwide, of which approximately 24 million units were sold in the United States. 49
21

22

23    42
         GAAP Line of Business Report, iPhone (APL794 F0000008237 to APL794 F0000008240); Apple Billings Report (US)
      iPhone, Q3 FY07 through Q1 FY12 (APLNDC Y0000051362).
24    43
         Apple Inc. Press Release, 1/27/10 (http://www.apple.com/pr/library/2010/01/27Apple Launches iPad.html).
      44
         Apple Inc. Press Release, 1/27/10 (http://www.apple.com/pr/library/2010/01/27Apple Launches iPad.html).
25    45
         Apple Inc. Press Release, 3/5/10 (http://www.apple.com/pr/library/2010/03/05iPad Available in US on April 3.html).
      46
         Apple Inc. Press Release, 3/10/11 (http://www.apple.com/pr/library/2011/03/10iPad 2 Arrives Tomorrow.html).
      47
26       Apple Inc. Press Release, 3/7/12 (http://www.apple.com/pr/library/2012/03/07Apple Launches New iPad.html).
      48
         Apple Inc. Press Release, 6/22/10
      (http://www.apple.com/pr/library/2010/06/22Apple Sells Three Million iPads in 80 Days.html).
27    49
         GAAP Line of Business Report, iPad (APL794 F0000008233 to APL794 F0000008236); Apple Billings Report (US) iPod
      Touch and iPad, Q4 FY07 through Q1 FY12 (APLNDC Y0000051605).
28
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 1   K.    SAMSUNG

 2   52.   As previously mentioned, throughout this report the three named defendants are collectively referred

 3         to as Samsung. Samsung Electronics Co., Ltd. (“SEC”) is “South Korea’s largest company and one

 4         of Asia’s largest electronics companies.”50 SEC “designs, manufactures and provides to the U.S. and

 5         world markets a wide range of products, including consumer electronics, computer components, and

 6         mobile and entertainment products.” 51 Samsung Electronics America, Inc. (“SEA”) is a New York

 7         Corporation formed in 1978 and is a U.S. sales subsidiary of SEC. SEA “offers a full range of

 8         award-winning consumer electronics and IT products including, but not limited to, televisions, Blu-

 9         ray disc players, digital cameras and camcorders, certain memory storage devices, portable audio

10         devices, printers, and monitors.” 52 SEA distributes Samsung’s tablet computer products. 53 Samsung

11         Telecommunications America, LLC (“STA”) was formed in 1996, is an affiliate of SEA, and a U.S.

12         sales subsidiary of SEC. STA “researches, develops, markets, sells and offers for sale a variety of

13         personal and business communications products throughout North America, including handheld

14         wireless phones, wireless communications infrastructure systems, fiber optics and enterprise

15         communication systems.” 54

16   53.   I understand that the three named defendants all fall under the corporate parent known as the

17         Samsung Group. The Samsung Group is a family owned conglomerate, known as a chaebol in South

18         Korea. 55 The Samsung Group reported net sales of $220.1 billion in 2010. 56 SEC reported revenues

19         of $119.7 billion and $135.8 billion for the calendar years ended 2009 and 2010, respectively.57 SEA

20

21

22
      50
23       Samsung Entities’ Answer, Affirmative Defenses, and Counterclaims to Apple Inc.’s Amended Complaint; and Demand for
      Jury Trial, 6/30/11, p. 2.
      51
         Samsung Entities’ Answer, Affirmative Defenses, and Counterclaims to Apple Inc.’s Amended Complaint; and Demand for
24    Jury Trial, 6/30/11, p. 2.
      52
         Samsung Entities’ Answer, Affirmative Defenses, and Counterclaims to Apple Inc.’s Amended Complaint; and Demand for
25    Jury Trial, 6/30/11, p. 2.
      53
         Deposition of Brian Rosenberg, January 27, 2012, pp. 17 18.
      54
26       Samsung Entities’ Answer, Affirmative Defenses, and Counterclaims to Apple Inc.’s Amended Complaint; and Demand for
      Jury Trial, 6/30/11, p. 2.
      55
         Yahoo Finance, Samsung Group Company Profile (http://biz.yahoo.com/ic/41/41463.html).
27    56
         Samsung Profile 2011, p. 58.
      57
         Samsung Electronics 2010 Annual Report, p. 32.
28
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 1

 2

 3   54.    Samsung competes with Apple in both the smartphone and tablet markets. The 32 Samsung products

 4          accused of infringing the Apple Intellectual Property In Suit are summarized on Exhibit 10.

 5   L.     INDUSTRY AND MARKET

 6   55.    This lawsuit involves two specific wireless device categories that are referred to by Apple and

 7          Samsung as smartphones and tablets. 60 Smartphones and tablets each constitute a specific submarket

 8          within the broader wireless device industry. The U.S. Department of Justice defines the wireless

 9          device industry as follows. “Today’s wireless device industry, which includes smartphones and

10          tablets, relies on complex operating systems that allow seamless interaction with wireless

11          communications technologies while providing audio, video and computer functionalities.” 61 These

12          categories include products that have completely reshaped the form and content of our daily

13          communications and the way we create, store and distribute digital content.                             One significant

14          characteristic of the wireless device industry is the formation of a common ecosystem of products.

15          Both categories are characterized by very high current growth in sales.

16   Smartphones

17   56.    I have reviewed and analyzed market share data from International Data Corporation (“IDC”), a

18          “global provider of market intelligence, advisory services, and events for the information technology,

19          telecommunications and consumer technology markets.” 62 IDC defines smartphones (also referred to

20          by IDC as converged mobile devices) as a “subset of mobile phones” which “feature a high-level

21          operating system that enables the device to run third-party applications in addition to voice telephony.

22
      58
          Samsung Electronics America, Inc. Financial Statements, December 31, 2011 and 2010, p. 3 (SAMNDCA00322398 445 at
23    SAMNDCA00322402); and Samsung Electronics America, Inc. Financial Statements, December 31, 2010, p. 3
      (SAMNDCA00322239 83 at SAMNDCA00322243).
      59
          Samsung Telecommunications America, L.L.C. Financial Statements, December 31, 2010 and 2009 and January 1, 2009, p. 5
24    (SAMNDCA00322209 38 at SAMNDCA00322214).
      60
         “Smartphone Market Study US,” January 2011, Apple Market Research & Analysis (APLNDC Y0000028850 to APLNDC
25    Y0000028861 at APLNDC Y0000028854); “Media tablet forecast comparison,” January 2011, John Brown, Market research and
      analysis (APLNDC0001525699 to APLNDC0001525699 at APLNDC0001525710); “STA Report to GS Choi,” January 2011
26    (SAMNDCA00258612 to SAMNDCA00258673 at SAMNDCA00258654 and SAMNDCA00258648).
      61
          The United States Department of Justice “Statement of the Department of Justice’s Antitrust Division on Its Decision to Close
      Its Investigation of Google Inc.’s Acquisition of Motorola Mobility Holdings Inc. and the Acquisitions of Certain Patents by
27    Apple In,. Microsoft Corp. and Research in Motion Ltd,” dated 2/13/12.
      62
          IDC’s website: About IDC (http://www.idc.com/about/about.jsp?t 1317217596273, accessed 9/28/2011).
28
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 1         Examples of high-level operating systems include Android, BlackBerry, Linux, Mac OS X, Palm,

 2         Symbian, and Windows Mobile.” 63

 3   57.   In the Samsung Electronics 2010 Annual Report, the company stated, “By launching GALAXY S II,

 4         our flagship strategy smartphone, we will emphasize our category leadership and provide readily

 5         available lineup options for global customers.” 64 As described in more detail below, Samsung has

 6         recently focused its efforts in this product category in recognition of the tremendous opportunities

 7         that exist in the developing smartphone market.

 8   58.   In 2007 Apple revolutionized the smartphone market with the introduction of the iPhone. An FBN

 9         Securities analyst stated, “With its 2007 launch of the iPhone, [Apple] obtained a first-mover

10         advantage with ‘game-changing’ smartphones (app store, touchscreen, eventually 3G), and it has

11         used this position along with continued innovations to further distance itself from the competition.” 65

12   59.   Samsung has seen an increase in market share in the smartphone market since the second quarter of

13         2010 following the first sales of the Samsung Accused Products. Multiple third party analysts

14         specifically noted the design to which the Samsung products introduced in this period copied Apple’s

15         phones. 66 Samsung’s market share jumped from 5% in the second quarter of 2010 to 14% in the third

16         quarter of 2010. This increase occurred after the release of the Galaxy S in the summer of 2010. 67

17         One analyst stated that in the worldwide mobile phone market, Samsung’s “growth is coming entirely

18         from smartphones with the Galaxy line (Samsung’s Android OS phones) as the main driver.” 68

19   60.   In the fourth quarter of 2011, IDC data showed the top market players in the U.S. smartphone market

20         were Apple, Samsung, HTC, LG, Research In Motion, and Motorola. Together these companies

21         make up over 92% of the market (Exhibits 11 and 11.1). In the same period, Apple and Samsung

22         were the top two participants having 45.3% and 19.2% market share respectively.

23   61.   At the present time, competition for market share in the smartphone market is especially intense due

24         to the current and projected growth of the market. As depicted in the Exhibit 12 and 12.1, the overall

25
      63
         Hamblen, Matt. “Cell phone, smartphone what's the difference?” ComputerWorld, 3/14/09.
      64
26       Samsung Electronics 2010 Annual Report, p. 17.
      65
         FBN Securities, Initiation of Coverage on Large Cap IT Hardware Companies APPL, IBM, DELL, and HPQ, 6/21/11, p. 3.
      66
         Apple Inc. Amended Complaint dated June 16, 2011, Exhibits 32 to 35.
27    67
         http://www.cnet.com/8301 19736 1 20008968 251.html.
      68
         Oppenheimer Equity Research, Mixed 2Q11 Wireless Checks, 6/7/11, p. 5.
28
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 1          smartphone market in the United States is expanding rapidly. Based on IDC data, from 2004 to 2011

 2          smartphones have gone from a 3% share of the mobile phone market to a 55.1% share with almost

 3          105 million smartphones being sold in 2011 alone. This growth has come at the expense of feature

 4          phones, which lack sophisticated operating systems, and also occurred while the overall mobile

 5          phone market has grown. In 2004 there were 143 million mobile phone devices in the U.S. market, a

 6          number which grew to a high of approximately 190 million in 2011. The substantial growth of the

 7          smartphone market is projected to continue. IDC projects that smartphones will have an 83% share of

 8          the U.S. mobile device market by 2015 with 154 million smartphone devices sold in the market.

 9          Oppenheimer Equity Research projects that smartphones will have a similar market share of 82% in

10          North America in 2014. 69 As a result, the period between 2010 and 2012 reflects a vitally important

11          period for Apple and Samsung.

12   62.    The first full year of Apple iPhone sales took place in 2008. As shown on Exhibit 12.1, from the end

13          of 2007 through 2011, approximately 44% of mobile phone users switched from feature phones to

14          smartphones. Despite this dramatic shift in the marketplace, the mobile phone market remains in a

15          critical period of transition as manufacturers jockey for the sales of the 27% of mobile phone users

16          who are projected to switch to smartphones over the next few years. Put another way, manufacturers

17          are pursuing the 135 million additional smartphones expected to be sold in the market between 2012

18          and 2015 as compared to a total existing smartphone market of 105 million units in 2011. 70 Shifts in

19          market share during this period, when combined with the loyalty consumers show to Apple and its

20          operating system, will have outsized impacts on future dynamics in the market, making loss of

21          market share now very detrimental to a company’s future success.

22   Tablets

23   63.    Apple revolutionized the tablet market in 2010 with the release of the original iPad. “The big story in

24          this year’s ranking [the BrandZ Top 100 Most Valuable Global Brands survey] is the power of the

25

26    69
         Oppenheimer Equity Research Industry Update, “2Q11 Wireless and Tablet Snapshot”, 8/2/11, pp. 15 and 17.
      70
         See Exhibit 12.1. 135 million additional smartphones calculated by subtracting the 105 million total smartphone units for 2011
27    from each subsequent annual forecast for the market. The difference for each year for 2012 to 2015 sums to approximately 135
      million units.
28
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 1         tablet.” 71 In May 2010, IDC defined tablets “as tablet form factor devices with 7-12in. color

 2         displays. They are currently based on ARM processors and run lightweight operating systems such as

 3         Apple's iPhone OS and Google's Android OS.” 72 This definition was further updated in December

 4         2011 to “move LCD-based devices such as Barnes & Noble's Nook Color into the media tablet

 5         category” from the e-reader category. This change was implemented in the third quarter of 2011.73

 6         Further, while the Barnes & Noble Nook Color and the Kindle Fire have changed the dynamics of the

 7         market, these products by and large compete in a different segment of the tablet market than Samsung

 8         and Apple. Accordingly, I have removed their corresponding units from my analysis of IDC’s media

 9         tablet data.

10   64.   Since Apple’s iPad’s entrance it has been number one in tablet market share. Beginning in the

11         second quarter of 2010, Apple had a commanding market share in the tablet market of 96.8% of a

12         market size of approximately 2.3 million units. By the fourth quarter of 2011, the market had grown

13         substantially to approximately 8.4 million units, a 265% increase since the second quarter of 2010.

14         As new market participants entered the tablet market, Apple’s market share according to IDC

15         dropped to 73.7% in the fourth quarter of 2011 as illustrated on Exhibits 13 and 13.1. Meanwhile,

16         Samsung’s market share dropped from a high of 11.6% in the fourth quarter of 2010 to a low of 2.0%

17         in the fourth quarter of 2011.

18   65.   The market participants within the wireless device industry have placed an emphasis in recent years

19         on establishing an ecosystem. The development of an ecosystem has been described as signaling “the

20         general adoption of a trend pioneered by Apple and Blackberry-maker Research in Motion - the

21         packaging of hardware, software and, to a lesser extent, marketing.” 74 A New York Times article

22         further described the ecosystem concept as follows, “Before the advent of coordinated systems,

23         executives at consumer technology companies babbled endlessly about connected homes and

24         convergence. They tried to make that happen, but no one had the pieces of hardware and content that

25
      71
         Deposition of Michael Wagner, September 14, 2001, Exhibit 169, Lucas, Louise, and Jopson, Barney, “Global Brands: Big
26    names fly high despite the gloom,” Financial Times, 5/19/11 (WAGNER0000334 WAGNER0000341).
      72
         Business Wire, “IDC Forecasts 7.6 Million Media Tablets to be Shipped Worldwide in 2010,” dated May 20, 2010.
      73
         IDC Press Release: Media Tablet Shipments Miss Third Quarter Targets, But New Entrants and Holiday Demand Will Spark
27    Fourth Quarter Growth, According to IDC, 12/15/11 (http://www.idc.com/getdoc.jsp?containerId prUS23228211).
      74
         http://rttnews.com/Story.aspx?type cs&Id 1714714&Category ScienceTechnology&SimRec 1&Node &pageNum 1
28
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 1         would fit together seamlessly. The pioneer – and perhaps the inspiration – was Steven P. Jobs, the

 2         late Apple chief executive who made creating devices look easy with the iPad and iPhone. Dream

 3         them up, then make the software complement the hardware, outsource the production, sell at a

 4         premium and watch your company become the most valuable on earth.” 75

 5   66.   Developing products that reinforce an entire ecosystem is not strictly an Apple phenomenon.

 6         Samsung agrees with the value of this strategic concept and has also copied this aspect of Apple’s

 7         operation. A 2011 Samsung document stated “Capturing 1st time smartphone buyers is critical to

 8         success in the US market in the next few years.” 76 Following Apple’s lead Samsung lists three

 9         reasons why “building Eco-Systems Benefits Samsung.”

10                  x   “Allows Samsung to set the agenda for market innovation against the competition.”

11                  x   “Consumers identify widely deployed features as ‘must have’, not the other way around.”

12                  x   “Defining an eco-system creates positive sales momentum in moving along the adoption

13                  curve.” 77

14   67.   Furthermore, Samsung’s Don-Joo Lee agreed in his deposition that one of Samsung’s strategies “is to

15         win customers who will be loyal to Samsung and will not only buy a first product but will buy future

16         Samsung products.” 78

17   68.   The wireless device industry is extremely competitive due in part to the relationship of each

18         individual product sale to the larger ecosystem market share, the fact that the wireless device industry

19         is currently experiencing explosive growth, and the acknowledged fact by both Apple and Samsung

20         that consumers are more loyal to Apple once an initial Apple product is purchased.

21   69.   The degree of competition between Apple and Samsung is particularly acute due to Samsung’s

22         acknowledgment of Apple’s competitive success and Samsung’s consequential preoccupation with

23         beating Apple. A Samsung designated representative testifying under oath stated “So the way I would

24         characterize it – and I’m not sure it’s depicted the same way here – is that once Apple gets someone

25
      75
26       The New York Times, “Erasing the Boundaries,” by David Streitfeld, dated February 12, 2012
      (http://www.nytimes.com/2012/02/13/technology/keeping consumers on the digital plantation.html).
      76
         SAMNDA00261215 291 at SAMNDA00261238.
27    77
         SAMNDCA00530591 672 at SAMNDCA00530609.
      78
         Deposition of Don Joo Lee, February 17, 2012, p. 69.
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 1         into the ecosystem, the bucket doesn’t have any holes. They – they tend to keep them in the bucket.

 2         With Samsung, the concern is there’s a hole in the bucket, and so you add people in, but you’re still

 3         losing people out of the Samsung world.” 79

 4   70.   Apple was indeed identified as a target of Samsung in a September 2008 Mercator Partners

 5         presentation to Samsung entitled: “Support to STA’s Counter-Apple Strategy.” The presentation

 6         identified one challenge as “Apple is a serious threat to Samsung’s leadership in the U.S. The iPhone

 7         by all accounts has been the most disruptive and successful new entrant in the history of the mobile

 8         device market.” 80

 9   71.   Accordingly, Apple and Samsung are directly and aggressively competing for the same sales of

10         smartphones and tablets. However, more significantly, Apple and Samsung are competing for sales of

11         as a means of securing consumer loyalty and the ongoing participation of these consumers in their

12         much larger ecosystem of products. Further, given the number of consumers who are adopting

13         smartphones and abandoning feature phones, the present competition and platform loyalty means that

14         the results of competition in the next few years will have outsized impacts on the future marketplace.

15   72.   The Apple Intellectual Property In Suit is utilized in both smartphones and tablets. Exhibit 4 sets

16         forth each accused Samsung product and the specific item of Apple Intellectual Property In Suit that

17         each accused product is accused of infringing, and, in the case of the Apple trade dress, each specific

18         item of Apple Intellectual Property In Suit that each accused product is accused of diluting. Apple’s

19         trade dress and trademarks.

20   M.    ASSUMPTIONS

21   73.   Although I understand that Samsung disputes the validity of the Apple Intellectual Property In Suit

22         and infringement and dilution thereof, I have been asked to assume that each of the design and utility

23         patents as well as the trademarks and trade dress is enforceable and not invalid.

24   74.   There are 32 different Samsung products accused of violating one or more of Apple’s 22 separate

25         claims as set forth in Apple’s Amended Complaint.

26
      79
        Deposition of Brian Rosenberg, January 27, 2012, pp. 101 102.
27    80
        Mercator Partners presentation, September 18, 2008, “Support to STA’s Counter Apple Strategy” (SAMNDCA10036081 to
      SAMNDCA10036204 at SAMNDCA10036087 and SAMNDCA10036095.
28
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 1   75.      I have been asked to assume that Samsung’s Accused Products practice at least one asserted claim of

 2            each of the accused utility patents as provided on Exhibit 5.

 3   76.      I have also been asked to assume that Samsung’s Accused Products embody the claim of each of the

 4            design patents as provided on Exhibit 6.

 5   77.      I have also been asked to assume that Samsung’s Accused Products infringe and/or dilute at least one

 6            of the asserted Apple trade dresses as provided on Exhibits 7 and 8.

 7   78.      I similarly have been asked to assume that Samsung’s Accused Products infringe at least one of the

 8            asserted Apple trademarks as provided on Exhibits 8 and 9.

 9   N.       SUMMARY OF CONCLUSIONS AND OPINIONS

10   79.      As discussed above, the Apple Intellectual Property In Suit consists of four separate categories of

11            intellectual property (i.e., utility patents, design patents, trade dress, and trademarks) that each

12            contain a number of individual items of intellectual property. Further, Apple has asserted twenty-two

13            separate claims. 81 The legal remedies available to Apple as compensation for damages suffered as a

14            consequence of Samsung’s accused infringement of each item of Apple Intellectual Property In Suit

15            and the separate claims varies depending on the specific category of intellectual property and the

16            individual claims. Exhibit 14 sets forth the type of remedy available under each category of

17            intellectual property. Exhibit 15 identifies the specific form of damage remedy calculated in this

18            matter for each item of Apple Intellectual Property In Suit. Exhibit 15 also makes a distinction

19            between smartphones and tablets because not every individual item of Apple Intellectual Property In

20            Suit covers both smartphones and tablets.

21   80.      The guiding principle in the determination of damages resulting from patent infringement of a utility

22            patent is that the amount of “damages [are] adequate to compensate for the assumed infringement.” 82

23            A patent owner may seek monetary relief from infringement of a utility patent under two theories:

24            lost profits and/or a reasonable royalty. I have considered both damage theories and concluded that

25            damages adequate to compensate for the assumed infringement of Apple’s utility patents in this

26            matter should be based on both a reasonable royalty and a lost profits damage award. The specific

27    81
           Apple Inc. Amended Complaint dated June 16, 2011, p. 59.
      82
           35 U.S.C. § 284.
28
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 1         application of one or both remedies to each utility patent as it relates to both smartphones and tablets

 2         is identified on Exhibit 15.

 3   81.   I have also considered both a lost profits and/or a reasonable royalty remedy for each design patent.

 4         However, I have also considered a third remedy for the assumed infringement of Apple’s design

 5         patents under 35 U.S.C. §289. A damage amount based on an infringer’s total profit is an acceptable

 6         form of remedy for the infringement of a design patent. The specific application of each of the three

 7         remedies to each design patent as it relates to both smartphones and tablets is identified on Exhibit

 8         15.

 9   82.   Infringer’s profits and plaintiff’s damages are both acceptable forms of remedies for the infringement

10         or dilution of a trade dress or trademark. Plaintiff’s damages include the profits lost by the trade dress

11         holder due to infringement by the defendant and I calculate an amount reflecting that as a part of my

12         report. Unlike 35 U.S.C. § 289, the infringer’s profit remedy regarding trade dress and trademarks

13         involves an apportionment of the infringer’s profit. However, I understand that the defendant bears

14         the burden of that apportionment. Accordingly, I have not apportioned infringer’s profits but intend

15         to comment on and provide an opinion on any apportionment for which Samsung argues in its

16         opening report. Finally, I understand that a reasonable royalty is an acceptable form of damages for

17         the infringement of design patents and is an acceptable form of damages for trade dress, and

18         trademarks in circumstances where no other form of damages is available. Accordingly, I have

19         calculated a reasonable royalty amount for those accused products that infringe a design patent, and

20         those products which infringe or dilute a trade dress or trademark for which no other damage remedy

21         was available. The specific application of each of the three remedies to each group of design patents,

22         trade dress, and trademarks as it relates to both smartphones and tablets is identified on Exhibit 15

23   83.   Each item of Apple Intellectual Property In Suit is entitled to only one damage remedy (i.e., either

24         lost profits, infringer’s profits where appropriate or a reasonable royalty). Further, once lost profits or

25         infringer’s profits have been awarded for the unit sale of an accused product, no further damages are

26         appropriate even though the same item may infringe multiple items of Apple Intellectual Property In

27         Suit. However, if no lost profits or infringer’s profits is awarded for a unit sale of an accused product,

28         then that particular accused item may qualify for a reasonable royalty award based on each item of
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 1         Apple Intellectual Property In Suit that the particular accused product is accused of infringing.

 2   84.   The aforementioned structural restrictions imposed by law on the calculation of damages involving

 3         multiple categories of intellectual property results in the need to approach the calculation of damages

 4         for each unit sold of the Samsung Accused Products in a sequential manner. Further, there is an

 5         inherent hierarchy of damage remedies that I apply due to the variation in per unit damages

 6         associated with each remedy. First, I consider whether an accused item qualifies for lost profits. If a

 7         unit sale of an accused item qualifies for lost profits, no other form of damage remedy is awarded. If

 8         a unit sale of an accused item does not qualify for lost profits, then my next consideration is whether

 9         the accused item qualifies for damages under an infringer’s profit calculation. Once again, if the unit

10         sale of an accused item qualifies for an infringer’s profit, no other form of damage remedy is

11         possible. Finally, if neither a lost profit or an infringer’s profit damage is assigned to a unit sale of an

12         accused unit, then the damage calculation would be based on a reasonable royalty for every item of

13         Apple Intellectual Property In Suit that the Samsung product is accused of infringing. Exhibit 16 is a

14         simple hypothetical illustration of the aforementioned sequential approach to the calculation of

15         damages.

16   85.   Using this method, I have calculated the damages that can be reasonably calculated for Samsung’s

17         sales of the individual units of various models identified as Samsung Accused Products in light of

18         each element of the Apple Intellectual Property In Suit and summarized the results on Exhibits 17

19         and 17.1 and as further summarized in the table below. I have made the calculation on a product by

20         product basis because the limitation on damages is product specific. I determined the amount of

21         damage on each individual product that was subject to lost profits, infringer’s profits and a reasonable

22         royalty because I wanted to make sure that I did not calculate more than the allowable damages on

23         any given product.
                                                         Revenue Basis                 Gross Profit Basis
24
               Lost Profits                                    $583,191,122                   $583,191,122
25             Infringer’s Profits – Design
               Patents, Trade Dress &                          5,510,092,347                 2,008,994,149
26             Trademarks
27             Reasonable Royalty                                            0                             0
               Total Damages                                 $6,093,283,469                 $2,592,185,271
28
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 1   86.   In the alternative, I assumed that all Apple Intellectual Property In Suit was valid and infringed by all

 2         Samsung Accused Products. However, I removed any lost profits remedy from the damage

 3         calculation. The results of this calculation are summarized on Exhibits 18 and 18.1 and in the table

 4         below.

 5
                                                        Revenue Basis                   Gross Profit Basis
 6
               Infringer’s Profits – Design
 7             Patents, Trade Dress &                        $6,424,701,038                 $2,337,518,680
               Trademarks
 8             Reasonable Royalty                                           0                            0

 9             Total Damages                                 $6,424,701,038                 $2,337,518,680

10

11
     87.   As a second alternative, I have assumed that all Apple Intellectual Property In Suit was valid and
12
           infringed by all Samsung Accused Products. However, I removed infringer’s profits from the damage
13
           calculation. The results of this calculation are displayed on Exhibit 19 and summarized in the table
14
           below.
15                            Lost Profits                                      $583,191,122
16                            Reasonable Royalty                                 511,999,442

17                            Total Damages                                 $1,095,190,564

18
     88.   I could calculate the damage amount based on other combinations of remedies, such as lost profits
19
           alone or reasonable royalty alone and as describe further below, I have prepared the damages model
20
           in such as way that it can accommodate changes in what products remain in the case or are infringed,
21
           what patents remain in the case and are infringed, when Samsung was aware that Apple was asserting
22
           claims against it and corresponding changes regarding when Samsung might begin an effort to
23
           redesign its products in light of the Apple Intellectual Property in Suit.
24
     89.   Although Exhibits 17, 18, and 19 provide a separate analysis of the amount of damages that would
25
           result under the various forms of remedy available to Apple assuming all categories and items of
26
           Apple Intellectual Property In Suit are valid and violated, the results present a damage calculated for
27
           only some of the many possible outcomes that may result from a trial. Based on the fact there are
28
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 1         multiple logical and permissible categories of damages (e.g., as described above), 31 different

 2         individual items of Apple intellectual property, 22 separate claims, 32 different accused products at

 3         issue, a very large number of potential scenarios exist. I also understand that Samsung contends that

 4         they did not receive actual or constructive notice of some of the asserted patents until approximately

 5         April of 2011. Although Apple disputes Samsung’s claim, I am able to calculate the impact to

 6         Apple’s damages of changes to the date on which notice occurred and any resulting effort to design

 7         around would begin. Given these variables, there are more than tens of thousands of possible

 8         outcomes. It is not practical or even possible to submit a report reflecting the damage outcome

 9         associated with every possible outcome. However, the damage model used to calculate the damages

10         reported herein is capable of calculating a final damage amount based on different combinations of

11         these variables in connection with a Court decision or the evidence at trial. Therefore, I am prepared

12         to calculate and render an opinion on the amount of damages if less than the total number of Samsung

13         Accused Products proceeds to trial, if less than all patents proceed to trial, if damages are limited to

14         any particular period for any of the Intellectual Property in Suit, or if Samsung was on notice of the

15         intellectual property and began an effort to design around the patents at a different date, if and when

16         requested to do so by counsel or the Court or based on the evidence presented at trial. I am also

17         prepared to produce both the results of any calculation and the complete Access database model used

18         to perform my calculation if asked to do so.

19   90.   I have provided a description of my calculation of lost profits, infringer’s profits and reasonable

20         royalty in a separate section for each form of remedy. Exhibit 20 is a summary of the organization

21         and calculation of each form of damage based on each item of Apple Intellectual Property In Suit.

22   91.   The foregoing calculations are necessarily limited by the information available to me at this time.

23         Two comments on this subject are noteworthy. First, information on sales and financial performance

24         for both Apple and Samsung, as well as other relevant metrics discussed below are available only

25         through December 31, 2011. Before trial, I would expect to receive some, if not all of the relevant

26         information through June 30, 2012 and would update accordingly. Second, Samsung refused to

27         produce certain information relevant to my calculations in response to a Court order and other

28         discovery requests prior to the close of discovery. Apple has sought such materials from the Court.
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 1         If such materials become available, I would review and update my analysis accordingly. My current

 2         opinion therefore may change and my calculations will certainly rise as additional sales of Samsung

 3         Accused Products occur.

 4   92.   I am also prepared to calculate and render an opinion on the amount of pre-judgment interest

 5         connected with the above damages if and when requested to do so by counsel or the Court.

 6   O.    IRREPARABLE HARM

 7   93.   As discussed above, I have been asked by counsel for Apple to determine the amount of damages, if

 8         any, that would be adequate to compensate Apple as a result of the assumed infringement of Apple’s

 9         Intellectual Property In Suit. Although my opinions contained herein are consistent with this

10         objective and were developed to a reasonable degree of certainty, the damage amounts expressed

11         herein do not represent a complete measure of the total damages that Apple has and will continue to

12         experience due to Samsung’s conduct. Further, absent permanent and immediate injunctive relief, the

13         ongoing damages that will be incurred by Apple in the future will cause Apple irreparable harm that

14         cannot be adequately compensated through the award of monetary damages.

15   94.   I previously issued a Reply Declaration of Terry L. Musika, CPA in Support of Apple’s Motion for a

16         Preliminary Injunction dated October 13, 2011 (“Reply Declaration”). The opinions expressed in my

17         Reply Declaration were directed to Apple’s Motion for a Preliminary Injunction which involved a

18         subset of the Apple Intellectual Property In Suit covered in this report. My opinions as expressed in

19         my Reply Declaration are unchanged.

20   95.   Apple has and will continue to suffer irreparable harm in spite of the damages quantified herein

21         because the monetary damages included herein and measured to a reasonable degree of certainty

22         represent only a portion of the total harm that Apple has suffered and will suffer as a consequence of

23         Samsung’s acts absent a permanent injunction. The following factors reinforce Apple’s ongoing

24         irreparable harm absent a permanent injunction.

25                 x    Apple practices each of the items of Apple Intellectual Property In Suit as a means of

26                 growing and protecting Apple’s market share, reputation and goodwill.83

27    83
         BusinessWire, “Apple Rises to the Top as Worldwide Smartphone Market Grows 65.4% in the Second Quarter of 2011, IDC
      Finds”, 8/4/2011.
28
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 1                   x    Samsung’s conduct is injuring and diluting Apple’s market share, reputation, and

 2                   goodwill.

 3                   x    Apple has been unwilling to license any of the individual items of Apple Intellectual

 4                   Property In Suit and has used the Apple Intellectual Property In Suit as a means of creating

 5                   and maintaining a unique market identity in the wireless device industry. 84

 6                   x    Apple and Samsung are direct competitors with respect to the Samsung Accused Products

 7                   In Suit. Apple is not a non-practicing entity seeking only to extract a royalty from Samsung’s

 8                   commercial success. 85

 9                   x    Apple has previously sought a preliminary injunction in the U.S. and around the world.86

10   96.    Additional evidence of the ongoing irreparable harm incurred by Apple includes the following.

11   Apple’s Loss of Goodwill

12   97.    The irreparable harm due to a loss of goodwill is illustrated in part in the portion of a company’s

13          value assigned to their intangible versus tangible assets. “In 2003, the market value (stock prices

14          times number of shares outstanding) of U.S. publicly traded companies was five times larger than

15          their balance sheet value, which reflects primarily the net worth of physical and financial (stocks,

16          bonds) assets. Thus, about three-quarters of the value of public companies, as perceived by investors,

17          reflects non-physical and nonfinancial assets. Much of this huge value constitutes intangible assets,

18          which are absent from corporate balance sheets.” 87 This fact is even more relevant today and is

19          significantly illustrated in the value of Apple’s balance sheet net worth versus Apple’s current

20          capitalized market value. 88

21   98.    The prior facts demonstrate the equity market’s recognition of the significance of intangible assets to

22          the overall net worth of today’s most innovative companies. Although goodwill is an intangible asset

23    84
         Deposition of Chip Lutton, Jr., July 26, 2011, p. 331. ; Discussion with Boris Teksler.
      85
         Deposition of Brian Rosenberg, January 27, 2012, pp. 72 73 & 77; Strategy Analytics, “Competitor Profile: Apple,” July 20,
24    2011 (SAMNDCA00177805 of SAMNDCA00177800 07); Ipsos OTX MediaCT, “Are we going to take to the tablet?” March
      2011 (SAMNDCA00237354 of SAMNDCA00237349 60).
25    86
         Apple Inc.’s Motion for a Preliminary Injunction, United States District Court Northern District of California San Jose Division,
      dated 7/1/2011; Reuters, “Samsung says alters tablet design to avoid German sales ban,” 11/17/2011.
      87
26       Intangible Assets: Concepts and Measurements, Baruch Lev, New York University, New York, USA, Encyclopedia of Social
      measurement, Volume 2, 2005.
      88
         As of 12/31/11, Apple Inc. had a net worth of $90.05 billion versus a market cap of $377.5 billion
27    (http://www.wolframalpha.com/input/?i appl+market+cap+as+of+12%2F31%2F11). Net worth as of 12/31/11 equals total assets
      of $138.7 billion less total liabilities of $48.6 billion (Apple Inc. Form 10 Q, for the quarter ended 12/31/11, p. 3).
28
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 1          within generally accepted accounting principles, it is only recognized and recorded when acquired

 2          through an acquisition. Accordingly, unless goodwill is acquired as a component of an acquisition,

 3          this asset is not reported even though the equity market identifies goodwill as one of the most

 4          valuable assets within the company. The equity market assigns a real economic value to goodwill and

 5          other intangible assets that is based on the market’s expectation of future earnings. 89 Therefore, any

 6          diminution in the expected future earnings of Apple as a consequence of actual or the perceived

 7          infringement by Samsung of any of the Apple Intellectual Property In Suit reduces Apple’s goodwill

 8          and overall market value. As discussed below, I have calculated a portion of the lost earnings that

 9          Apple has suffered as a consequence of Samsung’s accused acts. Further, I emphasize that the lost

10          profits calculations represents only a small portion of the lost earnings that Apple has suffered.

11          Apple’s historical and prospective lost profits therefore have a significant and identifiable negative

12          impact on Apple’s goodwill.

13   Erosion and Dilution of Apple’s Brand

14   99.    Another measureable portion of the intangible value included in Apple’s capitalized market value is

15          the value of Apple’s brand.90 There are numerous facts in evidence that illustrate the irreparable harm

16          to Apple’s brand that has and will continue to occur absent injunctive relief. In 2011, the Apple brand

17          was identified as the most valuable brand in the world. 91 Samsung’s own damage expert stated in his

18          declaration that “It’s no secret that Apple’s extensive marketing efforts have created one of the most

19          valuable brands worldwide.” 92

20   100. Apple’s exponential growth in brand value comes in part from the strategic interrelationship of all

21          Apple products. As discussed above, this is the result of Apple’s focus on the Apple ecosystem and

22          not simply Apple individual products. Therefore, winning the competition for undecided consumers

23          is made even more important by the subsequent effects upon consumers’ future purchasing decisions.

24          A study done by a third party at Apple’s request found that only 10% of iPad buyers in the U.S. did

25    89
         SFAS 142, paragraphs 21 to 23.
      90
         Interbrand ranked Apple’s brand as number 8 on its “2011 Ranking of Top 100 Brands.” (http://www.interbrand.com/en/best
26    global brands/best global brands 2008/best global brands 2011.aspx).
      91
         Business News Express Business News Daily, “Apple Knocks off Google as Number One Brand,” by Steve Petrovich, dated
      5/10/11 (http://businessnewsexpress.com/apple knocks off google as number one brand/8778546/).
27    92
         Declaration of Michael J. Wagner In Support of Samsung’s Opposition to Apple’s Motion For a Preliminary Injunction, dated
      8/21/11, p. 5.
28
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 1         not purchase any accessories for their iPad. The accessories purchased include smart cover, case,

 2         screen protector, camera connection kit, digital AV adapter, stylus, power adapter, wireless keyboard,

 3         etc. 93 Purchasers also buy various content, apps, and other services from Apple through its iTunes

 4         store, App store, retail store, on-line store, and services such as iCloud. Apple also loses sales on

 5         advertising and other elements of its business.               Due to the complexity of the calculation and

 6         uncertainty regarding the specific amounts tied to new purchases of Apple’s products, almost none of

 7         the Apple ecosystem sales are captured in the damage calculation.

 8   101. Another effect of the purchasing decision is customer loyalty, which is particularly important to

 9         Apple’s brand value and expected future sales. Surveys confirm Apple customers’ loyalty. A study by

10         Strategy Analytics found that “Apple iPhone owners are not only most satisfied with their phones,

11         they are most likely to buy their next phone from Apple…as well.” 94 These repeat purchases are not

12         limited to smartphones, but also apply across iPads, Macs, and other Apple products. 95 In addition to

13         the effects on downstream accessory purchases or additional Apple products, winning over undecided

14         consumers is important for generating interest and economic power with third parties, such as third-

15         party developers and carriers. Similarly, Apple’s market share lead and reputation for innovation and

16         design provide Apple with economic power in its negotiations with wireless carriers, who want to be

17         in a position to offer one of Apple’s products on their network and expand their subscriber network.

18         There is no adequate amount in monetary damages I have calculated that compensates Apple for the

19         diminution of Apple’s reputation as a leading innovator and the consequential loss of brand value.

20   Apple’s Loss of Market Share

21   102. Exhibits 11 and 11.1 demonstrate that since entering the smartphone market, Apple has climbed to

22         number one in market share with 45.3 percent of the market as of the fourth quarter of 2011 but has

23         been in a continuing battle with Samsung for market share. “With its 2007 launch of the iPhone,

24
      93
         Apple Market Research & Analysis “iPad Tracking Study: FY11 Q3 Report,” August 2011, (APLNDC Y0000024130 333 at
25    APLNDC Y0000024143).
      94
         Strategy Analytics, “Apple iPhone Owners Most Likely to Repeat Purchase,” by Paul Brown, dated 03/09/10
26    (http://www.strategyanalytics.com/default.aspx?mod pressreleaseviewer&a0 4870).
      95
         CNN Money, “Piper Jaffray survey of iPad buyers: 74% owned Macs; 66% had iPhones,” by Philip Elmer DeWitt, dated
      04/05/10 (http://tech.fortune.cnn.com/2010/04/05/piper jaffray survey of ipad buyers 74 owned macs 66 had iphones/); “Apple
27    iPad 2 sales: New customers buying; Analysts see big launch," by Larry Dignan, dated 03/13/11
      (http://www.zdnet.com/blog/btl/apple ipad 2 sales new customers buying analysts see big launch/46030).
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 1         [Apple] obtained a first-mover advantage with ‘game-changing’ smartphones (app store, touchscreen,

 2         eventually 3G), and it has used this position along with continued innovations to further distance

 3         itself from the competition.” 96 In the fourth quarter of 2011, IDC data showed the top market players

 4         in the smartphone market were Apple, Samsung, HTC, LG, Research In Motion, and Motorola

 5         (Exhibit 11.1).

 6   103. Samsung saw a sudden increase in market share since the second quarter of 2010 following the first

 7         sales of the Samsung Accused Products, including the Galaxy S which Apple has alleged copied

 8         Apple’s design’s and Intellectual Property In Suit. One analyst stated that in the worldwide mobile

 9         phone market, Samsung’s “growth is coming entirely from smartphones with the Galaxy line

10         (Samsung’s Android OS phones) as the main driver.” 97            The evidence as a whole, including matters

11         discussed later in my report, points to Samsung taking market share from Apple.

12   104. At the present time, the competition for market share in the smartphone market is especially intense

13         due to the current and projected growth. It is a unique moment in this market that will not be

14         repeated. As depicted on Exhibits 12 and 12.1, the overall smartphone market in the United States is

15         expanding rapidly. Based on IDC data, from 2004 to 2011 smartphones have gone from a 3% share

16         of the mobile phone market to a 55.1% share with approximately 105 million smartphones. This

17         growth has come at the expense of feature phones, which lack sophisticated operating systems, and

18         also occurred while the overall mobile phone market has grown. In 2004 there were 143 million

19         mobile phone devices, and that number grew to a high of nearly 191 million in 2011. The substantial

20         growth of the smartphone market is projected to continue. IDC projects that smartphones will have an

21         83% share of the U.S. mobile device market by 2015 with 154 million smartphone devices sold in the

22         market. In comparison Oppenheimer Equity Research projects that smartphones will have a similar

23         market share of 82% in North America in 2014. 98

24   105. The first full year of Apple iPhone sales took place in 2008. As shown on Exhibit 12.1, from the end

25         of 2007 through 2011, approximately 44% of mobile phone users switched from feature phones to

26
      96
         FBN Securities, Initiation of Coverage on Large Cap IT Hardware Companies APPL, IBM, DELL, and HPQ, 6/21/11, p. 3.
27    97
         Oppenheimer Equity Research, Mixed 2Q11 Wireless Checks, 6/7/11, p. 5.
      98
         Oppenheimer Equity Research Industry Update, “2Q11 Wireless and Tablet Snapshot,” 8/2/11, pp. 15 and 17.
28
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 1          smartphones. Despite this dramatic shift in the marketplace, the mobile phone market remains in a

 2          critical period of transition as manufacturers jockey for the sales of the 27% of mobile phone users

 3          who are projected to switch to smartphones over the next few years. Put another way, manufacturers

 4          are pursuing the 135 million additional smartphones expected to be sold in the market between 2012

 5          and 2015 as compared to a total smartphone market of 105 million units in 2011.99 These shifts will

 6          be amplified by consumer loyalty and the resulting likelihood of purchasers to stay with Apple (or the

 7          Android platform) with respect to their next purchase of a smartphone or tablet. Shifts in market

 8          share during this period will have outsized impacts on future dynamics in the market, making loss of

 9          market share now very detrimental to a company’s future success. These impacts are very difficult to

10          calculate and impose an irreparable harm for Apple.

11   106. The tablet market was revolutionized by Apple. “The big story in this year’s ranking (the BrandZ Top

12          100 Most Valuable Global Brands survey) is the power of the tablet.” 100 IDC defines tablets “as tablet

13          form factor devices with 7-12in. color displays. They are currently based on ARM processors and run

14          lightweight operating systems such as Apple's iPhone OS and Google's Android OS.” 101

15   107. Since Apple’s iPad’s entrance it has been number one in tablet market share. Beginning in the

16          second quarter of 2010, Apple had a commanding market share in the tablet market of 96.8% of a

17          market size of approximately 2.3 million units. By the fourth quarter of 2011, the market had grown

18          substantially to approximately 8.4 million units, a 265% increase since the second quarter of 2010.

19          As new market participants entered the tablet market, Apple’s market share according to IDC

20          dropped to 73.7% in the fourth quarter of 2011 as illustrated on Exhibits 13 and 13.1. Meanwhile,

21          Samsung’s market share dropped from a high of 11.6% in the fourth quarter of 2010 to a low of 2.0%

22          in the fourth quarter of 2011. Exhibit 21 is a Global Tablet OS Market Share chart referred to by

23          Samsung’s damage expert that clearly shows that the share of tablets using Apple’s iOS (only the

24          iPad line of products) has fallen while the share of those using Android has risen.

25
      99
         See Exhibit 12.1.135 million additional smartphones calculated by subtracting the 105 million total smartphone units for 2011
26    from each subsequent annual forecast for the market. The difference for each year for 2012 to 2015 sums to approximately 135
      million units.
      100
          Deposition of Michael Wagner, September 14, 2011, Exhibit 169, “Global Brands: Big names fly high despite the gloom,”
27    Financial Times, 5/19/11 (WAGNER0000334 WAGNER0000341).
      101
          Business Wire, “IDC Forecasts 7.6 Million Media Tablets to be Shipped Worldwide in 2010,” dated May 20, 2010.
28
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 1   108. Apple’s loss of market share is not confined to its market share in the respective smartphone and

 2             tablet product markets. As discussed above, Apple and Samsung’s strategy is to develop a loyal

 3             customer following that supports each company’s entire ecosystem of products. The loss of a single

 4             smartphone or tablet sale has an exponential impact on Apple’s overall market share in the wireless

 5             device industry. Apple Senior Director and former Chief Patent Counsel testified, “Secondly, there’s

 6             another form of harm, which is harm to the iOS ecosystem generally, that the eco--- the health of the

 7             ecosystem depends on market share, maybe growing market share; and if Apple is losing market

 8             share of momentum or market share generally to Samsung, then it’s losing not just the incremental

 9             sales and the revenue associated with them, but also the impact on the ecosystem generally, which

10             could be application developer mind share and attention. It could be other forms of services that are

11             provided into the ecosystem, either by Apple or by third parties, and those could have impacts not

12             only on the vitality of Apple’s iOS platform, but also even on revenue that Apple makes in areas like

13             iTunes and the App store.” 102

14   Difficulty in Calculating Damages

15   109. As discussed elsewhere, I have concluded that the full amount of harm caused by Samsung’s products

16             cannot be adequately measured or compensated through monetary damages. One of the reasons that

17             the full measure of economic loss cannot be fully calculated is due to the fact that the scope and

18             nature of the economic loss incurred by Apple is more extensive than what may be reasonably

19             calculated and awarded as a damage award.

20   110. The irreparable harm claimed by Apple due to Samsung’s alleged infringement involves the potential

21             loss of present sales and market share, loss of future sales and market share, present or future price

22             erosion, increased Apple costs, and the impairment of Apple’s goodwill and brand. The economic

23             remedies associated with the recovery of damages caused by Samsung’s accused sales are limited to

24             one or more of the four damage remedies identified earlier and the need for a reasonable basis on

25             which to quantify those amounts.

26   111. The damage remedies discussed below are intended to ensure that the injured party is “made whole

27
      102
            Deposition of Chip J. Lutton, Jr., July 26, 2011, pp. 328 329.
28
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 1          through quantifiable means.” However, as illustrated on Exhibit 14, not all forms of damage

 2          recovery are available for patent infringement. Additionally, the various forms of damage recovery

 3          listed do not directly consider nor adequately account for the critical point of transition that both the

 4          smartphone and tablet markets are experiencing. As discussed above, both product markets are poised

 5          for explosive growth now that Apple’s innovative products have gained phenomenal market

 6          acceptance to the point where they have redefined the mobile phone market and revolutionized the

 7          tablet market. A loss of market share by Apple at this critical time in the market’s development

 8          rewards the market followers and denies Apple, the complete and appropriate measure of damages

 9          for their creative and intellectual property contribution.

10   112. As noted in Exhibit 14, one aspect of damages for which the patent laws offer no remedy is the

11          decrease in the value of Apple’s intangible assets.103 Injury to intangible assets, in particular brand

12          value and goodwill, is not fully captured in a lost profits calculation. The issue of brand value or loss

13          of brand value is no more important for any company than Apple as the owner of the most valuable

14          brand in the world. In spite of their recognized value, intangible assets are difficult to measure. “For

15          many accountants, the absence of markets disqualifies intangibles from being considered as assets in

16          corporate balance sheets. Intangibles thus differ inherently from physical and financial assets, and the

17          management, valuation and financial reporting of intangible assets are challenging.” 104 The

18          difficulties inherent in measuring both the value and the change in value in such assets makes it very

19          difficult to quantify and obtain as monetary damages an award that reflects the full value of the losses

20          that Apple will experience from unfair copying due to the alleged infringement by Samsung of

21          Apple’s Intellectual Property In Suit.

22   113. Further, as discussed above, a lost profits calculation herein does not fully compensate Apple for the

23          full scope of its lost sales. Based on my experience in calculating patent damages in over 100 patent

24          cases, I understand the calculation of patent damages need not be calculated to absolute precision but

25          should be calculated to a reasonable degree of certainty. Additionally, patent damages cannot be

26    103
          General intangible assets are comprised of numerous identifiable intangible assets such as a patent, trademark and trade secret
      and unidentifiable intangible assets that are generally categorized as goodwill.
27    104
          Intangible Assets: Concepts and Measurements, Baruch Lev, New York University, New York, USA, Encyclopedia of Social
      measurement, Volume 2, 2005.
28
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 1            speculative. Accordingly, I have based my calculation of lost profits on a conservative model that

 2            ensures compliance with the reasonable certainty standard, but this means Apple will not receive

 3            money sufficient to compensate for the full measure of the damages and harm it is incurring.

 4   114. For example, I have divided my lost profits calculation into two initial groups of lost sales, accused

 5            sales made to carriers that did not offer an Apple product and carriers that did offer an Apple product.

 6            I first limit the accused sales made through carriers that did not offer an Apple product to 26% of the

 7            sales based on the percent of purchasers who would switch carriers. The support for this conservative

 8            deduction is discussed in the lost profits section of this report. I further reduce both accused sales

 9            bases to Apple’s market share percent within the carriers that offer an Apple product. Additionally,

10            my lost profits calculation does not include the numerous ecosystem products that both Samsung and

11            Apple indicate would have been sold in the past and would be sold in the future. My lost profits

12            calculation also assumes that Samsung will return to the market with an acceptable non-infringing

13            substitute at a level of sales equal to its actual sales of accused products. All of these assumptions

14            favor Samsung but were made to ensure that the damages herein are calculated conservatively and to

15            a reasonable degree of certainty. However, it also means Apple’s monetary recovery of damages has

16            been materially reduced and Apple is being irreparably harmed.

17   115. Even if the full measure lost profits for sales of iPhones, iPads, and immediate convoyed sales, as

18            described above could be measured, the full extent of Apple’s harm is not limited to these lost profits.

19            Apple’s lost market share would include lost sales relating to other Apple products that do not qualify

20            as convoyed sales but nevertheless are part of the established product relationship that Apple enjoys

21            based on Apple’s customer loyalty and Apple’s customers desire to maintain a standardized product

22            experience. These are derivative lost sales within the broader Apple ecosystem. Even Samsung’s own

23            damage expert demonstrated the strength of the pull-through sales element during his deposition. Mr.

24            Wagner indicated that when he purchased his iPhone he did not buy just one – he purchased six

25            iPhones because he wanted his entire family to be able to communicate more easily. 105 Further, Apple

26            iPhone users will be more likely to purchase other Apple products such as desktops, laptops, and

27
      105
            Deposition of Michael J. Wagner, September 14, 2011, pp. 61 62.
28
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 1          iPods after the initial purchase of an iPad and iPhone. My lost profit calculation does not compensate

 2          Apple for this significant element of lost market share and future sales of related products.

 3   116. Finally, as part of Apple’s ecosystem, the Accused Products are causing losses for Apple related to

 4          the loss of sales of accessories, music and videos, mobile advertising, and revenue from search engine

 5          royalties. iTunes, iAdd, and the App store are examples of these losses. 106 For each Apple product

 6          that is not sold, Apple has lost the opportunity to sell both Apple branded and third party accessories

 7          such as cases, screen protectors, headphones and car chargers. These items are discussed in more

 8          detail in the Lost Profits section of my report. Next, Apple has lost sales of applications and media

 9          (e.g. music, video and Apps) sold through iTunes to iPhone and iPad users. Exhibit 22 shows that

10          Apple has reported iTunes revenue of $11 billion from fiscal year 2010 through first quarter 2012

11                                                              . Another source of revenue directly related to the iPhone

12          and iPad is mobile advertising. Mobile advertising is displayed to iOS users through Apps.107 From

13          fiscal year 2010 through first quarter 2012, Apple has earned $161 million in revenue and

14                                                                        , see Exhibit 22. Another category of additional

15          revenue generated by Apple through iPhone and iPad usage is search engine royalties. When an iPad

16          or iPhone user conducts a search on Google, Microsoft Bing, or Yahoo, Apple receives revenue for

17          each of those searches.108 Exhibit 23 shows that revenue related to search engine royalties for all iOS

18          devices has grown to over $75 million quarterly in the third and fourth quarter of 2011 and saw a

19          dramatic increase since the second quarter of 2010, the same quarter the iPad was released. All of

20          these forms of revenue are extremely difficult to tie to a specific iPhone or iPad sale and therefore

21          they are not included in my calculation of monetary damages.

22   P.     MONETARY DAMAGE ANALYSIS

23   117. The economic remedies associated with the recovery of damages caused by Samsung’s sales accused

24          of violating one or more forms of Apple’s Intellectual Property In Suit falls within one or more of the

25          following four damage remedies identified by the American Institute of Certified Public Accountants.

26
      106
          Deposition of Chip J. Lutton, Jr.,July 26, 2011, pp. 328 329.
27    107
          Deposition of Mark Buckley, February 23, 2012, pp. 153 156.
      108
          Deposition of Mark Buckley, February 23, 2012, pp. 146 152.
28
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 1          x       Compensatory Damage Recovery – “Compensatory actual damages for intellectual property

 2                  infringement or misappropriation, accordingly, are intended to compensate the plaintiff for

 3                  economic loss caused by the infringement. Examples of compensatory damages include lost

 4                  profits (i.e., profits lost on sales that would have been made ‘but for’ the infringement [or due to

 5                  trade dress dilution]) and reasonable royalty (i.e., royalty income that the plaintiff would have

 6                  earned had it entered into an agreement to license the intellectual property in suit to defendant),

 7                  among other measures.” 109

 8          x       General Damage Recovery (Market Value Measure) – “The market value measure is what courts

 9                  most often refer to when they use the term general damages. The market value measure

10                  determines the market value of the intellectual property ‘as is’ and the market value ‘as if it were

11                  not injured.’ The difference between these two values is the damage that the defendant’s

12                  wrongful act inflicted on the owner of the intellectual property.” 110

13          x       Special or Consequential Damages (Lost Opportunity Measure) – “The lost opportunity measure

14                  quantifies the decrease in market value or the impact on market value that the intellectual

15                  property owner is deprived of by reason of the infringement. This lost opportunity measure is

16                  often referred to by the courts as special or consequential damages.” 111

17          x       Unjust Enrichment and Prejudgment Interest – “Unjust enrichment is an alternative damage

18                  measure to compensatory damages.” 112 An “unjust enrichment award seeks to deprive the

19                  defendant of whatever gain or benefit was obtained from the wrongful act.” 113

20   118. The aforementioned damage remedies are intended to ensure that the injured party is “made whole

21              through quantifiable means.” The damages available under each of these remedies can be measured

22              by one or more methods of calculating damages. However, as illustrated on Exhibit 14, the methods

23              of damages available under each of the various forms of Apple intellectual property vary.

24   119. Exhibit 20 provides a description of the methods of damages asserted for each item of intellectual

25
      109
26        AICPA Practice Aid 06 1, Calculating Intellectual Property Infringement Damages, p. 20.
      110
          AICPA Practice Aid 06 1, Calculating Intellectual Property Infringement Damages, pp. 20 21.
      111
          AICPA Practice Aid 06 1, Calculating Intellectual Property Infringement Damages, p. 21.
27    112
          AICPA Practice Aid 06 1, Calculating Intellectual Property Infringement Damages, p. 21.
      113
          AICPA Practice Aid 06 1, Calculating Intellectual Property Infringement Damages, p. 21.
28
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 1             property and the key variables of each method. I have provided below a description of my approach

 2             to the calculation of damages for each of the damage methods.

 3    Lost Profits

 4   120. To prove entitlement to lost profits, Apple must demonstrate that the Samsung infringement was a

 5           “but-for” cause of Apple’s losses. To prove causation, Apple must demonstrate to a reasonable

 6           probability that, “but-for” Samsung’s conduct, it would have made the sales that were originally made

 7           by Samsung. Exhibit 15 identifies each item of Apple Intellectual Property In Suit for which a lost

 8           profits damage amount is claimed. As illustrated on Exhibit 15, lost profits is claimed for only certain

 9           items. The Panduit test is a non-inclusive but frequently used guideline to evaluate the amount and

10           nature of sales that the patentee would have replaced the infringer’s sales absent infringement. 114 I

11           have used it to help guide my evaluation. The Panduit test evaluates the following four economic

12           conditions.

13   121. The first condition is whether demand existed for the patented product during the period of

14           infringement. It is fair to say that the demand for both Apple and Samsung’s smartphones and tablets

15           is driven by a combination of factors and not just the benefits associated with the individual items of

16           Apple’s Intellectual Property In Suit for which Apple is claiming a lost profit. However, the evidence

17           collected and the material that shows Apple and Samsung’s commercial success reflects a

18           demonstrated demand for benefits associated with the Apple Intellectual Property In Suit for which

19           Apple is seeking a lost profit damage. I have identified and documented numerous examples of

20           demand for each item of Apple Intellectual Property In Suit for which Apple is seeking a lost profit on

21           Exhibits 24 and 25. The numerous examples of evidence involving demand include Samsung strategy

22           and product planning documents prepared in the ordinary course, survey data, third party market and

23           consumer analysis, Samsung and Apple advertising materials and other evidence that relate to the

24           claimed technology.

25   122. In addition, I have received the results of two consumer surveys prepared by Dr. John Hauser, a

26           professor at Massachusetts Institute of Technology. His surveys are based on conjoint analysis, a

27
      114
            Panduit Corp. v Stahlin Bros. Fibre Works, 575 F.2nd 1152 (6th Cir. 1978).
28
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 1          widely studied and applied form of quantitative consumer preference measurement. Professor Hauser

 2          used conjoint analysis to determine the price premium, if any, that Samsung consumers are willing to

 3          pay for the features associated with the patents at issue. His work demonstrates that respondents are

 4          willing to pay a high price premium for the patented features covered by the utility patents that were

 5          tested, the ‘607, the ‘915, the ‘381 and the ‘163 Patents. This evidence strongly supports a conclusion

 6          that there is demand for the specific patented features in suit and that their presence (or absence) will

 7          affect consumer decision making. It is therefore additional support of this element of a lost profits

 8          calculation.

 9   123. A second condition is what acceptable non-infringing substitutes exist in what periods. I concluded

10          that non-infringing substitutes did exist in some periods. Further, I have conservatively prepared my

11          damage calculation as if other non-accused smartphones in the market generally represented an

12          acceptable non-infringing substitute for some consumers. I have done this even though Apple has sued

13          many of the other smartphone makers for violation of patents and has in some circumstances already

14          won with respect to certain smartphones and certain intellectual property. 115 I have made these

15          assumptions even though the conjoint analysis by Dr. Hauser shows that many of the noninfringing

16          substitutes would be valued significantly less by surveyed respondents. It is significant to note that the

17          Panduit test is not a required test and merely represents one way in which to evaluate whether the

18          patentee would have made the infringing sales absent infringement. Therefore, proof that one or more

19          non-infringing substitutes might exist and might be acceptable to some degree to consumers does not

20          resolve whether Apple has lost sales as a result of Samsung’s accused infringement. The actual issue is

21          whether there were sales that Apple would have made assuming no infringement accounting for any

22          non-infringing substitutes. To be conservative in my assessment, I have significantly reduced the

23          number of accused units that would have been sold by Apple based on an assumption that Samsung

24          could have returned to the market after removing and/or replacing the accused technology and that the

25          products that use the alternative form of technology would be desirable to consumers.

26
      115
         U.S. International Trade Commission Investigation No. 337 TA 710: Notice of the Commission’s Final Determination
27    Finding a Violation of Section 337; Issuance of a Limited Exclusion Order; Termination of the Investigation, December 19, 2011,
      pp.2 3.
28
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 1   124. This decision reflects a matter of judgment that substantially misses a significant portion of the harm

 2        that Apple is experiencing. There is ample evidence that Samsung copied Apple’s designs and its

 3        patented technology. It is also apparent that they did so based on a belief that such actions made the

 4        resulting products significantly more desirable to consumers. Empirically, Samsung did not begin to

 5        succeed in the smartphone marketplace until products that used Apple’s Intellectual Property In Suit

 6        entered the market in 2010. There is no support that any alternative design would be commercially

 7        acceptable. Nonetheless, it is difficult to obtain a precise measure of that change. My analysis can

 8        however, measure the impact that changes in the level of acceptance would have on Apple’s damages.

 9        My analysis can estimate the amount of lost profits that was available but not claimed as a damage

10        assuming Samsung’s design around model was not commercially acceptable. There are 18,230,472

11        accused units. I calculated lost profits on only 2,197,534 of the total (approximately 12%). Assuming

12        an infringer’s profit was awarded on every accused unit in which a lost profit damage was not claimed,

13

14

15

16   125. My model is similarly conservative in that it assumes that Samsung returns to the market and can

17        achieve similar sales immediately upon its return.           Again, this is unlikely in practice and this

18        assumption significantly reduces the amount of lost profits that I calculate on Apple’s behalf.

19   126. The third condition is whether Apple had the demonstrated operational capacity to replace Samsung’s

20        accused sales. To evaluate Apple’s ability to handle the excess demand created by the need to supply

21        iPhones and iPads in the “but-for” market, I have (1) evaluated a capacity analysis performed by

22        Apple and set forth in two reports that were discussed at the deposition of Mark Buckley, and (2) had

23        discussions with Mr. Buckley and Rory Sexton, Apple’s VP of Supply and Demand Management. 116

24        This analysis represents Apple’s actual quarterly manufacturing and sales results as well as Apple’s

25        capacity to produce units above what was actually manufactured, referred to by Apple as “Installed

26        Capacity.” To calculate the installed capacity, Apple determined the number of manufacturing lines

27    116
          APLNDC Y0000055416 and APLNDC Y0000055417; Deposition of Mark Buckley, February 23, 2012, Exhibits 15 and 16;
      Discussion with Rory Sexton and Mark Buckley.
28
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 1           which were in place during the 2010 – 2011 period. Next, by applying the maximum manufacturing

 2           rates and the number of days and hours in service, the maximum number of units available was

 3           calculated. Last, Apple made adjustments to decrease that maximum to accommodate for periods

 4           where there were known shortages in parts and materials, product allocated to a particular location,

 5           time needed for maintenance, holidays, and other periods in which manufacturing stops, and other

 6           factors that affect capacity as well as to adjust for returns, and manufacturing defects.117

 7   127. As shown on Exhibits 26 & 27, I have used Apple’s analysis to calculate the quarterly excess unused

 8           capacity for both the iPhone and the iPad.

 9

10                                                                                                             . This

11           created a conservative estimate of Apple’s excess capacity available for the sales of units in the “but-

12           for” scenario. Additionally, I made the excess capacity created during a quarter to be available at the

13           start of the following quarter because I did not have timing

14

15                                                               . As shown on Exhibit 17.2, Apple demonstrated its

16           ability to have capacity to accommodate additional units as calculated in this report.

17   128. The fourth and final factor requires that the calculation be completed to a reasonable degree of

18           certainty. As described in detail below, I have completed a detailed analysis of Apple’s sales “but-for”

19           Samsung’s alleged infringement. This calculation relies on the parties’ document production, sworn

20           testimony and industry analysts who are relied upon by both Apple and Samsung. Additionally, this

21           model is constructed using a series of conservative approaches which are described in detail in this

22           report.

23   129. The above analysis is intended to provide evidentiary support for the position that Apple would have

24           made Samsung’s sales “but-for” Samsung’s improper use and reliance on one or more identified items

25           of Apple Intellectual Property In Suit. However, as indicated my methodology adopts an even more

26           conservative premise in that it assumes that Samsung would have developed some conceptual design

27
      117
            Discussion with Rory Sexton and Mark Buckley.
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 1       alternative to the asserted intellectual property, returned to the market once such conceptual alternative

 2       was designed, tested, manufactured and distributed to sell an equivalent number of units with the

 3       redesigned product. All these assumptions are conservative. Accordingly, Apple’s lost sales are based

 4       on the amount of lost sales only during the number of months Samsung is removed from the market.

 5       Exhibit 20 identifies the number of months to design, test, manufacture and distribute an alternative

 6       smartphone and tablet that does not embody the accused element of each item of Apple Intellectual

 7       Property In Suit. This period begins at the later of the issuance of the item of Apple Intellectual

 8       Property In Suit or the date in which Samsung first sold the product embodying the Apple Intellectual

 9       Property In Suit and assumes that Samsung had notice of the patents on that date. I understand that

10       Samsung contends that it lacked actual or constructive notice of its infringement for at least some of

11       the patents until suit was filed. To the extent that Samsung succeeds with respect to this claim, the

12       calculations done to determine the amount of time that Samsung would be unable to sell products

13       should begin at the date in which notice is proven. As noted above, the model can be adjusted to

14       provide the Court, counsel or the jury an alternative calculation reflecting this change.

15   130. I then reduced the number of remaining Samsung accused smartphone units that would have been sold

16       by Apple “but-for” Samsung’s reliance on Apple’s intellectual property by removing all but 26% of

17       the remaining accused smartphones that were sold to carriers that did not, at the time of the accused

18       sale by Samsung, include a replacement Apple product. I include 26% of the sales made by carriers

19       that did not include an Apple product at this stage of my lost profits calculation based on a Google

20       survey that is displayed on Exhibit 28. The Google survey found that 26% of 2,961 respondents

21       questioned in 2010 that recently purchased a cell phone indicated that they had chosen a new carrier

22       for their purchase. The basis of this conservative reduction in removing 74% of the sales made to

23       carriers that did not carry an Apple product is also reflected on Exhibit 20.

24   131. I next reduced the number of remaining Samsung accused units that would have been sold by Apple

25       “but-for” Samsung’s reliance on Apple’s intellectual property by removing all remaining accused

26       items that would have been sold by other Original Equipment Manufacturers (“OEMs”) that offered

27       non-accused smartphones or tablets at the time of the accused sale. The basis of the sales that would

28       have been made by other OEMs that offered non-accused smartphones or tablets at the time of the
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 1          accused sales is the adjusted market share of each OEM. The adjusted market share of each OEM is

 2          different for the 26% of accused sales that were made to carriers that did not offer an Apple

 3          smartphone versus the accused sales that were made to carriers that did offer an Apple smartphone that

 4          embodied the protected intellectual property. In each case, I calculated a Mor-Flo market share

 5          percentage that removes Samsung’s accused sales from the relevant market and distributes the accused

 6          sales to the remaining market participants on the basis of their respective market share after removing

 7          Samsung’s accused sales. 118 The relevant market for the 26% of sales that were made to carriers that

 8          did not offer an Apple product is the overall smartphone market. Exhibits 29 and 30 outline the Mor-

 9          Flo analysis I conducted for both smartphones and tablets. The relevant market for the accused sales

10          made by carriers that offered an Apple smartphone that embodied the intellectual property is the

11          OEM’s market share for the carriers that offered an Apple smartphone. Exhibits 31 and 31.1 to 31.3

12          outline smartphone carrier market share and my Mor-Flo analysis of Apple’s and Samsung’s market

13          share within each carrier where iPhones are sold.

14   132. By allocating the accused sales to all other smartphone and tablet market participants, I have factored

15          into my damage calculation all other major consumer demand factors such as price, carrier preference,

16          operating system preference, brand loyalty, and other alternative features. The basis of these

17          conservative reductions in quantifying lost sale units is also identified on Exhibit 20.

18   133. Finally, I compared the number of remaining Samsung accused units that would have been sold by

19          Apple “but-for” Samsung’s reliance on Apple’s intellectual property to Apple’s potential excess

20          capacity of iPhones and iPads. In the event of insufficient capacity, I have removed all remaining

21          accused items that would not have been sold due to a limitation of capacity by Apple to make all of the

22          remaining accused sales after making all of the other adjustments previously discussed. My capacity

23          analysis is based on Apple’s capacity disclosures discussed above. In his deposition, Mr. Buckley

24          testified that the capacity analysis was conservatively based on the use of only existing Apple

25          manufacturing capacity. 119 He agreed that the construction of additional capacity was an available

26
      118
          State Indus., Inc. v. Mor Flo Indus., Inc., 883 F.2d 1573, 1577, 12 U.S.P.Q.2d 1026, 1028 (Fed. Cir. 1989), cert. denied, 493
27    U.S. 1022 (1990).
      119
          Deposition of Mark Buckley, February 23, 2012, pp. 197 199.
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1          option. Further, the Apple capacity analysis was limited to six day work weeks, 19 to 20 hour work

 2          days, factored in historical parts shortages, and adjusted for manufacturing defects, other factors, and

 3          returns. 120

 4

 5

 6

 7                                                                       However, because Apple carried forward excess

 8          capacity from prior quarters, I have determined that in the “but-for” analysis, Apple had the capacity

 9          to make all of the identified sales (see Exhibit 17.2). The basis of this conservative reduction in

10          qualifying lost sale units is also identified on Exhibit 20.

11   134. The final amount of lost profits is then calculated by multiplying the remaining accused Samsung sales

12          that would have been replaced by Apple “but-for” Samsung’s reliance on Apple’s intellectual property

13          times Apple’s incremental profit margin earned on the Apple replacement product. The Apple

14          replacement product embodies the claimed Apple Intellectual Property In Suit. The Apple incremental

15          profit margin is identified on Exhibits 33 and 34 and was determined by deducting Apple’s sales

16          expense and distribution expense from the gross profit for Apple’s iPhones and iPads. In order to be

17          conservative and based on Mr. Buckley’s deposition testimony where he stated that distribution

18          expense could possibly be variable, 122 I have removed sales and distribution expenses from Apple’s

19          gross margin to calculate an incremental margin. Additionally, I have used Apple’s average

20          incremental profit for all iPhones and iPads as opposed to individual models because Apple does not

21          keep records at the level of the individual models. Mr. Buckley stated that Apple cannot track net

22          revenue to the model level because carrier subsidies and commissions are not tracked in that level of

23          detail.123 Therefore, profits cannot be calculated on a model by model basis. Furthermore, using an

24          average incremental profit rate accounts for the mix of products sold by Apple into the smartphone

25
      120
26        Discussion with Rory Sexton and Mark Buckley.
      121
          APLNDC Y0000055416; Deposition of Mark Buckley, February 23, 2012, Exhibit 15.
      122
          Deposition of Mark Buckley, February 23, 2012, pp. 125 126. “[…] I would say most of these are would be fixed, in my
27    mind. Maybe some advertising. I would think of that as fixed, too. Distribution, possibly, could could be variable, but...”
      123
          Deposition of Mark Buckley, February 23, 2012, pp. 82 84.
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1          and tablet markets.

 2   135. It should be noted that Apple’s sales of iPhones and iPads as described in their GAAP Line of

 3          Business Reports include some revenue deferrals/amortization. According to Mr. Buckley, Apple

 4          defers a small portion of product revenue over the life of the product so that they can offer free

 5          software updates. 124 For the purposes of my calculation, I have not made any adjustments to reflect

 6          those deferrals. In doing so, Apple’s product revenue has been deflated and in turn, so have its

 7          margins. This is another contributing factor to the conservative basis of my lost profit calculation.

 8   136. In addition to Apple’s lost profits due to the loss of iPhone and iPad sales, Apple has lost sales of other

 9          convoyed and derivative products/services. One area of losses comes in the form of iPhone and iPad

10          accessories. Samsung directly recognizes the importance of accessory sales as they relate to

11          smartphones and tablets. In a strategy presentation, Samsung states that “Smart Phones Drive Higher

12          Accessory Purchases” and notes that Apple had 50 million in iPhones sales through the first quarter of

13          2010 and there were “~$7.5B in aftermarket accessories sales” in three years and likewise, there were

14          450 thousand iPads sold in the first weekend with “~$54M in Accessory Sales.” 125 Apple’s accessory

15          sales include items such as cases, screen protectors, headphones and car chargers. Exhibits 34 and 35

16          show a calculation of the incremental profit for accessories per iPhone or iPad unit sold. This

17          demonstrates that Apple could be losing approximately $4.20 in revenue and                                     per

18          iPhone and $32.60 in revenue and                          per iPad in accessory sales. These numbers are

19          estimates given the potential timing differences between the initial device purchase and an accessory

20          purchase and therefore I have not calculated Apple’s total loss due to Apple’s inability to sell

21          accessories to customers who purchased the accused Samsung phones. In addition, Apple earns other

22          sources of income related to the sale of iPhones and iPads, that are further described in the irreparable

23          harm section of my report. These have not been included in my lost profits calculations.

24   137. Finally, with Samsung’s removal from the market and return after the redesign of their products,

25          Samsung would experience a lower level of sales due to its late re-entry to the market. Microsoft’s

26
      124
          Deposition of Mark Buckley, February 23, 2012, p. 93. Deferral amounts can be seen on APLNDC Y0000066932 3 and range
27    from $10 $30 for iPhones and iPads.
      125
          2011 Smartphone Portfolio Strategy, STA Product and Strategy, May 2010 (SAMNDCA00530591 672 at 612).
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1           late entry into the smartphone market illustrates this point. An article in the New York Times which

 2           details positive critical reviews of Microsoft’s smartphone states, “[but] this year [2012] is crucial; it

 3           will show whether a respected product is enough to help Microsoft make up for lost time. Even if it

 4           feels good to be a favorite of tech critics for a change, Microsoft needs a blockbuster in the mobile

 5           business, not a cult hit. ‘Entering the market so late with this experience has created some special

 6           challenges for us,’ Mr. Myerson said. ‘I think if we were there earlier it would be different.’” 126

 7           Samsung’s removal of the accused products from the market for redesign would cause similar

 8           problems upon their return. However, with the difficulty in quantifying the magnitude of the delay’s

 9           effects on Samsung’s sales, I have not quantified the amount of “but-for” sales that Apple would have

10           made and continued to keep my calculation conservative.

11    Infringer’s Profits

12   138. I understand that assuming infringement, a design patent owner may choose to recover the infringer’s

13             profit under §289 or one of the remedies relating to utility patents that were discussed above under 35

14             U.S.C. §284. However, the design patentee’s damages are limited to only one form of damage and

15             the patentee may not recover both a lost profit and infringer’s profit for the same unit. The infringer’s

16             total profits are equal to the total sales of infringing product less the costs directly associated with the

17             accused sales. It is the patentee’s burden to establish the sales of accused products and the infringer’s

18             burden to establish the costs related to the accused sales. 127

19   139. An owner of trade dress and trademark rights has the ability to recover the profits obtained by a

20             person who violates those rights. It is the plaintiff’s obligation to prove the revenues obtained for

21             products that use the relevant intellectual property and the defendant’s obligation to prove any costs

22             and other allocations associated with the product and the relevant intellectual property.

23   140. As previously discussed, I have approached the overall damage calculation in a sequential manner to

24             avoid an incorrect duplication of damages. I first calculated a lost profits remedy on accused products

25             that qualified for a lost profits remedy. Next, I calculated an infringer’s profits remedy on all accused

26             products that qualify for an infringer’s profit for which a previous lost profits amount has not been

27    126
            New York Times, “The Critics Rave … for Microsoft?” by Nick Wingfield, dated 1/8/12.
      127
            Weil, Frank, Huges, and Wagner, Litigation Services Handbook, Fourth Edition, 2007, p. 22.32.
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1          calculated.

 2   141. The first step in the calculation of infringer’s profits was identifying the Samsung units accused of

 3          infringing the design patents and the revenue associated with those. The individual Samsung products

 4          accused of infringing the individual Apple design patents are identified on Exhibit 4. Next, I

 5          determined the actual number of units that qualified for infringer’s profits after removing those units

 6          for which a lost profit damage was calculated. The determination of the units available for infringer’s

 7          profits after removing the units for which a lost profits remedy was calculated is displayed on Exhibit

 8          17.2.

 9   142. Next, the sales amounts from Exhibit 17.2 are listed on Exhibit 17.3 as Samsung’s infringing profit

10          for each product. As stated above, Apple has the burden of identifying the accused revenue portion of

11          infringer’s profits. It is Samsung’s burden to identify any related costs.

12   143. I have reviewed Samsung’s document production and testimony concerning any alleged costs

13          associated with the sale of accused items and have provided my own calculation of the costs

14          associated with the accused revenue. Although the document production in this matter by both Apple

15          and Samsung has been voluminous, I understand that Samsung’s production of an Excel spreadsheet

16          on February 3, 2012, bates numbered SAMNDCA00323946, that was also marked as Exhibit 1920 128

17          to the Timothy Sheppard’s 30(b)(6) deposition on February 29, 2012, constituted Samsung’s first

18          representation of the sales and profits of the accused devices. Based on my independent review of this

19          document, I determined that it was mathematically incorrect in that the reported detailed sales by

20          product did not equal the reported total sales for all products. Additionally, this document failed to

21          include sales for all of the models accused by Apple. The excluded models were Samsung’s Galaxy S

22          II (AT&T edition, 4G), Galaxy S II (T-Mobile edition), Galaxy S II Epic 4G Touch, Galaxy S II

23          Skyrocket (4G LTE), Galaxy S Showcase, Galaxy Tab 7.0, Galaxy Tab 10.1 LTE and Mesmerize. 129

24   144. Samsung subsequently produced a second version of the same spreadsheet on or about February 28,

25          2012, Bates numbered SAMNDCA00354292, that was marked as Exhibit 1922 to the Timothy

26    128
          Counsel for Samsung stated at the Deposition of Timothy Sheppard on February 29, 2012 that Exhibit 1920 was superseded by
      additional production. Deposition of Timothy Sheppard, February 29, 2012, pp. 37 38.
27    129
          I am aware that Apple has sought documents and other materials through a motion. As noted above, my work is limited by the
      material presently available and I would incorporate additional information after it is received.
28
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 1            Sheppard 30(b)(6) deposition on February 29, 2012. Although I determined that the reported detailed

 2            sales by product did now equal the reported total sales for all products, this document also failed to

 3            include sales for all of the models accused by Apple and included sales of other models not accused

 4            by Apple. The excluded models were Samsung’s Galaxy S II (AT&T edition, 4G), Galaxy S II (T-

 5            Mobile edition), Galaxy S II Epic 4G Touch, Galaxy S II Skyrocket (4G LTE), and Galaxy Tab 10.1

 6            LTE. The Galaxy Tab 8.9 was added while not being accused. Based on the deposition testimony of

 7            Timothy Sheppard from January and February, I confirmed that the reported profit for two of the

 8            accused Samsung entities, SEA and STA, did not represent actual profits on the accused items.

 9            Timothy Sheppard testified that the cost of goods sold amount for each entity was based on an

10            internal transfer price that transferred the accused product profits to the manufacturing entity owned

11            by SEC in Korea. 130 Timothy Sheppard was unable to speak on behalf of SEC. 131

12   145. Samsung next offered Jae Huang Sim as the Samsung witness that would testify to the actual sales,

13            costs and profits associated with the accused products including the manufacturing entity SEC in

14            Korea. Mr. Sim’s deposition was scheduled to take place in Seoul, Korea on March 10, 2012. Less

15            than 24 hours before his deposition, Samsung produced a third version of the aforementioned

16            spreadsheet, Bates numbered SAMNDCA00372946, that was subsequently marked as Exhibit 2440

17            to Mr. Sim’s deposition. Prior to Mr. Sim’s deposition, I determined that this spreadsheet also failed

18            to include sales for all of the models accused by Apple and included sales of other models not

19            accused by Apple. The excluded models were Samsung’s Galaxy S II Epic 4G Touch, Galaxy S II

20            Skyrocket (4G LTE), and Galaxy Tab 10.1 LTE. The Galaxy Tab 8.9 was included while not being

21            accused. Additionally, I noted that $177,059 (500 units) of Galaxy Tab 10.1 sales were added,

22            $195,794,628 of Hercules sales were added, SECA sales but not costs were removed from the other

23

24            manufacturing cost of goods sold line item as presented in the prior spreadsheets reducing

25

26            the Continuum model, and finally certain levels of details that had previously been reported were now

27    130
            Deposition of Timothy Sheppard, February 29, 2012, pp. 123 124 and pp. 128 129.
      131
            Deposition of Timothy Sheppard, February 29, 2012, pp. 15.
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1          removed and new levels of detail were provided that had not existed before. In summary, Samsung’s

 2          representations concerning the revenue, cost and profit associated with the accused devices had

 3          changed radically for the third time within 24 hours of Mr. Sim’s deposition.

 4   146. Mr. Sim was asked about many of the aforementioned changes during his deposition and was either

 5          unaware of many of the changes or provided answers that were incorrect and admittedly incomplete

 6          in terms of providing a complete representation of Samsung’s accounting for the actual revenue, cost

 7          and profit of the accused devices. He admitted however that the changes to the cost of goods sold

 8          was a decision made by him and Samsung’s lawyers to exclude profits obtained by Samsung

 9          subsidiaries. Samsung’s decision to increase the cost of goods sold by the amount of the Chinese

10          manufacturing subsidiary’s profit restates the profit and loss for the accused products to a transfer

11          price adjusted amount. Based on my professional experience as a CPA, the reporting of a profit and

12          loss on a transfer price basis fails to eliminate the results of intercompany transactions, distorts the

13          actual results of operations, and is not in accordance with Generally Accepted Accounting Principles

14          (GAAP).

15   147. Finally, on March 12, 2012, after the third version was produced, Timothy Sheppard submitted a

16          declaration with the intent of explaining some of the discrepancies in the foregoing spreadsheets. Mr.

17          Sheppard stated, “with respect to the Galaxy S II (T-Mobile edition) and the Galaxy S II (AT&T

18          edition), these models are in fact included in both the Original Spreadsheet and the Revised

19          Spreadsheet under the heading “Galaxy S II/2 (GT-I9100).” 132 According to Samsung’s web site the

20          Galaxy S II (T-Mobile edition) uses the model number SGH-T989 133 and the Galaxy S II (AT&T

21          edition) uses the model number SGH-I777. 134 In the third version of Samsung’s spreadsheet, the

22          Galaxy S II/2 (GT-I9100) was relisted as “Galaxy S II/2 (GT-I9100, GT-I9108, SGH-I177, SGH-

23          N033, SHW-M250K, SHW-M250S)” with STA sales of $179,853,039 matching the prior versions of

24          the spreadsheet. According to Mr. Sheppard this data includes the AT&T edition and not the T-

25          Mobile edition. As previously noted, the third version of the financials includes sales for the

26    132
          Declaration of Timothy Sheppard in Support of Samsung’s Opposition to Apple’s Motion for Rule 37(b)(2) Sanctions for
      Samsung’s Alleged Violation of January 27, 2012 Damages Discovery Order, dated April 3, 2012, p.5.
27    133
          http://www.samsung.com/us/mobile/cell phones/SGH T989ZKBTMB?
      134
          http://www.samsung.com/us/mobile/cell phones/SGH I777ZKAATT?
28
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 1            “Hercules (SGH-T989)” which matches the T-Mobile edition’s model number. The Hercules [Galaxy

 2            S II (T-Mobile edition)] had $195,794,628 in sales through STA. This is inconsistent with Mr.

 3            Sheppard’s statement that the T-Mobile edition sales are included within the Galaxy S II/2 (GT-

 4            I9100) given that the sales of the Galaxy S II (T-Mobile edition) are approximately $16 million

 5            greater than those disclosed under the Galaxy S II/2 (GT-I9100) name.

 6   148. Due to the inaccurate and incomplete nature of Samsung’s disclosures relative to the revenue, cost

 7            and profits of the accused devices, it was not possible to calculate a true consolidated profit using the

 8            information disclosed. In light of these deficiencies, I have used Samsung’s reported manufacturing

 9            gross profit of the accused products on a worldwide basis as the starting point for determining the

10            most accurate representation of Samsung’s incremental profits on accused devices. As shown on

11            Exhibit 36, in the third version of financials, Samsung has reported that the worldwide

12

13

14            represents the profit earned by Samsung on the sale of the accused devices in the U.S. and transferred

15            to a Chinese subsidiary of Samsung under a transfer pricing agreement to avoid U.S. taxation.135 This

16

17            reduce this gross profit percentage for tablets on the basis of the difference between the tablets

18            reported gross profit versus Samsung’s smartphone reported gross profit. My calculation of the

19            smartphone and tablet adjusted gross profit is displayed on Exhibits 37 and 38.

20   149. Samsung’s confusing and incomplete spreadsheets provides some limited information on other

21            expenses that it allegedly allocates to the Samsung Accused Products. Very little by way of detail or

22            information is provided. Ultimately it is Samsung’s burden to identify which expenses are directly

23            associated with the product. Nonetheless, I have looked at the categories provided and based on the

24            information that I have, I would not include them in a calculation of the incremental profit Samsung

25            has earned because they are primarily indirect costs and appear to be fixed costs, non marginal costs

26            that do not vary with new units. More information would be needed to carry Samsung’s burden.

27
      135
            Deposition of Jaehwang Sim, March 10, 2012, pp. 35 36 and 44.
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1   150. My use of Samsung’s worldwide manufacturing gross profit percentage is conservative and is

 2          potentially prejudicial to Apple in that it ignores any profits that may have been earned at the

 3          individual sales subsidiaries, SEA and STA. Therefore, it presumes that the higher retail sales amount

 4          reported by the U.S. sales subsidiaries is offset by both the cost of goods sold at a transfer price level

 5          and additional costs borne only at the U.S. sales subsidiary level. I expect to adjust my calculation

 6          and opinion regarding Samsung’s profits on accused devices should additional information become

 7          available.

 8   151. My final calculation of the resulting infringer’s profit damage amount is displayed on Exhibits 17

 9          and 17.1 where I have calculated Samsung’s accused revenue and adjusted gross profit.

10   Reasonable Royalty

11   152. As indicated above, assuming infringement, a utility or design patent owner is entitled to an award of
12          “damages adequate to compensate for the infringement, but in no event less than a reasonable
13          royalty.” 136 “Importantly, no single accepted method exists for how a court must determine
14          ‘reasonable royalty’ damages.” 137           There are various methods (e.g., “established royalty,”
15          “hypothetical negotiation,” “the analytical method” and “discounted cash flow analysis”)138 that are
16          frequently used to determine a reasonable royalty amount. Further, the final royalty amount may be
17          expressed in various forms (e.g., through a running royalty, a one-time lump-sum payment or a
18          combination of both). The important and necessary aspect of a reasonable royalty damage amount is
19          that the amount is adequate to compensate for the alleged infringement. The adequacy of the damage
20          compensation is measured by the value of the claimed patent benefits.
21   153. A benefit conveyed through a patent or other form of intellectual property may initially take various
22          forms (e.g., early market entrance, increased market share, enhanced product visibility, a reduction in
23          manufacturing time, etc.). However, the alleged patent benefit(s) is ultimately measured by the
24          profits such benefits produce. Increased profits basically result from one or more of the following:
25          increased sales volume, increased sales price and/or reduced costs. If the patent is unable to generate
26
      136
          35 U.S.C. § 284.
27    137
          John M. Skenyon, Christopher Marchese & John Land. Intellectual Property Patent Damages Law & Practice. §1:12.
      138
          AICPA Practice Aid 06 1, Calculating Intellectual Property Infringement Damages, pp. 48 60.
28
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 1          future profits to a reasonable degree of certainty, the patent’s value is speculative.

 2   154. Reasonable royalties are commonly used to calculate damages for patents. Less commonly, they can

 3          be used to calculate damages for infringement of trademark and trade dress. In this context, they

 4          apply where other forms of damages are not available or cannot be proved with reasonable certainty.

 5          This is another reason that I apply a reasonable royalty only after an evaluation of other forms of

 6          damages.

 7   Royalty Base

 8   155. Most reasonable royalty damage amounts are expressed as a reasonable royalty rate times an accused
 9          base. The rate may be expressed as a percent of accused sales dollars, as a per-unit dollar amount or a
10          lump sum. Regardless of the form, reasonable royalty damages are often calculated on a “base” of
11          sales of a particular infringing product or uses of a particular infringing process. 139
12   156. The use of accused sales as a base for determining a reasonable royalty is not always a straight
13          forward determination, even assuming a specific identification of accused product sales. The accused
14          product may contain and the relevant revenue may result from multiple other features in addition to
15          the protected by the intellectual property element at issue. Therefore, the accused element of an
16          accused product may represent only a portion of the value of the total accused product. The use of the
17          total revenues obtained from sales of an accused product as the royalty base when the accused
18          element of the accused product represents only a portion of the total product is referred to an
19          application of the entire market value rule (“EMVR”).
20   157. The Federal Circuit has considered the historical and ongoing use of the EMVR. “For the entire
21          market value rule to apply, the patentee must prove that the patented related feature is the basis for
22          customer demand” of the entire accused product. 140 The Federal Circuit rulings “do not allow
23          consideration of the entire market value of accused products for minor improvements simply by
24          asserting a low enough royalty rate.” 141 A recent case applied the following on a three-prong test.
25          “The entire market value rule in the context of royalties requires adequate proof of three conditions:
26
      139
          Rite Hite, 56 F.3d at 1554, see also Del Mar Avionics v. Quinton Instrument Co., 836 F.2nd 1320 (Fed. Cir. 1987).
27    140
          Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1324 (Fed. Cir. 2009).
      141
          Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292, 1320 (Fed. Cir. 2011).
28
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 1             (1) the infringing components must be the basis for customer demand for the entire machine

 2             including the parts beyond the claimed invention; (2) the individual infringing and non-infringing

 3             components must be sold together so that they constitute a functional unit or are part of a complete

 4             machine or single assembly of parts; and (3) the individual infringing and non-infringing components

 5             must be analogous to a single functioning unit. It is not enough that the infringing and non-infringing

 6             parts are sold together for mere business advantage.142

 7   158. Alternatives to the use of the entire market value rule exist. One method of establishing a royalty

 8             base that relates only to the patented components within an entire market is through an apportionment

 9             of the entire market value. An apportionment of the entire market value seeks to identify the portion

10             of the entire market value that relates only to the protected element. There are no predefined or

11             required methods to accomplish an apportionment. Similarly, a party may structure a royalty on a per

12             unit basis rather than using revenues as a basis for the calculation. The guiding principle in allocating

13             costs and revenues within the accounting profession is that such allocations should be systematic and

14             rational.

15   159. The individual accused smartphone and tablet products of Samsung are comprised of a number of

16             patented and un-patented elements. Accordingly, I have considered the effect of the entire market

17             value of the products and elected to structure my royalty damage on an individual per unit basis and

18             not the total revenue of the accused products. Further, as discussed below, I take steps to apportion

19             the overall royalty rate when considering the total profit contributions of the accused products. As

20             reflected in Exhibit 20, I use the number of accused units sold and not revenue as the basis on which

21             to calculate a royalty for each asserted item of Apple Intellectual Property In Suit.

22   Royalty Rate

23   160. The determination of the appropriate reasonable royalty rate was completed on the basis of each

24             individual item of Apple Intellectual Property In Suit. As previously disclosed, I have assumed that

25             every item of Apple Intellectual Property In Suit is both valid and infringed. However, the final

26             decision by the Court may involve a determination of validity and infringement of only a subset of

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      142
            Cornell Univ. v. Hewlett Packard Co., 609 F. Supp. 2d 279, 268 87 (N.D.N.Y. 2009) (“Cornell II”) (internal citations omitted).
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1             the total number of asserted items of Apple’s Intellectual Property In Suit. For this reason it is

 2             necessary that a rate be assigned individually to every item of Apple Intellectual Property In Suit. In

 3             this way, once the Court has made a final determination concerning which items of Apple Intellectual

 4             Property In Suit are valid and infringed, the Court can then add up the resulting damages associated

 5             with each valid and infringed item of intellectual property. The individual rates for each item of

 6             Apple Intellectual Property In Suit are displayed on Exhibit 20. The rates were determined as

 7             follows.

 8   161. I began my determination of the appropriate reasonable royalty rate for each item of the Apple

 9             intellectual property by considering the value of economic benefits associated with the alleged use of

10             each item. I developed reference points for each item of Apple Intellectual Property In Suit through

11             the consideration of three standard valuation methods referred to as the cost, income and market

12             approaches. 143

13   The Cost Approach

14   162. The cost basis approach is generally based on the cost to an entity to develop or replace the specific

15             technology in question. The basis of my cost reference point for Samsung is the total cost of replacing

16             or removing the accused element from Samsung’s accused smartphones and tablets when and if

17             deemed possible. I have conservatively limited my calculation of this cost to the opportunity cost

18             represented by the amount of lost operating profits incurred by Samsung during the period of time

19             Samsung would have been out of the market developing, designing, testing and implementing an

20             acceptable non-infringing substitute. There would be additional out-of-pocket costs associated with

21             the development, design, testing and implementation of an acceptable non-infringing substitute and I

22             intend to add such costs to my calculation should they become available in the future.

23   163. I have based the period of time Samsung would have been out of the market developing, designing,

24             testing and implementing an acceptable non-infringing substitute on the opinion of Apple’s technical

25             experts as identified on Exhibit 20 and Samsung and Apple evidence regarding the amount of time

26             required in the ordinary course to design, develop, test and implement new smartphone and tablet

27
      143
            AICPA Practice Aid 99 2, Valuing Intellectual Property & Calculating Infringement Damages, (1999), pp. 32, 38, and 41.
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1             features.

 2   164. As discussed throughout my report, I have performed my calculations on an item by item basis for

 3             Apple Intellectual Property In Suit. Additionally, I make an ultra conservative assumption and

 4             assume that the individual time required to replace each individual item of Apple Intellectual

 5             Property In Suit would occur at the same time.

 6   165. Accordingly, I calculate the total number of smartphones and tablets that would not have been sold

 7             by Samsung during the period of time they would have been out of the market replacing all accused

 8             Apple Intellectual Property In Suit. I derive the total opportunity cost by multiplying the average

 9             gross profit for a Samsung Smartphone and Tablet over the total accused time period times the

10             number of units not sold while Samsung would have been out of the market. Next, I divide that total

11             opportunity cost amount for smartphones and tablets by the total number of accused smartphones and

12             tablets to produce a per unit opportunity cost for smartphones and tablets. Finally, I allocate the

13             overall opportunity cost for smartphones and tablets between the individual items of Apple

14             Intellectual Property In Suit based on the number of categories involved. The calculation of the

15             individual per unit Samsung opportunity cost is illustrated on Exhibits 39.1 to 39.4 and the final

16             results are summarized on Exhibit 39.

17   166. There are no cost basis rates available for Apple. I have interviewed various Apple representatives as

18             identified elsewhere in my report and understand that the amount of research and development costs

19             that were required to design, develop, test and implement the embodiment of the various Apple

20             Intellectual Property In Suit was significant. Over the past three years Apple has spent between two

21             and three percent of net sales on research and development with expenses of $2.4 Billion, $1.7

22             Billion, and $1.3 Billion in 2011, 2010, and 2009 respectively. 144 The importance of research and

23             development is echoed in the following statement from Apple’s 10-k, “The Company continues to

24             believe that focused investments in R&D are critical to its future growth and competitive position in

25             the marketplace and are directly related to timely development of new and enhanced products that are

26             central to the Company's core business strategy. As such, the Company expects to make further

27
      144
            Apple Inc. Form 10 K, fiscal year ended 9/24/11, pp. 35 36.
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1             investments in R&D to remain competitive.” 145 However, Apple does not track the individual

 2             research and development costs associated with individual patents, individual features or other forms

 3             of intellectual property in the ordinary course.

 4   167. The rates discussed above allocate the total cost of replacement by the number of accused units.

 5             Therefore, I do not further apportion the amount when calculating a reference amount.

 6   The Market Approach

 7   168. The market approach to the valuation of intellectual property is based on the consideration of other

 8             market comparable transactions. I have reviewed and analyzed both Apple and Samsung’s licensing

 9             activity and searched the public domain for market comparable rates specific to or comparable to the

10             Apple Intellectual Property in Suit. I explain the result of my analysis for each as follows and have

11             summarized my results on Exhibit 40.

12   169. Apple – Based on my review of the evidence produced in this case I have identified the following

13             sources that relate to Apple’s licensing of the Apple Intellectual Property In Suit as well as Apple’s

14             general licensing policies and procedures.

15             x Apple’s policy is to not license to anyone its design elements as represented by Apple’s asserted

16             design patents and trade dress. Accordingly, this sets a very high but un-quantifiable rate for Apple’s

17             asserted design patents and trade dress. This policy is reinforced and confirmed by Apple’s refusal to

18             offer Samsung a license to design elements and its specific directives regarding copying during the

19             parties’ discussions about the Apple Intellectual Property In Suit. 146

20             x Apple has not licensed any of the Apple Intellectual Property In Suit outside of the inclusion of

21             some of the patents as a part of a few select global cross licenses and there is no established rate

22             associated with any Apple Intellectual Property In Suit.

23             x Some of the Apple utility patents in suit are included on a list of patents prepared in recent periods

24             that Apple will not license to other companies.

25             x Apple’s approach is to use its intellectual property to protect proprietary features of its products as

26             opposed to licensing as a means of generating revenue.

27    145
            Apple Inc. Form 10 K, fiscal year ended 9/24/11, pp. 35 36.
      146
            Deposition of Chip Lutton, Jr., July 26, 2011, pp. 52, 117.
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1          x There are three agreements that cover, at least in part, some of the Apple Intellectual Property in

 2          Suit.

 3          IBM Cross License

 4   170. The first agreement between Apple and IBM took place in 1991, where Apple and IBM each licensed

 5          their worldwide patents, on a non-exclusive basis, including utility models and design patents for

 6          registration of type fonts (but not including any other design patents or registrations), issued by

 7          October 1, 1991 and all patent applications with an effective filing date prior to October 1, 1991.

 8

 9                                                                              Apple and IBM further engaged in another

10          similar cross-license agreement on December 18, 2002.                   This cross-license agreement captures

11          patents, owned by either party, issued by October 25, 2012 or all patent applications with an effective

12          filing date prior to October 25, 2012.

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18          Microsoft Cross License

19   171. Apple entered into a cross-license agreement with Microsoft Corporation on August 5, 1997.

20          Licensed patents include all worldwide utility patents, utility models, and equivalent rights, and all of

21          its worldwide design patents and design registration relating to user-interface components for a

22          computing or information processing device before 2002. The agreement also included an “anti-

23          cloning” provision which kept the parties from copying each other’s products. Apple was to pay

24          52.5% of the total payment made by Microsoft to OTLC, of which Apple owns 50% of the common

25    147
          Patent Cross License Agreement between Apple Inc. and International Business Machines Corporation, dated October 1, 1991
      (AppDel0158967 to AppDel0159005).
      148
26        Patent Cross License Agreement between Apple Inc. and International Business Machines Corporation, dated December 18,
      2002 (APLNDC0001221082 to APLNDC0001221113).
      149
          License Amendment between Apple Computer, Inc. and International Business Machines Corporation, dated March 31, 2006
27    (APLNDC00014215 to APLNDC000142224).
      150
          Discussion with Boris Teksler.
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1          stock, for any license, settlement, judgment or other rights under any and all OTLC patents, less half

 2          of any costs that OTLC incurs in conjunction with such Microsoft patent activities. Microsoft was to

 3          pay a one time lump sum payment of $93,076,924 to Apple. The agreement term was five years from

 4          the effective date. 151 I understand this cross license covers includes only the ‘002 and ‘891 Patents In

 5          Suit. 152

 6          Nokia Cross License and Settlement

 7   172. In June 2011, Apple also entered into a provisional license agreement with Nokia in a connection

 8          with a settlement of litigation between the parties. 153

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19   173. It is my opinion that the three licenses do not provide a relevant comparable reference rate for the

20          Apple Intellectual Property In Suit. The IBM license which includes all of the utility patents in suit

21          also includes a host of other intellectual property that is unrelated to the utility patents in suit.

22          Furthermore, IBM does not compete in the wireless device industry, an important characteristic when

23          establishing a rate as comparable. The Microsoft license is a broad cross license covering two of the

24          utility patents in suit as well as a host of other intellectual property that is unrelated to the utility

25    151
          Patent Cross Licenses Agreement between Apple Inc. and Microsoft Corporation, dated August 5, 1997 (APL ITC796
      0000010019 to APL ITC796 0000010040).
      152
26        Discussion with Boris Teksler.
      153
          Deposition of Chip Lutton, Jr., July 26, 2011, p. 66.
      154
          Patent License Agreement between Nokia and Apple Inc., dated June 12, 2011 (APLNDC X0000007220 to APLNDC
27    X0000007335).
      155
          Deposition of Chip Lutton, Jr., July 26, 2011, p. 66.
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1          patents in suit. The Nokia license was entered into in settlement of litigation between the parties for

 2          numerous patents involved in multiple litigations. Nokia is also differently situated than Samsung

 3          and the scope of its infringement of Apple’s intellectual property was different. Further, the ‘381

 4          Patent is just one of many patents given consideration in that settlement and therefore the agreement

 5          does not serve as a comparable reference point.

 6   174. Apple participated in a series of licensing negotiations with Samsung that included the utility patents

 7          in the Apple Intellectual Property In Suit. I understand that the first meeting between Apple and

 8          Samsung regarding Apple’s concern that Samsung was “copying Apple’s products” occurred in July

 9          2010 in Cupertino, CA. 156 The meeting included Apple’s then CEO Steve Jobs and COO Tim Cook

10          as well as Samsung COO J.Y. Lee. 157 The July 2010 meeting was followed up with August and

11          September 2010 meetings between other Apple and Samsung representatives 158 in which Apple

12          provided substantial additional information about the nature and scope of Samsung’s infringement of

13          Apple’s intellectual property. These discussions led to an October 2010 meeting in Washington, DC

14          between Apple Senior Vice President and General Counsel, Bruce Sewell, Apple Senior Director and

15          former Chief Patent Counsel, Chip Lutton, and Apple Director of Patent Licensing and Strategy,

16          Boris Teksler, as well as Dr. Seung Ahn and KJ Kim from Samsung. 159 The October 2010 licensing

17          discussion yielded a proposed framework for a license by Apple that included a proposed $30 per

18          Samsung licensed smartphone and $40 per licensed touchscreen tablet that would include some but

19          not all of the utility patents in suit and none of the design patents. 160 Chip Lutton testified that the

20          tablet rate of $40 per licensed touchscreen tablet was to be reduced over some period of time to a

21          lesser royalty, proposed initially to be a $30 per unit royalty after two years. 161

22   175. Apple indicated on multiple occasions throughout the licensing discussion meetings described above

23          that Apple had no interest in licensing its design patents or trade dress to Samsung and also indicated

24
      156
          Deposition of Chip Lutton, Jr., July 26, 2011, pp. 21 and 24.
25    157
          Deposition of Chip Lutton, Jr., July 26, 2011, p. 23.
      158
          Deposition of Chip Lutton, Jr., July 26, 2011, pp. 17 and 118.
      159
26        Deposition of Chip Lutton, Jr., July 26, 2011, p. 171.
      160
          Samsung-Apple Licensing Discussion, October 5, 2010 (APLNDC000010886-917 at APLNDC000010897); Discussion with
      Boris Teksler.
27    161
          Deposition of Chip Lutton, Jr., July 26, 2011, p. 192.; Samsung-Apple Licensing Discussion, October 5, 2010
      (APLNDC000010886-917 at APLNDC000010897).
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1          that certain utility patents would need to be excluded. When asked whether Samsung was offered a

 2          license in the August 4, 2010 meeting, Chip Lutton stated “if Samsung wanted to continue to use

 3          Apple’s utility patents in its smartphones, as documented in the – in the infringement by the Android

 4          – various layers of the Android system, the message to Samsung was that we were willing to work

 5          with them on – on that. We were not willing to license them the design patents or the design aspects

 6          of our product.” 162 Mr. Teksler also confirmed that certain of the utility patents (including the ‘381,

 7          ‘915, and ‘163 Patent) that have been asserted in this lawsuit would have been excluded from any

 8          arrangement between Apple and Samsung. 163

 9   176. One reference point I also considered is Apple’s Made for iPhone, iPad, and iPod program. Mark

10          Buckley described the program as originating when Apple only sold iPods. The program made it

11          possible for third parties to manufacture an accessory and with Apple’s permission place a “Made for

12          iPod” logo on the packaging in exchange for a fee.164 I reviewed the standard Made for iPod License

13          and Made for iPod License iPhone/iPad Supplement and found that the license grants a third party a

14          limited, non-exclusive license to manufacture Licensed Products incorporating Licensed Technology

15          as well as a non-exclusive right to use the Made for iPod, iPhone, and iPad logos on “product

16          packaging and in the user guide for each Licensed Product, and in any advertisements, web pages,

17          and other collateral materials promoting the Licensed Products.” 165 The purpose of the agreement is

18          to create a market for complimentary, not competing products. 166 A Licensed Product is defined as

19          “a Proposed Product that (i) bears Licensee’s brand, (ii) controls or interfaces, communicates or

20          otherwise interoperates with Compatible iPod Products in accordance with Documentation and this

21          Use License, and (iii) has been certified in accordance with Section 2.” 167 According to the terms of

22          the agreement, the Made for iPhone, iPad, and iPod program requires a royalty payment of $4.00 for

23          each Licensed Product unit sold. Although this license is not a comparable license to any of the

24          Apple Intellectual Property In Suit, I do view this license rate of $4.00 per unit as a floor for the

25    162
          Deposition of Chip Lutton, Jr., July 26, 2011, p. 52.
      163
          Discussion with Boris Teklser.
      164
26        Mark Buckley Deposition, February 23, 2012, p. 58.
      165
          Made for iPod License (APLNDC Y000148459 to APLNDC Y000148473); Made for iPod License iPhone/iPad Supplement
      to Contract # (APLNDC Y000148474 to APLNDC Y000148478).
27    166
          Discussion with Boris Teksler.
      167
          Made for iPod License (APLNDC Y000148459 473 at APLNDC Y000148470).
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1          license of any single item of intellectual property contained in the asserted design patents, trade dress,

 2          and trademarks.

 3   177. I examined other license agreements produced by Apple in this litigation. Given their scope, their

 4          timing, the relationship between Apple and Samsung, and the specific intellectual property being

 5          asserted by Apple, I concluded that none provide a comparable arrangement to the license that

 6          Samsung would need to take for the specific utility patents, design patents and other design rights that

 7          are being asserted by Apple in the present case. I state no opinions regarding whether and to what

 8          degree that they may be comparable or useful in evaluating any reasonable royalty that Samsung

 9          seeks for the patents that it has asserted against Apple.

10   178. Samsung- Based on my review of the evidence produced in this case I have identified the following

11          sources that relate specifically to Samsung’s licensing activities.

12   179. I have reviewed the licenses that Samsung has produced in this litigation. Given their scope, their

13          timing, the relationship between Apple and Samsung, and the specific intellectual property being

14          asserted by Apple, I concluded that none provide a comparable arrangement to the license that

15          Samsung would need to take for the specific utility patents, design patents and other design rights that

16          are being asserted by Apple in the present case. I state no opinions regarding whether and to what

17          degree they may be comparable or useful in evaluating any reasonable royalty that Samsung seeks for

18          the patents that it has asserted against Apple.

19   180. I understand Samsung made an offer to Apple prior to the commencement of this litigation.

20          According to Mr. Lutton, Samsung gave a presentation to Apple on November 2, 2010 as part of the
                                                                          168
21          on-going licensing discussion between the parties.                  The presentation identifies a 1 percent royalty

22          rate for both Apple and Samsung under the assumption that “the patent positions for both Apple and
                                     169
23          Samsung are equal.”            As the presentation suggests, this offer would have resulted in Apple making
                                                        170
24          a balance payment of $234 million.                Mr. Lutton described the circumstances as such, “Samsung

25          took a strange turn of talking about its own intellectual property, and -- and had a view that -- that

26
      168
          Deposition of Chip Lutton, Jr., July 26, 2011, p. 332.
27    169
          Deposition of Chip Lutton, Jr., July 26, 2011, Exhibit 23: Apple Samsung Licensing Discussion, p. 5.
      170
          Deposition of Chip Lutton, Jr., July 26, 2011, Exhibit 23: Apple Samsung Licensing Discussion, p. 5.
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1          Apple's intellectual property and Samsung's intellectual property were of similar value, but because

 2          Apple was selling more products than Samsung, that Apple should owe Samsung a net balancing
                         171
 3          payment.”          To determine the per unit royalty rate that corresponds to Samsung’s suggested 1

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 5

 6          Samsung.

 7   181. Industry – Based on my review of licensing information regarding the wireless device industry, there

 8          are no directly comparable licenses to the Apple Intellectual Property in Suit in the public domain.

 9   The Income Approach

10   182. The theory behind an income approach is that the value of the patent at issue is equal to the future

11          profitability of the products embodying the patented technology. Although projections of future

12          profits by accused defendants are sometimes used and accepted by the courts as representation of

13          what a defendant expected to make, 173 the actual profits are now known and available and represent a

14          more conservative measure of anticipated profits at the time of the hypothetical negotiation under a

15          “book of knowledge” concept. I have relied on both Apple’s and Samsung’s actual profits as a

16          starting point for my analysis of the value of the Apple Intellectual Property In Suit and a reasonable

17          royalty thereon based on an income approach.

18   183. The net operating income produced through the sale of a smartphone and tablet represents a total

19          competitive return to Apple and Samsung for their deployment of all corporate resources after all

20          necessary operating expenses have been paid. This net return is not the result of the deployment of

21          any single asset. Rather, it represents a composite return on all assets. Various income methods exist

22          as acceptable methods to value individual assets as well as a means to use the isolated value as a basis

23          to charge rent or a royalty for the use of that specific asset. For example, “the capitalization of excess

24          earnings method calculates the expected return on all other assets, and attributes any earnings above

25
      171
          Deposition of Chip Lutton, Jr., July 26, 2011, p. 151.
      172
26        Deposition of Chip Lutton, Jr., July 26, 2011, Exhibit 23: Apple Samsung Licensing Discussion, p. 5.
      173
          In TWM Mfg. Co. v. Dura Corp., 789 F.2d 895, 899 (Fed Cir. 1986), cert. denied, 479 U.S. 852, 107 S. Ct. 183, 93 L. Ed. 2d
      117 (1986), a special master computed reasonable royalty damages based on an internal memorandum written by the infringer’s
27    management just before it started to infringe. The internal memo identified a future profit that was significantly higher than the
      profit margin actually realized by the infringer on the accused products.
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1          and beyond this return to the intangible asset in question.” 174 Another income method referred to as a

 2          “profit split” involves the identification of “the potential stream of income associated with the asset

 3          that could be hypothetically split between the prospective parties.”175 Finally, “the analytical method

 4          is based on the premise that any rate of return in excess of a normal rate of return can be attributed to

 5          the patent. This method takes the profits of the infringer, subtracts the infringer’s normal profit, and

 6          awards some portion of the remainder to the patent owner.”176

 7   184. The following income approach employed and described herein is based on the income approaches

 8          identified in the preceding paragraph. I began my analysis by reviewing the work performed by the

 9          international company Interbrand. Interbrand was established in 1974 and identifies itself as the

10          “world’s largest brand consultancy.”177 Additionally, Interbrand lists Samsung as one of its clients

11          and claims that it “helped Samsung raise its brand value to US 16.8 billion.” 178 Interbrand is also the

12          author of an annual valuation and ranking of the top 100 brands in the world. 179 Interbrand’s

13          approach to the valuation of Samsung and other top 100 brands in the world is an income based

14          approach. Interbrand starts with a company’s overall financial performance and separates the portion

15          of a company’s overall performance that relates to the intangible brand. Interbrand explains that

16          “Financial performance measures an organization’s raw financial return to the investors. For this

17          reason, it is analyzed as economic profit, a concept akin to Economic Value Added (EVA). To

18          determine economic profit, we remove taxes from net operating profit to get to net operating profit

19          after tax (NOPAT). From NOPAT, a capital charge is subtracted to account for the capital used to

20          generate the brand’s revenues; this provides the economic profit for each analyzed year. For

21          purposes of the rankings, the capital charge rate is set by the industry weighted average cost of capital

22          (WACC).” 180 Interbrand’s actual calculation is: operating profits less taxes less an industry weighted

23          average cost of capital (WACC) equals economic value added (EVA). Interbrand then applies its own

24          proprietary factor to the total EVA to determine the role of and ultimately the value of a company’s

25    174
          AICPA Practice Aid 99 2, Valuing Intellectual Property & Calculating Infringement Damages, (1999). p. 49.
      175
          AICPA Practice Aid 99 2, Valuing Intellectual Property & Calculating Infringement Damages, (1999), p. 47.
      176
26        AICPA Practice Aid 06 1, Calculating Intellectual Property Infringement Damages, p. 59.
      177
          http://www.interbrand.com/en/about us/Interbrand about us.aspx.
      178
          http://www.interbrand.com/en/our work/Samsung.aspx.
27    179
          http://www.interbrand.com/en/best global brands/Best Global Brands 2011.aspx.
      180
          http://www.interbrand.com/en/best global brands/best global brands methodology/Overview.aspx.
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1             brand.

 2   185. The Interbrand approach is an income based approach that seeks to isolate the residual benefit

 3             associated with the use of the brand asset. The calculated EVA is “defined as the net operating profit

 4             of a company before interest, less taxes paid, less a charge for debt and equity tied up in the business.

 5             The remaining amount then is a measure of the company’s performance after satisfying the

 6             opportunity cost of all resources employed by the company.” 181

 7   186. I have adopted the Interbrand approach as a means of identifying income based reference rates

 8             associated with Apple’s design patents, trade dress and utility patents. Exhibits 41 and 41.1 to 41.5

 9             set forth the calculations performed to derive the rates associated with the design patents and trade

10             dress and the utility patents. I begin with Apple’s overall company profits and determine that Apple

11             has reported a companywide operating profit for 2010 and 2011 of 30%. 182 I then deduct Apple’s

12             effective tax rate to produce a net operating profit after tax for Apple as a whole. Next, consistent

13             with the Interbrand approach, I deduct the weighted average cost of capital for the industries in which

14             Apple is a participant. The identification of the WACC is identified on Exhibit 41.4. The net result of

15             the prior calculations is the identification of a company wide economic value added amount for

16             Apple. Given the considerable success of Apple in recent years, it is not surprising to see that Apple

17             has earned a considerable premium over the amount required to satisfy the opportunity cost of all

18             resources employed by the company. Finally I deduct the amount of the premium earnings that

19             Interbrand has calculated that are due to the value of Apple’s overall brand. I explain my conversion

20             of Interbrand’s reported value of Apple’s brand to an annual profit percentage on Exhibit 41.5. The

21             remaining residual profit percentage represents the amount of Apple premium profit earned on all

22             products sold after deducting all operating expenses, taxes, all amounts required to provide a return

23             necessary to satisfy the opportunity cost of all resources employed by the Apple, and the return

24             associated with Apple’s brand.

25   187. After completing my analysis of Apple’s overall results, I performed a similar calculation for Apple’s

26             iPhone and iPad products and Samsung’s Accused Products. Exhibit 41.3 details the same

27    181
            Wiley Finance Financial Valuation Applications and Models, Second Edition, James R. Hitchner, Page 1127.
      182
            Apple Inc. Form 10 K, fiscal year ended 9/24/11, p. 43.
28
      EXPERT REPORT OF TERRY L. MUSIKA, CPA
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 1             calculations for the products at issue that were described above for Apple as a whole. However, there

 2             are several additional steps involved in reaching a final per unit rate for the design patents and trade

 3             dress and the utility patents. I make an additional adjustment to the residual profit for both Apple and

 4             Samsung. The Apple companywide profit premium is a blended premium for all Apple products. I

 5             compared Apple’s premium profit on the iPhone and iPads with Apple’s companywide blended

 6             premium profit and determined that

 7                                                                                         . To further isolate the premium residual

 8             margin on just the iPhone and iPad products, I deducted the companywide premium margin from the

 9             total residual premium on the iPhones and iPads. This resulted in the isolation of a residual premium

10             on just the iPhones and iPads. A similar calculation was made to Samsung’s accused products using

11             Apple’s ratio of brand and residual to total operating margin as a means of allocating Samsung’s

12             accused product EVA or residual premium profit on accused products.

13   188. I next converted the premium residual profit rates to per unit royalty amounts. Exhibit 41.2 displays

14             the results of multiplying the Interbrand brand rate times the average selling price of Apple’s

15             combined iPhones and iPads to produce a final per unit royalty reference amount for Apple’s design

16             patents and trade dress of $22.00. The final per unit royalty reference amount for Samsung for the use

17             of Apple’s design patents and trade dress is $9.00. These rates, as previously explained, are based on

18             the value assigned by Interbrand to Apple’s brand. The entire rate is applicable to the design patents

19             and trade dress because Apple has not and would not agree to allow their brand to be partially eroded.

20             Apple’s brand, as discussed elsewhere in this report, is considered one of the most valuable brands in

21             the world. Apple has built a distinctive brand identity through its revolutionary and distinctive design

22             applied across the entire Apple ecosystem. Further, Apple has consistently refused to consider

23             allowing anyone, let alone a direct competitor, to confuse the market and license any aspect of its

24             product design. 183 Finally, the design patent and trade dress rate is the same rate for each of the

25             individual design patents and items of trade dress as well as the total. The economic impact of an

26             infringement of one of the items is equal to the impact of the design patents and trade dress as a

27
      183
            Deposition of Chip Lutton, Jr., July 26, 2011, p. 52.; Discussion with Boris Teksler.
28
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 1         whole. Therefore, the reasonable royalty damage calculation for the design patents and trade dress

 2         treat all design patents and trade dress as if they were licensed as a bundle at one rate. That rate is

 3         applied only once for all accused products and not for every design patent and item of trade dress.

 4         This avoids any duplication in the overall calculation of damages. However, the rate would be the

 5         same for only one design patent or item of trade dress should the final trial outcome involve only one

 6         of the individual design patents or items of trade dress.

 7   189. Exhibit 41.2 also displays the results of multiplying the residual premium profit rate associated with

 8         just the iPhones and iPads to the average selling price of the combined products. The iPhone and iPad

 9         products were combined to reflect the economic association of the two products. As discussed

10         throughout my report, Apple and Samsung develop, market and sell these products as part of an

11         overall ecosystem. A customer gained through a smartphone sale represents a likely future or

12         contemporaneous sale of a tablet and other related products within the ecosystem. Because of this

13         close economic association, Apple would not license the patents on a product by product basis to a

14         direct competitor.

15   190. I determined the Apple reference rate for Apple’s utility patents by multiplying the residual profit

16         premium for combined iPads and iPhones times the average selling price of Apple’s combined

17         iPhones and iPads to produce a final per unit royalty reference amount for Apple’s utility patents of

18         $40.00. The final per unit royalty reference amount for Samsung for the use of Apple’s utility patents

19         is $7.00. The reference rates for Apple and Samsung were then allocated between the various utility

20         patents based on the relative strength of each utility patent and is summarized on Exhibit 41.

21    Hypothetical negotiation

22    191. After identifying the above conceptual range of benefit values associated with the alleged use of the

23          accused utility patents, design patents, trademark registrations, and trade dress registrations by

24          Samsung, I next performed a hypothetical license analysis.

25    192. I based the hypothetical negotiation on a proper negotiation at the date that Samsung first began to

26          infringe Apple’s patents in June of 2010, consistent with my understanding of the legal criteria

27          applied in the present circumstances. I assume that the parties would negotiate over all patents at

28          that time even though some patents issued later in 2010 and 2011. Given the scope of competition
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 1           between the parties, the reasonable royalty arising from a hypothetical negotiation regarding these

 2           later patents would only increase the reasonable royalty that would result from the analysis that I

 3           have performed. I also assume that the parties would have negotiated regarding all products at the

 4           same time.

 5    193. I approached the hypothetical negotiation by first considering the economic expectations of the

 6           Plaintiff and the Defendants within a hypothetical setting. The above reference range information

 7           provided a meaningful starting point in considering the hypothetical negotiation between the

 8           licensee and the licensor. The reference range is part of the negotiation framework.

 9    194. The reference range information calculated above should not be considered as a floor or a ceiling,

10           but rather as a framework for the determination of the reasonable royalty damage amount under a

11           hypothetical negotiation. A licensor (Apple) would prefer to receive the maximum they could

12           achieve and the licensee (Samsung) would prefer to pay nothing at all. The resulting reference range

13           is based on the minimum a licensor should be willing to consider and the maximum a licensee

14           should consider paying based on the relevant valuation data. The determination of these conceptual

15           reference points is discussed in the American Institute of Certified Public Accountants’ intellectual

16           property consulting guide, “Valuing Intellectual Property and Calculating Infringement

17           Damages.” 184      The licensee should be willing to consider paying up to a maximum amount that

18           would still provide for “an acceptable economic return on all resources used in the production,

19           distribution, selling, management, and financing of the product.”185 The minimum a licensor should

20           be willing to receive would be equal to the next best alternative to the use of the patent at issue.

21    195. I performed a Georgia-Pacific analysis (Georgia-Pacific Corp. v. United States Plywood Corp.)

22           before determining the final amount of royalty adequate to compensate for infringement. 186 The

23           Georgia-Pacific case identified 15 factors that are frequently used when determining the appropriate

24           reasonable royalty rate in the context of a hypothetical negotiation.

25

26    184
          AICPA Practice Aid 99 2, Valuing Intellectual Property & Calculating Infringement Damages, (1999), p. 78.
      185
          AICPA Practice Aid 99 2, Valuing Intellectual Property & Calculating Infringement Damages, (1999), p. 78.
27    186
          Georgia Pacific Corp. v U.S. Plywood Corp., 318 F. Supp. 1116, 1120 (S.D.N.Y. 1970), modified by 446 F.2d 295 (2d Cir.
      1971).
28
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 1    Georgia-Pacific Analysis

 2    196. The Georgia-Pacific case is an often-cited approach used in developing a reasonable royalty damage

 3          amount resulting from the hypothetical negotiation. The Georgia-Pacific factors provide a listing of

 4          criteria that a willing licensor and willing licensee would be likely to consider in negotiating a

 5          royalty. I have used the Georgia-Pacific factors as a framework in which to consider the starting

 6          conceptual reference points and ultimately determine an amount adequate to compensate for the

 7          infringement. The 15 Georgia-Pacific factors and the consideration that I gave each are described

 8          below.

 9    197. All four categories of intellectual property (i.e., utility patents, design patents, trade dress and

10          trademarks) qualify for a reasonable royalty form of damage, although it is considered an alternative

11          basis for trade dress and trademarks when other methods are not available. I have analyzed each

12          category of damage separately and considered the relevance of each item of intellectual property

13          within each category on smartphones and tablets. My analysis of each category of intellectual

14          property and the individual items within each category to the extent necessary resulted in the

15          following conclusion concerning the application of a specific rate for each item to smartphones and

16          tablets.

17    x     Utility Patents – Five of the seven utility patents relate to both smartphones and tablets and all seven

18          relate to tablets. I have evaluated the five utility patents that apply to both smartphones and tablets

19          on an individual patent by patent basis and determined one rate that would be applicable to both

20          smartphones and tablets. I evaluated the two utility patents that applied only to tablets individually

21          and determined the rate that would apply to only tablets for each of these two patents.

22    x     Design Patents, Trade Dress, and Trademarks – Each of the design patents and each of the trade

23          dress relate specifically to either smartphones or tablets but not both. The trademarks relate to both

24          smartphones and tablets. I have evaluated the group of design patents, trade dress, and trademarks

25          both individually and as a group. I have determined one rate that applies to the entire group of

26          design patents, trade dress, and trademarks for smartphones and tablets.

27    198. The results of each Georgia-Pacific factor and its impact on each item of Apple Intellectual Property

28          In Suit is reflected on Exhibits 42 and 43.
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 1    Factor 1: The royalties received by the patentee for the licensing of the patent-in-suit, proving or

 2    tending to prove an established royalty.

 3    199. I have reviewed Apple’s disclosed licenses and determined that there are no royalties received by

 4              Apple for any of the Apple Intellectual Property In Suit that would prove or tend to prove an

 5              established royalty for this specific intellectual property. The three disclosed licenses are settlements

 6              and/ or cross licenses of patent portfolios wherein Apple licenses a portfolio of licenses in return for

 7              the right to practice the licensee’s portfolio of licenses. The licenses are based on an even exchange

 8              wherein no royalty is paid or a combination of lump sum and limited running royalty payments for

 9              the portfolio of patents or are a settlement of litigation.

10    200. I understand from my discussion on March 20, 2012, with Boris Teksler, Director of Patent

11              Licensing & Strategy for Apple that it is Apple’s policy not to license this specific Apple’s

12              Intellectual Property In Suit as individual patents. This point is particularly true with respect to any

13              direct competitors of Apple as evidenced further in the license negotiations with Samsung.

14    201. This factor demonstrates that there is no established license for any of the asserted Apple intellectual

15              Property In Suit.

16    Factor 2: The rates paid by the licensee for the use of other patents comparable to the patents-in-

17    suit.

18    Utility Patents applicable to both smartphones and tablets (‘002, ‘381, ‘915, ‘891, and ‘163)

19    202. I have reviewed Samsung’s disclosed license and determined that there are no royalties paid by

20              Samsung for the use of other intellectual property comparable to the specific Apple Intellectual

21              Property In Suit in the manner discussed above. Further I understand that Mr. Lee testified that

22              Samsung has no licenses comparable to the license that Samsung would need for the Apple

23              Intellectual Property in Suit. 187

24    203. This factor demonstrates that there are no rates paid by Samsung for the use of other intellectual

25              property comparable to the Apple Intellectual Property In Suit. I state no opinions regarding

26              whether and to what degree they may be comparable or useful in evaluating any reasonable royalty

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      187
            Deposition of Jun Won Lee, March 6, 2012, pp. 174 175.
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 1          that Samsung seeks for the patents that it has asserted against Apple.

 2    Factor 3: The nature and scope of the license, as exclusive or nonexclusive; or as restricted or

 3    nonrestricted in terms of territory or with respect to whom the manufactured product may be sold.

 4    204. The terms of a license for all categories of intellectual property for both smartphones and tablets

 5          would be non-exclusive and unrestricted in terms of sales of products developed and/or

 6          sold/provided in the U.S. The rate on a non-exclusive and unrestricted license is generally lower

 7          than an exclusive license.

 8    205. This factor does not provide support for a specific rate for the Apple Intellectual Property In Suit.

 9          The assertion of the Apple intellectual Property In Suit is based on U.S. law. However, there are

10          international economic benefits associated with the use of the Apple Intellectual Property In Suit in

11          smartphones and tablets in the U.S. As discussed earlier in this report, both Apple and Samsung

12          pursue a global ecosystem approach wherein the sale of one product promotes the sale of additional

13          items within the ecosystem throughout the world. Accordingly, the scope of the license is limited

14          based on the geographic restrictions resulting from the application of U.S. law. However, there are

15          international economic benefits to Apple and to Samsung for the use of the relevant technology.

16          Consequently, the scope of the hypothetical license for the Apple Intellectual Property In Suit is

17          neutral.

18    Factor 4: The licensor’s established policy and marketing program to maintain its patent monopoly

19    by not licensing others to use the invention or by granting licenses under special conditions designed

20    to preserve that monopoly.

21    206. I am not aware of any established or written policy concerning Apple’s licensing of the Apple

22          Intellectual Property In Suit or other Apple intellectual property to others outside of the context of

23          licensing of technology declared essential to certain standards. I further understand from my

24          discussion with Boris Teksler that Apple has never licensed any of its intellectual property as

25          individual patents. The only licenses that Apple has considered or executed were cross licenses

26          involving the exchange of a portfolio of patents and such cross licenses have never included design

27          patents, trade dress or trademarks for mobile devices such as smartphones or tablets.

28    207. Further, I understand that Apple’s policy is to use the intellectual property it generates to protect
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 1          proprietary features of its products and designs. Apple therefore does not have a practice of

 2          permitting others to use its intellectual property and primarily generates revenue using its intellectual

 3          property from product sales and not from licensing activities.

 4    208. Further I understand that Apple currently maintains a list of patents that Apple will not license to

 5          other companies. This list has been disclosed in negations with other competitors and includes

 6          certain of the Apple Intellectual Property In Suit including the ‘915, ‘381 and ‘163 utility patents, all

 7          design patents, and its trade trade dress and trademarks.

 8    209. This factor does not provide support for a specific rate but does strongly indicate Apple’s

 9          unwillingness to negotiate a license at essentially any price versus holding the Apple Intellectual

10          Property In Suit for Apple’s exclusive use.

11    Factor 5: The commercial relationship between the licensor and licensee, such as, whether they are

12    competitors in the same territory in the same line of business; or whether they are inventor and

13    promoter.

14    210. Apple and Samsung directly and aggressively compete in both the smartphone and tablet markets. In

15          deposition, Brian Rosenberg, Samsung Telecom Americas’ Senior Vice President of Sales for

16          Mobile, 188 stated that “every Samsung phone competes” against the iPhone 3GS. 189 When asked

17          “What Samsung products compete against the iPad 2,” Mr. Rosenberg responds, “So I would say the

18          products we have in the market today on the tablet are [sic] the 8.9-inch tablet and the 10.1-inch

19          tablet.” 190 The opposing expert, Mr. Wagner, also acknowledges in his deposition that Samsung is

20          currently a key competitor to Apple both with respect to the iPhone and iPad.191 Both stock analysts

21          and other market analysts identify these two companies as being direct competitors.192 According to

22          Strategy Analytics, “Apple’s key competitors include Nokia, Samsung, RIM, HTC in

23          Smartphones.” 193 For the tablet market, the Samsung Galaxy Tab is listed among the “contender[s]

24
      188
          Deposition of Brian Rosenberg, January 27, 2012, p. 8.
25    189
          Deposition of Brian Rosenberg, January 27, 2012, pp. 72 73.
      190
          Deposition of Brian Rosenberg, January 27, 2012, p. 77.
      191
26        Deposition of Michael J. Wagner, September 14, 2011, pp. 149 150 and pp. 182 183.
      192
          Gartner Press Release. “Gartner Says Worldwide Mobile Phone Sales Grew 35 Percent in Third Quarter 2010; Smartphone
      Sales Increased 96 Percent” November 10, 2010. J.D. Power, “2009 Wireless Consumer Smartphone Satisfaction Study Volume
27    1,” April 30, 2009 (SAMNDCA00190150 and 156 of SAMNDCA00190144 243).
      193
          Strategy Analytics, “Competitor Profile: Apple,” July 20, 2011 (SAMNDCA00177805 of SAMNDCA00177800 07).
28
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 1          to the iPad” by Ipsos. 194 RBC Capital Markets Equity Research states regarding the tablet market,

 2          “After Apple’s expected continued leadership, we see RIM, HTC, Motorola, Samsung, and HP as

 3          strong contenders.” 195

 4    211. The significant level of competition is also represented by the obsessive focus Samsung has on

 5          beating Apple. Samsung’s view of its competition with Apple is reflected in both its internal

 6          documents and its actions. The Samsung Mobile Marketing Group stated in its presentation, “Apple

 7          is the main competitor of Samsung in terms of touch phone.” 196 In another internal presentation

 8          titled “Beat Apple,” STA proposes a “Beat Apple” strategy framed around three initiatives: “(1)

 9          Divert Apple’s inflow of subscribers (divert Apple net adds) (2) Increase Apple’s outflow of

10          subscribers (increase Apple churn) (3) Plug STA’s leak (increase STA loyalty).” 197 In fact, in a slide

11          titled “STA 2011 Goals for All Departments,” the first goal listed for Wireless Terminals is “#1 in

12          Smartphones (Beat Apple).” 198 Also significant is the tone of Samsung’s advertising campaign

13          launched around Thanksgiving of 2011. Mr. Rosenberg admitted that Samsung calls the campaign

14          the “Fanboys campaign” or the “Next Great Thing campaign.” He describes “Fanboys” as “the

15          people who blindly buy Apple products because they’re Apple products.” 199 Younghee Lee, who

16          runs marketing for Samsung Mobile globally, 200 stated in an email regarding the Apple Fanboys

17          campaign, “For STA to be truly successful in beating Apple in FY’ 12 we need to showcase our

18          relentless product innovation stories (GS II, Galaxy Nexus, Galaxy note, Midas) so we can continue

19          to deposition Apple as a leader and position Samsung as a brand of choice for

20          consumers/retailers.” 201

21    212. The timing of the hypothetical negotiation is significant as well. As discussed earlier, the adoption

22          of smartphone technology by consumers was increasing rapidly in 2010 and early 2011. The

23
      194
          Ipsos OTX MediaCT, “Are we going to take to the tablet?” March 2011 (SAMNDCA00237354 of SAMNDCA00237349 60).
24    195
          RBC Capital Markets, “Wireless Industry Tablet Wars: Differentiate, Scale…or Die,” March 3, 2011 (SAMNDCA00501719
      of SAMNDCA00501719 806).
25    196
          Samsung Mobile Mobile Marketing Group, “Global Segmentation Update Focused on Smartphone & Tablet U&A,”
      August 2011 (SAMNDCA10056663 of SAMNDCA10056653 710).
      197
26        Deposition of Justin Denison, January 25, 2012, Exhibit 1266 (SAMNDCA10374461 of SAMNDCA10374460 98).
      198
          Samsung Electronics, “2011 Strategy Planning” (SAMNDCA00256507 of SAMNDCA00256503 51).
      199
          Deposition of Brian Rosenberg, January 27, 2012, p. 56.
27    200
          Deposition of Brian Rosenberg, January 27, 2012, p. 58.
      201
          Deposition of Brian Rosenberg, January 27, 2012, Exhibit 1281 (SAMNDCA10453262 of SAMNDCA10453260 5).
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 1          industry was undergoing a transition in which millions of consumers would purchase smartphones

 2          and these devices would become the pervasive form of mobile device.             Similarly, the tablet

 3          computer market was growing dramatically following the introduction of the iPad.               These

 4          circumstances, combined with the loyalty that consumers tend to show to the operating system

 5          platform that they choose and the efforts to build broader ecosystems, makes this an important

 6          period for both companies in the marketplace. Under these circumstances, Apple would be even

 7          more relunctant to permit a competitor to use intellectual property that it considered proprietary and

 8          important to promoting its own brand and products.

 9    213. This factor does not provide support for a specific rate but does confirm and reinforce Apple’s

10          unwillingness to license its proprietary assets thereby enabling a direct competitor with the number

11          one goal of beating Apple.

12    Factor 6: The effect of selling the patented specialty in promoting the sales of other products of the

13    licensee; the existing value of the invention to the licensor as a generator of sales of his non-patented

14    items; and the extent of such derivative or convoyed sales.

15    214. The focus of this factor is the extent to which Samsung’s use of the accused products generated sales

16          of Samsung’s other products. An element of this economic factor is the strength of any causal

17          relationship between the sale of non-patented items and the accused technology. The royalty rate

18          and the amount of damages in this case would increase based on the extent of a demonstrated causal

19          connection between Samsung’s non-patented revenue sources and the use of the accused features.

20          On this point, there is little to no disagreement between Apple and Samsung. Both litigants have

21          built a comprehensive strategy around the extent to which the sale of smartphones and tablets

22          contribute to the sale of additional products in the future and the sale of non-patented items such as

23          convoyed and derivative sales.

24    215. Samsung is well aware of the beneficial impact that sales of the accused devices have on the sale of

25          Samsung’s entire ecosystem of products. Samsung documented the strong economic relationship

26          between the sale of accessories and smartphones in a document entitled “Smart Phones Drive Higher

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 1          Accessory Purchases.” 202 Another Samsung document referenced the increase in Apple brand

 2          loyalty due to the use of iPhone, iPhone 3G and the iPhone 3GS accessories. The document stated

 3          that “Accessory Reuse Creates Brand Stickiness” and indicated that the use of iPhone accessories

 4          was a ”compelling reason for consumer to stay with their current brand.” 203 Another Samsung

 5          document indicated that “accessories enhance user experience” by facilitating the use of the device

 6          and accessories in the home, in the car, as entertainment and through increasing productivity. 204

 7    216. As discussed elsewhere in this report. Apple’s pursuit of the Apple ecosystem is a central

 8          component of Apple’s overall business strategy. Chip Lutton testified to the following.

 9          Q          What do you mean by "the ecosystem"?

10          A          I mean -- by "ecosystem," I mean generally the -- the -- the set of services and related

11          products that are sold either by Apple or by third parties that are made to work with or on iPhone

12          devices.

13          Q          What are some of the examples of those other Apple products and services –

14          A          So for Apple –

15          Q           -- as part of the ecosystem?

16          A          So for Apple, it would be iTunes, iAdd, the App store. For third parties, it would be third-

17          party apps that run on the iPhone or other iOS devices, and in competing for attention from those

18          third-party App developers, one of the key things that matters to them is the vitality and market

19          share of the platform. So sales that go to a different platform instead of to Apple's iPhone platform

20          damage Apple in -- in that way, too. 205

21    217. Third party analysts have also commented on the significance of apple’s ecosystem. “Apple’s

22          dramatic expansion of iOS with the iPad, and the continuing success of the iPod Touch, are

23          important sales achievements in their own right with both consumers and enterprises. But more

24          importantly they contribute to the strength of Apple’s ecosystem and the iPhone in a way that

25          smartphone-only manufacturers cannot compete with….While Android is increasingly available on

26    202
          2011 Smartphone Portfolio Strategy, STA Product and Strategy, May 2010 (SAMNDCA00530591   672 at 615).
      203
          2011 Smartphone Portfolio Strategy, STA Product and Strategy, May 2010 (SAMNDCA00530591   672 at 615).
27    204
          2011 Smartphone Portfolio Strategy, STA Product and Strategy, May 2010 (SAMNDCA00530591   672 at 614).
      205
          Deposition of Chip J. Lutton, Jr., July 26, 2011, pp. 328 329.
28
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 1          media tablets and media players like the Galaxy Player, it lags far behind iOS’s multi-device

 2          presence. Apple claims it is activating around 275,000 iOS devices per day on average – that’s a

 3          compelling market for any developer. And developers’ applications in turn attract users.” 206

 4    218. Another independent market research firm stated the following: “Currently Apple has the strongest

 5          potential of creating the most compelling consumer market ecosystem by evolving into a wireless

 6          multimedia “hub” for the consumer. In addition to its efforts to expand its content offerings beyond

 7          music into the area of movies/videos and streaming content, it is also building an ecosystem for

 8          wireless distribution connected via Wi-Fi in the LAN and cellular in the WAN.” 207

 9    219. The far reaching benefits associated with the growing success and acceptance of Apple’s operating

10          system achieved through the introduction of Apple’s innovative smartphone and tablet product

11          offerings is reflected in Apple’s growing inroads into the business computing world. Apple’s Mac

12          sales were once dismissed as a cult following or educational niche market. Today, as a result of

13          Apple’s dominant role in the wireless device market, Apple is challenging Microsoft in an area once

14          considered untouchable. USA Today recently reported that Apple is moving into the business

15          market segment once dominated by Microsoft. USA Today reported that “Microsoft’s corporate

16          Windows business is losing ground to Apple. Apple is hiring sales executive across the U.S. to get

17          more of its products into Fortune 1,000 companies.” 208 The following Forrsights Hardware Survey

18          provides further proof of Apple’s growing success in the business market segment.

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      206
26        Gartner Dataquest, Competitive Landscape: Mobile Devices, Worldwide, 3Q10, November 9, 2010 (SAMNDCA00235579
      596 at 593 594).
      207
          Nokia, RIM & Apple Thrive With value Added Services In Complex Handset Landscape, Strategy Analytics, May 2008
27    (SAMNDCA00189104 115 at 113).
      208
          USA Today, “Apple carving into Microsoft's niche: Corporate workplace,” by Scott Martin, dated 1/30/12.
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 9    220. Earlier in my report I discussed my lost profits calculation and discussed the impact of convoyed

10          sales to Apple. The presence and significance of convoyed sales is reinforced by the fact that Apple

11          accounts for some, but not all, of the accessories sold as a consequence of Apple’s smartphones and

12          tablets that embody the Apple Intellectual Property In Suit in the ordinary course of business. I did

13          not include convoyed sales in my lost profits calculation due to the complexity of the calculation and

14          my inability to segregate convoyed sales made with and/or for current sales versus prior sales.

15          Nonetheless, the economic relationship exists, even if the quantification to a reasonable degree of

16          certainty is much harder. The inability to calculate and include convoyed sales in my lost profit

17          damages is one of the reasons that Apple has been irreparably harmed and will continue to be

18          irreparably harmed absent injunctive relief. Further, while it is not possible to capture all of the lost

19          convoyed profits in a reasonable royalty damage, the very strong and acknowledged connection by

20          both parties of the sale of smartphones and tablets with the sale of non-patented products supports a

21          higher reasonable royalty rate that reflects this major economic benefit.

22    Factor 7: The duration of the patents and the term of the license.

23    221. I have reviewed the duration and term of license for each item of intellectual property. The issuance

24          dates and legal lives are reflected on Exhibit 44.

25    222. I have summarized my conclusion by each category because the remaining legal and economic lives

26          of each item within the respective categories is generally the same.

27    Utility Patents applicable to both smartphones and tablets (‘002, ‘381, ‘915, ‘891, and ‘163)

28    223. This factor does not provide a specific rate. However, the length of remaining legal life of each of
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 1          the utility patents reinforces the other economic benefits identified in the other factors. The legal life

 2          is not the sole determining factor of the economic life. The steady pace of technological

 3          development in the wireless device industry has lead to short product life cycles (one to two years)

 4          and the consequential increased risk of technological obsolescence. On the other hand, the pace of

 5          technological development reinforces the need for each new development to be legally enforced and

 6          respected to permit the intellectual property owner the opportunity to capture the full economic

 7          benefit within the shortened time periods. The long legal life coupled with the risk of a shortened

 8          economic life in a rapidly expanding market places upward pressure on the royalty rate to avoid

 9          missing the window of economic opportunity related to each patent.

10    Utility Patents applicable to only tablets (‘607 and ‘129)

11    224. I reach the same conclusion as the smartphone conclusion above.

12    Design Patents and Trade Dress applicable to smartphones (Design Patents: ‘790, ‘334, ‘305, ‘677, ‘087,

13          and ‘270 Trade Dress: Original iPhone, iPhone 3G, iPhone 4, iPhone Combo)

14    225. This factor does not provide a specific rate. However, the length of remaining legal life of each of

15          the design patents reinforces the other economic benefits identified in the other factors. The legal

16          life is not the sole determining factor of the economic life. Design patents’ economic power stems

17          from the extent of market acceptance and demand for a particular design. Apple has built a

18          considerable and at times a cult-like following to all things Apple. As discussed throughout this

19          report, Apple’s success is the result of a number of factors. However, one of significant factors is

20          Apple’s obsessive attention to design details. John Maeda, President of the Rhode Island School of

21          Design, recently addressed the importance of design to Apple when he stated that Steve Jobs’ single

22          greatest design achievement “is the Apple organization, an organization that actually cares about

23          design more than technology.” 209

24    226. The long legal life coupled with the established commercial success and emphasis on design by

25          Apple places upward pressure on the royalty rate to preserve the established value of these valuable

26          design patents.

27    209
        How Steve Jobs Changed the World of Design, October 7, 2011 (http://www.npr.org/2011/10/07/141144758/remembering
      how steve jobs changed the design world).
28
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 1    Design Patents and Trade Dress applicable to tablets (Design Patent ‘889 and Trade Dress iPad and iPad2)

 2    227. I reach the same conclusion as the design patent conclusion above.

 3    Trademarks for smartphones and tablets

 4    228. I reach the same conclusion as the design patent conclusion above.

 5    Factor 8: The established profitability of the product made under the patent, its commercial success,

 6    and its current popularity.

 7    229. This factor highlights one of the most significant aspects of the products made under the Apple

 8              Intellectual Property In Suit. Both Apple and Samsung have enjoyed significant commercial success

 9              by any measure of the term.

10    230. Both Apple and Samsung’s smartphones and tablets have consistently produced high profit margins

11              for both companies.

12

13                                                                           . Exhibit 37 displays a Samsung gross

14

15

16

17

18

19    231. Exhibit 12 dramatically demonstrates the overall growth of smartphones in the U.S. Exhibit 11.1

20              indicates that Apple and Samsung are number one and two, respectively, in market share for

21              smartphones. Significantly, Apple’s market share for the most recent quarter available, fourth

22              quarter 2011, is approximately twice the size of Samsung’s (45.3% for Apple versus 19.2% for

23              Samsung). However, the line chart on Exhibit 11 demonstrates that Samsung has appeared to have

24              taken smartphone market share away from Apple during three quarters of 2011. Exhibit 13.1

25              confirms that Apple has revolutionized and dominated the tablet market since the beginning of 2010.

26              Apple’s fourth quarter 2011 market share is 73.7 percent while Samsung’s is only 2.0 percent. As to

27    210
            Deposition of Timothy Sheppard, February 29, 2012, p. 127 128.
      211

28
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 1          be expected, the line chart on Exhibit 13 demonstrates that as additional parties have entered the

 2          market, Apple has begun to lose market share.

 3    232. Apple’s commercial success is apparent from the above statistics and confirmed by Samsung’s own

 4          strategy documents. In a July 2011 STA Report to Headquarters, Samsung stated “Focus on

 5          preventing smartphone buyers from becoming Apple ‘loyalists.’ Apple loyalty is strong, which

 6          provides challenges to get iPhone users to switch.”212 Further, a Samsung “iPhone 4.0 Quick Report

 7          & Analysis” stated, the “Buzz for iPhone still dwarfs all other competitor products.” 213

 8    233. Finally, leading world news organizations have consistently followed and reported on each Apple

 9          product launch. CNN recently reported “…the scene outside Apple's New York City flagship store

10          did have something of the air of a religious event on Thursday. An hour before the iPhone 4 was

11          slated to go on sale, more than 600 aspiring buyers filled the plaza outside the iconic Fifth Avenue

12          glass cube -- and a line of hundreds more stretched on behind them, filling an entire city block.

13          Passersby chattered with the gathered throngs while marketers circled: AOL (AOL) earned fans by

14          handing out 500 Magnolia Bakery cupcakes. Vuvuzelas blared, and the crowd cheered and

15          applauded as opening hour neared.” 214

16    234. As demonstrated above, this factor provides strong support in the present case for a reasonable

17          royalty rate that weighs in favor of the income approach and calculated as a part of my reference

18          point analysis.

19    Factor 9: The utility and advantages of the patent property over the old modes or devices, if any,

20    which had been used for working out similar results.

21    235. Due to the nature of this factor, I have evaluated and concluded on each utility patent separately. I

22          discuss my evaluation and conclusion regarding the design patents, trade dress and trademarks as a

23          group.

24    236. My analysis of the utility and advantages of the patented property over the old modes or devices is

25          based on my understanding of the various technical experts’ opinions regarding this factor. During

26    212
          Deposition of Justin Denison, December 16, 2011, Exhibit 8 (S ITC 001016096 144 at 110).
      213
          Samsung "iPhone 4.0 Quick Report & Analysis," dated June 2010 (SAMNDCA10390235 304 at 290).
27    214
          Thousands flock for iPhone 4 debut” David Goldman and Stacy Cowley, CNNMoney, dated June 24, 2010.
      (http://money.cnn.com/2010/06/24/technology/apple iphone/index.htm#)
28
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 1         my discussion with each technical expert, I asked each expert to provide an opinion concerning the

 2         relative significance of each patent within their own field of expertise and the extent to which the

 3         patent contributes to the functionality of the wireless device. I have summarized my understanding

 4         of the utility and benefits on Exhibit 45.

 5    237. Utility Patent Conclusions

 6    238. ‘002 – Based on my discussion with Apple’s technical expert, Alex Snoeren, I understand that the

 7         patent helps to provide a cohesive experience for the user when there are many different applications

 8         running. The '002 teaches a way for different applications to give information to the user in an

 9         unobtrusive way. As a result, this feature enhances the ease of use and value of a smartphone or

10         tablet computer.

11    239. ‘891 – Based on my discussion with Apple’s technical expert, Karan Singh, I understand that the

12         patent provides useful ways for providing unobtrusive visual feedback to the user input in a digital

13         processing system, such as a desktop or laptop computer, a smartphone, or a tablet computer. It

14         does so by conveying information on a new window for the user that automatically disappears

15         without the need for action by the user. As a result, this feature enhances the user interface and

16         experience in smartphones and tablets.

17    240. ‘381 – Based on my discussion with Henri Lamiraux from Apple and Apple’s technical expert,

18         Ravin Balakrishnan, I understand that this patent provides an elegant and appealing form of visual

19         feedback to a user that there is no more of an electronic document to be seen. For example, if a user

20         is zoomed in on one part of a large photo, he may continue to scroll the photo as he looks at other

21         parts of the image. Not knowing exactly where the photo ends, he may continue to scroll in a

22         direction even when there is no more of the photo to display. When this happens, an area beyond

23         the edge of the photo will be displayed, and once the user lifts his finger, the photo will “bounce” or

24         “rubber band” back to fill the screen. This form of visual feedback is readily understood and makes

25         clear to the user that he cannot continue to scroll in that direction. As a result, the inventions of the

26         ‘381 patent make possible a user interface that is more visually appealing and intuitive in its

27         handling of the display of electronic documents. This provides a major enhancement to the quality

28         of the user interface. Apple also considers this invention to be closely associated with Apple
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 1         products in the marketplace.

 2    241. ‘915 – Based on my discussion with Henri Lamiraux from Apple and Apple’s technical expert,

 3         Karan Singh, I understand that the patent provides functionality that is central to the accused

 4         products: the ability to distinguish automatically between a one-finger scroll call and a two-finger

 5         gesture such as a zoom or rotate gesture. This functionality is highly intuitive. Scrolling, zooming

 6         and rotating are among the most common actions users take with touchscreens and smartphones, and

 7         are used in multiple applications. I further understand that any effort to redesign would make the

 8         ’915 Accused Products much less useable, render them inconvenient for users, and deprive them of

 9         intuitive functionality that smart phone and tablet users have come to expect. The alternatives

10         would provide a much less satisfying user experience than devices that practice the ’915 patent.

11         Further, given how frequently the functions are used in the interface, I understand it would be

12         difficult and time consuming to replace.

13    242. ‘163 – Based on my discussion with Apple’s technical expert, Karan Singh I understand that the

14         patent provides for an efficient means for users to navigate structured electronic documents on a

15         touchscreen display. I further understand it is possible to implement other methods to navigate in

16         structured electronics documents using touch gestures, but they would not have been as elegant or

17         intuitive. I also understood that Samsung evaluated alternatives and concluded that they were

18         inferior and instead revised the user interface to include the ‘163 patent’s features. It is my

19         understanding that the invention significantly enhances the user interface of a touchscreen

20         smartphone and tablet.

21    243. ‘607– Based on my discussion with Apple’s technical expert, I understand that the patent provides

22         technology for a touchscreen used to obtain accurate information on multiple touches on a

23         touchscreen device. This patent is being asserted by Apple only with respect to Samsung’s tablet

24         computers. I understand from my discussions with the Apple technical expert that no commercially

25         viable, alternative, non-infringing touchscreen technologies were in existence when the Samsung

26         Galaxy Tab devices entered the market. None of the alternative available touchscreen technologies

27         afforded true multi-touch functionality.   For these reasons, Samsung did not have a commercially

28         viable alternative to these technologies embodied in the Apple iPad and iPhone products for a ten
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 1         inch tablet. I understand that Samsung introduced a 7.7 inch tablet with an AMOLED display in

 2         early 2012, which was released in Australia in or around January 2012 that does not make use of the

 3         '607 technology, but that it was not released in the United States until this month.

 4    244. ’129 – Based on my discussion with Apple’s technical expert, I understand that the patent provides

 5         technology for a touchscreen display to address the issue of interference from the LCD display

 6         sensing multitouch inputs. Through the use of the patent, the device can be thinner, and the screen

 7         requires fewer layers. I understand that this patent is being asserted by Apple only with respect to

 8         Samsung’s tablet computers. I understand from my discussions with Apple’s technical expert that

 9         there would be significant disadvantages to designing without using the patent’s technologies when

10         the Samsung Galaxy Tab devices entered the market. None of the alternative display technologies

11         to LCD was mature enough for use in tablet-size devices, and using a touchscreen on top of an LCD

12         panel was problematic because the display needed to have an extra layer of shielding to protect the

13         sensitive touch screen electrodes from the electrical interference from the LCD. Adding this extra

14         layer would result in a less visually desirable screen, increased manufacturing costs, and a heavier

15         and thicker device.

16    245. Design Patent, Trade Dress and Trademark Conclusion

17    246. Design patents, trade dress and trademarks relate to the aesthetics of the product not to core

18         functionality. However, design elements can contribute to the quality of the consumer’s experience

19         and demand for the product. Because of the nature of the design patents, trade dress and trademarks,

20         I did not rely on the opinions of technical experts. I did, however, investigate and note the extent to

21         which the design elements represented by the design patents, trade dress and trademarks were

22         demanded by the consumer and referred to in material produced by Samsung. I further investigated

23         the extent to which Apple and Samsung identified Apple’s smartphone and tablet design as

24         important factors in the sale of these devices. Finally, I investigated the extent of information in the

25         public domain concerning the extent to which Apple’s smartphone and tablet design as important

26         factors in the sale of these devices.

27    247. Exhibit 24 is a list of examples from both Apple and Samsung that demonstrate the importance of

28         design in consumer demand. There are numerous public articles that discuss the importance of
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 1           design to Apple. For example, an internet website entitled “Smart Social Branding” described

 2           Apple’s focus on design as follows. “It’s a known fact around Apple that ‘design is everything’.

 3           Most companies don’t have a design culture, but for Apple it’s a different story. Steve Jobs knows

 4           the importance of design and its impact on the business community. For him, design can make or

 5           break a company. With this kind of mentality, all the designs of Apple products have to go through

 6           its CEO for approval. Out of all the companies under Fortune 500, Apple is the only company where

 7           every design has to be approved by its leader. Experts say that this strategy worked well for the

 8           company because Steve Jobs is a systems designer and thinker. He opted to simplify intricacies.”215

 9           John Sculley, the former CEO of Apple, described his experience with Apple and design as follows.

10           “A friend of mine was at meetings at Apple and Microsoft on the same day and this was in the last

11           year, so this was recently. He went into the Apple meeting (he’s a vendor for Apple) and when he

12           went into the meeting at Apple as soon as the designers walked in the room, everyone stopped

13           talking because the designers are the most respected people in the organization. Everyone knows the

14           designers speak for Steve because they have direct reporting to him. It is only at Apple where design

15           reports directly to the CEO. Later in the day he was at Microsoft. When he went into the Microsoft

16           meeting, everybody was talking and then the meeting starts and no designers ever walk into the

17           room. All the technical people are sitting there trying to add their ideas of what ought to be in the

18           design. That’s a recipe for disaster.” 216 Finally, a recent New York Times article paid tribute to

19           Steve Jobs and his passion for design. “His design legacy may be chiefly remembered for Apple’s

20           immaculate styling, but Jobs constantly stressed the importance of more topical issues, such as

21           usability and the relationship between tiny objects like iPods and iPhones, and a vast virtual network

22           like iTunes.” 217 Design is closely associated with Apple, with its success and with its brand.

23    248. This factor does not provide a specific rate for any of the items of design patents, trade dress and

24           trademarks. However, based on the acute focus by Apple on the design elements of its products, the

25
      215
26        “Apple: The Secret Behind its Success”, Smart Social Branding (http://smartsocialbranding.com/business in general/apple the
      secret behind its success/)
      216
          “John Sculley on Steve Jobs, The Full Interview Transcript” Leander Kahney, Cult of Mac, dated October 14, 2010.
27    (http://www.cultofmac.com/63295/john sculley on steve jobs the full interview transcript/).
      217
          “From Apple to Occupy, the Design Honors List for 2011”, Alice Rawsthorn, The New York Times, dated December 25, 2011.
28
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 1              significant degree of success as evidenced by consumer demand and acceptance for Apple’s design

 2              elements, Apple’s design elements included in the design patents, trade dress and trademarks give

 3              Apple a distinct advantage over competitors and strongly support a higher royalty rate. Similarly the

 4              strength of Apple’s utility patents, its importance to the user interface and the degree to which Apple

 5              treats these aspects as proprietary, all strongly support a higher royalty rate.

 6    Factor 10: The nature of the patented invention, the character of the commercial embodiment of it

 7    as owned and produced by the licensor, and the benefits to those who have used the invention.

 8    249. The character of the commercial embodiment of each category of Apple Intellectual Property In Suit

 9              is either a smartphone, a tablet, or both. As discussed at length above, both products produce

10              substantial profits for both Apple and Samsung and are commercially successful.

11    250. Apple has consistently focused on the user experience. A New York Times article explains that

12              although Apple did not display product in the latest high tech CES trade show, Apple’s presence was

13              very noticeable. “But Apple’s presence is more subtle as well. Take one tech buzzword — “user

14              experience” — that was particularly prominent in the product presentations this year. The expression

15              refers to a concern for how all the elements of a technology product — hardware, software and

16              services — work together so that people actually enjoy using it. Apple was among the earliest and

17              best-known practitioners of that philosophy in its product design. The company’s late chief

18              executive, Steven P. Jobs, long insisted that Apple make its own computer software and hardware to

19              ensure that the two would run smoothly together. As it entered the era of iPods, iPhones and iPads,

20              Apple went a step further with online services, including iTunes and iCloud, that make it simple to

21              buy entertainment and back up data from the devices.” 218

22    251. As discussed above, the commercial embodiment of all categories of Apple Intellectual Property In

23              Suit and Apple’s focus on the quality of the overall user experience has produced considerable

24              financial rewards for Apple and provided an enhanced user experience to the consumers that use the

25              products that embody the claimed technology. Accordingly, the rate should reflect the economic

26              benefits to Apple and the market advantages associated with the benefits provided to the consumer.

27
      218
            New York Times, “At C.E.S., Living Up to Apple’s Standards,” January 12, 2012.
28
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 1    Factor 11: The extent to which the infringer has made use of the invention; and any evidence

 2    probative of the value of that use.

 3    252. I have discussed at some length in Factor 8 above the technological and financial benefits obtained

 4              by Samsung resulting from its sale of the accused products. Samsung has obtained an additional

 5              economic benefit not available to Apple that results from Samsung’s sale of the accused products.

 6              The additional value is the fact that Samsung pays an effective tax rate of less than 1% in the U.S.

 7              on its sale of accused products. STA and SEA use an artificial transfer price to establish the cost of

 8              goods sold on the sales of the accused products in the U.S.

 9                Q. Right. This -- this doesn’t reflect the actual cost to manufacture the phones?

10                A. No, it does not.

11                Q. All right. It reflects a number based on transfer pricing, correct?

12                A. Correct, it does.

13                Q. And that number is used for tax purposes with the United States government, correct?

14                A. Correct, yes. 219

15    253. The result of Samsung’s use of a transfer price is that the actual profits are transferred to Korea

16              where they are taxed at a lower rate and the tax revenue is paid to the Korean government and not

17              the U.S. Samsung will rightfully claim it has permission from the IRS to use this artificial transfer

18              price. However, the pre-approval does not change the fact that it pays virtually no U.S. income taxes

19              on the accused sales while Apple pays an effective tax rate of 24% on all U.S. sales. 220 This provides

20              a significant price advantage to Samsung.

21    254. Based on the fact that Samsung is assumed to have used Apple’s Intellectual Property In Suit to

22              make significant profits through the sale of the accused devices that are virtually untaxed in the U.S.

23              and transferred to Korea, has used Apple’s Intellectual Property In Suit to build market share in the

24              smartphone and tablet markets at Apple’s expense, and has used Apple’s Intellectual Property In

25              Suit to gain additional profits through the sale of both convoyed and derivative products tied to

26              Samsung’s ecosystem, this factor would support the need for the royalty rate to reflect the full

27    219
            Deposition of Timothy Sheppard, January 24, 2012, pp 62 63.
      220
            Apple Inc. Form 10 K for the fiscal year ended 9/14/11, p. 63.
28
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 1          measure of Samsung’s financial gain and Apple’s loss.

 2    Factor 12: The portion of the profit or of the selling price that may be customary in the particular

 3    business or in comparable businesses to allow for the use of the invention or analogous inventions.

 4    255. There is no evidence that relates to the portion of the profit or selling price that may be customary in

 5          this business to allow for the use of the invention or analogous invention for any of the categories of

 6          Apple Intellectual Property In Suit with the exception of the trademark category.

 7    256. This factor is not applicable to any of the categories of Apple Intellectual Property In Suit with the

 8          limited exception of trademarks to some degree. Based on the “Made for iPad” agreements, one

 9          example of a value placed on the right by a third party to use a trademark that referenced Apple is $4

10          per unit in a circumstance involving a complementary use. This is not analogous to a license to a

11          competitor such as Samsung. Nonetheless, I view this amount as setting a floor below which Apple

12          would not license any of its trademarks. While the ultimate rate for multiple trademarks or trade

13          dress would be higher for the reasons discussed above, it certainly would not be less than the amount

14          that Apple charges to use a trademark in a context that results in additional benefits through

15          expansion of the number and variety of accessories that work with its products.

16    Factor 13:    The portion of the realizable profit that should be credited to the invention as

17    distinguished from non-patented elements, the manufacturing process, business risks, or significant

18    features or improvements added by the infringer.

19    257. I have previously evaluated the portion of the realizable profit that should be credited to the

20          invention as distinguished from the non-patented elements in my discussion of the income reference

21          point and as illustrated on Exhibit 41.2.

22    258. The portion of the realizable profit that should be credited to each utility patent represented by the

23          amount of profit identified with each category of Apple Intellectual Property In Suit as reflected in

24          the income based reference range summarized on Exhibit 41. Dr. Hauser’s conjoint survey and

25          results are also supportive of the conclusion that consumers are willing to pay a premium for the

26          features enabled by the ‘607, ‘915, ‘681, and ‘163 patents as discussed earlier.

27    259. The portion of the realizable profit that relates to the design patents, trade dress, and trademarks is

28          based in part on the portion of Apple’s realizable profit that is due to Apple’s brand. The amount of
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 1          the realizable profit associated with brand is the same amount for each individual item as the total

 2          group of design patents and trade dress items. The degree of dilution of Apple’s brand due to an

 3          infringement of Apple’s distinctive design is the same regardless if caused by one or the group of

 4          design related intellectual property. As a result, it would be incorrect to accumulate additional

 5          damages based on each additional act of infringement on each item of design related intellectual

 6          property because each related design element is tied to the same economic benefit associated with

 7          Apple’s overall brand. Accordingly, the hypothetical license involving design patent, trade dress,

 8          and trademarks would be negotiated on the total portfolio and not individual items.

 9

10    Factor 14: The opinion testimony of qualified experts.

11    260. Listed below are the individual experts that I have consulted with and upon whose opinions I rely in

12          reaching my final conclusions.

13
      Technical Expert Name               Specialty                            Apple Patent(s) Opined On
14    Ravin Balakrishnan                  Human Computer Interaction           ‘381
      John Hauser                         Conjoint Analysis                    ‘607,‘915, ‘381 and ‘163
15    Michel Maharbiz                     Micro-fabrication and Miniature      ‘129, ‘607
                                          Circuit Design
16    Karan Singh                         Human Computer Interaction           ‘163, ‘891, ‘915
      Alex Snoeren                        Networking and Distributed           ‘002
17                                        System Design
18

19    Factor 15: The amount that a licensor (such as the patentee) and a licensee (such as the infringer)
20    would have agreed upon (at the time the infringement began) if both had been reasonably and
21    voluntarily trying to reach an agreement; that is, the amount which a prudent licensee-- who
22    desired, as a business proposition, to obtain a license to manufacture and sell a particular article
23    embodying the patented invention-- would have been willing to pay as a royalty and yet be able to
24    make a reasonable profit and which amount would have been acceptable by a prudent patentee who
25    was willing to grant a license
26    261. The hypothetical negotiation date is the intersection of the date of the first sale and the issuance of
27          each Intellectual Property In Suit. I consider the market circumstances impacting or influencing
28
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 1         each hypothetical negotiation date to be relatively the same. Exhibit 44 outlines each of these

 2         intersection points or hypothetical negotiation dates.

 3    262. I have summarized my conclusions on each of the above factors and the impact on each item of

 4         Apple Intellectual Property In Suit on Exhibits 42 and 43. Further, I have accumulated the results of

 5         my reference point analysis and the results of my Georgia Pacific analysis on Exhibits 46 and 47

 6         and displayed my final conclusion for each item of Apple Intellectual Property In Suit.

 7

 8    Q. POSSIBLE REVISIONS TO THIS REPORT

 9    263. I intend to review and consider any additional information provided to me after the production of

10         this report and will supplement my analysis and conclusions if asked to do so.

11

12    R. EXHIBITS

13    264. Exhibits 4 through 47 are attached to this report and support my damage analyses and opinions in

14         this matter.

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      EXPERT REPORT OF TERRY L. MUSIKA, CPA
      Case No. 11-cv-01846-LHK                                                                               88
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                                                                                                          EXHIBIT 1




                                                   Terry L. Musika, CPA,MPA

Terry L. Musika                                    Current Position
Managing Director                                  Mr. Musika is a Managing Director and cofounder of Invotex
Invotex Group                                      Group. Mr. Musika serves a broad range of client engagements
1637 Thames Street                                 involving matters of accounting, finance, valuation and general
Baltimore, Maryland 21231
Tel 410 824 0145                                   business planning and restructuring.
Fax 410 752 7227

tmusika@invotex.com                                Professional Experience
                                                   Mr. Musika has served the accounting profession in a variety of roles
Education and Professional
                                                   and responsibilities for over 35 years. His experience includes every
x BS, 1970, Indiana University
x Master of Public Affairs in Public Finance,
                                                   level of the accounting and auditing profession from staff level
  1974, Indiana University Graduate School         auditor to National Audit Partner in one of the world’s largest
  of Public and Environmental Affairs              international accounting firms. Mr. Musika’s experience includes 15
x Certified Public Accountant (CPA),
  licensed in MD
                                                   years as an auditor and consultant in a wide range of industries for
                                                   two international accounting firms and one regional accounting
Employment                                         firm. Mr. Musika’s prior “Big 4” public accounting background
x Invotex Group                                    includes five years with Peat, Marwick and Mitchell (predecessor of
x Maryland First Financial Services Corp.          KPMG) as auditor and consultant and seven years with Coopers &
  and Intellectual Property Management &
  Finance, LLC                                     Lybrand (predecessor of PricewaterhouseCoopers) as a national
x Navigant Consulting, Inc.                        research consultant, audit partner and PartnerInCharge of the
x PENTA Advisory Services, LLC                     Firm’s Baltimore Business Investigative Services Practice. Mr.
x C.W. Amos & Company, LLC                         Musika’s audit and consulting experience includes both private and
x Maryland First Financial Services Corp.          public companies from various industries and numerous
x Coopers & Lybrand                                governmental entities. Mr. Musika also established and served as the
x Peat Marwick & Mitchell                          MemberinCharge of the consulting practice for C.W. Amos &
                                                   Company, a regional accounting firm.
Professional Associations
x American Institute of Certified Public
  Accountants                                      Federal And State Court Appointments
x Maryland Association of Certified Public         Mr. Musika has been appointed by both Federal and State Court
  Accountants
                                                   Judges on numerous occasions to provide the court systems with a
x Licensing Executives Society
                                                   range of trustee duties and services. Mr. Musika has served the
                                                   Federal Court system as a Court Appointed Chapter 11 Operating
                                                   Trustee, Liquidating Chapter 7 Trustee, Operating Chapter 7
                                                   Trustee, Examiner, Liquidating and Paying Agent. Mr. Musika has
                                                   served the state court system as Receiver, Special Master and Court
                                                   Appointed Special Advocate. Mr. Musika also served as a member
                                                   of the Panel of Chapter 7 Trustees for the U.S. Trustee in Maryland
                                                   for eight years.

                                                   Business Founder, Owner And Operator
                                                   Mr. Musika has formed, owned and operated four separate
                                                   companies. Mr. Musika founded both Maryland First Financial

                                                Baltimore  Philadelphia  Washington, DC
                                                            www.invotex.com
                                                                                                             March 22, 2010
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Terry L. Musika, CPA, MPA                                                                      Page 2


                               Services Corp. and Intellectual Property Management & Finance,
                               LLC, which were combined and now operate as Invotex Group.
                               Previously, Mr. Musika owned and operated Central Data
                               Technologies, a proprietary database company that maintained a
                               private database of financial information and regional economic data
                               on Chapter 11 bankruptcies. Mr. Musika also founded and served as
                               President and CEO of PENTA Advisory Services (“PENTA”), a
                               national financial and economic consulting firm. Mr. Musika began
                               PENTA as the first employee and eventually built the company into
                               125 accounting, economic and legal professionals with offices in
                               Washington DC, Baltimore, Richmond, Wilmington, New York and
                               Atlanta. Mr. Musika eventually sold PENTA to Navigant
                               Consulting, Inc.


                               Expert Testimony
                               During the past 35 years Mr. Musika has provided expert testimony
                               in over 200 separate proceedings before 47 different Federal District
                               Courts throughout the U.S., nine separate state courts, the U.S. Court
                               of Federal Claims, four separate U.S. Bankruptcy Courts, the
                               American Arbitration Association, and the U.S. International Trade
                               Commission. Mr. Musika’s intellectual property experience
                               encompasses patent, trademark, trade secret and copyright matters.
                               He has performed numerous damage analyses including both
                               reasonable royalty and lost profit calculations. Mr. Musika’s
                               antitrust damage opinion and expert qualifications were recently
                               cited in a published opinion by The United States Court of Appeals
                               for the Third Circuit.

                               Papers, Publications, and Presentations
                               x “IP Valuation,” November 16, 2004, presentation to the UMBC
                                   Technology Center (with Debora R. Stewart, CPA).
                               x “Strategic Valuation Issues Related to the Sale and Purchase of
                                   IP Out of Bankruptcy,” September 18, 2003, presentation to the
                                   BioAlliance Network of the Tech Council of Maryland (with
                                   Charles R. Goldstein, CPA).
                               x “Tax Implications of Intellectual Asset Management,” March 12,
                                   2002, Kilpatrick Stockton LLP’s IP Masters Teleconference
                                   Series (with John K. Lyons, CPA).
                               x “Valuation of Intellectual Property,” May 22, 2001, presentation
                                   at the Licensing Intellectual Property Conference of the
                                   American Conference Institute.
                               x “Don’t Shoot the Messenger! A Response to the Bankruptcy
                                   Information on the Internet Debate,” Bankruptcy Court
                                   Decisions Weekly News & Comment, September 15, 1998.
                               x “Creating A Company to Capitalize on Your Technology,”
                                   January 14, 1998, presentation to the Washington, DC Chapter
                                   of the Licensing Executives Society.
                            Baltimore  Philadelphia  Washington, DC
                                        www.invotex.com
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Terry L. Musika, CPA, MPA                                                                     Page 3


                               x “How Creditors Can Use Regional Bankruptcy Data,” Business
                                   Credit, October 1997. (with Charles R. Goldstein, CPA).
                               x “Valuation of Intellectual Properties – Case Studies,” 1997,
                                   Licensing Executives Society (LES) Annual Meeting.
                               x “Approaches to Prejudgment Interest Awards Vary by Court,”
                                   Legal Times Special Report on Intellectual Property, April 7,
                                   1997 (with Gregory E. Smith, CPA).
                               x “Valuation of Intellectual Property Assets,” 1996, presentation to
                                   the Greater Richmond Intellectual Property Law Association
                                   (GRIPLA).
                               x “Prejudgment Interest in Patent Damage Decisions, A
                                   Quantitative Analysis,” ALIABA Trial of A Patent Case Study
                                   Materials, September 1995.
                               x “Trial of A Patent Case,” 19931995, faculty member and
                                   presenter for the American Law Institute — American Bar
                                   Association (ALIABA), sponsored with the cooperation of the
                                   Intellectual Property Law Association of Chicago.
                               x “Implementing SOP 907 for Bookkeeping and Financial
                                   Reporting of Companies in Chapter 11.” The Journal of
                                   Professional Bookkeeping and Management, May 1992 (with
                                   Jalal Soroosh, Ph.D.).
                               x “Financial Reporting Under Chapter 11,” The CPA Journal,
                                   December 1991.
                               x “AICPA’s Statement of Position on ‘Financial Reporting By
                                   Entities in Reorganization Under Bankruptcy Code’”
                                   NABTALK 1991, pp. 1520.
                               x “Montgomery’s Auditing  Tenth Edition,” 1985 (contributing
                                   author).




                            Baltimore  Philadelphia  Washington, DC
                                        www.invotex.com
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                                                                                          EXHIBIT 2




                          TERRY L. MUSIKA, CPA, MPA
                   TESTIMONY, AFFIDAVITS AND EXPERT REPORTS
                                 2008 – PRESENT


Litigation Cases

x   Expert Report in Adrienne Andros Ferguson, et al. v. Donald E. Stout, et al., Case No. 08
    09767CA, Circuit Court of the 11th Judicial Circuit in and for MiamiDade County, Florida
    Complex Business Litigation Section (report filed in 2011).
x   Declaration in Apple Inc. v. Samsung Electronics Co. Ltd., et al., Case No. 11cv01846LHK,
    U.S. District Court of the Northern District of California, San Jose Division (declaration filed
    in 2011).
x   Trial and Deposition Testimony and Expert Report in MeadWestvaco Corporation and
    MeadWestvaco Calmar, Inc. v. Rexam PLC, Rexam Beauty and Closures Inc., Valois S.A.S.,
    and Valois of America, Inc., Case No. 1:10cv00511, U.S. District Court for the Eastern
    District of Virginia, Alexandria Division (trial and deposition testimony given and report
    filed in 2011).
x   Expert Report in VS Technologies, LLC v. Twitter, Inc., Case No. 2:11CV43, U.S. District
    Court for the Eastern District of Virginia, Norfolk Division (report filed in 2011).
x   Deposition Testimony and Expert Reports and Declaration in Bed Bath & Beyond, Inc. v.
    Sears Brands, LLC, Civil Action No. 08 CV 5839SDWMCA, U.S. District Court for the
    District of New Jersey (deposition testimony given and reports filed in 2011; declaration
    filed in 2010).
x   Deposition Testimony and Expert Report in Fujifilm Corporation v. HTC Corporation and
    HTC America, Inc., Case No. 09cv4109, U.S. District Court for the Northern District of
    Texas, Houston Division (deposition testimony given and report filed in 2011).
x   Trial and Deposition Testimony and Expert Reports in Chevron U.S.A., Inc. v. United States,
    Case No. 1:04cv1365C, U.S. Court of Federal Claims (trial and deposition testimony given
    and reports filed in 2011).
x   Deposition Testimony and Expert Report in re: Federal National Mortgage Association
    Securities, Derivative, and “ERISA” Litigation, MDL No. 1668, in re: Fannie Mae Securities
    Litigation, Consolidated Civil Action No. 1:04CV01639, U.S. District Court for the District
    of Columbia (deposition testimony given in 2011; report filed in 2010).
x   Trial and Deposition Testimony and Damage Summary in Altavion, Inc. v. KonicaMinolta
    Holdings, Inc.; KonicaMinolta Business Solutions, USA, Inc.; KonicaMinolta Business
    Technologies, Inc.; KonicaMinolta Technology Center, Inc.; KonicaMinolta Systems
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    Laboratory, Inc.; Paul Cattrone; and Does 1 through 50, inclusive, Case No. CIV 467662,
    Superior Court of the State of California, County of San Mateo (trial and deposition
    testimony given and summary exchanged in 2010).
x   Deposition Testimony and Expert Report in Software Tree, LLC v. Red Hat, Inc., Hewlett
    Packard Company, Genuitec, L.L.C., and Dell, Inc., Case No. 6:09cv00097LED, U.S.
    District Court for the Eastern District of Texas, Tyler Division (deposition testimony given
    and report filed in 2010).
x   Trial and Deposition Testimony, Declaration and Expert Reports in The SCO Group, Inc. v.
    Novell, Inc., Case No. 2:04cv00139, U.S. District Court for the District of Utah, Central
    Division (trial and deposition testimony given and declaration filed in 2010; reports filed in
    2007).
x   Deposition Testimony and Expert Report in The Pep Boys – Manny, Moe & Jack v. GMAC
    Commercial Finance LLC, Civil Action No. 083342 (RBS), U.S. District Court for the Eastern
    District of Pennsylvania (deposition testimony given and report filed in 2009).
x   Deposition Testimony and Expert Report in Cordance Corporation v. Amazon.com, Inc. and
    Amazon Web Services, LLC, C.A. No. 06491MPT, U.S. District Court for the District of
    Delaware (deposition testimony given and report filed in 2009).
x   Expert Report in Hitachi Plasma Patent Licensing Co., Ltd. v. LG Electronics, Inc. and LG
    Electronics U.S.A., Inc. and LG Electronics, Inc. and LG Electronics U.S.A., Inc. v. Hitachi
    Plasma Patent Licensing Co., Ltd., Civil Action No. 2:07CV155 (CE), U.S. District Court for
    the Eastern District of Texas (Marshall Division) (report filed in 2009).
x   Trial and Deposition Testimony and Expert Reports in American Savings Bank, F.A., et al. v.
    United States, Civil Action No. 92872 C, U.S. Court of Federal Claims (trial and deposition
    testimony given in 2009; reports filed in 2000 and 2009).
x   Trial and Deposition Testimony and Expert Reports in Lockheed Martin Corporation v. L3
    Communications Corporation and L3 Communications Integrated Systems, L.P., Case No.
    1:05cv0902, U.S. District Court for the Northern District of Georgia (Atlanta Division) (trial
    testimony given in 2009; deposition testimony given and reports filed in 2007).
x   Deposition Testimony and Expert Report in Bank of America, N.A., as Successor by merger
    to Fleet National Bank as Agent for a Syndicate of Lenders v. Deloitte & Touche LLP, Civil
    Action No. 062218BLS1, Superior Court for the Commonwealth of Massachusetts
    (deposition testimony given and report filed in 2009).
x   Deposition Testimony and Expert Report in Dennis J. Buckley, as Trustee of the DVI
    Liquidating Trust v. Deloitte & Touche USA LLP and Deloitte & Touche LLP, Case No. 1:06
    cv03291SHS, U.S. District Court for the Southern District of New York (deposition
    testimony given in 2009; report filed in 2008).
x   Deposition Testimony and Expert Report In Re: DVI, Inc. Securities Litigation, Case No.
    2:03CV05336LDD, U.S. District Court for the Eastern District of Pennsylvania (deposition
    testimony given in 2009; report filed in 2008).



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x   Deposition Testimony and Expert Report in WM High Yield Fund, WM Income Fund, AT
    High Yield Fund, WM VT Income Fund, AT Income Fund, Evergreen Funding
    Ltd./Evergreen Funding Corp., and Stellar Funding Ltd. v. Michael A. O’Hanlon, Steven R.
    Garfinkel, Richard Miller, Anthony J. Turek, John P. Boyle, Terry W. Cady, Matthew
    Colasanti, Raymond Fear, Gerald Cohn, Harry T. J. Roberts, William S. Goldberg, John E.
    McHugh, Nathan Shapiro, Deloitte & Touche LLP, Harold Neas, Oncure Technologies
    Corporation, Jeffrey Goffman, Presgar Imaging LLC, and Dolphin Medical Inc., Case No. 04
    CV3423, U.S. District Court for the Eastern District of Pennsylvania (deposition testimony
    given in 2009; report filed in 2008).
x   Deposition Testimony and Expert Reports in McKesson Information Solutions LLC v. Epic
    Systems Corporation, Civil Action No. 1:06cv2965 (JTC), U.S. District Court for the
    Northern District of Georgia, Atlanta Division (deposition testimony given in 2009; reports
    filed in 2008 and 2009).
x   Trial and Deposition Testimony and Expert Report in Transamerica Life Insurance
    Company, Western Reserve Life Assurance Co. of Ohio, and Transamerica Financial Life
    Insurance Company (Plaintiffs) v. Lincoln National Life Insurance Company (Defendant)
    and Lincoln National Life Insurance Company (Defendant/Counterclaimant) v.
    Transamerica Life Insurance Company, Western Reserve Life Assurance Co. of Ohio, and
    Transamerica Financial Life Insurance Company (Plaintiffs/Counterclaim Defendants), Case
    No. C 06110MWB, U.S. District Court for the Northern District of Iowa, Cedar Rapids
    Division (trial testimony given in 2009; deposition testimony given and report filed in 2008).
x   Supplemental Declaration, Trial and Deposition Testimony and Expert Reports in Pioneer
    Corporation v. Samsung SDI Co., Ltd., Samsung Electronics Co., Ltd., Samsung SDI
    America, Inc., and Samsung Electronics America, Inc., Civil Action No. 2:06CV384 (DF),
    U.S. District Court for the Eastern District of Texas, Marshall Division (declaration filed, trial
    and deposition testimony given and reports filed in 2008).
x   Deposition Testimony and Expert Report in Kevin Keithley and TREN Technology
    Holdings, LLC v. The Homestore.com, Inc., The National Association of Realtors, and The
    National Association of Home Builders of the United States, Case No. C0304447 SI (EDL),
    U.S. District Court for the Northern District of California, San Francisco Division (deposition
    testimony given and report filed in 2008).
x   Expert Report in Cisco Systems, Inc. and Cisco Technology, Inc. v. Telcordia Technologies,
    Inc., Civil Action No. 07113GMS, U.S. District Court for the District of Delaware
    (Wilmington) (report filed in 2008).
x   Deposition Testimony and Expert Report in Lincoln National Life Insurance Company v.
    Transamerica Financial Life Insurance Company, Cause No. 1:04CV396TLSRBC, U.S.
    District Court for the Northern District of Indiana, Fort Wayne Division (deposition
    testimony given and report filed in 2008).
x   Deposition Testimony and Expert Report in Pioneer Corporation (Plaintiff) v. Samsung SDI
    Co., Ltd., Samsung Electronics Co., Ltd., and Samsung Electronics America, Inc.




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    (Defendants) and Samsung SDI Co., Ltd. (Counterclaim Plaintiff) v. Pioneer Corporation,
    Pioneer Electronics (USA) Inc., and Pioneer Electronics Technology, Inc. (Counterclaim
    Defendants), Civil Action No. 2:07CV170 (DF), U.S. District Court for the Eastern District
    of Texas, Marshall Division (deposition testimony given and report filed in 2008).
x   Arbitration Proceeding Testimony in the matter of the Arbitration between Syngenta Crop
    Protection, Inc. and LG Life Sciences, Ltd. before the American Arbitration Association,
    Case No. 16 171 Y 00954 06 (arbitration proceeding testimony filed in 2008).
x   Deposition Testimony and Expert Report in Oracle Corporation and Oracle U.S.A., Inc. v.
    EpicRealm Licensing, LP, Case No. 06414SLR, U.S. District Court for the District of
    Delaware (deposition testimony given and report filed in 2008).
x   Trial and Deposition Testimony and Expert Report in Tessera, Inc. (Claimant) v. Amkor
    Technology, Inc. (Respondent) and Amkor Technology, Inc. (Counterclaimant) v. Tessera,
    Inc. (Counterrespondent), Ref. No. 14 268/EBS, International Court of Arbitration of the
    International Chamber of Commerce (trial testimony given in 2008; deposition testimony
    given and report filed in 2007).
x   Expert Report in the matter of Franklin D. Raines, J. Timothy Howard and Leanne G.
    Spencer (Fannie Mae officers), Notice Number 20061, U.S. Office of Federal Housing
    Enterprise Oversight (report filed in 2008).
x   Expert Report in Ron Nystrom v. Trex Company, Inc., The Home Depot, Inc., and Snavely
    Forest Products, Inc., Case No. 2:06cv569, U.S. District Court for the Eastern District of
    Virginia, Norfolk Division (report filed in 2008).
x   Deposition Testimony and Expert Reports in ParkerHannifin Corporation, et al. v. Wix
    Filtration Corporation, Case No. 1:06CV0098LJOWMW, U.S. District Court for the
    Eastern District of California, Fresno Division (deposition testimony given in 2008; reports
    filed in 2007 and 2008).
x   Expert Reports in Eric Shaw, receiver of the Estate of Nikota USA, Inc. v. Pep Boys, Inc.,
    Case No. 060550, U.S. District Court for the Eastern District of Pennsylvania (reports filed
    in 2007 and 2008).
x   Trial and Deposition Testimony and Expert Reports in Energy Transportation Group, Inc. v.
    Sonic Innovations, Inc., et al., Case No. 05422 (GMS), U.S. District Court for the District of
    Delaware (trial testimony given in 2008; deposition testimony given in 2007; reports filed in
    2007 and 2008).
x   Expert Reports in Silicon Graphics, Inc. v. ATI Technologies Inc., ATI Technologies ULC
    and Advanced Micro Devices, Inc., Case No. 06C0611C, U.S. District Court for the
    Western District of Wisconsin (reports filed in 2007 and 2008).
x   Deposition Testimony and Expert Report in Elan Pharmaceutical International Limited v.
    Abraxis Bioscience, Inc., Case No. 06438GMS, U.S. District Court for the District of
    Delaware (Wilmington) (deposition testimony given in 2008; report filed in 2007).




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x    Expert Reports in Morning Sun, Inc. d/b/a Collegiate Graphics v. Eagle Promotions, LLC et
     al., Case No. A505399, Superior Court of State of Nevada (reports filed in 2007 and 2008).


Bankruptcy Cases

x    Trial and Deposition Testimony and Expert Report in re: Railworks Corporation, et al.
     (Debtors), Case Nos. 0164463SD through 0164485SD (Chapter 11) and Zvi Guttman
     (Litigation Trustee, Plaintiff) v. Steven G. Hutchinson, Douglas W. Hutchinson and C.C.
     Hutchinson (Defendants), Adversary No. 035794, U.S. Bankruptcy Court for the District of
     Maryland (Baltimore Division) (trial and deposition testimony given in 2010; report filed in
     2009).


Last updated 1.5.12




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                                       Apple Inc. v. Samsung Electronics Co., LTD., et al.                                                                                          EXHIBIT 3
                                                                            Documents Considered List




Bates Beg.              Bates End               Documents Description

Apple Production

APL7940001375918
APL7940015781339
APL7940015781356
APL7940015781357
APL7940015781364
APL7940015781372
APL7940015781389
APL7940015781395
APL7940015781402
APL794-F0000000001      APL794-F0000000162      Deposition of Mark Buckley, December 22, 2011, Exhibit 12.
APL794-F0000000001      APL794-F0000000162      Deposition of Mark Buckley, February 23, 2012, Exhibit 12.
APL794-F0000000001
APL794-F0000000163      APL794-F0000000222      Deposition of Mark Buckley, December 22, 2011, Exhibit 13.
APL794-F0000000163      APL794-F0000000222      Deposition of Mark Buckley, February 23, 2012, Exhibit 13.
APL794-F0000000163
APL794-F0000000223      APL794-F0000000244      Deposition of Mark Buckley, December 22, 2011, Exhibit 14.
APL794-F0000000223      APL794-F0000000244      Deposition of Mark Buckley, February 23, 2012, Exhibit 14.
APL794-F0000000223
APL794-F0000000245
APL794-F0000000248
APL794-F0000000252
APL794-F0000000256
APL794-F0000000270
APL794-F0000002922
APL794-F0000003392
APL794-F0000003668
APL794-F0000003920
APL794-F0000004106
APL794-F0000004270
APL794-F0000004525
APL794-F0000005428
APL794-F0000007417
APL794-F0000007463
APL794-F0000007628
APL794-F0000007757
APL794-F0000007892
APL794-F0000007982
APL794-F0000008233      APL794-F0000008246
APL794-F0000008247
APLDNC-X0000007220      APLDNC-X0000007355      Patent License Agreement, between Nokia and Apple, 6/12/11
APL-ITC796-0000010019   APL-ITC796-0000010041   Patent Cross License Agreement, between Apple and Microsoft, 8/5/97
APL-ITC796-0000037278   APL-ITC796-0000037290   Bernstein Research - "AAPL: Surprisingly, iPhone has not driven incremental new customers to AT&T - but valuable on other dimensions",
                                                8/14/07
APL-ITC796-0000071960   APL-ITC796-0000072051   Bernstein Research - "Apple: iOS - powering the mobility revolution", October 2010
APL-ITC796-0000332171   APL-ITC796-0000332187   Deposition of Mark Buckley, December 22, 2011, Exhibit 3.
APL-ITC796-0000332171   APL-ITC796-0000332187   Deposition of Mark Buckley, February 23, 2012, Exhibit 3.
APL-ITC796-0000332171
APL-ITC796-0000374074   APL-ITC796-0000374076   Deposition of Mark Buckley, December 22, 2011, Exhibit 9.
APL-ITC796-0000374074   APL-ITC796-0000374076   Deposition of Mark Buckley, February 23, 2012, Exhibit 9.
APL-ITC796-0000374074
APL-ITC796-0000374077   APL-ITC796-0000374080   Deposition of Mark Buckley, December 22, 2011, Exhibit 6.
APL-ITC796-0000374077   APL-ITC796-0000374080   Deposition of Mark Buckley, February 23, 2012, Exhibit 6.
APL-ITC796-0000374077
APL-ITC796-0000374081   APL-ITC796-0000374084   Deposition of Mark Buckley, December 22, 2011, Exhibit 8.
APL-ITC796-0000374081   APL-ITC796-0000374084   Deposition of Mark Buckley, February 23, 2012, Exhibit 8.
APL-ITC796-0000374081
APL-ITC796-0000374085   APL-ITC796-0000374088   Deposition of Mark Buckley, December 22, 2011, Exhibit 7.
APL-ITC796-0000374085   APL-ITC796-0000374088   Deposition of Mark Buckley, February 23, 2012, Exhibit 7.
APL-ITC796-0000374085
APL-ITC796-0000374089   APL-ITC796-0000374091   Deposition of Mark Buckley, December 22, 2011, Exhibit 10.
APL-ITC796-0000374089   APL-ITC796-0000374091   Deposition of Mark Buckley, February 23, 2012, Exhibit 10.
APL-ITC796-0000374089
APL-ITC796-0000374562
APL-ITC796-0000374562
APL-ITC796-0000376409
APL-ITC796-0000376412
APL-ITC796-0000376416
APL-ITC796-0000376420
APL-ITC796-0000376424
APL-ITC796-0000376897
APL-ITC796-0000463136   APL-ITC796-0000463149   Apple Billings Report (US and WW) - iPod Touch and iPad, Q4 FY07 through Q4 FY11
APL-ITC796-0000463150   APL-ITC796-0000463154   Apple Billings Report (US and WW) - iPhone, Q3 FY07 through Q4 FY11.
APLNDC0000009646        APLNDC0000009646        Excel Spreadsheet: Gartner - Market Share: Mobile Communication Devices by Region and Country, 1Q11
APLNDC0000009648        APLNDC0000009648        Excel Spreadsheet: Gartner - Market Share: Mobile Communication Devices by Region and Country, 4Q10 and 2010
APLNDC00000205
APLNDC00000209
APLNDC00000211
APLNDC00000227          APLNDC00000227          Deposition of Sissie Twiggs, July 27, 2011, Exhibit 44.
APLNDC00000230
APLNDC00000236          APLNDC00000236          Deposition of Sissie Twiggs, July 27, 2011, Exhibit 43.
APLNDC00000251
APLNDC00000253
APLNDC00000259
APLNDC00000292
APLNDC00000295
APLNDC00000296
APLNDC00000302
APLNDC00000304
APLNDC0000032717        APLNDC0000032769        ComTech United States Report Q1 '11, Apple Market Research & Analysis, 5/6/11
APLNDC0000032717        APLNDC0000032769        ComTech United States Report Q1 '11, Apple Market Research & Analysis, 5/6/11
APLNDC0000035112        APLNDC0000035112        Deposition of Michael J. Wagner, September 14, 2011, Exhibit 185.




                                                                            Perpared by Invotex Group                                                Submitted Under Seal; Highly Confidential;
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APLNDC0000036115   APLNDC0000036125    Deposition of Michael J. Wagner, September 14, 2011, Exhibit 183.
APLNDC0000036126   APLNDC0000036129    Deposition of Michael J. Wagner, September 14, 2011, Exhibit 175.
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APLNDC0001516913
APLNDC0001516964
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APLNDC0001517161
APLNDC0001517164
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APLNDC0001517237
APLNDC0001517239
APLNDC0001517241
APLNDC0001517246
APLNDC0001517252
APLNDC0001517254
APLNDC0001517257
APLNDC0001517259
APLNDC0001517262
APLNDC0001517269
APLNDC0001517271
APLNDC0001517273
APLNDC0001517276
APLNDC0001517281
APLNDC0001517282
APLNDC0001517283
APLNDC0001517285
APLNDC0001517299
APLNDC0001517301
APLNDC0001517303
APLNDC0001517310
APLNDC0001517314
APLNDC0001517317
APLNDC0001517336
APLNDC0001517338
APLNDC0001517348
APLNDC0001517353
APLNDC0001517361
APLNDC0001517366
APLNDC0001517374
APLNDC0001517455
APLNDC0001517460
APLNDC0001517541
APLNDC0001517543
APLNDC0001517545
APLNDC0001517549
APLNDC0001517551
APLNDC0001517575
APLNDC0001517585
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APLNDC0001517603
APLNDC0001517606
APLNDC0001517614
APLNDC0001517615
APLNDC0001517617
APLNDC0001517618
APLNDC0001517623
APLNDC0001517630
APLNDC0001517645
APLNDC0001517648
APLNDC0001517682
APLNDC0001517684
APLNDC0001517687
APLNDC0001517690
APLNDC0001517702
APLNDC0001517712
APLNDC0001517714
APLNDC0001517716
APLNDC0001517719
APLNDC0001517722
APLNDC0001517724
APLNDC0001517726
APLNDC0001517728
APLNDC0001517731
APLNDC0001517749
APLNDC0001517750
APLNDC0001517762
APLNDC0001517827
APLNDC0001517829
APLNDC0001517834
APLNDC0001517843
APLNDC0001517846
APLNDC0001517857
APLNDC0001517863
APLNDC0001517864
APLNDC0001517870
APLNDC0001517874
APLNDC0001517880
APLNDC0001517898
APLNDC0001517900
APLNDC0001517902
APLNDC0001517905
APLNDC0001517908
APLNDC0001517911
APLNDC0001524857
APLNDC0001524861
APLNDC0001524886
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APLNDC0001524903
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Bates Beg.         Bates End           Documents Description
APLNDC0001524935
APLNDC0001524963
APLNDC0001524984
APLNDC0001524988
APLNDC0001524996
APLNDC0001524999
APLNDC0001525017
APLNDC0001525018
APLNDC0001525039
APLNDC0001525042
APLNDC0001525046
APLNDC0001525059
APLNDC0001525065
APLNDC0001525069
APLNDC0001525075
APLNDC0001525202
APLNDC0001525203
APLNDC0001525318
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APLNDC0001545429
APLNDC0001545597
APLNDC0001545599
APLNDC0001545604
APLNDC0001545613
APLNDC0001545622
APLNDC0001545631
APLNDC0001545637
APLNDC0001545641
APLNDC0001545652
APLNDC0001553169
APLNDC0001553231
APLNDC0001554797
APLNDC0001555133
APLNDC0001555771
APLNDC0001555822
APLNDC0001555873
APLNDC0001558054
APLNDC0001558084
APLNDC0001558088
APLNDC0001560159
APLNDC0001561033
APLNDC0001561037
APLNDC0001561500
APLNDC0001561511
APLNDC0001561522
APLNDC0001562750
APLNDC0001562786
APLNDC0001567011
APLNDC0001567084
APLNDC0001567159
APLNDC0001567234
APLNDC0001567711
APLNDC0001568168
APLNDC0001568381
APLNDC0001568702
APLNDC0001568703
APLNDC0001568714
APLNDC0001568715
APLNDC0001582221   APLNDC0001582280    ComTech Verizon iPhone Presentation, Apple Market Research & Analysis, 3/17/11
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APLNDC0001582364
APLNDC0001582368
APLNDC0001582426
APLNDC0001582428
APLNDC0001582432
APLNDC0001582452
APLNDC0001582458
APLNDC0001582465
APLNDC0001582472
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Bates Beg.         Bates End          Documents Description
APLNDC0001583019
APLNDC0001583061
APLNDC0001583063
APLNDC0001583084
APLNDC0001583088
APLNDC0001583090
APLNDC0001583093
APLNDC0001583096
APLNDC0001583125
APLNDC0001583128
APLNDC0001583132
APLNDC0001583138
APLNDC0001583144
APLNDC0001583150
APLNDC0001583175
APLNDC0001583187
APLNDC0001583189
APLNDC0001583193
APLNDC0001583197
APLNDC0001583201
APLNDC0001583205
APLNDC0001583207
APLNDC0001583210
APLNDC0001583266
APLNDC0001583271
APLNDC0001583273
APLNDC0001583300
APLNDC0001583303
APLNDC0001583306
APLNDC0001583307
APLNDC0001583331
APLNDC0001583334
APLNDC0001583338
APLNDC0001583343
APLNDC0001583349
APLNDC0001583355
APLNDC0001583360
APLNDC0001583438
APLNDC0001625803
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APLNDC0001661495   APLNDC0001661503   Measuring the iPad Business, by John Brown of Market Research, February 2011
APLNDC0001663462
APLNDC0001744322
APLNDC0001752807
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APLNDC0001754674   APLNDC0001754722   AT&T and Verizon Deep Dive
APLNDC0001756603
APLNDC0001795361
APLNDC0001813578
APLNDC0001814546
APLNDC0001814633
APLNDC0001837671
APLNDC0001839843
APLNDC0001840109
APLNDC0001840584
APLNDC0001845703   APLNDC0001845739   AT&T Meeting: Internal Overview
APLNDC0001846142
APLNDC0001852598
APLNDC0001852603
APLNDC0001852608
APLNDC0001852612
APLNDC0001852613
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APLNDC0001852637
APLNDC0001852638
APLNDC0001867093
APLNDC0001867465
APLNDC0001867473
APLNDC0001867696
APLNDC0001932905
APLNDC0001953887
APLNDC0001953956
APLNDC0002114200
APLNDC0002154209
APLNDC0002154210
APLNDC0002154211
APLNDC0002187171
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APLNDC0002187232
APLNDC0002187233
APLNDC0002187248
APLNDC0002187256
APLNDC0002187260
APLNDC0002187274
APLNDC0002187280
APLNDC0002187281
APLNDC0002187307
APLNDC0002187318
APLNDC0002187321
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APLNDC0002187360
APLNDC0002187421
APLNDC0002187423
APLNDC0002187424
APLNDC0002187428
APLNDC0002187429
APLNDC0002187487
APLNDC0002187502
APLNDC0002187506
APLNDC0002187508
APLNDC0002187511
APLNDC0002187512
APLNDC0002187516
APLNDC0002187534
APLNDC0002467571
APLNDC0002467597
APLNDC0002467616
APLNDC0002467635
APLNDC0002467654
APLNDC0002467673
APLNDC0002467696
APLNDC0002467743
APLNDC0002467768
APLNDC0002467894
APLNDC0002467972
APLNDC0002468872
APLNDC0002469382
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APLNDC0002470661
APLNDC0002470681
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APLNDC0002470821
APLNDC0002471037
APLNDC0002471254
APLNDC0002471355
APLNDC0002471356
APLNDC0002471445
APLNDC0002471446
APLNDC0002471486
APLNDC0002471735
APLNDC0002471769
APLNDC0002471770
APLNDC0002472046
APLNDC0002472048
APLNDC0002472049
APLNDC0002472259
APLNDC0002472261
APLNDC0002472281
APLNDC0002472371
APLNDC0002472421
APLNDC0002472423
APLNDC0002472836
APLNDC0002472838
APLNDC0002472843
APLNDC0002472846
APLNDC0002472937
APLNDC0002472992
APLNDC0002472994
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APLNDC0002473486
APLNDC0002473490
APLNDC0002473562
APLNDC0002473568
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APLNDC0002473595
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APLNDC0002473804
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APLNDC0002474096
APLNDC0002474100
APLNDC0002474141
APLNDC0002519240
APLNDC0002519242
APLNDC0002519403
APLNDC0002520298
APLNDC0002521745
APLNDC0002521747
APLNDC0002532799
APLNDC0002532800
APLNDC0002532802
APLNDC0002532803
APLNDC0002533271
APLNDC0002533272
APLNDC0002533519
APLNDC0002533544
APLNDC0002533546
APLNDC0002533550
APLNDC0002533641
APLNDC0002533706
APLNDC0002533707
APLNDC0002533709
APLNDC0002533710
APLNDC0002533715
APLNDC0002533717
APLNDC0002533721
APLNDC0002533723
APLNDC0002533726
APLNDC0002534265
APLNDC0002534266
APLNDC0002534268
APLNDC0002534275
APLNDC0002534298
APLNDC0002534327
APLNDC0002534346
APLNDC0002534347
APLNDC0002534349
APLNDC0002534575
APLNDC0002534576
APLNDC0002534750
APLNDC0002534752
APLNDC0002534754
APLNDC0002534757
APLNDC0002534760
APLNDC0002534763
APLNDC0002534854
APLNDC0002534856
APLNDC0002534975
APLNDC0002541008
APLNDC0002541009
APLNDC0002541046
APLNDC0002541047
APLNDC0002541132
APLNDC0002541133
APLNDC0002541173
APLNDC0002541174
APLNDC0002541238
APLNDC0002541239
APLNDC0002541284
APLNDC0002541337
APLNDC0002541338
APLNDC0002541347
APLNDC0002541350
APLNDC0002546347
APLNDC0002546348
APLNDC0002546394
APLNDC0002546435
APLNDC0002547144
APLNDC0002547146
APLNDC0002547150
APLNDC0002547499
APLNDC0002547583
APLNDC0002547586
APLNDC0002554359
APLNDC0002554360
APLNDC0002554397
APLNDC0002554399
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Bates Beg.            Bates End   Documents Description
APLNDC0002554465
APLNDC0002554467
APLNDC0002554468
APLNDC0002554500
APLNDC0002554501
APLNDC0002554509
APLNDC0002554515
APLNDC0002554529
APLNDC0002554531
APLNDC0002554535
APLNDC0002554536
APLNDC0002554544
APLNDC0002554550
APLNDC0002554564
APLNDC0002554566
APLNDC0002554641
APLNDC0002554643
APLNDC0002554789
APLNDC0002555445
APLNDC0002556301
APLNDC0002556304
APLNDC0002556383
APLNDC0002557139
APLNDC0002557193
APLNDC0002557196
APLNDC0002557232
APLNDC0002557323
APLNDC0002557325
APLNDC0002557328
APLNDC0002557388
APLNDC0002557705
APLNDC0002557794
APLNDC0002557968
APLNDC0002557971
APLNDC0002557975
APLNDC0002558227
APLNDC0002558228
APLNDC0002558407
APLNDC0002558408
APLNDC0002558612
APLNDC0002558614
APLNDC0002558689
APLNDC0002558692
APLNDC0002558778
APLNDC0002558779
APLNDC0002558950
APLNDC0002558952
APLNDC0002611859
APLNDC0002613393
APLNDC0002614299
APLNDC0002615225
APLNDC0002616180
APLNDC0002616183
APLNDC0002616444
APLNDC0002616447
APLNDC0002616451
APLNDC0002616455
APLNDC0002616458
APLNDC0002616463
APLNDC0002616476
APLNDC0002616481
APLNDC0002616487
APLNDC0002616553
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APLNDC0002617060
APLNDC0002617406
APLNDC0002617409
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APLNDC0002636452
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APLNDC-X0000069462
APLNDC-X0000069463
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APLNDC-X0000069470
APLNDC-X0000069471
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APLNDC-X0000069512
APLNDC-X0000069513
APLNDC-X0000069514
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APLNDC-X0000069518
APLNDC-X0000069519
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APLNDC-Y0000048554
APLNDC-Y0000049780   APLNDC-Y0000049782      Table of Port Codes
APLNDC-Y0000049783   APLNDC-Y0000049830      iPod Touch (N18) standard cost breakdown by parts, Q4 FY09 through Q1 FY11
APLNDC-Y0000049831   APLNDC-Y0000049877      iPod Touch (N45) standard cost breakdown by parts, Q4 FY07 through Q4 FY08
APLNDC-Y0000049878   APLNDC-Y0000049924      iPod Touch (N72) standard cost breakdown by parts, Q4 FY08 through Q4 FY09
APLNDC-Y0000049925   APLNDC-Y0000049948      iPod Touch (N72B) standard cost breakdown by parts, Q4 FY09 through Q1 FY11
APLNDC-Y0000049949   APLNDC-Y0000050026      iPod Touch (N81) standard cost breakdown by parts, Q4 FY10 through Q4 FY11
APLNDC-Y0000050027   APLNDC-Y0000050243      iPad (K48 - K48M) standard cost breakdown by parts, Q3 FY10 through Q3 FY11
APLNDC-Y0000050244   APLNDC-Y0000050772      iPad (K93, K94, K95) standard cost breakdown by parts, Q2 FY11 through Q4 FY11
APLNDC-Y0000050773   APLNDC-Y0000050895      iPhone (M68) standard cost breakdown by parts, Q03 FY07 through Q3 FY08
APLNDC-Y0000050896   APLNDC-Y0000050958      iPhone 3G (N82) standard cost breakdown by parts, Q4 FY08 through Q3 FY10
APLNDC-Y0000050959   APLNDC-Y0000051027      iPhone 3GS (N88) standard cost breakdown by parts, Q3 FY09 through Q3 FY10
APLNDC-Y0000051028   APLNDC-Y0000051092      iPhone 3GS (N88A) standard cost breakdown by parts, Q3 FY10 through Q4 FY11
APLNDC-Y0000051093   APLNDC-Y0000051276      iPhone 4 (N90) standard cost breakdown by parts, Q4 FY10 through Q4 FY11
APLNDC-Y0000051277   APLNDC-Y0000051349      iPhone 4 (N92) standard cost breakdown by parts, Q2 FY11 through Q4 FY11
APLNDC-Y0000051357   APLNDC-Y0000051362      Apple Billings Report (US) - iPhone, Q3 FY07 through Q1 FY12.
APLNDC-Y0000051357   APLNDC-Y0000051362      Apple Billings Report (US) - iPhone, Q3 FY07 through Q1 FY12.
APLNDC-Y0000051363   APLNDC-Y0000051591      Apple Costed BOMs - iPod Touch, iPhone and iPad Touch, Q1 FY12
APLNDC-Y0000051592   APLNDC-Y0000051598      iTunes Business P&L (US), Q1 FY05 through Q1 FY12
APLNDC-Y0000051599   APLNDC-Y0000051605      Apple Billings Report (US) - iPod Touch and iPad, Q4 FY07 through Q1 FY12
APLNDC-Y0000051599   APLNDC-Y0000051605      Apple Billings Report (US) - iPod Touch and iPad, Q4 FY07 through Q1 FY12
APLNDC-Y0000051606   APLNDC-Y0000051609      GAAP Line of Business Report - iPad Accessories, Q3 FY10 through Q1 FY12; iPhone Accessories Q3 FY07 through Q1 FY12; Music
                                             Accessories Q1 FY06 through Q1 FY12
APLNDC-Y0000051610   APLNDC-Y0000051615      GAAP Line of Business Report - iPad, Q2 FY10 through Q1 FY12; iPhone Q3 FY07 through Q1 FY12; iPod, Q1 FY02 through Q1 FY12
APLNDC-Y0000051616   APLNDC-F88Y0000051617   GAAP Line of Business Report - iTS, Q1 FY06 through Q1 FY12
APLNDC-Y0000051618   APLNDC-Y0000051619      GAAP Line of Business Report - Licensing, Q1 FY06 through Q1 FY12
APLNDC-Y0000051618   APLNDC-Y0000051619      GAAP Line of Business Report - Licensing, Q1 FY06 through Q1 FY12
APLNDC-Y0000051620   APLNDC-Y0000051620      GAAP Line of Business Report - Mob.Adv (mobile Advertising), Q2 FY10 through Q1 FY12
APLNDC-Y0000051620   APLNDC-Y0000051620      GAAP Line of Business Report - Mob.Adv (mobile Advertising), Q2 FY10 through Q1 FY12
APLNDC-Y0000055415   APLNDC-Y0000055415      Apple US Unit Sales by Customer and Channel
APLNDC-Y0000055416   APLNDC-Y0000055416      iPad Supply and Sales, 2010 - 2011
APLNDC-Y0000055417   APLNDC-Y0000055417      iPhone Supply and Sales, 2010 - 2011
APLNDC-Y0000055457   APLNDC-Y0000055716      Apple Market Research & Analysis, "iPad Tracking Study: FY11-Q4 Report," 11/2011.
APLNDC-Y0000055717   APLNDC-Y0000055744      Chadwick Martin Bailey, "iPad Recent Buyer Usage Survey Draft," revised 10/21/2011.
APLNDC-Y0000055745   APLNDC-Y0000055765      Apple iPad Recent Buyer 2011, Survey Results.
APLNDC-Y0000055766                           iPad Buyer Survey, 12/19/2011.
APLNDC-Y0000055808                           Apple iPad Recent Buyer Country Banner, Survey Results, 2/7/11.
APLNDC-Y0000055960                           Apple Market Research & Analysis, "iPad Recent Buyer 2011: Quantitative Research Among Owners," 12/2011.
APLNDC-Y0000056142                           Apple iPad Buyer Study, 11/10/2011.
APLNDC-Y0000066932
APLNDC-Y0000066934
APLNDC-Y0000148289
APLNDC-Y0000148297
APLNDC-Y0000148306
APLNDC-Y0000148375
APLNDC-Y0000148383
APLNDC-Y0000148398
APLNDC-Y0000148410
APLNDC-Y0000148431
APLNDC-Y0000148438
APLNDC-Y0000148459   APLNDC-Y000148473       Made for iPod License.
APLNDC-Y0000148474   APLNDC-Y000148478       Made for iPod License iPhone/iPad Supplement to Contract.
APLNDC-Y0000148505
APLNDC-Y0000148556
APLNDC-Y0000232431
APLNDC-Y0000232434
APLNDC-Y0000232445
APLNDC-Y0000232447
APLNDC-Y0000232449
APLNDC-Y0000232451
APLNDC-Y0000232552                           Gartner - Market Share Alert: Mobile Devices, 4Q '11 (Preliminary View), 1/17/12
APLNDC-Y0000232984                           Excel Spreadsheet: IDC WW Mobile Phone Tracker 2011Q3 Top 10
APLNDC-Z0000000001
APLNDC-Z0000000002
APLNDC-Z0000000003
APLNDC-Z0000000004
APLNDC-Z0000000005
AppDel 0000001       AppDel 0000020          Global Patent License Agreement, between Ericsson and Apple, 1/14/08
AppDel 0000001       AppDel 0000020          Global Patent License Agreement, between Ericsson and Apple, 1/14/08
AppDel 0000021       AppDel 0000037          Wireless Patent License Agreement, between InterDigital Group and Apple, 6/29/07
AppDel 0000021       AppDel 0000037          Wireless Patent License Agreement, between InterDigital Group and Apple, 6/29/07
AppDel 0000038       AppDel 0000051          Settlement and License Agreement, between Apple and SPH, 12/31/09
AppDel 0000052       AppDel 0000070          Settlement and License Agreement, between Apple and SPH, 12/31/09
AppDel 0000071       AppDel 0000091          Settlement and License Agreement, between Apple and SPH and Dr. Park, 12/31/09
AppDel 0000092       AppDel 0000106          Settlement and License Agreement, between Apple and SPH, 12/31/09
AppDel 0000107       AppDel 0000120          Settlement and License Agreement, between Apple and WIAV, 12/31/09
AppDel 0000121       AppDel 0000155          Settlement and License Agreement, between Apple and WIAV, 12/29/08
AppDel0073610        AppDel0073648           Settlement Agreement, between Unova and Apple, 2/4/04
AppDel0158839        AppDel0158880           Apple - ETRI Collaboration Agreement, between ETRI and Apple, 12/31/09
AppDel0158881        AppDel0158905           Patent License - Narrowband AMR and Wideband AMR Standards, between Apple and Ericsson 6/3/03
AppDel0158906        AppDel0158943           Patent License - Narrowband AMR and Wideband AMR Standards, between Apple, Nokia and VoiceAge Corp, 6/3/03
AppDel0158944        AppDel0158966           Patent Cross License Agreement, between Apple and Microsoft, 8/5/97
AppDel0158967        AppDel0159005           Patent Cross License Agreement, between IBM and Apple, 10/1/91
AppDel0166188        AppDel0166205           Standstill and Option Agreement, between MSTG and Apple, October 2009




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                                                           Documents Considered List




Bates Beg.            Bates End         Documents Description
Samsung Production

S-794-ITC-000000001
S-794-ITC-000000021
S-794-ITC-000000026
S-794-ITC-000000040
S-794-ITC-000000050
S-794-ITC-000000245
S-794-ITC-000000274
S-794-ITC-000001397
S-794-ITC-000001523
S-794-ITC-000001547
S-794-ITC-000001583
S-794-ITC-000003019
S-794-ITC-000003116
S-794-ITC-000003135
S-794-ITC-000003162
S-794-ITC-000003303
S-794-ITC-000003311
S-794-ITC-003052419
S-794-ITC-003052438
S-794-ITC-003052456
S-794-ITC-003052510
S-794-ITC-003052538
S-794-ITC-003052584
S-794-ITC-003052662
S-794-ITC-005003324
S-794-ITC-005003332
S-794-ITC-005003340
S-794-ITC-005003842
S-794-ITC-005003863
S-794-ITC-005003871
S-794-ITC-005003878
S-794-ITC-005005803
S-794-ITC-005214589
S-794-ITC-005214598
S-794-ITC-005216331
S-794-ITC-005216440
S-794-ITC-005280285
S-794-ITC-005280871
S-794-ITC-005282525
S-794-ITC-005282911
S-794-ITC-005285412
S-794-ITC-005285477
S-794-ITC-005286924
S-794-ITC-005287295
S-794-ITC-005288607
S-794-ITC-005517418
S-794-ITC-005517433
S-794-ITC-005517442
S-794-ITC-005517484
S-794-ITC-005517513
SAMNDC00036232
SAMNDCA00025016       SAMNDCA00025036
SAMNDCA00027737       SAMNDCA00027770
SAMNDCA00027737       SAMNDCA00027770
SAMNDCA00052029
SAMNDCA00052116
SAMNDCA00052124
SAMNDCA00052124
SAMNDCA00052164
SAMNDCA00052166
SAMNDCA00176053
SAMNDCA00176053
SAMNDCA00176053
SAMNDCA00176053
SAMNDCA00176053
SAMNDCA00191354
SAMNDCA00191410
SAMNDCA00191455
SAMNDCA00191722
SAMNDCA00191807
SAMNDCA00191988
SAMNDCA00192142
SAMNDCA00192232
SAMNDCA00192770
SAMNDCA00193297
SAMNDCA00193317
SAMNDCA00193332
SAMNDCA00193538
SAMNDCA00193550
SAMNDCA00193564
SAMNDCA00193604
SAMNDCA00193637
SAMNDCA00193719
SAMNDCA00193785
SAMNDCA00194415
SAMNDCA00194597
SAMNDCA00194658
SAMNDCA00194675
SAMNDCA00194741
SAMNDCA00195065
SAMNDCA00195189




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Bates Beg.         Bates End         Documents Description
SAMNDCA00195249
SAMNDCA00195523
SAMNDCA00196337
SAMNDCA00196419
SAMNDCA00196449
SAMNDCA00196646
SAMNDCA00196646
SAMNDCA00201284
SAMNDCA00201336
SAMNDCA00201351
SAMNDCA00201351
SAMNDCA00201771
SAMNDCA00201771
SAMNDCA00201771
SAMNDCA00202212
SAMNDCA00202336
SAMNDCA00202869    SAMNDCA00202933
SAMNDCA00203016
SAMNDCA00203016
SAMNDCA00203092
SAMNDCA00203268
SAMNDCA00203727
SAMNDCA00203727
SAMNDCA00203727
SAMNDCA00203811
SAMNDCA00203880
SAMNDCA00203880
SAMNDCA00203880
SAMNDCA00203880
SAMNDCA00203880
SAMNDCA00203880
SAMNDCA00204410    SAMNDCA00204494
SAMNDCA00204759    SAMNDCA00204795
SAMNDCA00204796    SAMNDCA00204832
SAMNDCA00204833    SAMNDCA00204869
SAMNDCA00205032    SAMNDCA00205032
SAMNDCA00205082    SAMNDCA00205232
SAMNDCA00205345    SAMNDCA00205346
SAMNDCA00205418    SAMNDCA00205575
SAMNDCA00207338    SAMNDCA00207355
SAMNDCA00207486
SAMNDCA00207902    SAMNDCA00207952
SAMNDCA00208654
SAMNDCA00214274
SAMNDCA00214962    SAMNDCA00214968
SAMNDCA00214969    SAMNDCA00215201
SAMNDCA00215230    SAMNDCA00215462
SAMNDCA00215509    SAMNDCA00215526
SAMNDCA00217372
SAMNDCA00217372
SAMNDCA00220398    SAMNDCA00220422
SAMNDCA00220455    SAMNDCA00220503
SAMNDCA00221321    SAMNDCA00221453
SAMNDCA00221454    SAMNDCA00221467
SAMNDCA00221468    SAMNDCA00221494
SAMNDCA00221495    SAMNDCA00221550
SAMNDCA00221601    SAMNDCA00221636
SAMNDCA00221705
SAMNDCA00221819    SAMNDCA00221877
SAMNDCA00222973    SAMNDCA00223050
SAMNDCA00223051    SAMNDCA00223128
SAMNDCA00223129    SAMNDCA00223206
SAMNDCA00223207    SAMNDCA00223284
SAMNDCA00223285    SAMNDCA00223363
SAMNDCA00223364    SAMNDCA00223440
SAMNDCA00223441    SAMNDCA00223521
SAMNDCA00223599    SAMNDCA00223675
SAMNDCA00223676    SAMNDCA00223731
SAMNDCA00223732    SAMNDCA00223770
SAMNDCA00223771    SAMNDCA00223812
SAMNDCA00223813    SAMNDCA00223864
SAMNDCA00223865    SAMNDCA00223928
SAMNDCA00223929    SAMNDCA00223970
SAMNDCA00223971    SAMNDCA00223972
SAMNDCA00223973    SAMNDCA00223980
SAMNDCA00223981    SAMNDCA00223991
SAMNDCA00223992    SAMNDCA00224011
SAMNDCA00224012    SAMNDCA00224027
SAMNDCA00224028    SAMNDCA00224150
SAMNDCA00224151    SAMNDCA00224269
SAMNDCA00224270    SAMNDCA00224389
SAMNDCA00224444    SAMNDCA00224461
SAMNDCA00224547
SAMNDCA00224548    SAMNDCA00224580
SAMNDCA00224581    SAMNDCA00224586
SAMNDCA00224818
SAMNDCA00224819
SAMNDCA00225612    SAMNDCA00225632
SAMNDCA00225641    SAMNDCA00225704
SAMNDCA00225721    SAMNDCA00225829
SAMNDCA00225898
SAMNDCA00225899
SAMNDCA00225900




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SAMNDCA00225901
SAMNDCA00225902
SAMNDCA00225903
SAMNDCA00225904
SAMNDCA00225905
SAMNDCA00225906
SAMNDCA00225907
SAMNDCA00225908
SAMNDCA00225909
SAMNDCA00225910
SAMNDCA00225911
SAMNDCA00226108
SAMNDCA00226110
SAMNDCA00226111
SAMNDCA00226448    SAMNDCA00226522
SAMNDCA00226523    SAMNDCA00226588
SAMNDCA00226589    SAMNDCA00226816
SAMNDCA00226817    SAMNDCA00226870
SAMNDCA00226871    SAMNDCA00226914
SAMNDCA00226915    SAMNDCA00226943
SAMNDCA00226944    SAMNDCA00226985
SAMNDCA00226986
SAMNDCA00226990
SAMNDCA00226991
SAMNDCA00226992
SAMNDCA00226993
SAMNDCA00226994
SAMNDCA00226995
SAMNDCA00226996
SAMNDCA00226997
SAMNDCA00226998
SAMNDCA00226999
SAMNDCA00227000
SAMNDCA00227001    SAMNDCA00227028
SAMNDCA00227029
SAMNDCA00227030    SAMNDCA00227052
SAMNDCA00227053    SAMNDCA00227075
SAMNDCA00227076    SAMNDCA00227092
SAMNDCA00227093    SAMNDCA00227109
SAMNDCA00227110
SAMNDCA00227111    SAMNDCA00227127
SAMNDCA00227128    SAMNDCA00227144
SAMNDCA00227145    SAMNDCA00227161
SAMNDCA00227162    SAMNDCA00227189
SAMNDCA00227190
SAMNDCA00227191
SAMNDCA00227192
SAMNDCA00227193    SAMNDCA00227220
SAMNDCA00227221
SAMNDCA00227225
SAMNDCA00227226
SAMNDCA00227227
SAMNDCA00227228
SAMNDCA00227229
SAMNDCA00227230
SAMNDCA00227231    SAMNDCA00227254
SAMNDCA00227255    SAMNDCA00227292
SAMNDCA00227293    SAMNDCA00227311
SAMNDCA00227331
SAMNDCA00227332
SAMNDCA00227333    SAMNDCA00227356
SAMNDCA00227357
SAMNDCA00227358
SAMNDCA00227359    SAMNDCA00227388
SAMNDCA00227389    SAMNDCA00227418
SAMNDCA00227419    SAMNDCA00227435
SAMNDCA00227436    SAMNDCA00227452
SAMNDCA00227453    SAMNDCA00227469
SAMNDCA00227470    SAMNDCA00227486
SAMNDCA00227487    SAMNDCA00227503
SAMNDCA00227504    SAMNDCA00227527
SAMNDCA00227528
SAMNDCA00227529
SAMNDCA00227530
SAMNDCA00227531    SAMNDCA00227547
SAMNDCA00227548    SAMNDCA00227564
SAMNDCA00227565    SAMNDCA00227581
SAMNDCA00227582
SAMNDCA00227584    SAMNDCA00227612
SAMNDCA00227613
SAMNDCA00227614
SAMNDCA00227615
SAMNDCA00227616
SAMNDCA00227617
SAMNDCA00227618
SAMNDCA00227619    SAMNDCA00227649
SAMNDCA00227650
SAMNDCA00227651
SAMNDCA00227652
SAMNDCA00227653
SAMNDCA00227685
SAMNDCA00227686
SAMNDCA00227687




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SAMNDCA00227688
SAMNDCA00227689    SAMNDCA00227714
SAMNDCA00227715
SAMNDCA00227716
SAMNDCA00228887
SAMNDCA00228934
SAMNDCA00228981
SAMNDCA00229011
SAMNDCA00229396
SAMNDCA00229399
SAMNDCA00229399
SAMNDCA00229410
SAMNDCA00229410
SAMNDCA00229440
SAMNDCA00229440
SAMNDCA00229449
SAMNDCA00229449
SAMNDCA00230720
SAMNDCA00230916
SAMNDCA00230919
SAMNDCA00230947
SAMNDCA00230949
SAMNDCA00232184
SAMNDCA00232674
SAMNDCA00232676
SAMNDCA00232771
SAMNDCA00232824
SAMNDCA00232825
SAMNDCA00232825
SAMNDCA00232844
SAMNDCA00232848
SAMNDCA00232848
SAMNDCA00232854
SAMNDCA00233062
SAMNDCA00233063
SAMNDCA00233097
SAMNDCA00233122
SAMNDCA00233722
SAMNDCA00235001
SAMNDCA00235006
SAMNDCA00235716
SAMNDCA00237364
SAMNDCA00237929
SAMNDCA00238153
SAMNDCA00238251
SAMNDCA00238251
SAMNDCA00238432
SAMNDCA00241232    SAMNDCA00224746
SAMNDCA00241232
SAMNDCA00244835
SAMNDCA00246768
SAMNDCA00247139
SAMNDCA00249346
SAMNDCA00251457
SAMNDCA00251457
SAMNDCA00251457
SAMNDCA00251506
SAMNDCA00251506
SAMNDCA00251538
SAMNDCA00251538
SAMNDCA00251538
SAMNDCA00256338
SAMNDCA00256552
SAMNDCA00257052
SAMNDCA00280201    SAMNDCA00280211   US Market Weekly Sales Report, STA.
SAMNDCA00280201
SAMNDCA00280212    SAMNDCA00280221   US Market Weekly Sales Report, STA.
SAMNDCA00280212
SAMNDCA00280222    SAMNDCA00280231   US Market Weekly Sales Report, STA.
SAMNDCA00280222
SAMNDCA00280232    SAMNDCA00280241   US Market Weekly Sales Report, STA.
SAMNDCA00280232
SAMNDCA00280242    SAMNDCA00280251   US Market Weekly Sales Report, STA.
SAMNDCA00280242
SAMNDCA00280252    SAMNDCA00280260   US Market Weekly Sales Report, STA.
SAMNDCA00280252
SAMNDCA00280261    SAMNDCA00280269   US Market Weekly Sales Report, STA.
SAMNDCA00280261
SAMNDCA00280270    SAMNDCA00280278   US Market Weekly Sales Report, STA.
SAMNDCA00280270
SAMNDCA00280279    SAMNDCA00280287   US Market Weekly Sales Report, STA.
SAMNDCA00280279
SAMNDCA00280288    SAMNDCA00280296   US Market Weekly Sales Report, STA.
SAMNDCA00280288
SAMNDCA00280297    SAMNDCA00280305   US Market Weekly Sales Report, STA.
SAMNDCA00280297
SAMNDCA00280306    SAMNDCA00280314   US Market Weekly Sales Report, STA.
SAMNDCA00280306
SAMNDCA00280315    SAMNDCA00280323   US Market Weekly Sales Report, STA.
SAMNDCA00280315
SAMNDCA00280324    SAMNDCA00280332   US Market Weekly Sales Report, STA.
SAMNDCA00280324
SAMNDCA00280333    SAMNDCA00280341   US Market Weekly Sales Report, STA.




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Bates Beg.         Bates End         Documents Description
SAMNDCA00280333
SAMNDCA00280342    SAMNDCA00280350   US Market Weekly Sales Report, STA.
SAMNDCA00280342
SAMNDCA00280351    SAMNDCA00280359   US Market Weekly Sales Report, STA.
SAMNDCA00280351
SAMNDCA00280360    SAMNDCA00280368   US Market Weekly Sales Report, STA.
SAMNDCA00280360
SAMNDCA00280369    SAMNDCA00280377   US Market Weekly Sales Report, STA.
SAMNDCA00280369
SAMNDCA00280378    SAMNDCA00280386   US Market Weekly Sales Report, STA.
SAMNDCA00280378
SAMNDCA00280387    SAMNDCA00280395   US Market Weekly Sales Report, STA.
SAMNDCA00280387
SAMNDCA00280396    SAMNDCA00280403   US Market Weekly Sales Report, STA.
SAMNDCA00280396
SAMNDCA00280404    SAMNDCA00280411   US Market Weekly Sales Report, STA.
SAMNDCA00280404
SAMNDCA00280412    SAMNDCA00280420   US Market Weekly Sales Report, STA.
SAMNDCA00280412
SAMNDCA00280421    SAMNDCA00280429   US Market Weekly Sales Report, STA.
SAMNDCA00280421
SAMNDCA00280430    SAMNDCA00280438   US Market Weekly Sales Report, STA.
SAMNDCA00280430
SAMNDCA00280439    SAMNDCA00280447   US Market Weekly Sales Report, STA.
SAMNDCA00280439
SAMNDCA00280448    SAMNDCA00280456   US Market Weekly Sales Report, STA.
SAMNDCA00280448
SAMNDCA00280457    SAMNDCA00280465   US Market Weekly Sales Report, STA.
SAMNDCA00280457
SAMNDCA00280466    SAMNDCA00280475   US Market Weekly Sales Report, STA.
SAMNDCA00280466
SAMNDCA00280476    SAMNDCA00280485   US Market Weekly Sales Report, STA.
SAMNDCA00280476
SAMNDCA00280486    SAMNDCA00280494   US Market Weekly Sales Report, STA.
SAMNDCA00280486
SAMNDCA00280495    SAMNDCA00280503   US Market Weekly Sales Report, STA.
SAMNDCA00280495
SAMNDCA00280504    SAMNDCA00280513   US Market Weekly Sales Report, STA.
SAMNDCA00280504
SAMNDCA00280514    SAMNDCA00280523   US Market Weekly Sales Report, STA.
SAMNDCA00280514
SAMNDCA00280524    SAMNDCA00280533   US Market Weekly Sales Report, STA.
SAMNDCA00280524
SAMNDCA00280534    SAMNDCA00280543   US Market Weekly Sales Report, STA.
SAMNDCA00280534
SAMNDCA00280544    SAMNDCA00280554   US Market Weekly Sales Report, STA.
SAMNDCA00280544
SAMNDCA00280555    SAMNDCA00280566   US Market Weekly Sales Report, STA.
SAMNDCA00280555
SAMNDCA00280567    SAMNDCA00280578   US Market Weekly Sales Report, STA.
SAMNDCA00280567
SAMNDCA00280579    SAMNDCA00280590   US Market Weekly Sales Report, STA.
SAMNDCA00280579
SAMNDCA00280591    SAMNDCA00280602   US Market Weekly Sales Report, STA.
SAMNDCA00280591
SAMNDCA00280603    SAMNDCA00280615   US Market Weekly Sales Report, STA.
SAMNDCA00280603
SAMNDCA00280616    SAMNDCA00280628   US Market Weekly Sales Report, STA.
SAMNDCA00280616
SAMNDCA00280629    SAMNDCA00280641   US Market Weekly Sales Report, STA.
SAMNDCA00280629
SAMNDCA00280642    SAMNDCA00280654   US Market Weekly Sales Report, STA.
SAMNDCA00280642
SAMNDCA00280655    SAMNDCA00280667   US Market Weekly Sales Report, STA.
SAMNDCA00280655
SAMNDCA00280668    SAMNDCA00280678   US Market Weekly Sales Report, STA.
SAMNDCA00280668
SAMNDCA00280679    SAMNDCA00280690   US Market Weekly Sales Report, STA.
SAMNDCA00280679
SAMNDCA00280691    SAMNDCA00280703   US Market Weekly Sales Report, STA.
SAMNDCA00280691
SAMNDCA00280704    SAMNDCA00280716   US Market Weekly Sales Report, STA.
SAMNDCA00280704
SAMNDCA00280717    SAMNDCA00280731   US Market Weekly Sales Report, STA.
SAMNDCA00280717
SAMNDCA00280732    SAMNDCA00280746   US Market Weekly Sales Report, STA.
SAMNDCA00280732
SAMNDCA00280747    SAMNDCA00280761   US Market Weekly Sales Report, STA.
SAMNDCA00280747
SAMNDCA00280762    SAMNDCA00280777   US Market Weekly Sales Report, STA.
SAMNDCA00280762
SAMNDCA00280778    SAMNDCA00280793   US Market Weekly Sales Report, STA.
SAMNDCA00280778
SAMNDCA00280794    SAMNDCA00280808   US Market Weekly Sales Report, STA.
SAMNDCA00280794
SAMNDCA00280809    SAMNDCA00280823   US Market Weekly Sales Report, STA.
SAMNDCA00280809
SAMNDCA00280824    SAMNDCA00280838   US Market Weekly Sales Report, STA.
SAMNDCA00280824
SAMNDCA00280839    SAMNDCA00280854   US Market Weekly Sales Report, STA.
SAMNDCA00280839
SAMNDCA00280855    SAMNDCA00280870   US Market Weekly Sales Report, STA.
SAMNDCA00280855




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Bates Beg.         Bates End         Documents Description
SAMNDCA00280871    SAMNDCA00280886   US Market Weekly Sales Report, STA.
SAMNDCA00280871
SAMNDCA00280887    SAMNDCA00280902   US Market Weekly Sales Report, STA.
SAMNDCA00280887
SAMNDCA00280903    SAMNDCA00280917   US Market Weekly Sales Report, STA.
SAMNDCA00280903
SAMNDCA00280918    SAMNDCA00280932   US Market Weekly Sales Report, STA.
SAMNDCA00280918
SAMNDCA00280933    SAMNDCA00280945   US Market Weekly Sales Report, STA.
SAMNDCA00280933
SAMNDCA00280946    SAMNDCA00280961   US Market Weekly Sales Report, STA.
SAMNDCA00280946
SAMNDCA00280962    SAMNDCA00280977   US Market Weekly Sales Report, STA.
SAMNDCA00280962
SAMNDCA00280978    SAMNDCA00280993   US Market Weekly Sales Report, STA.
SAMNDCA00280978
SAMNDCA00280994    SAMNDCA00281008   US Market Weekly Sales Report, STA.
SAMNDCA00280994
SAMNDCA00281009    SAMNDCA00281023   US Market Weekly Sales Report, STA.
SAMNDCA00281009
SAMNDCA00281024    SAMNDCA00281038   US Market Weekly Sales Report, STA.
SAMNDCA00281024
SAMNDCA00281039    SAMNDCA00281052   US Market Weekly Sales Report, STA.
SAMNDCA00281039
SAMNDCA00281053    SAMNDCA00281067   US Market Weekly Sales Report, STA.
SAMNDCA00281053
SAMNDCA00281068    SAMNDCA00281081   US Market Weekly Sales Report, STA.
SAMNDCA00281068
SAMNDCA00281082    SAMNDCA00281095   US Market Weekly Sales Report, STA.
SAMNDCA00281082
SAMNDCA00281096    SAMNDCA00281109   US Market Weekly Sales Report, STA.
SAMNDCA00281096
SAMNDCA00281110    SAMNDCA00281122   US Market Weekly Sales Report, STA.
SAMNDCA00281110
SAMNDCA00281123    SAMNDCA00281135   US Market Weekly Sales Report, STA.
SAMNDCA00281123
SAMNDCA00281136    SAMNDCA00281148   US Market Weekly Sales Report, STA.
SAMNDCA00281136
SAMNDCA00281149    SAMNDCA00281161   US Market Weekly Sales Report, STA.
SAMNDCA00281149
SAMNDCA00281149
SAMNDCA00281162
SAMNDCA00281218
SAMNDCA00281259
SAMNDCA00281448
SAMNDCA00281452
SAMNDCA00281538
SAMNDCA00281624
SAMNDCA00281735
SAMNDCA00281736
SAMNDCA00281742
SAMNDCA00281750
SAMNDCA00281892
SAMNDCA00281894
SAMNDCA00281902
SAMNDCA00281939
SAMNDCA00281976
SAMNDCA00281983
SAMNDCA00282033
SAMNDCA00282089
SAMNDCA00282095
SAMNDCA00282096
SAMNDCA00282097
SAMNDCA00282098
SAMNDCA00282099
SAMNDCA00282100
SAMNDCA00282101
SAMNDCA00282102
SAMNDCA00282103
SAMNDCA00282104
SAMNDCA00282105
SAMNDCA00282106
SAMNDCA00282106
SAMNDCA00282107
SAMNDCA00282108
SAMNDCA00282109
SAMNDCA00282110
SAMNDCA00282111
SAMNDCA00282112
SAMNDCA00322161
SAMNDCA00322161
SAMNDCA00322177
SAMNDCA00322177
SAMNDCA00322193
SAMNDCA00322193
SAMNDCA00322209
SAMNDCA00322209
SAMNDCA00322239
SAMNDCA00322239
SAMNDCA00322284
SAMNDCA00322284
SAMNDCA00322319
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Bates Beg.         Bates End      Documents Description
SAMNDCA00322349
SAMNDCA00322349
SAMNDCA00322374
SAMNDCA00322374
SAMNDCA00322398
SAMNDCA00322398
SAMNDCA00322446
SAMNDCA00322446
SAMNDCA00322475
SAMNDCA00322475
SAMNDCA00322518
SAMNDCA00322523
SAMNDCA00322532
SAMNDCA00322557
SAMNDCA00322558
SAMNDCA00322561
SAMNDCA00322562
SAMNDCA00322563
SAMNDCA00322570
SAMNDCA00322571
SAMNDCA00322578
SAMNDCA00322579
SAMNDCA00322586
SAMNDCA00322587
SAMNDCA00322654
SAMNDCA00322667
SAMNDCA00322671
SAMNDCA00322675
SAMNDCA00322679
SAMNDCA00322683
SAMNDCA00322698
SAMNDCA00322701
SAMNDCA00322704
SAMNDCA00322707
SAMNDCA00322711
SAMNDCA00322715
SAMNDCA00322724
SAMNDCA00322726
SAMNDCA00322728
SAMNDCA00322730
SAMNDCA00322732
SAMNDCA00322734
SAMNDCA00322736
SAMNDCA00322740
SAMNDCA00322742
SAMNDCA00322745
SAMNDCA00322747
SAMNDCA00322750
SAMNDCA00322752
SAMNDCA00322755
SAMNDCA00322756
SAMNDCA00322759
SAMNDCA00322760
SAMNDCA00322762
SAMNDCA00322763
SAMNDCA00322766
SAMNDCA00322767
SAMNDCA00322770
SAMNDCA00322772
SAMNDCA00322773
SAMNDCA00322775
SAMNDCA00322778
SAMNDCA00322784
SAMNDCA00322789
SAMNDCA00322794
SAMNDCA00322801
SAMNDCA00322806
SAMNDCA00322811
SAMNDCA00322815
SAMNDCA00322820
SAMNDCA00322824
SAMNDCA00322843
SAMNDCA00322851
SAMNDCA00322858
SAMNDCA00322940
SAMNDCA00323037
SAMNDCA00323040
SAMNDCA00323044
SAMNDCA00323046
SAMNDCA00323048
SAMNDCA00323050
SAMNDCA00323052
SAMNDCA00323053
SAMNDCA00323054
SAMNDCA00323055
SAMNDCA00323057
SAMNDCA00323059
SAMNDCA00323060
SAMNDCA00323064
SAMNDCA00323066
SAMNDCA00323068
SAMNDCA00323083
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Bates Beg.         Bates End      Documents Description
SAMNDCA00323087
SAMNDCA00323091
SAMNDCA00323094
SAMNDCA00323097
SAMNDCA00323099
SAMNDCA00323101
SAMNDCA00323103
SAMNDCA00323104
SAMNDCA00323107
SAMNDCA00323108
SAMNDCA00323110
SAMNDCA00323111
SAMNDCA00323112
SAMNDCA00323113
SAMNDCA00323115
SAMNDCA00323119
SAMNDCA00323120
SAMNDCA00323121
SAMNDCA00323131
SAMNDCA00323156
SAMNDCA00323160
SAMNDCA00323163
SAMNDCA00323165
SAMNDCA00323167
SAMNDCA00323174
SAMNDCA00323181
SAMNDCA00323182
SAMNDCA00323184
SAMNDCA00323186
SAMNDCA00323188
SAMNDCA00323229
SAMNDCA00323243
SAMNDCA00323267
SAMNDCA00323269
SAMNDCA00323271
SAMNDCA00323273
SAMNDCA00323280
SAMNDCA00323282
SAMNDCA00323283
SAMNDCA00323284
SAMNDCA00323298
SAMNDCA00323329
SAMNDCA00323358
SAMNDCA00323387
SAMNDCA00323402
SAMNDCA00323440
SAMNDCA00323440
SAMNDCA00323449
SAMNDCA00323480
SAMNDCA00323497
SAMNDCA00323505
SAMNDCA00323574
SAMNDCA00323577
SAMNDCA00323587
SAMNDCA00323598
SAMNDCA00323607
SAMNDCA00323613
SAMNDCA00323628
SAMNDCA00323629
SAMNDCA00323643
SAMNDCA00323668
SAMNDCA00323669
SAMNDCA00323671
SAMNDCA00323672
SAMNDCA00323673
SAMNDCA00323674
SAMNDCA00323675
SAMNDCA00323678
SAMNDCA00323679
SAMNDCA00323679
SAMNDCA00323689
SAMNDCA00323689
SAMNDCA00323847
SAMNDCA00323849
SAMNDCA00323850
SAMNDCA00323853
SAMNDCA00323856
SAMNDCA00323857
SAMNDCA00323859
SAMNDCA00323862
SAMNDCA00323895
SAMNDCA00323943
SAMNDCA00325495
SAMNDCA00325495
SAMNDCA00325522
SAMNDCA00325523
SAMNDCA00325524
SAMNDCA00325526
SAMNDCA00325532
SAMNDCA00325535
SAMNDCA00325536
SAMNDCA00325537
SAMNDCA00325540




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Bates Beg.         Bates End      Documents Description
SAMNDCA00325541
SAMNDCA00325545
SAMNDCA00325549
SAMNDCA00325550
SAMNDCA00325555
SAMNDCA00325556
SAMNDCA00325562
SAMNDCA00325571
SAMNDCA00325574
SAMNDCA00325575
SAMNDCA00325576
SAMNDCA00325613
SAMNDCA00325619
SAMNDCA00325651
SAMNDCA00325660
SAMNDCA00325661
SAMNDCA00325663
SAMNDCA00325665
SAMNDCA00325666
SAMNDCA00325671
SAMNDCA00325673
SAMNDCA00325675
SAMNDCA00325677
SAMNDCA00325678
SAMNDCA00325683
SAMNDCA00325687
SAMNDCA00325691
SAMNDCA00325701
SAMNDCA00325778
SAMNDCA00325789
SAMNDCA00325794
SAMNDCA00325800
SAMNDCA00325807
SAMNDCA00325812
SAMNDCA00325843
SAMNDCA00325855
SAMNDCA00325867
SAMNDCA00325875
SAMNDCA00325882
SAMNDCA00325919
SAMNDCA00325951
SAMNDCA00325961
SAMNDCA00325968
SAMNDCA00325969
SAMNDCA00325974
SAMNDCA00325978
SAMNDCA00325988
SAMNDCA00326065
SAMNDCA00326080
SAMNDCA00326084
SAMNDCA00326108
SAMNDCA00326120
SAMNDCA00326135
SAMNDCA00326142
SAMNDCA00326144
SAMNDCA00326161
SAMNDCA00326178
SAMNDCA00326196
SAMNDCA00326201
SAMNDCA00326207
SAMNDCA00326214
SAMNDCA00326219
SAMNDCA00326222
SAMNDCA00326226
SAMNDCA00326228
SAMNDCA00326230
SAMNDCA00326233
SAMNDCA00326236
SAMNDCA00326238
SAMNDCA00326241
SAMNDCA00326244
SAMNDCA00326250
SAMNDCA00326259
SAMNDCA00326264
SAMNDCA00326270
SAMNDCA00326278
SAMNDCA00326284
SAMNDCA00326285
SAMNDCA00326294
SAMNDCA00326295
SAMNDCA00326296
SAMNDCA00326297
SAMNDCA00326299
SAMNDCA00330337
SAMNDCA00330342
SAMNDCA00330344
SAMNDCA00330345
SAMNDCA00330347
SAMNDCA00330349
SAMNDCA00330351
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Bates Beg.         Bates End      Documents Description
SAMNDCA00330356
SAMNDCA00330357
SAMNDCA00330358
SAMNDCA00330359
SAMNDCA00330360
SAMNDCA00330361
SAMNDCA00330362
SAMNDCA00330363
SAMNDCA00330365
SAMNDCA00330367
SAMNDCA00330369
SAMNDCA00330399
SAMNDCA00330402
SAMNDCA00330405
SAMNDCA00330408
SAMNDCA00330413
SAMNDCA00330419
SAMNDCA00330422
SAMNDCA00330425
SAMNDCA00330426
SAMNDCA00330428
SAMNDCA00330431
SAMNDCA00330453
SAMNDCA00330475
SAMNDCA00330476
SAMNDCA00330477
SAMNDCA00330482
SAMNDCA00330483
SAMNDCA00330484
SAMNDCA00330485
SAMNDCA00330486
SAMNDCA00330529
SAMNDCA00330534
SAMNDCA00330542
SAMNDCA00330550
SAMNDCA00330553
SAMNDCA00330562
SAMNDCA00330563
SAMNDCA00330564
SAMNDCA00330565
SAMNDCA00330570
SAMNDCA00330572
SAMNDCA00330576
SAMNDCA00330580
SAMNDCA00330584
SAMNDCA00330589
SAMNDCA00330606
SAMNDCA00330611
SAMNDCA00330632
SAMNDCA00330634
SAMNDCA00330647
SAMNDCA00330650
SAMNDCA00330662
SAMNDCA00330665
SAMNDCA00330671
SAMNDCA00330675
SAMNDCA00330678
SAMNDCA00330682
SAMNDCA00330683
SAMNDCA00330684
SAMNDCA00330686
SAMNDCA00330688
SAMNDCA00330690
SAMNDCA00330692
SAMNDCA00330717
SAMNDCA00330719
SAMNDCA00330721
SAMNDCA00330724
SAMNDCA00330749
SAMNDCA00330750
SAMNDCA00330760
SAMNDCA00330776
SAMNDCA00330799
SAMNDCA00330800
SAMNDCA00330802
SAMNDCA00330827
SAMNDCA00330829
SAMNDCA00330839
SAMNDCA00330855
SAMNDCA00330878
SAMNDCA00330881
SAMNDCA00330906
SAMNDCA00330908
SAMNDCA00330910
SAMNDCA00330974
SAMNDCA00330976
SAMNDCA00330978
SAMNDCA00330981
SAMNDCA00330982
SAMNDCA00330983
SAMNDCA00330985
SAMNDCA00330999
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SAMNDCA00331028
SAMNDCA00331056
SAMNDCA00331059
SAMNDCA00331060
SAMNDCA00331068
SAMNDCA00331069
SAMNDCA00331078
SAMNDCA00331079
SAMNDCA00331082
SAMNDCA00331083
SAMNDCA00331088
SAMNDCA00331089
SAMNDCA00331093
SAMNDCA00331097
SAMNDCA00331100
SAMNDCA00331104
SAMNDCA00331105
SAMNDCA00331108
SAMNDCA00331111
SAMNDCA00331115
SAMNDCA00331120
SAMNDCA00331126
SAMNDCA00331132
SAMNDCA00331139
SAMNDCA00331147
SAMNDCA00331155
SAMNDCA00331156
SAMNDCA00331157
SAMNDCA00331158
SAMNDCA00331187
SAMNDCA00331189
SAMNDCA00331194
SAMNDCA00331197
SAMNDCA00331200
SAMNDCA00331203
SAMNDCA00331233
SAMNDCA00331237
SAMNDCA00331242
SAMNDCA00331247
SAMNDCA00331251
SAMNDCA00331253
SAMNDCA00331259
SAMNDCA00331261
SAMNDCA00331291
SAMNDCA00331292
SAMNDCA00331294
SAMNDCA00331325
SAMNDCA00331327
SAMNDCA00331330
SAMNDCA00331361
SAMNDCA00331365
SAMNDCA00331366
SAMNDCA00331368
SAMNDCA00331370
SAMNDCA00331372
SAMNDCA00331379
SAMNDCA00331442
SAMNDCA00331449
SAMNDCA00331457
SAMNDCA00331458
SAMNDCA00331460
SAMNDCA00331461
SAMNDCA00331469
SAMNDCA00331477
SAMNDCA00331485
SAMNDCA00331496
SAMNDCA00331498
SAMNDCA00331507
SAMNDCA00331509
SAMNDCA00331529
SAMNDCA00331533
SAMNDCA00331564
SAMNDCA00331565
SAMNDCA00331568
SAMNDCA00331573
SAMNDCA00331604
SAMNDCA00331610
SAMNDCA00331616
SAMNDCA00331648
SAMNDCA00331649
SAMNDCA00331651
SAMNDCA00331652
SAMNDCA00331656
SAMNDCA00331658
SAMNDCA00331660
SAMNDCA00331663
SAMNDCA00331667
SAMNDCA00331675
SAMNDCA00331684
SAMNDCA00331694
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SAMNDCA00331702
SAMNDCA00331713




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Bates Beg.         Bates End      Documents Description
SAMNDCA00331722
SAMNDCA00331726
SAMNDCA00331737
SAMNDCA00331746
SAMNDCA00331750
SAMNDCA00331754
SAMNDCA00331759
SAMNDCA00331792
SAMNDCA00331793
SAMNDCA00331794
SAMNDCA00331796
SAMNDCA00331798
SAMNDCA00331801
SAMNDCA00331810
SAMNDCA00331813
SAMNDCA00331822
SAMNDCA00331826
SAMNDCA00331831
SAMNDCA00331837
SAMNDCA00331841
SAMNDCA00331847
SAMNDCA00331854
SAMNDCA00331862
SAMNDCA00331870
SAMNDCA00331879
SAMNDCA00331888
SAMNDCA00331890
SAMNDCA00331891
SAMNDCA00331901
SAMNDCA00331912
SAMNDCA00331923
SAMNDCA00331924
SAMNDCA00331926
SAMNDCA00331928
SAMNDCA00331931
SAMNDCA00331965
SAMNDCA00331968
SAMNDCA00331969
SAMNDCA00331971
SAMNDCA00331974
SAMNDCA00331975
SAMNDCA00331977
SAMNDCA00331978
SAMNDCA00331980
SAMNDCA00331982
SAMNDCA00331985
SAMNDCA00331989
SAMNDCA00331994
SAMNDCA00331997
SAMNDCA00331999
SAMNDCA00332002
SAMNDCA00332007
SAMNDCA00332013
SAMNDCA00332015
SAMNDCA00332023
SAMNDCA00332030
SAMNDCA00332037
SAMNDCA00332039
SAMNDCA00332047
SAMNDCA00332073
SAMNDCA00332098
SAMNDCA00332100
SAMNDCA00332108
SAMNDCA00332133
SAMNDCA00332134
SAMNDCA00332160
SAMNDCA00332161
SAMNDCA00332187
SAMNDCA00332192
SAMNDCA00332195
SAMNDCA00332200
SAMNDCA00332205
SAMNDCA00332214
SAMNDCA00332225
SAMNDCA00332236
SAMNDCA00332263
SAMNDCA00332275
SAMNDCA00332281
SAMNDCA00332284
SAMNDCA00332287
SAMNDCA00332289
SAMNDCA00332291
SAMNDCA00332303
SAMNDCA00332311
SAMNDCA00332323
SAMNDCA00332324
SAMNDCA00332326
SAMNDCA00332329
SAMNDCA00332354
SAMNDCA00332367
SAMNDCA00332372
SAMNDCA00332414
SAMNDCA00332416




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Bates Beg.         Bates End         Documents Description
SAMNDCA00352061
SAMNDCA00353567
SAMNDCA00353622
SAMNDCA00353660
SAMNDCA00353682
SAMNDCA00353713
SAMNDCA00353777
SAMNDCA00353791
SAMNDCA00353963
SAMNDCA00354025
SAMNDCA00354070
SAMNDCA00354218
SAMNDCA00354292
SAMNDCA00354292
SAMNDCA00354386
SAMNDCA00354601
SAMNDCA00354601
SAMNDCA00365841
SAMNDCA00365844
SAMNDCA00365848
SAMNDCA00365852
SAMNDCA00365856
SAMNDCA00365857
SAMNDCA00365860
SAMNDCA00365863
SAMNDCA00365864
SAMNDCA00365866
SAMNDCA00365868
SAMNDCA00365868    SAMNDCA00250887
SAMNDCA00365869
SAMNDCA00365872
SAMNDCA00365875
SAMNDCA00365876
SAMNDCA00365881
SAMNDCA00365897
SAMNDCA00365903
SAMNDCA00365906
SAMNDCA00365911
SAMNDCA00365921
SAMNDCA00365937
SAMNDCA00365951
SAMNDCA00365956
SAMNDCA00365967
SAMNDCA00365982
SAMNDCA00365990
SAMNDCA00365990
SAMNDCA00366014
SAMNDCA00366019
SAMNDCA00366019
SAMNDCA00366053
SAMNDCA00366058
SAMNDCA00366070
SAMNDCA00366079
SAMNDCA00366081
SAMNDCA00366083
SAMNDCA00366086
SAMNDCA00366088
SAMNDCA00366091
SAMNDCA00366094
SAMNDCA00366098
SAMNDCA00366100
SAMNDCA00366101
SAMNDCA00366109
SAMNDCA00372946
SAMNDCA00373139
SAMNDCA00500000
SAMNDCA00502124    SAMNDCA00502234
SAMNDCA00502251    SAMNDCA00502291
SAMNDCA00502295    SAMNDCA00502330
SAMNDCA00502332    SAMNDCA00502339
SAMNDCA00502426    SAMNDCA00502461
SAMNDCA00502463    SAMNDCA00502497
SAMNDCA00502499    SAMNDCA00502508
SAMNDCA00502560    SAMNDCA00502577
SAMNDCA00502580    SAMNDCA00502601
SAMNDCA00502602    SAMNDCA00502617
SAMNDCA00502738    SAMNDCA00502752
SAMNDCA00502796    SAMNDCA00502831
SAMNDCA00502833    SAMNDCA00502885
SAMNDCA00502905    SAMNDCA00502935
SAMNDCA00503091    SAMNDCA00503148
SAMNDCA00507826
SAMNDCA00508318
SAMNDCA00508318
SAMNDCA00508318    SAMNDCA00508411
SAMNDCA00509914    SAMNDCA00509945
SAMNDCA00509992    SAMNDCA00510026
SAMNDCA00513616    SAMNDCA00513622
SAMNDCA00514571
SAMNDCA00514571
SAMNDCA00514571
SAMNDCA00519813
SAMNDCA00521309




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SAMNDCA00521309
SAMNDCA00523329    SAMNDCA00523358
SAMNDCA00523408    SAMNDCA00523424
SAMNDCA00523446    SAMNDCA00523466
SAMNDCA00523488    SAMNDCA00523508
SAMNDCA00523592    SAMNDCA00523618
SAMNDCA00525347    SAMNDCA00525349
SAMNDCA00528092
SAMNDCA00528092
SAMNDCA00528092
SAMNDCA00530405
SAMNDCA00530405
SAMNDCA00532583
SAMNDCA00533129
SAMNDCA00533366
SAMNDCA10016007    SAMNDCA10016010
SAMNDCA10016602    SAMNDCA10016648
SAMNDCA10019964    SAMNDCA10020008
SAMNDCA10026664    SAMNDCA10026762
SAMNDCA10026763    SAMNDCA10026768
SAMNDCA10026860    SAMNDCA10026960
SAMNDCA10026961    SAMNDCA10027013
SAMNDCA10027274    SAMNDCA10027301
SAMNDCA10027384    SAMNDCA10027384
SAMNDCA10036081
SAMNDCA10036081
SAMNDCA10042955
SAMNDCA10043856    SAMNDCA10043872
SAMNDCA10043873    SAMNDCA10043879
SAMNDCA10043880    SAMNDCA10043933
SAMNDCA10043934    SAMNDCA10044049
SAMNDCA10044052    SAMNDCA10044120
SAMNDCA10044121    SAMNDCA10044156
SAMNDCA10044157    SAMNDCA10044237
SAMNDCA10044238    SAMNDCA10044273
SAMNDCA10044274    SAMNDCA10044299
SAMNDCA10044300    SAMNDCA10044350
SAMNDCA10044351    SAMNDCA10044406
SAMNDCA10044407    SAMNDCA10044462
SAMNDCA10044463    SAMNDCA10044511
SAMNDCA10044512    SAMNDCA10044560
SAMNDCA10044561    SAMNDCA10044585
SAMNDCA10044586    SAMNDCA10044634
SAMNDCA10050413    SAMNDCA10050485
SAMNDCA10055611    SAMNDCA10055736
SAMNDCA10055737    SAMNDCA10055997
SAMNDCA10067029    SAMNDCA10067289
SAMNDCA10067620    SAMNDCA10067629
SAMNDCA10068071    SAMNDCA10068169
SAMNDCA10068170    SAMNDCA10068268
SAMNDCA10069310    SAMNDCA10069375
SAMNDCA10069376
SAMNDCA10069411
SAMNDCA10069477
SAMNDCA10069739    SAMNDCA10069827
SAMNDCA10069863
SAMNDCA10069922    SAMNDCA10069956
SAMNDCA10107300    SAMNDCA10107333
SAMNDCA10118713    SAMNDCA10118776
SAMNDCA10125314    SAMNDCA10125314
SAMNDCA10125315    SAMNDCA10125337
SAMNDCA10127492    SAMNDCA10127495
SAMNDCA10127496    SAMNDCA10127496
SAMNDCA10127497    SAMNDCA10127497
SAMNDCA10127498    SAMNDCA10127498
SAMNDCA10127499    SAMNDCA10127499
SAMNDCA10127500    SAMNDCA10127500
SAMNDCA10127501    SAMNDCA10127501
SAMNDCA10127502    SAMNDCA10127503
SAMNDCA10128649    SAMNDCA10128659
SAMNDCA10128660    SAMNDCA10128660
SAMNDCA10128661    SAMNDCA10128737
SAMNDCA10129585    SAMNDCA10129585
SAMNDCA10129586    SAMNDCA10129586
SAMNDCA10129587    SAMNDCA10129608
SAMNDCA10136191    SAMNDCA10136194
SAMNDCA10136195    SAMNDCA10136195
SAMNDCA10136196    SAMNDCA10136198
SAMNDCA10136199    SAMNDCA10136202
SAMNDCA10138250    SAMNDCA10138250
SAMNDCA10138251    SAMNDCA10138251
SAMNDCA10140421    SAMNDCA10140448
SAMNDCA10144054    SAMNDCA10144092
SAMNDCA10145883    SAMNDCA10145887
SAMNDCA10145926    SAMNDCA10145930
SAMNDCA10145939    SAMNDCA10146076
SAMNDCA10150643    SAMNDCA10150651
SAMNDCA10150652    SAMNDCA10150663
SAMNDCA10150664    SAMNDCA10150681
SAMNDCA10151759    SAMNDCA10151827
SAMNDCA10151828    SAMNDCA10151836
SAMNDCA10152127    SAMNDCA10152136
SAMNDCA10153315    SAMNDCA10153323




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Bates Beg.         Bates End         Documents Description
SAMNDCA10153904    SAMNDCA10153951
SAMNDCA10156468    SAMNDCA10156517
SAMNDCA10156919    SAMNDCA10156939
SAMNDCA10157882    SAMNDCA10157891
SAMNDCA10157892    SAMNDCA10157899
SAMNDCA10160454    SAMNDCA10160573
SAMNDCA10160757    SAMNDCA10160922
SAMNDCA10165058    SAMNDCA10165059
SAMNDCA10166661
SAMNDCA10166661
SAMNDCA10166661
SAMNDCA10190890
SAMNDCA10190890
SAMNDCA10190975
SAMNDCA10190976
SAMNDCA10190977
SAMNDCA10191027
SAMNDCA10191077
SAMNDCA10191127
SAMNDCA10197450    SAMNDCA10197452
SAMNDCA10197453    SAMNDCA10197453
SAMNDCA10198342
SAMNDCA10202899
SAMNDCA10203008    SAMNDCA10203044
SAMNDCA10203045    SAMNDCA10203073
SAMNDCA10203074    SAMNDCA10203116
SAMNDCA10203117    SAMNDCA10203142
SAMNDCA10203143    SAMNDCA10203185
SAMNDCA10203186    SAMNDCA10203224
SAMNDCA10203225    SAMNDCA10203242
SAMNDCA10203243    SAMNDCA10203292
SAMNDCA10203293    SAMNDCA10203337
SAMNDCA10203338    SAMNDCA10203385
SAMNDCA10203386    SAMNDCA10203426
SAMNDCA10203427    SAMNDCA10203452
SAMNDCA10203453    SAMNDCA10203477
SAMNDCA10203478    SAMNDCA10203503
SAMNDCA10203504    SAMNDCA10203546
SAMNDCA10203547    SAMNDCA10203571
SAMNDCA10203572    SAMNDCA10203616
SAMNDCA10203617    SAMNDCA10203660
SAMNDCA10203661    SAMNDCA10203685
SAMNDCA10203686    SAMNDCA10203728
SAMNDCA10203729    SAMNDCA10203774
SAMNDCA10203775    SAMNDCA10203800
SAMNDCA10203801    SAMNDCA10203825
SAMNDCA10203826    SAMNDCA10203868
SAMNDCA10203869    SAMNDCA10203911
SAMNDCA10203912    SAMNDCA10203956
SAMNDCA10203957    SAMNDCA10203985
SAMNDCA10203986    SAMNDCA10204011
SAMNDCA10204012    SAMNDCA10204054
SAMNDCA10204055    SAMNDCA10204083
SAMNDCA10204084    SAMNDCA10204132
SAMNDCA10206505    SAMNDCA10206531
SAMNDCA10212968
SAMNDCA10215511    SAMNDCA10215589
SAMNDCA10216828    SAMNDCA10217106
SAMNDCA10220857    SAMNDCA10220906
SAMNDCA10220907    SAMNDCA10220944
SAMNDCA10220945    SAMNDCA10221042
SAMNDCA10221297    SAMNDCA10221397
SAMNDCA10222805    SAMNDCA10222893
SAMNDCA10222934    SAMNDCA10222998
SAMNDCA10223664    SAMNDCA10223795
SAMNDCA10243608    SAMNDCA10243608
SAMNDCA10243763    SAMNDCA10243764
SAMNDCA10243765    SAMNDCA10243765
SAMNDCA10244160    SAMNDCA10244160
SAMNDCA10244161    SAMNDCA10244162
SAMNDCA10244163
SAMNDCA10244248
SAMNDCA10244253
SAMNDCA10244254
SAMNDCA10244255
SAMNDCA10244271
SAMNDCA10244302
SAMNDCA10244314
SAMNDCA10244338
SAMNDCA10244357
SAMNDCA10244357
SAMNDCA10247373    SAMNDCA00224751
SAMNDCA10247373
samndca10247549
SAMNDCA10257309
SAMNDCA10260150
SAMNDCA10260258
SAMNDCA10260298
SAMNDCA10260358
SAMNDCA10260497
SAMNDCA10260607
SAMNDCA10260835
SAMNDCA10260903




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                                                     Documents Considered List




Bates Beg.         Bates End      Documents Description
SAMNDCA10261823
SAMNDCA10262684
SAMNDCA10265290
SAMNDCA10266589
SAMNDCA10268409
SAMNDCA10269054
SAMNDCA10269274
SAMNDCA10269281
SAMNDCA10269933
SAMNDCA10269952
SAMNDCA10269968
SAMNDCA10270050
SAMNDCA10270923
SAMNDCA10271250
SAMNDCA10271327
SAMNDCA10272103
SAMNDCA10272186
SAMNDCA10272226
SAMNDCA10272915
SAMNDCA10273926
SAMNDCA10274070
SAMNDCA10274169
SAMNDCA10274392
SAMNDCA10274529
SAMNDCA10274594
SAMNDCA10275576
SAMNDCA10275576
SAMNDCA10275647
SAMNDCA10275722
SAMNDCA10275816
SAMNDCA10275948
SAMNDCA10278477
SAMNDCA10296623
SAMNDCA10296937
SAMNDCA10297896
SAMNDCA10297956
SAMNDCA10303502
SAMNDCA10303516
SAMNDCA10303529
SAMNDCA10303547
SAMNDCA10303561
SAMNDCA10303575
SAMNDCA10303585
SAMNDCA10303597
SAMNDCA10303609
SAMNDCA10303620
SAMNDCA10303631
SAMNDCA10303640
SAMNDCA10303653
SAMNDCA10303663
SAMNDCA10303675
SAMNDCA10303689
SAMNDCA10310424
SAMNDCA10311071
SAMNDCA10311115
SAMNDCA10317268
SAMNDCA10321313
SAMNDCA10322218
SAMNDCA10322611
SAMNDCA10323105
SAMNDCA10323233
SAMNDCA10323265
SAMNDCA10323266
SAMNDCA10323267
SAMNDCA10324814
SAMNDCA10324819
SAMNDCA10324825
SAMNDCA10324834
SAMNDCA10324836
SAMNDCA10324925
SAMNDCA10325891
SAMNDCA10326039
SAMNDCA10326262
SAMNDCA10334078
SAMNDCA10334081
SAMNDCA10334113
SAMNDCA10334114
SAMNDCA10334609
SAMNDCA10334611
SAMNDCA10334651
SAMNDCA10334652
SAMNDCA10334653
SAMNDCA10334654
SAMNDCA10334797
SAMNDCA10334800
SAMNDCA10334879
SAMNDCA10334880
SAMNDCA10334965
SAMNDCA10334966
SAMNDCA10335226
SAMNDCA10335227
SAMNDCA10335604
SAMNDCA10335607




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Bates Beg.         Bates End      Documents Description
SAMNDCA10335608
SAMNDCA10335609
SAMNDCA10335610
SAMNDCA10335653
SAMNDCA10335703
SAMNDCA10335706
SAMNDCA10335708
SAMNDCA10335749
SAMNDCA10335921
SAMNDCA10336214
SAMNDCA10336218
SAMNDCA10336385
SAMNDCA10336386
SAMNDCA10336387
SAMNDCA10336607
SAMNDCA10336616
SAMNDCA10336770
SAMNDCA10336771
SAMNDCA10336772
SAMNDCA10336773
SAMNDCA10336775
SAMNDCA10336995
SAMNDCA10336996
SAMNDCA10337201
SAMNDCA10337286
SAMNDCA10337290
SAMNDCA10337709
SAMNDCA10337711
SAMNDCA10337722
SAMNDCA10337735
SAMNDCA10337852
SAMNDCA10338567
SAMNDCA10338571
SAMNDCA10338572
SAMNDCA10338573
SAMNDCA10338574
SAMNDCA10338575
SAMNDCA10338588
SAMNDCA10338589
SAMNDCA10338624
SAMNDCA10338627
SAMNDCA10338628
SAMNDCA10338629
SAMNDCA10338675
SAMNDCA10338725
SAMNDCA10339150
SAMNDCA10339154
SAMNDCA10339240
SAMNDCA10339241
SAMNDCA10342019
SAMNDCA10342021
SAMNDCA10342022
SAMNDCA10342140
SAMNDCA10342147
SAMNDCA10342291
SAMNDCA10342292
SAMNDCA10342293
SAMNDCA10343591
SAMNDCA10343592
SAMNDCA10343598
SAMNDCA10343602
SAMNDCA10345075
SAMNDCA10345080
SAMNDCA10345081
SAMNDCA10345082
SAMNDCA10345462
SAMNDCA10345464
SAMNDCA10345510
SAMNDCA10345511
SAMNDCA10345541
SAMNDCA10346197
SAMNDCA10346198
SAMNDCA10346355
SAMNDCA10346356
SAMNDCA10346467
SAMNDCA10346468
SAMNDCA10346469
SAMNDCA10346493
SAMNDCA10346494
SAMNDCA10346754
SAMNDCA10346766
SAMNDCA10346768
SAMNDCA10347632
SAMNDCA10347633
SAMNDCA10347775
SAMNDCA10347777
SAMNDCA10347785
SAMNDCA10347995
SAMNDCA10347996
SAMNDCA10347997
SAMNDCA10348060
SAMNDCA10348067
SAMNDCA10348068




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Bates Beg.         Bates End      Documents Description
SAMNDCA10348069
SAMNDCA10348070
SAMNDCA10348071
SAMNDCA10348072
SAMNDCA10348073
SAMNDCA10348074
SAMNDCA10348075
SAMNDCA10348076
SAMNDCA10348077
SAMNDCA10348078
SAMNDCA10348078
SAMNDCA10348128
SAMNDCA10348129
SAMNDCA10348130
SAMNDCA10348131
SAMNDCA10348356
SAMNDCA10348362
SAMNDCA10348363
SAMNDCA10348364
SAMNDCA10348365
SAMNDCA10348366
SAMNDCA10348367
SAMNDCA10348423
SAMNDCA10348424
SAMNDCA10348600
SAMNDCA10348603
SAMNDCA10348622
SAMNDCA10348623
SAMNDCA10348625
SAMNDCA10348939
SAMNDCA10349148
SAMNDCA10349149
SAMNDCA10349150
SAMNDCA10349285
SAMNDCA10349287
SAMNDCA10349354
SAMNDCA10349383
SAMNDCA10349511
SAMNDCA10349563
SAMNDCA10349619
SAMNDCA10349634
SAMNDCA10349635
SAMNDCA10349636
SAMNDCA10349867
SAMNDCA10349868
SAMNDCA10349991
SAMNDCA10349993
SAMNDCA10349994
SAMNDCA10349995
SAMNDCA10350008
SAMNDCA10350008
SAMNDCA10350058
SAMNDCA10350081
SAMNDCA10350083
SAMNDCA10350231
SAMNDCA10350238
SAMNDCA10350239
SAMNDCA10350240
SAMNDCA10350241
SAMNDCA10350242
SAMNDCA10350244
SAMNDCA10350418
SAMNDCA10350574
SAMNDCA10350633
SAMNDCA10350707
SAMNDCA10350758
SAMNDCA10350771
SAMNDCA10350963
SAMNDCA10351184
SAMNDCA10351860
SAMNDCA10351861
SAMNDCA10351861
SAMNDCA10352215
SAMNDCA10352501
SAMNDCA10352551
SAMNDCA10352556
SAMNDCA10352556
SAMNDCA10352606
SAMNDCA10352607
SAMNDCA10352608
SAMNDCA10352609
SAMNDCA10352905
SAMNDCA10352909
SAMNDCA10352910
SAMNDCA10352932
SAMNDCA10352953
SAMNDCA10352954
SAMNDCA10352955
SAMNDCA10352956
SAMNDCA10353033
SAMNDCA10354147
SAMNDCA10354147
SAMNDCA10354331




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                                                     Documents Considered List




Bates Beg.         Bates End      Documents Description
SAMNDCA10354358
SAMNDCA10354359
SAMNDCA10354363
SAMNDCA10354364
SAMNDCA10354365
SAMNDCA10354366
SAMNDCA10354367
SAMNDCA10354368
SAMNDCA10354369
SAMNDCA10354370
SAMNDCA10354371
SAMNDCA10354372
SAMNDCA10354373
SAMNDCA10354374
SAMNDCA10354549
SAMNDCA10354643
SAMNDCA10355165
SAMNDCA10355215
SAMNDCA10355365
SAMNDCA10355415
SAMNDCA10355494
SAMNDCA10355498
SAMNDCA10355785
SAMNDCA10357331
SAMNDCA10357381
SAMNDCA10357431
SAMNDCA10357920
SAMNDCA10357970
SAMNDCA10358210
SAMNDCA10358212
SAMNDCA10358213
SAMNDCA10358393
SAMNDCA10358444
SAMNDCA10358494
SAMNDCA10358743
SAMNDCA10358922
SAMNDCA10359016
SAMNDCA10359158
SAMNDCA10359208
SAMNDCA10359259
SAMNDCA10359309
SAMNDCA10359999
SAMNDCA10360002
SAMNDCA10360402
SAMNDCA10360403
SAMNDCA10360403
SAMNDCA10361448
SAMNDCA10361451
SAMNDCA10361499
SAMNDCA10361504
SAMNDCA10361812
SAMNDCA10361818
SAMNDCA10361819
SAMNDCA10361820
SAMNDCA10361821
SAMNDCA10362140
SAMNDCA10362144
SAMNDCA10362145
SAMNDCA10362167
SAMNDCA10362168
SAMNDCA10362169
SAMNDCA10362170
SAMNDCA10362541
SAMNDCA10362548
SAMNDCA10362552
SAMNDCA10362553
SAMNDCA10362590
SAMNDCA10362653
SAMNDCA10362763
SAMNDCA10362977
SAMNDCA10363043
SAMNDCA10363122
SAMNDCA10363208
SAMNDCA10363836
SAMNDCA10363965
SAMNDCA10364041
SAMNDCA10364041
SAMNDCA10365727
SAMNDCA10366108
SAMNDCA10366161
SAMNDCA10366220
SAMNDCA10366546
SAMNDCA10366547
SAMNDCA10366558
SAMNDCA10366569
SAMNDCA10366581
SAMNDCA10366581
SAMNDCA10366631
SAMNDCA10366632
SAMNDCA10366651
SAMNDCA10366652
SAMNDCA10366859
SAMNDCA10367240




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Bates Beg.         Bates End         Documents Description
SAMNDCA10367669
SAMNDCA10367719
SAMNDCA10367769
SAMNDCA10367860
SAMNDCA10372204
SAMNDCA10372205
SAMNDCA10372215
SAMNDCA10372216
SAMNDCA10372218
SAMNDCA10372229
SAMNDCA10372230
SAMNDCA10372241
SAMNDCA10372242
SAMNDCA10372253
SAMNDCA10372256
SAMNDCA10372267
SAMNDCA10372268
SAMNDCA10374226
SAMNDCA10374229
SAMNDCA10374437
SAMNDCA10374438
SAMNDCA10374458
SAMNDCA10374460    SAMNDCA10374498   Deposition of Justin Denison, January 25, 2012, Exhibit 1266.
SAMNDCA10374460
SAMNDCA10374504
SAMNDCA10374506
SAMNDCA10374507
SAMNDCA10374611
SAMNDCA10374614
SAMNDCA10381937
SAMNDCA10387449
SAMNDCA10388236
SAMNDCA10391158
SAMNDCA10393151
SAMNDCA10393201
SAMNDCA10395743
SAMNDCA10395926
SAMNDCA10396426
SAMNDCA10396981
SAMNDCA10396996
SAMNDCA10403697
SAMNDCA10403697
SAMNDCA10406232
SAMNDCA10406241
SAMNDCA10406242
SAMNDCA10406243
SAMNDCA10406245
SAMNDCA10406246
SAMNDCA10406263
SAMNDCA10406297
SAMNDCA10406298
SAMNDCA10406299
SAMNDCA10406300
SAMNDCA10406301
SAMNDCA10406302
SAMNDCA10406303
SAMNDCA10406304
SAMNDCA10406305
SAMNDCA10406306
SAMNDCA10406307
SAMNDCA10406308
SAMNDCA10406309
SAMNDCA10406310
SAMNDCA10406311
SAMNDCA10406312
SAMNDCA10406313
SAMNDCA10406314
SAMNDCA10406316
SAMNDCA10407117
SAMNDCA10407119
SAMNDCA10407120
SAMNDCA10407122
SAMNDCA10407123
SAMNDCA10407126
SAMNDCA10407127
SAMNDCA10407130
SAMNDCA10407131
SAMNDCA10407237
SAMNDCA10407413
SAMNDCA10407414
SAMNDCA10407415
SAMNDCA10407416
SAMNDCA10407417
SAMNDCA10407418
SAMNDCA10407419
SAMNDCA10407420
SAMNDCA10407421
SAMNDCA10407422
SAMNDCA10407423
SAMNDCA10407424
SAMNDCA10407425
SAMNDCA10407426
SAMNDCA10407427




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Bates Beg.         Bates End      Documents Description
SAMNDCA10407428
SAMNDCA10407433
SAMNDCA10407434
SAMNDCA10407435
SAMNDCA10407436
SAMNDCA10407437
SAMNDCA10407438
SAMNDCA10407439
SAMNDCA10407440
SAMNDCA10407441
SAMNDCA10407442
SAMNDCA10407443
SAMNDCA10407444
SAMNDCA10407445
SAMNDCA10407446
SAMNDCA10407447
SAMNDCA10407448
SAMNDCA10407449
SAMNDCA10407450
SAMNDCA10407451
SAMNDCA10407452
SAMNDCA10407453
SAMNDCA10407454
SAMNDCA10407455
SAMNDCA10407456
SAMNDCA10407457
SAMNDCA10407458
SAMNDCA10407459
SAMNDCA10407460
SAMNDCA10407461
SAMNDCA10407462
SAMNDCA10407463
SAMNDCA10407464
SAMNDCA10407465
SAMNDCA10407466
SAMNDCA10407467
SAMNDCA10407468
SAMNDCA10407470
SAMNDCA10407471
SAMNDCA10407472
SAMNDCA10407473
SAMNDCA10407476
SAMNDCA10407477
SAMNDCA10407478
SAMNDCA10407479
SAMNDCA10407480
SAMNDCA10407481
SAMNDCA10407482
SAMNDCA10407483
SAMNDCA10407484
SAMNDCA10407485
SAMNDCA10407486
SAMNDCA10407487
SAMNDCA10407488
SAMNDCA10407489
SAMNDCA10407490
SAMNDCA10407491
SAMNDCA10407492
SAMNDCA10407493
SAMNDCA10407494
SAMNDCA10407495
SAMNDCA10407496
SAMNDCA10407497
SAMNDCA10407498
SAMNDCA10407499
SAMNDCA10407500
SAMNDCA10407501
SAMNDCA10407502
SAMNDCA10407503
SAMNDCA10407504
SAMNDCA10407505
SAMNDCA10407506
SAMNDCA10407507
SAMNDCA10407508
SAMNDCA10407509
SAMNDCA10407510
SAMNDCA10407511
SAMNDCA10407512
SAMNDCA10407513
SAMNDCA10407514
SAMNDCA10407515
SAMNDCA10407516
SAMNDCA10407517
SAMNDCA10407518
SAMNDCA10407519
SAMNDCA10407520
SAMNDCA10407521
SAMNDCA10407522
SAMNDCA10407523
SAMNDCA10407524
SAMNDCA10407525
SAMNDCA10407526
SAMNDCA10407527




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Bates Beg.         Bates End      Documents Description
SAMNDCA10407528
SAMNDCA10407529
SAMNDCA10407530
SAMNDCA10407531
SAMNDCA10407532
SAMNDCA10407533
SAMNDCA10407534
SAMNDCA10407535
SAMNDCA10407536
SAMNDCA10407537
SAMNDCA10407538
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SAMNDCA10407553
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SAMNDCA10407556
SAMNDCA10407557
SAMNDCA10407558
SAMNDCA10407559
SAMNDCA10407850
SAMNDCA10407900
SAMNDCA10410283
SAMNDCA10410283
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SAMNDCA10411999
SAMNDCA10412049
SAMNDCA10412724
SAMNDCA10412728
SAMNDCA10412729
SAMNDCA10412730
SAMNDCA10412731
SAMNDCA10412734
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SAMNDCA10412853
SAMNDCA10413778
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SAMNDCA10413782
SAMNDCA10413783
SAMNDCA10414421
SAMNDCA10414430
SAMNDCA10414431
SAMNDCA10414508
SAMNDCA10414509
SAMNDCA10414510
SAMNDCA10414519
SAMNDCA10414524
SAMNDCA10414525
SAMNDCA10414526
SAMNDCA10414556
SAMNDCA10414563
SAMNDCA10414564
SAMNDCA10414565
SAMNDCA10414566
SAMNDCA10414592
SAMNDCA10414593
SAMNDCA10415201
SAMNDCA10415202
SAMNDCA10415207
SAMNDCA10415209
SAMNDCA10415228
SAMNDCA10415289
SAMNDCA10415910
SAMNDCA10415960
SAMNDCA10416194
SAMNDCA10416203
SAMNDCA10416248
SAMNDCA10416249
SAMNDCA10416302
SAMNDCA10416323
SAMNDCA10416326
SAMNDCA10416327
SAMNDCA10416328
SAMNDCA10416331
SAMNDCA10416376
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SAMNDCA10416383
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SAMNDCA10416415
SAMNDCA10416416
SAMNDCA10416420
SAMNDCA10416421
SAMNDCA10416453
SAMNDCA10416468
SAMNDCA10416471
SAMNDCA10416472
SAMNDCA10416473
SAMNDCA10416474
SAMNDCA10416493
SAMNDCA10416496
SAMNDCA10416500
SAMNDCA10416506
SAMNDCA10416508
SAMNDCA10416509
SAMNDCA10416510
SAMNDCA10416512
SAMNDCA10416513
SAMNDCA10416514
SAMNDCA10416516
SAMNDCA10416517
SAMNDCA10416518
SAMNDCA10416521
SAMNDCA10416522
SAMNDCA10416523
SAMNDCA10416526
SAMNDCA10416527
SAMNDCA10416528
SAMNDCA10416531
SAMNDCA10416535
SAMNDCA10416541
SAMNDCA10416542
SAMNDCA10416570
SAMNDCA10416571
SAMNDCA10416572
SAMNDCA10416647
SAMNDCA10416649
SAMNDCA10416656
SAMNDCA10416666
SAMNDCA10416669
SAMNDCA10416673
SAMNDCA10416674
SAMNDCA10417835
SAMNDCA10417885
SAMNDCA10422845
SAMNDCA10422855
SAMNDCA10433154
SAMNDCA10441819
SAMNDCA10441826
SAMNDCA10443738
SAMNDCA10443789
SAMNDCA10524415
SAMNDCA10524415
SAMNDCA10766603
SAMNDCA10766631
SAMNDCA10766681
SAMNDCA10766731
SAMNDCA10775587
SAMNDCA10806707
SAMNDCA10807316
SAMNDCA10808165
SAMNDCA10808165
SAMNDCA10808165
SAMNDCA10809390
SAMNDCA10809390
SAMNDCA10809390
SAMNDCA10809734
SAMNDCA10809734
SAMNDCA10809734
SAMNDCA10824971
SAMNDCA10850604
SAMNDCA10850604
SAMNDCA10850619
SAMNDCA10850822
SAMNDCA10855683
SAMNDCA10861243
SAMNDCA10861272
SAMNDCA10862012
SAMNDCA10864444
SAMNDCA10864446
SAMNDCA10865579
SAMNDCA10865586
SAMNDCA10866815
SAMNDCA10870131
SAMNDCA10883080
SAMNDCA11082242
SAMNDCA11104115
SAMNDCA11146013
SAMNDCA11212162
SAMNDCA11222766
SAMNDCA11230282
SAMNDCA11230302




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Bates Beg.         Bates End          Documents Description
SAMNDCA11230321
SAMNDCA11230334
SAMNDCA11230349
SAMNDCA11230351
SAMNDCA11230432
SAMNDCA11230475
SAMNDCA11230518
SAMNDCA11230543
SAMNDCA11230568
SAMNDCA11230581
SAMNDCA11230594
SAMNDCA11230609
SAMNDCA11230615
SAMNDCA11230665
SAMNDCA11230675
SAMNDCA11230678
SAMNDCA11230681
SAMNDCA11230690
SAMNDCA11230694
SAMNDCA11230695
SAMNDCA11230705
SAMNDCA11230707
SAMNDCA11230709
SAMNDCA11230721
SAMNDCA11230723
SAMNDCA11230726
SAMNDCA11230729
SAMNDCA11230737
SAMNDCA11230739
SAMNDCA11230747
SAMNDCA11230747
SAMNDCA11230751
SAMNDCA11230766
SAMNDCA11230780
SAMNDCA11230780
SAMNDCA11230788
SAMNDCA11230788
SAMNDCA11230808
SAMNDCA11230827
SAMNDCA11230850
SAMNDCA11230850
SAMNDCA11230865
SAMNDCA11230874
SAMNDCA11230889
SAMNDCA11289451
S-ITC-000092147    S-ITC-000092456
S-ITC-000092457    S-ITC-000092462
S-ITC-000092463    S-ITC-000092468
S-ITC-000092469    S-ITC-000092544
S-ITC-000092545    S-ITC-000092545
S-ITC-0001016096   S-ITC-0001016144   Deposition of Boris Teksler, March 16, 2012, Exhibit 13.
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S-ITC-000112484    S-ITC-000112493
S-ITC-000112494    S-ITC-000112495
S-ITC-000112496    S-ITC-000112503
S-ITC-000112504    S-ITC-000112637
S-ITC-000112638    S-ITC-000112653
S-ITC-000112654    S-ITC-000112673
S-ITC-000112674    S-ITC-000112675
S-ITC-000112676    S-ITC-000112677
S-ITC-000112678    S-ITC-000112679
S-ITC-000112680    S-ITC-000112713
S-ITC-000112714    S-ITC-000112715
S-ITC-000112716    S-ITC-000112717
S-ITC-000112718    S-ITC-000112719
S-ITC-000112720    S-ITC-000112739
S-ITC-000112740    S-ITC-000112755
S-ITC-000112756    S-ITC-000112779
S-ITC-000112780    S-ITC-000112791
S-ITC-000112792    S-ITC-000112839
S-ITC-000112840    S-ITC-000112841
S-ITC-000112842    S-ITC-000112855
S-ITC-000112864    S-ITC-000112867
S-ITC-000112868    S-ITC-000112869
S-ITC-000112870    S-ITC-000112895
S-ITC-000112916    S-ITC-000112975
S-ITC-000112976    S-ITC-000112997
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S-ITC-000113813    S-ITC-000113874
S-ITC-000113885    S-ITC-000114607
S-ITC-000114608    S-ITC-000115128
S-ITC-000115129    S-ITC-000115974
S-ITC-000115975    S-ITC-000116470
S-ITC-001016096
S-ITC-001016096    S-ITC-001016144    Deposition of Justin Denison, December 16, 2011, Exhibit 8.




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S-ITC-003361961
S-ITC-003453270
S-ITC-003453270
S-ITC-003455356
S-ITC-003514503
S-ITC-003514505
S-ITC-003514518
S-ITC-003514528
S-ITC-003514529
S-ITC-003514531
S-ITC-003514533
S-ITC-003514535
S-ITC-003514537
S-ITC-003514540
S-ITC-003514541
S-ITC-003514543
S-ITC-003514545
S-ITC-003514547
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S-ITC-003514565
S-ITC-005188610
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S-ITC-005193296     S-ITC-005193340   Deposition of Boris Teksler, March 16, 2012, Exhibit 18.
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S-ITC-005209154     S-ITC-005209186   GM Weekly Report.
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S-ITC-005209284     S-ITC-005209318   GM Weekly Report.
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S-ITC-005209470     S-ITC-005209504   GM Weekly Report.
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S-ITC-005209534     S-ITC-005209564   GM Weekly Report.
S-ITC-005209565     S-ITC-005209591   GM Weekly Report.
S-ITC-005209592     S-ITC-005209625   GM Weekly Report.
S-ITC-005209626     S-ITC-005209656   GM Weekly Report.
S-ITC-005209657     S-ITC-005209685   GM Weekly Report.
S-ITC-005209686     S-ITC-005209720   GM Weekly Report.
S-ITC-005209721     S-ITC-005209753   GM Weekly Report.
S-ITC-005209754     S-ITC-005209777   GM Weekly Report.
S-ITC-005209778     S-ITC-005209799   GM Weekly Report.
S-ITC-005209800     S-ITC-005209828   GM Weekly Report.
S-ITC-005209829     S-ITC-005209870   GM Weekly Report.
S-ITC-005209871     S-ITC-005209895   GM Weekly Report.
S-ITC-005209896     S-ITC-005209939   GM Weekly Report.
S-ITC-005209940     S-ITC-005209982   GM Weekly Report.
S-ITC-005209983     S-ITC-005210019   GM Weekly Report.
S-ITC-005210020     S-ITC-005210057   GM Weekly Report.
S-ITC-005210058     S-ITC-005210095   GM Weekly Report.
S-ITC-005210096     S-ITC-005210119   GM Weekly Report.
S-ITC-005210120     S-ITC-005210149   GM Weekly Report.
S-ITC-005210150     S-ITC-005210176   GM Weekly Report.
S-ITC-005210177     S-ITC-005210205   GM Weekly Report.
S-ITC-005210206     S-ITC-005210235   GM Weekly Report.
S-ITC-005210236     S-ITC-005210261   GM Weekly Report.
S-ITC-005210262     S-ITC-005210293   GM Weekly Report.
S-ITC-005210348     S-ITC-005210381   GM Weekly Report.
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S-ITC-005210479     S-ITC-005210509   GM Weekly Report.
S-ITC-005210512     S-ITC-005210548   GM Weekly Report.
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S-ITC-005211176     S-ITC-005211204   GM Weekly Report.
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S-ITC-005354073
S-ITC-007274261     S-ITC-007274353
S-ITC-007274461
S-ITC-007274461
S-ITC-007465748
S-ITC-007503474
S-ITC-007517131
S-ITC-007849424
S-ITC-008261312
S-ITC-008261830
S-ITC-008262360
S-ITC-008262998
S-ITC-008264102
S-ITC-008287409
S-ITC-008287874
S-ITC-008293064
S-ITC-008297850
S-ITC-008298213
S-ITC-008298863
S-ITC-008300403
S-ITC-008376569
S-ITC-008377583
S-ITC-008661253
S-ITC-008661540
S-ITC-008685787
S-ITC-008735601
S-ITC-008747591
S-ITC-009179417
S-ITC-009250095
S-ITC-009284609
S-ITC-009293999
S-ITC-009302888
S-ITC-009409060
S-ITC-010617659
S-ITC-010617659
S-ITC-500006584
S-ITC-500010076
S-ITC-500010284
S-ITC-500017280
S-ITC-500017437
S-ITC-500017539
S-ITC-500018414
S-ITC-500018467
S-ITC-500018622
S-ITC-500020245
S-ITC-500021629
S-ITC-500028870
S-ITC-500030713
S-ITC-500031703
S-ITC-500031703
S-ITC-500034975
S-ITC-500056374




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                                   1.15.10 Apple v Nokia ITC Complaint 337.TA.704
                                   1.17.12 Proceedings
                                   1.17.12 Samsung Tech Tutorial Presentation
                                   1.20.12 Proceedings
                                   1.30.12 SAMSUNG’S AMENDED FIRST 30(b)(6) DEPOSITION NOTICE TO APPLE INC. (DAMAGES TOPICS)
                                   1.31.12 Apple Inc.'s 7th Rule 30(b)(6) Deposition Notice



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                                  1.6.12 SAMSUNG’S OBJECTIONS AND RESPONSE TO APPLE’S SIXTH SET OF INTERROGATORIES (NO. 14)
                                  10.1.10 APPLE INC.’S ANSWER, DEFENSES, AND COUNTERCLAIMS TO NOKIA’S FIRST AMENDED COMPLAINT (Case 249)
                                  10.12.11 SAMSUNG’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO APPLE’S INTERROGATORIES TO DEFENDANTS RELATING
                                  TO APPLE’S MOTION FOR A PRELIMINARY INJUNCTION - SET TWO (NOS. 10-14)
                                  10.29.10 Apple v Motorola case 661, COMPLAINT FOR PATENT INFRINGEMENT
                                  10.31.11 APPLE INC.’S ANSWER AND COUNTERCLAIMS TO HTC CORPORATION’S COMPLAINT FOR PATENT INFRINGEMENT
                                  10.31.11 SAMSUNG’S FIRST AMENDED OBJECTIONS AND RESPONSES TO APPLE INC.’S THIRD SET OF INTERROGATORIES (Nos. 7-
                                  9)
                                  11.14.11 SAMSUNG’S OBJECTIONS AND RESPONSES TO APPLE INC.’S FOURTH SET OF INTERROGATORIES (No. 10)
                                  11.18.10 Apple v Motorola DEFENDANT APPLE INC.’S ANSWER, AFFIRMATIVE DEFENSES AND COUNTERCLAIMS TO PLAINTIFF’S
                                  ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT
                                  12.1.11 Order Transferring Case (Apple v Motorola)
                                  12.19.11 NOTICE OF THE COMMISSION’S FINAL DETERMINATION FINDING A VIOLATION OF SECTION 337; ISSUANCE OF A LIMITED
                                  EXCLUSION ORDER; TERMINATION OF THE INVESTIGATION
                                  12.2.10 Apple v Motorola AMENDED COMPLAINT FOR PATENT INFRINGEMENT
                                  12.22.11 Order
                                  2.19.10 Apple Inc.'s First Amended Answer, Defenses, and Counterclaims (Nokia v Apple, case 791)
                                  2.24.10 Apple Inc.'s Answer, Defenses, and Counterclaims (Nokia v Apple, Case 1002)
                                  2.3.12 Velocity Micro Subpoena to Testify at a Deposition
                                  2.8.12 - Apple Inc.'s Administrative Motion to File Documents Under Seal - stamped
                                  2.8.12 [Proposed] Order Granting Apple Inc.'s Administrative Motion to Exceed Page Limits
                                  2.8.12 [Proposed] Order Granting Apple Inc.'s Administrative Motion to File Documents Under Seal
                                  2.8.12 [Proposed] Order Granting Apple Inc.'s Motion for a Preliminary Injunction
                                  2.8.12 Apple Certification of Interested Parties - stamped
                                  2.8.12 Apple Corporate Disclosure Statement - stamped
                                  2.8.12 Apple Inc.'s Administrative Motion to Exceed Page Limits - stamped
                                  2.8.12 Apple Inc.'s Certificate of Service - stamped
                                  2.8.12 Apple Notice of Pendency of Other Actions or Proceedings - stamped
                                  2.8.12 Apple v Samsung Order Reassinging Case to a District Judge - stamped
                                  2.8.12 Apple v Samsung Order Setting Initial Case Management Conference and ADR Deadlines - stamped
                                  2.8.12 Civil Cover Sheet for Apple Complaint - stamped
                                  2.8.12 Clerk Notice to Defendants - stamped
                                  2.8.12 Declaration and exhibits of Dr. Ravin Balakrishnan Concerning U.S. Patent No. 8,046,721
                                  2.8.12 Declaration of Arthur Rangel - Document Submitted Under Seal - Exhibits 1-4 Included
                                  2.8.12 Declaration of Arthur Rangel - Document Submitted Under Seal - Exhibits 1-4 Included
                                  2.8.12 Declaration of Arthur Rangel - Document Submitted Under Seal - Exhibits 5-6 Included
                                  2.8.12 Declaration of Arthur Rangel - Redacted Public Version
                                  2.8.12 Declaration of Chistopher Vellturo, Ph.D., Redacted Public Version, Volume 1 of 3, Exhibits 1-60
                                  2.8.12 Declaration of Chistopher Vellturo, Ph.D., Volume 2 of 3, Exhibits 61-76
                                  2.8.12 Declaration of Chistopher Vellturo, Ph.D., Volume 3 of 3, Exhibits 77-122
                                  2.8.12 Declaration of Christopher Vellturo, Ph.D. - Redacted Public Version
                                  2.8.12 Declaration of Christopher Vellturo, Ph.D. in Support of Apple Inc.'s Motion for a Preliminary Injunction - Filed Under Seal - Exhibits 22,
                                  28, 29, 53, 82, 112 included - NOTE: Exhibits 22-28 on one CD
                                  2.8.12 Declaration of Christopher Vellturo, Ph.D. in Support of Apple Inc.'s Motion for a Preliminary Injunction - Filed Under Seal - Exhibits 22,
                                  28, 29, 53, 82, 112 included - NOTE: Exhibits 22-28 on one CD (with exhibits)
                                  2.8.12 Declaration of Cyndi Wheeler in Support of Apple Inc.'s Administrative Motion to File Documents Under Seal
                                  2.8.12 Declaration of Dr. Karan Singh Regarding U.S. Patent No. 8,074,172
                                  2.8.12 Declaration of Dr. Karan Singh Regarding U.S. Patent No. 8,074,172 and exhibits
                                  2.8.12 Declaration of Dr. Ravin Balakrishnan Concerning U.S. Patent No. 8,046,721
                                  2.8.12 Declaration of Jennifer J. Rho in Support of Apple Inc.'s Administrative Motion to Exceed Page Limits
                                  2.8.12 Declaration of Jennifer J. Rho in Support of Apple Inc.'s Administrative Motion to File Documents Under Seal
                                  2.8.12 Declaration of Steven Sinclair
                                  2.8.12 Expert Declaration and exhibits of Dr. Nathaniel Polish Concerning U.S. Patent No. 8,086,604
                                  2.8.12 Expert Declaration of Dr. Nathaniel Polish Concerning U.S. Patent No. 8,086,604
                                  2.8.12 Expert Declaration of Dr. Todd C. Mowry Concerning U.S. Patent No. 5,946,647, Part 1 of 7
                                  2.8.12 Expert Declaration of Dr. Todd C. Mowry Concerning U.S. Patent No. 5,946,647, Part 1 of 7, Exhibits 1-5
                                  2.8.12 Expert Declaration of Dr. Todd C. Mowry Concerning U.S. Patent No. 5,946,647, Part 2 of 7, Exhibits 6 (1 of 3)
                                  2.8.12 Expert Declaration of Dr. Todd C. Mowry Concerning U.S. Patent No. 5,946,647, Part 3 of 7, Exhibits 6 (2 of 3)
                                  2.8.12 Expert Declaration of Dr. Todd C. Mowry Concerning U.S. Patent No. 5,946,647, Part 4 of 7, Exhibits 6 (3 of 3)
                                  2.8.12 Expert Declaration of Dr. Todd C. Mowry Concerning U.S. Patent No. 5,946,647, Part 5 of 7, Exhibits 7-11
                                  2.8.12 Expert Declaration of Dr. Todd C. Mowry Concerning U.S. Patent No. 5,946,647, Part 6 of 7, Exhibits 12-14
                                  2.8.12 Expert Declaration of Dr. Todd C. Mowry Concerning U.S. Patent No. 5,946,647, Part 7 of 7, Exhibits 15-18
                                  2.8.12 Filed Stamped Apple Complaint
                                  2.8.12 Motion and Memorandum in Support of Apple Inc.'s Motion for a Preliminary Injunction - Filed Under Seal
                                  2.8.12 Motion and Memorandum in Support of Apple Inc.'s Motion for a Preliminary Injunction - Redacted Public Version
                                  2.8.12 Notice of Filing AO 12 - stamped
                                  2.8.12 Summons - Samsung America - stamped
                                  2.8.12 Summons - Samsung Electronics Co. - Korea - stamped
                                  2.8.12 Summons - Samsung Telecom - stamped
                                  2.9.12 Apple v Motorola COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                  3.1.10 Apple v HTC Complaint
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                                  3.27.12 APPLE INC.’S MOTION FOR RULE 37(B)(2) SANCTIONS FOR SAMSUNG’S VIOLATION OF TWO DISCOVERY ORDERS
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                                  3.4.12 APPLE INC.'S FIRST AMENDED AND SUPPLEMENTAL INITIAL DISCLOSURES PURSUANT TO RULE 26(A)(1)
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                                  5.18.11 Order Granting Limited Expedited Discovery
                                  6.21.10 Complaint for Patent Infringement, Case 544
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                                  7.21.11 COUNTERCLAIM DEFENDANT APPLE INC.’S ANSWER, DEFENSES, AND COUNTERCLAIMS IN REPLY TO SAMSUNG’S
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                                  7.21.11 Counterclaim Defendant Apple's Answer, Defenses, and Counterclaims in Reply to Samsung's Counterclaims
                                  8.16.10 Apple Inc.'s First Amended Answer, Defenses, and Counterclaims (Nokia v Apple, Case 249)
                                  8.26.11 APPLE INC.'S DISCLOSURE OF ASSERTED CLAIMS & INFRINGEMENT CONTENTIONS
                                  8.26.11 APPLE INC.'S DISCLOSURE OF ASSERTED CLAIMS & INFRINGEMENT CONTENTIONS, Ex. 1
                                  8.26.11 APPLE INC.'S DISCLOSURE OF ASSERTED CLAIMS & INFRINGEMENT CONTENTIONS, Ex. 10
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                                  8.26.11 APPLE INC.'S DISCLOSURE OF ASSERTED CLAIMS & INFRINGEMENT CONTENTIONS, Ex. 12
                                  8.26.11 APPLE INC.'S DISCLOSURE OF ASSERTED CLAIMS & INFRINGEMENT CONTENTIONS, Ex. 13




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                                  8.26.11 APPLE INC.'S DISCLOSURE OF ASSERTED CLAIMS & INFRINGEMENT CONTENTIONS, Ex. 15
                                  8.26.11 APPLE INC.'S DISCLOSURE OF ASSERTED CLAIMS & INFRINGEMENT CONTENTIONS, Ex. 16
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                                  8.26.11 APPLE INC.'S DISCLOSURE OF ASSERTED CLAIMS & INFRINGEMENT CONTENTIONS, Ex. 18
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                                  8.26.11 APPLE INC.'S DISCLOSURE OF ASSERTED CLAIMS & INFRINGEMENT CONTENTIONS, Ex. 6
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                                  8.26.11 APPLE INC.'S DISCLOSURE OF ASSERTED CLAIMS & INFRINGEMENT CONTENTIONS, Ex. 8
                                  8.26.11 APPLE INC.'S DISCLOSURE OF ASSERTED CLAIMS & INFRINGEMENT CONTENTIONS, Ex. 9
                                  8.26.12 ADDENDUM TO APPLE INC.'S DISCLOSURE OF ASSERTED CLAIMS & INFRINGEMENT CONTENTIONS
                                  9.1.11 Confidential Exhibit A to Samsung's Response to Apple's Complaint
                                  9.1.11 RESPONSE OF SAMSUNG ELECTRONICS CO., LTD., SAMSUNG ELECTRONICS AMERICA, INC., AND SAMSUNG
                                  TELECOMMUNICATIONS AMERICA, LLC TO COMPLAINT UNDER SECTION 337 OF THE TARIFF ACT OF 1930, AS AMENDED, AND
                                  NOTICE OF INVESTIGATION
                                  9.18.11 Supplemental Declaration of Richard L. Donaldson
                                  9.26.11 SAMSUNG’S RESPONSE AND OBJECTIONS TO APPLE’S INTERROGATORIES TO DEFENDANTS RELATING TO APPLE’S
                                  MOTION FOR A PRELIMINARY INJUNCTION (NO. 1)
                                  9.4.11 Declaration of Richard L. Donaldson
                                  Affidavit of Antony Bryn Samuel, dated 9/19/2011.
                                  Affidavit of Lutton, 2011-07-28.
                                  Affidavit of Small, 2011-07-28.
                                  Apple Inc. v. Samsung Electronics Co., Ltd., et al., Notice of Appeal, 12/7/2011.
                                  Apple Inc.’s Markman Tutorial Case No. 11-cv-01846-LHK
                                  Apple Inc.'s Motion for a Preliminary Injunction, dated 7/1/2011.
                                  Apple Motion for EU Wide Prel Inj Galaxy Tab 10.1, Document In German, 08/04/11.
                                  Apple's 4th 30(b)(6) Notice, 01/18/2012.
                                  Apple's 7th 30(b)(6) Depo Notice, 1/31/2012.
                                  Apple's Amended Complaint with Exhibits, For Federal False Designation of Origin and Unfair Competition, Federal Trademark Infringement,
                                  Federal Trade Dress Dilution, State Unfair Business Practices, Common Law Trademark Infringement, Unjust Enrichment, and Patent
                                  Infringement, dated 6/16/2011.
                                  Apple's Motion to Compel Samsung to Produce Documents and Provide Responsive Answers to Propounded Discovery, dated 9/20/2011.
                                  Apple's Ninth 30(b)(6) Notice, 2/7/2012.
                                  BAMA 2006 IRS Form 990
                                  Bartlet Exhibit 46, IDC, "Smartphone Market Grows 79.7% Year Over Year in First Quarter of 2011, According to IDC," dated 5/5/2011.
                                  Bartlet Exhibit 47, IDC, "Nearly 18 Million Media Tablets Shipped in 2010 with Apple Capturing 83% Share; eReader Shipments Quadrupled to
                                  More than 12 Million, According to IDC," dated 5/10/2011.
                                  Civil Docket for Case #1:11-cv-00573-LPS, as of 10.28.11
                                  Complaint for Patent Infringement, Federal False Designation of Origin and Unfair Competition, Federal Trademark Infringement, State Unfair
                                  Competition, Common Law Trademark Infringement, and Unjust Enrichment, 4/15/2011.
                                  Confidential Annexures RBS-27 to RBS-30.
                                  Confidential Exhibits RBS-3, RBS-6 and RBS-7.
                                  Counterclaim Defendant Apple Inc.'s Amended Answer, Defenses, and Counterclaims in Reply to Samsung's Counterclaims, 10/28/2011.
                                  Declaration of Michael J. Wagner in Support of Samsung's Opposition to Apple's Motion for a Preliminary Injunction, signed on 8/21/2011.
                                  Declaration of Patrick J. Zhang in Support of Apple's Motion for Preliminary Injunction, signed 7/1/2011.
                                  Declaration of Sissie Twiggs in Support of Apple Inc.'s Motion for a Preliminary Injunction, signed on 6/30/2011.
                                  Delcaration of Tony Blevins, 2011-09-30.
                                  Deposition of Arthur Rangel, March 2, 2012, Exhibit
                                  Deposition of Arthur Rangel, March 2, 2012, Exhibit 10.
                                  Deposition of Arthur Rangel, March 2, 2012, Exhibit 2.
                                  Deposition of Arthur Rangel, March 2, 2012, Exhibit 4.
                                  Deposition of Arthur Rangel, March 2, 2012, Exhibit 5.
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                                  Deposition of Arthur Rangel, March 2, 2012, Exhibit 7.
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                                  Deposition of Arthur Rangel, March 2, 2012, Exhibit 9.
                                  Deposition of Arthur Rangel, March 2, 2012.
                                  Deposition of Arthur Rangel, March 2, 2012.
                                  Deposition of Arthur Rangel, March 2, 2012.
                                  Deposition of Arthur Rangel, March 2, 2012.
                                  Deposition of BJ Watrous, Esq., March 8, 2012, Exhibit 5005.
                                  Deposition of BJ Watrous, Esq., March 8, 2012, Exhibit 5006.
                                  Deposition of BJ Watrous, Esq., March 8, 2012, Exhibit 5007.
                                  Deposition of BJ Watrous, Esq., March 8, 2012, Exhibit 5008.
                                  Deposition of BJ Watrous, Esq., March 8, 2012, Exhibit 5009.
                                  Deposition of BJ Watrous, Esq., March 8, 2012, Exhibit 5010.
                                  Deposition of BJ Watrous, Esq., March 8, 2012, Exhibit 5011.
                                  Deposition of BJ Watrous, Esq., March 8, 2012.
                                  Deposition of BJ Watrous, Esq., March 8, 2012.
                                  Deposition of Boris Teksler, February 24, 2012.
                                  Deposition of Boris Teksler, February 24, 2012.
                                  Deposition of Boris Teksler, March 16, 2012, Exhibit 1.
                                  Deposition of Boris Teksler, March 16, 2012, Exhibit 10.
                                  Deposition of Boris Teksler, March 16, 2012, Exhibit 19.
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                                  Deposition of Boris Teksler, March 16, 2012, Exhibit 20.
                                  Deposition of Boris Teksler, March 16, 2012, Exhibit 21.
                                  Deposition of Boris Teksler, March 16, 2012, Exhibit 22.
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                                  Deposition of Boris Teksler, March 16, 2012, Exhibit 25.
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                                  Deposition of Boris Teksler, March 16, 2012, Exhibit 4.
                                  Deposition of Boris Teksler, March 16, 2012, Exhibit 5.
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                                  Deposition of Boris Teksler, March 16, 2012, Exhibit 7.
                                  Deposition of Boris Teksler, March 16, 2012, Exhibit 8.




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                                  Deposition of Boris Teksler, March 16, 2012.
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                                  Deposition of Boris Teksler, March 16, 2012.
                                  Deposition of Brian Rosenberg, January 27, 2012, Exhibit 1278.
                                  Deposition of Brian Rosenberg, January 27, 2012, Exhibit 1279.
                                  Deposition of Brian Rosenberg, January 27, 2012, Exhibit 1280.
                                  Deposition of Brian Rosenberg, January 27, 2012, Exhibit 1281.
                                  Deposition of Brian Rosenberg, January 27, 2012, Exhibit 1282.
                                  Deposition of Brian Rosenberg, January 27, 2012, Exhibit 1283.
                                  Deposition of Brian Rosenberg, January 27, 2012, Exhibit 1284.
                                  Deposition of Brian Rosenberg, January 27, 2012, Exhibit 1285.
                                  Deposition of Brian Rosenberg, January 27, 2012, Exhibit 1286.
                                  Deposition of Brian Rosenberg, January 27, 2012, Exhibit 1287.
                                  Deposition of Brian Rosenberg, January 27, 2012, Exhibit 1288.
                                  Deposition of Brian Rosenberg, January 27, 2012, Exhibit 1289.
                                  Deposition of Brian Rosenberg, January 27, 2012.
                                  Deposition of Brian Rosenberg, January 27, 2012.
                                  Deposition of Chip Lutton, Jr., July 26, 2011, Exhibit 1.
                                  Deposition of Chip Lutton, Jr., July 26, 2011, Exhibit 10.
                                  Deposition of Chip Lutton, Jr., July 26, 2011, Exhibit 11.
                                  Deposition of Chip Lutton, Jr., July 26, 2011, Exhibit 12.
                                  Deposition of Chip Lutton, Jr., July 26, 2011, Exhibit 13.
                                  Deposition of Chip Lutton, Jr., July 26, 2011, Exhibit 14.
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                                  Deposition of Chip Lutton, Jr., July 26, 2011, Exhibit 9.
                                  Deposition of Chip Lutton, Jr., July 26, 2011.
                                  Deposition of Corey Kerstetter, February 29, 2012, Exhibit 1910.
                                  Deposition of Corey Kerstetter, February 29, 2012, Exhibit 1911.
                                  Deposition of Corey Kerstetter, February 29, 2012, Exhibit 1912.
                                  Deposition of Corey Kerstetter, February 29, 2012, Exhibit 1913.
                                  Deposition of Corey Kerstetter, February 29, 2012, Exhibit 1914.
                                  Deposition of Corey Kerstetter, February 29, 2012, Exhibit 1915.
                                  Deposition of Corey Kerstetter, February 29, 2012, Exhibit 1916.
                                  Deposition of Corey Kerstetter, February 29, 2012, Exhibit 1917.
                                  Deposition of Corey Kerstetter, February 29, 2012.
                                  Deposition of Corey Kerstetter, February 29, 2012.
                                  Deposition of Don-Joo Lee, February 17, 2012, Exhibit 1550.
                                  Deposition of Don-Joo Lee, February 17, 2012, Exhibit 1551.
                                  Deposition of Don-Joo Lee, February 17, 2012, Exhibit 1552.
                                  Deposition of Don-Joo Lee, February 17, 2012, Exhibit 1553.
                                  Deposition of Don-Joo Lee, February 17, 2012, Exhibit 1554.
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                                  Deposition of Don-Joo Lee, February 17, 2012, Exhibit 1556.
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                                  Deposition of Don-Joo Lee, February 17, 2012, Exhibit 1564.
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                                  Deposition of Don-Joo Lee, February 17, 2012, Exhibit 1569.
                                  Deposition of Don-Joo Lee, February 17, 2012, Exhibit 1570.
                                  Deposition of Don-Joo Lee, February 17, 2012, Exhibit 1571.
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                                  Deposition of Don-Joo Lee, February 17, 2012, Exhibit 1573.
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                                  Deposition of Don-Joo Lee, February 17, 2012, Exhibit 1578.
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                                  Deposition of Don-Joo Lee, February 17, 2012, Exhibit 1580.
                                  Deposition of Don-Joo Lee, February 17, 2012, Exhibit 1581.
                                  Deposition of Don-Joo Lee, February 17, 2012, Exhibit 1582.
                                  Deposition of Don-Joo Lee, February 17, 2012, Exhibit 1583.
                                  Deposition of Don-Joo Lee, February 17, 2012, Exhibit 1584.
                                  Deposition of Don-Joo Lee, February 17, 2012.
                                  Deposition of Don-Joo Lee, February 17, 2012.
                                  Deposition of Don-Joo Lee, February 17, 2012.
                                  Deposition of Emilie Kim, March 7, 2012.
                                  Deposition of Eric Jue, February 24, 2012, Exhibit 1.




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                                  Deposition of Eric Jue, February 24, 2012, Exhibit 4.
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                                  Deposition of Eric Jue, February 24, 2012, Exhibit 6.
                                  Deposition of Eric Jue, February 24, 2012, Exhibit 7.
                                  Deposition of Eric Jue, February 24, 2012, Exhibit 8.
                                  Deposition of Eric Jue, February 24, 2012, Exhibit 9.
                                  Deposition of Eric Jue, February 24, 2012.
                                  Deposition of Eric Jue, February 24, 2012.
                                  Deposition of George Dicker, March 8, 2012.
                                  Deposition of Greg Joswiak, February 23, 2012.
                                  Deposition of Greg Joswiak, February 23, 2012.
                                  Deposition of Greg Joswiak, February 24, 2012, Exhibit 32.
                                  Deposition of Greg Joswiak, February 24, 2012, Exhibit 33.
                                  Deposition of Greg Joswiak, February 24, 2012, Exhibit 34.
                                  Deposition of Greg Joswiak, February 24, 2012, Exhibit 35.
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                                  Deposition of Greg Joswiak, February 24, 2012, Exhibit 59.
                                  Deposition of Greg Joswiak, February 24, 2012, Exhibit 60.
                                  Deposition of Greg Joswiak, February 24, 2012.
                                  Deposition of Greg Joswiak, February 24, 2012.
                                  Deposition of Jaehwang Sim, March 10, 2012, Exhibit 2440.
                                  Deposition of Jaehwang Sim, March 10, 2012, Exhibit 2441.
                                  Deposition of Jaehwang Sim, March 10, 2012, Exhibit 2442.
                                  Deposition of Jaehwang Sim, March 10, 2012, Exhibit 2443.
                                  Deposition of Jaehwang Sim, March 10, 2012, Exhibit 2444.
                                  Deposition of Jaehwang Sim, March 10, 2012, Exhibit 2445.
                                  Deposition of Jaehwang Sim, March 10, 2012, Exhibit 2446.
                                  Deposition of Jaehwang Sim, March 10, 2012.
                                  Deposition of Jaehwang Sim, March 10, 2012.
                                  Deposition of Jaehwang Sim, March 10, 2012.
                                  Deposition of Jun Won Lee, March 5, 2012.
                                  Deposition of Jun Won Lee, March 5, 2012.
                                  Deposition of Jun Won Lee, March 5, 2012.
                                  Deposition of Jun Won Lee, March 6, 2012.
                                  Deposition of Jun Won Lee, March 6, 2012.
                                  Deposition of Jun Won Lee, March 6, 2012.
                                  Deposition of Junho Park, January 14, 2012.
                                  Deposition of Junho Park, January 14, 2012.
                                  Deposition of Justin Denison, December 16, 2011, Exhibit 1.
                                  Deposition of Justin Denison, December 16, 2011, Exhibit 2.
                                  Deposition of Justin Denison, December 16, 2011.
                                  Deposition of Justin Denison, December 16, 2011.
                                  Deposition of Justin Denison, January 25, 2012, Exhibit 1254.
                                  Deposition of Justin Denison, January 25, 2012, Exhibit 1255.
                                  Deposition of Justin Denison, January 25, 2012, Exhibit 1256.
                                  Deposition of Justin Denison, January 25, 2012, Exhibit 1257.
                                  Deposition of Justin Denison, January 25, 2012, Exhibit 1258.
                                  Deposition of Justin Denison, January 25, 2012, Exhibit 1259.
                                  Deposition of Justin Denison, January 25, 2012, Exhibit 1260.
                                  Deposition of Justin Denison, January 25, 2012, Exhibit 1273.
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                                  Deposition of Justin Denison, January 25, 2012, Exhibit 1275.
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                                  Deposition of Justin Denison, January 25, 2012.
                                  Deposition of Mark Buckley, December 22, 2011, Exhibit 1.
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                                  Deposition of Mark Buckley, December 22, 2011, Exhibit 2.
                                  Deposition of Mark Buckley, December 22, 2011, Exhibit 4.
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                                  Deposition of Mark Buckley, December 22, 2011.
                                  Deposition of Mark Buckley, February 23, 2012, Exhibit 1.
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                                  Deposition of Mark Buckley, February 23, 2012, Exhibit 16.
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                                  Deposition of Mark Buckley, February 23, 2012, Exhibit 18.
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                                  Deposition of Mark Buckley, February 23, 2012, Exhibit 2.
                                  Deposition of Mark Buckley, February 23, 2012, Exhibit 20.
                                  Deposition of Mark Buckley, February 23, 2012, Exhibit 21.
                                  Deposition of Mark Buckley, February 23, 2012, Exhibit 22.
                                  Deposition of Mark Buckley, February 23, 2012, Exhibit 23.
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                                  Deposition of Mark Buckley, February 23, 2012, Exhibit 4.
                                  Deposition of Mark Buckley, February 23, 2012, Exhibit 5.
                                  Deposition of Mark Buckley, February 23, 2012.
                                  Deposition of Mark Buckley, February 23, 2012.
                                  Deposition of Michael J. Wagner, September 14, 2011, Exhibit 164.
                                  Deposition of Michael J. Wagner, September 14, 2011, Exhibit 165.
                                  Deposition of Michael J. Wagner, September 14, 2011, Exhibit 166.
                                  Deposition of Michael J. Wagner, September 14, 2011, Exhibit 167.
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                                  Deposition of Michael J. Wagner, September 14, 2011, Exhibit 180.
                                  Deposition of Michael J. Wagner, September 14, 2011, Exhibit 181.
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                                  Deposition of Michael J. Wagner, September 14, 2011, Exhibit 186.
                                  Deposition of Michael J. Wagner, September 14, 2011, Exhibit 188.
                                  Deposition of Michael J. Wagner, September 14, 2011.
                                  Deposition of Michael J. Wagner, September 14, 2011. .
                                  Deposition of Michael Tchao, February 21, 2012, Exhibit 1750.
                                  Deposition of Michael Tchao, February 21, 2012, Exhibit 1751.
                                  Deposition of Michael Tchao, February 21, 2012, Exhibit 1752.
                                  Deposition of Michael Tchao, February 21, 2012, Exhibit 1753.
                                  Deposition of Michael Tchao, February 21, 2012, Exhibit 1754.
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                                  Deposition of Michael Tchao, February 21, 2012, Exhibit 1758.
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                                  Deposition of Michael Tchao, February 21, 2012, Exhibit 1761.
                                  Deposition of Michael Tchao, February 21, 2012, Exhibit 1762.
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                                  Deposition of Michael Tchao, February 21, 2012, Exhibit 1764.
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                                  Deposition of Michael Tchao, February 21, 2012, Exhibit 1770.
                                  Deposition of Michael Tchao, February 21, 2012.
                                  Deposition of Michael Tchao, February 21, 2012.
                                  Deposition of Michael Tchao, February 21, 2012.
                                  Deposition of Michael Tchao, February 21, 2012.
                                  Deposition of Nara Cho, January 14, 2012.
                                  Deposition of Nara Cho, January 14, 2012.
                                  Deposition of Philip Schiller, February 17, 2012, Exhibit 1660.
                                  Deposition of Philip Schiller, February 17, 2012, Exhibit 1661.
                                  Deposition of Philip Schiller, February 17, 2012, Exhibit 1662.
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                                  Deposition of Philip Schiller, February 17, 2012, Exhibit 1670.
                                  Deposition of Philip Schiller, February 17, 2012, Exhibit 1671.
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                                  Deposition of Philip Schiller, February 17, 2012.
                                  Deposition of Philip Schiller, February 17, 2012.
                                  Deposition of Seung-Ho Ahn, March 15, 2012.
                                  Deposition of Sissie Twiggs, July 27, 2011, Exhibit 10.
                                  Deposition of Sissie Twiggs, July 27, 2011, Exhibit 19.
                                  Deposition of Sissie Twiggs, July 27, 2011, Exhibit 20.
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                                  Deposition of Sissie Twiggs, July 27, 2011, Exhibit 40.




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                                  Deposition of Sissie Twiggs, July 27, 2011, Exhibit 42.
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                                  Deposition of Sissie Twiggs, July 27, 2011.
                                  Deposition of Stanley C. Ng, Febrary 21, 2012, Exhibit 1.
                                  Deposition of Stanley C. Ng, Febrary 21, 2012, Exhibit 2.
                                  Deposition of Stanley C. Ng, Febrary 21, 2012, Exhibit 4.
                                  Deposition of Stanley C. Ng, Febrary 21, 2012.
                                  Deposition of Stanley C. Ng, Febrary 21, 2012.
                                  Deposition of Tamara Whiteside, February 28, 2012, Exhibit 1.
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                                  Deposition of Tamara Whiteside, February 28, 2012.
                                  Deposition of Tamara Whiteside, February 28, 2012.
                                  Deposition of Tim Sheppard, December 21, 2011, Exhibit 1.
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                                  Deposition of Tim Sheppard, December 21, 2011, Exhibit 8.
                                  Deposition of Tim Sheppard, December 21, 2011, Exhibit 9.
                                  Deposition of Tim Sheppard, December 21, 2011.
                                  Deposition of Tim Sheppard, December 21, 2011.
                                  Deposition of Timothy Benner, February 22, 2012, Exhibit 1592.
                                  Deposition of Timothy Benner, February 22, 2012, Exhibit 1593.
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                                  Deposition of Timothy Benner, February 22, 2012, Exhibit 1601.
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                                  Deposition of Timothy Benner, February 22, 2012, Exhibit 1608A.
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                                  Deposition of Timothy Benner, February 22, 2012, Exhibit 1614.
                                  Deposition of Timothy Benner, February 22, 2012, Exhibit 1615.
                                  Deposition of Timothy Benner, February 22, 2012.
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                                  Deposition of Timothy Sheppard, February 29, 2012, Exhibit 1918.
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                                  Deposition of Timothy Sheppard, February 29, 2012, Exhibit 1920.
                                  Deposition of Timothy Sheppard, February 29, 2012, Exhibit 1921.
                                  Deposition of Timothy Sheppard, February 29, 2012, Exhibit 1922.
                                  Deposition of Timothy Sheppard, February 29, 2012, Exhibit 1923.
                                  Deposition of Timothy Sheppard, February 29, 2012, Exhibit 1924.
                                  Deposition of Timothy Sheppard, February 29, 2012, Exhibit 1925.
                                  Deposition of Timothy Sheppard, February 29, 2012, Exhibit 1926.
                                  Deposition of Timothy Sheppard, February 29, 2012, Exhibit 1927.
                                  Deposition of Timothy Sheppard, February 29, 2012, Exhibit 1928.
                                  Deposition of Timothy Sheppard, February 29, 2012, Exhibit 1929.
                                  Deposition of Timothy Sheppard, February 29, 2012.
                                  Deposition of Timothy Sheppard, February 29, 2012.
                                  Deposition of Timothy Sheppard, February 29, 2012.
                                  Deposition of Timothy Sheppard, February 29, 2012.
                                  Deposition of Timothy Sheppard, January 24, 2012, Exhibit 1244.
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                                  Deposition of Timothy Sheppard, January 24, 2012, Exhibit 1250.
                                  Deposition of Timothy Sheppard, January 24, 2012, Exhibit 1251.
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                                  Deposition of Timothy Sheppard, January 24, 2012, Exhibit 1253.
                                  Deposition of Timothy Sheppard, January 24, 2012.
                                  Deposition of Timothy Sheppard, January 24, 2012.
                                  Deposition of Youngsoon Lee, February 7, 2012.
                                  District Court for California Northern District (San Jose), Civil Docket for the Case 5:11-cv-01846-LHK, as of 12/19/2011.
                                  District Court for California Northern District (San Jose), Civil Docket for the Case 5:11-cv-01846-LHK, as of 9/19/2011.
                                  District Court of California Northern District (San Jose), Civil Docket for the Case 5:11-cv-01846-LHK, as of 10/28/2011.




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                                  District Court of California Northern District (San Jose), Civil Docket for the Case 5:11-cv-01846-LHK, as of 11/1/2011.
                                  District Court of California Northern District (San Jose), Civil Docket for the Case 5:11-cv-01846-LHK, as of 11/15/2011.
                                  District Court of California Northern District (San Jose), Civil Docket for the Case 5:11-cv-01846-LHK, as of 12/05/2011.
                                  District Court of Delaware, Complaint for Patent Infringement.
                                  Documents Cited in M. Wagner Declaration.
                                  Email from Rachel Herrick Kassabian to Peter J. Kolovos, Re: Apple Inc. v. Samsung Elec. Co. et al., Case No. 11-cv-1846.
                                  Ex D to Sheppard Decl, 2012-03-12.
                                  Exhibit 1, U.S. Patent 7,706,348 B2.
                                  Exhibit 2, Example Patents Infringed by All Samsung Android Phones.
                                  Exhibit 4, Samsung-Apple Licensing Discussion, 10/5/2010.
                                  Exhibit 5, Apple-Samsung Licensing Discussion.
                                  Exhibit A to Samsung's Objections and Responses to Apple Inc's Fourth Set of Interrogatories
                                  Exhibit M - Samsung's Patent L.R. 3-1(G) Disclosures
                                  Exhibit RBS-1, 2011-09-05.
                                  Exhibit RJL-1 part 1.
                                  Exhibit RJL-1 part 2.
                                  Exhibit RJL-1 part 3.
                                  Exhibit RJL-1 part 4.
                                  Exhibit RJL-1 part 5.
                                  Exhibit RJL-1 part 6.
                                  Exhibit RJL-1 part 7.
                                  Fourth affidavit of Rob Small, 2011-11-03.
                                  Ho Declaration with Correct Exhibit C.
                                  Interdigital Hearing Transcript, July 8, 2008.
                                  IPR Information Statement and Licensing Declaration, ETSi, 9/24/2009.
                                  ITC Expert Report Exhibit 10
                                  ITC Expert Report Exhibit 7
                                  ITC Expert Report Exhibit 8
                                  ITC Expert Report Exhibit 9
                                  January 2012 STIPULATION AND [PROPOSED] ORDER REGARDING ADDING ACCUSED PRODUCTS
                                  Joint Claim Construction and Prehearing Statement Pursuant to Patent L.R. 4-3, dated 11/14/2011.
                                  Judgment in interlocutory proceedings dated August 24, 2011 (early judgment) in the matter with case / docket number: 396957 / KG ZA 11-
                                  730
                                  LexisNexis® CourtLink® Litigant Strategic Profile for Apple, Inc 1/27/2012 - 2/17/2012
                                  Lutton Confidential Exhibit RJL-2, 2011-09-05.
                                  Lutton, Chip exhibit 03, 2011-7-26.
                                  Minute Order and Case management Order, dated 8/25/2011.
                                  October 2010 ITC Complaint
                                  Office for Harmonization in the Internal Market, Trade Marks and Register Department, Certificate of Registration, Apple Inc, 2/12/2010.
                                  Order Denying Motion for Preliminary Injunction
                                  Rachel A. Ferrier, Exhibit 11, Notice 7, Topics 8 and 9.
                                  Redacted Declaration of Michael J. Wagner in Support of Samsung's Opposition to Apple's Motion for a Preliminary Injunction, signed on
                                  8/21/2011.
                                  Samsung Electronics Co., Ltd., v. Interdigital Communications Corporation, et al., First Amended Complaint.
                                  Samsung Entities' Answer, Affirmative Defenses, and Counterclaims to Apple Inc.'s Amended Complaint and Demand for Jury Trial, 6/30/2011.

                                  Samsung's Opposition to Apple's Motion for Preliminary Injunction, 8/22/2011.
                                  SEALED Dec of Arthur Rangel Exh. 1-4, 2012-02-08.
                                  SEALED Dec of Arthur Rangel Exh. 5-6, 2012-02-08.
                                  SEALED Dec of Arthur Rangel, 2012-02-08.
                                  SEALED Dec of C Vellturo Exs, 2012-02-08.
                                  SEALED Dec of Christopher Vellturo, 2012-02-08.
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                             Samsung Accused Products vs. Apple's Asserted Intellectual Property 1/


                                                                                             Utility Patents

 # Accused Products                               ’002            ’129            ’163              ’381       ’607      ’891            ’915

  1 Acc a m                                        x                                x                                      x               x
  2 Capt vate                                      x                                x                x                     x               x
  3 Cont nuum                                      x                                x                x                     x               x
  4 Dro d Charge                                   x                                x                x                     x               x
  5 Ep c 4G                                        x                                x                x                     x               x
  6 Exh b t 4G                                     x                                x                x                     x               x
  7 Fasc nate                                      x                                x                x                     x               x
  8 Ga axy Ace                                     x                                x                x                     x               x
  9 Ga axy Preva                                   x                                x                x                     x               x
 10 Ga axy S ( 9000)                               x                                x                x                     x               x
 11 Ga axy S 4G                                    x                                x                x                     x               x
 12 Ga axy S (AT&T)                                x                                x                x                     x               x
 13 Ga axy S ( 9100)                               x                                x                x                     x               x
 14 Ga axy S (T-Mob e)                             x                                x                                      x               x
 15 Ga axy S (Ep c 4G Touch)                       x                                x                x                     x               x
 16 Ga axy S (Skyrocket)                           x                                x                                      x               x
 17 Ga axy S Showcase ( 500)                       x                                x                x                     x               x
 18 Ga axy Tab                                     x                x               x                x          x          x               x
 19 Ga axy Tab 10.1 (W F )                         x                x               x                x          x          x               x
 20 Ga axy Tab 10.1 (4G LTE)                       x                x               x                x          x          x               x
 21 Gem                                            x                                x                x                     x               x
 22 Grav ty Smart                                  x                                x                x                     x               x
 23 ndu ge                                         x                                x                x                     x               x
 24 nfuse 4G                                       x                                x                x                     x               x
 25 ntercept                                       x                                x                x                     x               x
 26 Mesmer ze                                      x                                x                x                     x               x
 27 Nexus S                                        x                                x                x                     x               x
 28 Nexus S 4G                                     x                                x                x                     x               x
 29 Rep en sh                                      x                                x                x                     x               x
 30 S dek ck                                       x                                x                x                     x               x
 31 Transform                                      x                                x                                      x               x
 32 V brant                                        x                                x                x                     x               x
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                             Samsung Accused Products vs. Apple's Asserted Intellectual Property 1/


                                                                                             Design Patents

 # Accused Products                              'D087           'D270           'D305              'D334     'D677     'D790           'D889

  1 Acc a m
  2 Capt vate                                                                       x                 x                    x
  3 Cont nuum                                                                       x                 x                    x
  4 Dro d Charge                                                                    x                 x                    x
  5 Ep c 4G                                                                         x                 x                    x
  6 Exh b t 4G
  7 Fasc nate                                                                       x                 x         x          x
  8 Ga axy Ace                                                                                                  x
  9 Ga axy Preva
 10 Ga axy S ( 9000)                               x                x               x                 x         x          x
 11 Ga axy S 4G                                    x                x               x                 x         x          x
 12 Ga axy S (AT&T)                                x                                                            x
 13 Ga axy S ( 9100)                               x                                                            x
 14 Ga axy S (T-Mob e)                                                                                          x
 15 Ga axy S (Ep c 4G Touch)                       x                                                            x
 16 Ga axy S (Skyrocket)                           x                                                            x
 17 Ga axy S Showcase ( 500)                                                        x                 x         x          x
 18 Ga axy Tab
 19 Ga axy Tab 10.1 (W F )                                                                                                                 x
 20 Ga axy Tab 10.1 (4G LTE)                                                                                                               x
 21 Gem                                                                             x                 x                    x
 22 Grav ty Smart
 23 ndu ge                                                                          x                 x                    x
 24 nfuse 4G                                       x                                x                 x         x          x
 25 ntercept
 26 Mesmer ze                                                                       x                 x         x          x
 27 Nexus S
 28 Nexus S 4G
 29 Rep en sh
 30 S dek ck
 31 Transform
 32 V brant                                        x                x               x                 x         x          x
                                                                                                                                                                   Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 153 of 245




Sources/Notes:
1/ Per d scuss on w th counse .



                                                          Prepared by nvotex Group                                    Subm tted Under Sea ; H gh y Conf dent a ;
                                                                 Page 2 of 4                                                       Outs de Counse Eyes On y
                                                        App e nc. v. Samsung E ectron cs Co., LTD., et a .                                                          EXHIBIT 4
                                  Samsung Accused Products vs. Apple's Asserted Intellectual Property 1/


                                                                                                         Trade Dress

                                                                                              iPhone / iPhone iPad and iPad
 # Accused Products                            iPhone          iPhone 3G        iPhone 4                                      '983             '218            '327
                                                                                               3G / iPhone 4        2
  1 Acc a m
  2 Capt vate                                     x                 x                                x                         x                 x              x
  3 Cont nuum                                     x                 x                                x                         x                 x              x
  4 Dro d Charge                                  x                 x                                x                         x                 x              x
  5 Ep c 4G                                       x                 x                                x                         x                 x              x
  6 Exh b t 4G
  7 Fasc nate                                     x                 x                                x                         x                 x              x
  8 Ga axy Ace                                                                      x                x
  9 Ga axy Preva                                  x                 x                                x                         x                 x              x
 10 Ga axy S ( 9000)                              x                 x                                x                         x                 x              x
 11 Ga axy S 4G                                   x                 x                                x                         x                 x              x
 12 Ga axy S (AT&T)                               x                 x                                x                         x                 x              x
 13 Ga axy S ( 9100)                              x                 x                                x                         x                 x              x
 14 Ga axy S (T-Mob e)                            x                 x                                x                         x                 x              x
 15 Ga axy S (Ep c 4G Touch)                      x                 x                                x                         x                 x              x
 16 Ga axy S (Skyrocket)                          x                 x                                x                         x                 x              x
 17 Ga axy S Showcase ( 500)                      x                 x                                x                         x                 x              x
 18 Ga axy Tab                                                                                                         x
 19 Ga axy Tab 10.1 (W F )                                                                                             x
 20 Ga axy Tab 10.1 (4G LTE)                                                                                           x
 21 Gem
 22 Grav ty Smart
 23 ndu ge
 24 nfuse 4G                                      x                 x                                x                         x                 x              x
 25 ntercept
 26 Mesmer ze                                     x                 x                                x                         x                 x              x
 27 Nexus S
 28 Nexus S 4G
 29 Rep en sh
 30 S dek ck
 31 Transform
 32 V brant                                       x                 x                                x                         x                 x              x
                                                                                                                                                                                Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 154 of 245




Sources/Notes:
1/ Per d scuss on w th counse .



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                                                                          Page 3 of 4                                                           Outs de Counse Eyes On y
                                                     App e nc. v. Samsung E ectron cs Co., LTD., et a .                                                          EXHIBIT 4
                                  Samsung Accused Products vs. Apple's Asserted Intellectual Property 1/


                                                                                                       Trademarks

                                                                                                                                                        '463
 # Accused Products                                '169           '196           '197            '200           '642    '685            '038
                                                                                                                                                     (Pending)
  1 Acc a m                                                                                                         x
  2 Capt vate                                       x              x               x               x                     x                x              x
  3 Cont nuum                                       x              x               x               x                x    x                x              x
  4 Dro d Charge                                                   x               x               x                x    x                x              x
  5 Ep c 4G                                         x              x               x               x                     x                x              x
  6 Exh b t 4G                                      x              x               x               x                     x                x              x
  7 Fasc nate                                       x              x               x               x                x    x                x              x
  8 Ga axy Ace                                      x              x               x               x                     x                x              x
  9 Ga axy Preva                                                                                                    x
 10 Ga axy S ( 9000)                                x              x               x               x                     x                x              x
 11 Ga axy S 4G                                     x              x               x               x                     x                x              x
 12 Ga axy S (AT&T)                                 x              x               x                                     x                x              x
 13 Ga axy S ( 9100)                                x              x               x                                     x                x              x
 14 Ga axy S (T-Mob e)                                             x               x                                     x                x              x
 15 Ga axy S (Ep c 4G Touch)                                       x               x                                     x                x              x
 16 Ga axy S (Skyrocket)                            x              x               x                                     x                x              x
 17 Ga axy S Showcase ( 500)                        x              x               x               x                x    x                x              x
 18 Ga axy Tab                                      x                              x               x                x    x                x              x
 19 Ga axy Tab 10.1 (W F )                                                         x                                     x                x              x
 20 Ga axy Tab 10.1 (4G LTE)                                                       x                                     x                x              x
 21 Gem                                                            x               x               x                x    x                x              x
 22 Grav ty Smart                                   x              x               x               x                     x                x              x
 23 ndu ge                                          x              x               x               x                     x                x              x
 24 nfuse 4G                                        x              x               x               x                     x                x              x
 25 ntercept                                                                                                        x
 26 Mesmer ze                                       x              x               x               x                x    x                x              x
 27 Nexus S                                                                                                         x
 28 Nexus S 4G                                                                                                      x
 29 Rep en sh                                                                                                       x
 30 S dek ck                                        x                                              x
 31 Transform                                                                                                       x
 32 V brant                                         x              x               x               x                     x                x              x
                                                                                                                                                                             Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 155 of 245




Sources/Notes:
1/ Per d scuss on w th counse .



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                                                                       Page 4 of 4                                                          Outs de Counse Eyes On y
                                                 Apple Inc. v. Samsung Electronics Co., LTD., et al.                                          EXHIBIT 5


                                                    Apple's Asserted Utility Patents 1/

    Patent No.    Referenced As                              Title                              File Date          Issue Date    Expiration Date 2/
    6,493,002      '002 Patent Method and Apparatus for Displaying and Accessing Control       3/20/1997          12/10/2002       9/30/2014
                                and Status Information in a Computer System
     7,469,381     '381 Patent List Scrolling and Document Translation, Scaling, and Rotation 12/14/2007          12/23/2008       12/14/2027
                                on a Touch-Screen Display
     7,663,607     '607 Patent Multipoint Touchscreen                                           5/6/2004           2/16/2010       3/29/2028      3/
     7,844,915     '915 Patent Application Programming Interfaces for Scrolling Operations      1/7/2007          11/30/2010       8/12/2028      4/

     7,853,891     '891 Patent    Method and Apparatus for Displaying a Window for a User              2/1/2008   12/14/2010       3/14/2023      5/
                                  Interface
     7,864,163     '163 Patent    Portable Electronic Device, Method, and Graphical User               9/4/2007    1/4/2011        7/23/2029      6/
                                  Interface for Displaying Structured Electronic Documents

     7,920,129     '129 Patent    Double-Sided Touch-Sensitive Panel with Shield and Drive             1/3/2007    4/5/2011        1/23/2030      7/
                                  Combined Layer


Sources/Notes:
1/ Apple Inc. Amended Complaint, 6/16/11, Exhibits 2 to 8.
2/ In general, a (other than design) patent’s term begins on the date on which the patent is issued and ends 20 years from the date on which
   the application for the patent was filed in the United States. 35 U.S.C. 154 (a)(2)
3/ Certificate of Correction for US Patent No.7,663,607, dated 2/16/10, there is a Patent Term Adjustment of 1423 days.
4/ Issue Notification for US Patent No.7,844,915, dated 11/10/10, there is a Patent Term Adjustment of 583 days.
5/ Issue Notification for US Patent No.7,853,891, dated 11/23/10, there is a Patent Term Adjustment of 247 days.
6/ Issue Notification for US Patent No.7,864,163, dated 12/15/10, there is a Patent Term Adjustment of 688 days.
7/ Issue Notification for US Patent No.7,920,129, dated 3/16/11, there is a Patent Term Adjustment of 1116 days.
                                                                                                                                                           Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 156 of 245




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                                                      App e nc v Samsung E ectronics Co , LTD , et a                                                                               EXH B T 6



                                                        Apple's Asserted Design Patents 1/

    Patent No. Referenced As                  Title                                   Design                  File Date ssue Date      Expiration Date 2/
    D627,790    D'790 Patent Graphica User nterface for a Disp ay                                            8/20/2007 11/23/2010         11/23/2004
                             Screen or Portion Thereof




    D617,334      D'334 Patent   Graphica User nterface for a Disp ay                                        7/15/2008     6/8/2010        6/8/2024
                                 Screen or Portion Thereof




    D604,305      D'305 Patent   Graphica User nterface for a Disp ay                                        6/23/2007 11/17/2009         11/17/2023
                                 Screen or Portion Thereof




    D618,677      D'677 Patent   E ectronic Device                                                           11/18/2008 6/29/2010         6/29/2024




    D504,889      D'889 Patent   E ectronic Device                                                           3/17/2004    5/10/2005       5/10/2019




    D593,087      D'087 Patent   E ectronic Device                                                           7/30/2007    5/26/2009       5/26/2023




    D622,270      D'270 Patent   E ectronic Device                                                           10/1/2009    8/24/2010       8/24/2024
                                                                                                                                                                                                Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 157 of 245




Sources/Notes:
1/ App e nc Amended Comp aint, 6/16/11, Exhibits 9 to 15
2/ n genera , a design patent’s term begins on the date on which the patent is granted and ends 14 years from that date 35 U S C 173
   (http //www uspto gov/web/offices/pac/mpep/conso idated_ aws pdf)


                                                                                                                                                   Submitted Under Sea ; High y Confidentia ;
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                                   App e nc. v. Samsung E ectron cs Co., LTD., et a .                                                           EXHIBIT 7


                               Apple's Asserted Trade Dress Registrations 1/

    U.S. Registration No.            Mark                    Filing Date        Registration Date  Expiration Date 2/
          3,470,983                                          10/12/2007            7/22/2008      7/22/2018, subject to
                                                                                                        renewa .




         3,457,218                                           10/12/2007             7/1/2008       7/1/2018, subject to
                                                                                                        renewa .



         3,475,327                                           10/12/2007            7/29/2008      7/29/2018, subject to
                                                                                                        renewa .




Sources/Notes:
1/ App e nc. Amended Comp a nt, 6/16/11, Exh b ts 16 to 18.
2/ Federa trademark reg strat ons ssued on or after 11/6/1989 rema n n force for 10 years, and may be renewed for 10-
   year per ods (http://www.uspto.gov/trademarks/process/ma nta n/prfaq.jsp).
                                                                                                                                                             Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 158 of 245




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                                              Prepared by nvotex Group                                                       Outs de Counse Eyes On y
                                           App e nc. v. Samsung E ectronics Co., LTD., et a .                                                          EXHIBIT 8




                              Apple s Asserted Unregistered Trade Dress and Trademark

                                       Name                  Trade Dress 1/              Release Date
                                      iPhone                                              6/29/2007
                                                                                              3/




                                     iPhone 3G                                            7/11/2008
                                                                                              4/




                                      iPhone 4                                            6/24/2010
                                                                                              5/




                                iPhone / iPhone 3G /                                      6/29/2007
                                     iPhone 4                                                 3/




                                  iPad and iPad 2                                          4/3/2010
                                                                                              6/




                                       Name                  Trademark 2/                 Filing Date
                                Purp e iTunes Store                                       5/18/2010
                                    Common Law
                                     Trademark
                                 ('85/041,463 App.
                                      Pending)




Sources/Notes
1/ App e nc. Amended Comp aint, 6/16/11, pp. 18-21.
2/ App e nc. Amended Comp aint, 6/16/11, Exhibit 29.
3/ App e nc. Press Re ease, 6/28/07
   (http //www.app e.com/pr/ ibrary/2007/06/28iPhone-Premieres-This-Friday-Night-at-App e-Retai -Stores.htm ).
4/ App e nc. Press Re ease, 7/10/08
                                                                                                                                                                    Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 159 of 245




    (http //www.app e.com/pr/ ibrary/2008/07/10iPhone-3G-on-Sa e-Tomorrow.htm ).
5/ App e nc. Press Re ease, 6/7/10
   (http //www.app e.com/pr/ ibrary/2010/06/07App e-Presents-iPhone-4.htm ).
6/ App e nc. Press Re ease, 3/5/10 (http //www.app e.com/pr/ ibrary/2010/03/05iPad-Avai ab e-in-US-on-Apri -3.htm ).



                                                                                                                       Submitted Under Sea ; High y Confidentia ;
                                                       Prepared by nvotex Group                                                     Outside Counse Eyes' On y
                                App e nc v Samsung E ectron cs Co , LTD , et a                                                                    EXHIBIT 9


                            Apple's Asserted Trademark Registrations 1/

    U.S. Registration No.          Mark               Filing Date      Registration Date  Expiration Date 2/
          3,886,196                                   4/21/2010           12/7/2010      12/7/2020, subject to
                                                                                               renewa




         3,889,642                                     4/21/2010          12/14/2010       12/14/2020, subject
                                                                                               to renewa




         3,886,200                                     4/21/2010           12/7/2010      12/7/2020, subject to
                                                                                                renewa




         3,889,685                                     4/21/2010          12/14/2010       12/14/2020, subject
                                                                                               to renewa




         3,886,169                                     4/21/2010           12/7/2010      12/7/2020, subject to
                                                                                                renewa




         3,886,197                                     4/21/2010           12/7/2010      12/7/2020, subject to
                                                                                                renewa




         2,935,038                                     3/11/2004           3/22/2005      3/22/2015, subject to
                                                                                                renewa




Sources/Notes:
                                                                                                                                                               Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 160 of 245




1/ App e nc Amended Comp a nt, 6/16/11, Exh b ts 23 to 28 and 30
2/ Federa trademark reg strat ons ssued on or after 11/6/1989 rema n n force for 10 years, and may be renewed
   for 10-year per ods (http://www uspto gov/trademarks/process/ma nta n/prfaq jsp)


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                                           Prepared by nvotex Group                                                             Outs de Counse Eyes On y
                                                               App e Inc. v. Samsung E ectronics Co., LTD., et a .                                                       EXHIBIT 10


                                                             Summary of Samsung Accused Products
 # Accused Products 1/                  Model No. 1/                                     Model No. per Samsung Sales Data 2/                                     Carrier 3/
 1 Acc a m                            SCH-R880          Acc a m (SCH-R880)                                                                                      US Ce u ar
 2 Capt vate                          SGH- 897          Capt vate (SGH- 897)                                                                                       AT&T
 3 Cont nuum                          SCH- 400          Cont nuum (SCH- 400)                                                                                      Ver zon
 4 Dro d Charge                       SCH- 510          Dro d Charge (SCH- 510)                                                                                   Ver zon
 5 Ep c 4G                            SPH-D700          Ep c 4G (SPH-D700)                                                                                         Spr nt
 6 Exh b t 4G                         SGH-T759          Exh b t 4G (SGH-T759)                                                                                    T-Mob e
 7 Fasc nate                          SCH- 500          Fasc nate (SCH- 500)                                                                                      Ver zon
 8 Ga axy Ace                         GT-S5830          Ga axy Ace (GT-S5830, GT-S5838, SCH- 579, SCH- 589, SHW-M240S)                                              n/a
 9 Ga axy Preva                       SPH-M820          Ga axy Preva (SPH-M820)                                                                                    Spr nt
10 Ga axy S ( 9000)                   GT- 9000          Ga axy S ( 9000) (GT- 9000, GT- 9001, GT- 9008, GT- 9018, SCH- 909, SGH-N013, SHW-M110S)                    n/a
11 Ga axy S 4G                        SGH-T959          Ga axy S 4G (SGH-T959)                                                                                   T-Mob e
12 Ga axy S (AT&T)                    SGH- 777          Ga axy S /2 (GT- 9100, GT- 9108, SGH- 177, SGH-N033, SHW-M250K, SHW-M250S)                                 AT&T
13 Ga axy S ( 9100)                   GT- 9100          4/                                                                                                           6/
14 Ga axy S (T-Mob e)                 SGH-T989          Hercu es (SGH-T989)                                                                                      T-Mob e
15 Ga axy S (Ep c 4G Touch)           SPH-D710          5/                                                                                                           5/
16 Ga axy S (Skyrocket)               SGH- 727          5/                                                                                                           5/
17 Ga axy S Showcase ( 500)           SCH- 500          Showcase (SCH- 500)                                                                                       Gener c
18 Ga axy Tab                         P1, P2            Ga axy Tab 7.0 (P1, P2)                                                                                      5/
19 Ga axy Tab 10.1 (W F )             GT-P7510          Ga axy Tab 10.1 (GT-P7510, GT-P7511, SHW-M380W)                                                              5/
20 Ga axy Tab 10.1 (4G LTE)           SCH- 905          5/                                                                                                           5/
21 Gem                                SCH- 100          Gem (SCH- 100)                                                                                            Gener c
22 Grav ty Smart                      SGH-T589          Grav ty (SGH-T589)                                                                                       T-Mob e
23 ndu ge                             SCH-R910           ndu ge (SCH-R910)                                                                                   MetroPCS & Cr cket
24 nfuse 4G                           SGH- 997           nfuse 4G (SGH- 997)                                                                                       AT&T
25 ntercept                           SPH-M910           ntercept (SPH-M910)                                                                                       Spr nt
26 Mesmer ze                          SCH- 500          Mesmer ze (SCH- 500)                                                                                    US Ce u ar
27 Nexus S                            GT- 9020          Nexus S (GT- 9020, GT- 9023, SHW-M200K, SHW-M200S)                                                       T-Mob e
28 Nexus S 4G                         SPH-D720          Nexus S 4G (SPH-D720)                                                                                      Spr nt
29 Rep en sh                          SPH-M580          Rep en sh (SPH-M580)                                                                                       Spr nt
30 S dek ck                           SGH-T839          S dek ck (SGH-T839)                                                                                      T-Mob e
31 Transform                          SPH-M920          Transform (SPH-M920)                                                                                       Spr nt
32 V brant                            SGH-T959          V brant (SGH-T959)                                                                                       T-Mob e


Source/Notes:
1/ D scuss on w th Counse .
2/ SAMNDCA00372946 - 3138.
3/ Dec arat on of T mothy Sheppard n Support of Samsung s Oppos t on to App e s Mot on for Ru e 37 (b)(2) Sanct ons for Samsung s A eged V o at on of January 27, 2012 Damages
   D scovery Order, Exh b t D.
                                                                                                                                                                                      Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 161 of 245




4/ Ga axy S (AT&T ed t on, 4G) s mode number s sted w th n the Ga axy S ( 9100) n Samsung s f nanc a data. have counted sa es through STA and SEA as sa es of the Ga axy S
   (AT&T ed t on, 4G) because understand that the 9100 mode s not so d n the U.S. and a other mode s sted were not found on Samsung’s North Amer ca Web S te.
5/ No data was prov ded.
6/ Dec arat on of T mothy Sheppard, Exh b t D, the Ga axy S 2 w th SKU GT- 9100 was sted as hav ng carr er T-Mob e for mode number T989 and AT&T for mode number 777.

                                                                                                                                        Submitted Under Sea ; High y Confidentia ;
                                                                          Prepared by Invotex Group                                                  Outside Counse Eyes On y
                                                         Apple Inc. v. Samsung Electronics Co., LTD., et al.                                           EXHIBIT 11



                                                U.S. Smartphone Market Shares

                      100%                                                                                                                     25,000,000


                      90%


                      80%                                                                                                                      20,000,000


                      70%


                      60%                                                                                                                      15,000,000


                      50%




       Market Share
                                                                                                                                                            Units Shipped




                      40%                                                                                                                      10,000,000


                      30%


                      20%                                                                                                                      5,000,000


                      10%


                       0%                                                                                                                      0
                             2010 Q2        2010 Q3        2010 Q4          2011 Q1          2011 Q2           2011 Q3           2011 Q4

                                 Samsung Units Shipped       Apple Units Shipped        Samsung Market Share             Apple Market Share
                                                                                                                                                                            Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 162 of 245




Source: See Exh b t 11.1.


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                                                    Apple nc. v. Samsung Electronics Co., LTD., et al.                                                                        EXHIBIT 11.1




                                           U.S. Smartphone Shipments and Market Share

   2010 Q2              2010 Q3                 2010 Q4                              2011 Q1                 2011 Q2                2011 Q3                         2011 Q4
             Market               Market                      Market                            Market                 Market                 Market                           Market
Units        Share    Units       Share     Units             Share               Units         Share    Units         Share    Units         Share            Units           Share
                                                                                                                                                                                              Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 163 of 245




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                            Apple Inc. v. Samsung Electronics Co., LTD., et al.                                 EXHIBIT 12
                                                                                                                               Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 164 of 245




Source: See Exhibit 12.1.


                                                                                  Submitted Under Seal; Highly Confidential;
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                                              Apple nc. v. Samsung Electronics Co., LTD., et al.                                                                       EXHIBIT 12.1




                                      U.S. Mobile Phone Shipments and Market Share
                                                                (In Units)

                                          ACTUAL 1/                                                                     PROJECTIONS 2/
Device Type                                                                                                                                                           Total
              2004   2005   2006   2007               2008            2009              2010           2011   2012   2013           2014           2015




                                                                                                   .
                                                                                                                                                                                        Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 165 of 245




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                                                           Apple Inc. v. Samsung Electronics Co., LTD., et al.                                                      EXHIBIT 13



                                                       U.S. Media Tablet Market Shares

                           100%                                                                                                         6,000,000


                           90%

                                                                                                                                        5,000,000
                           80%


                           70%
                                                                                                                                        4,000,000

                           60%


                           50%                                                                                                          3,000,000




            Market Share
                                                                                                                                                    Units Shipped




                           40%

                                                                                                                                        2,000,000
                           30%


                           20%
                                                                                                                                        1,000,000

                           10%


                            0%                                                                                                          0
                                  2010 Q2       2010 Q3       2010 Q4         2011 Q1        2011 Q2         2011 Q3       2011 Q4

                                   Samsung Units Shipped       Apple Units Shipped         Samsung Market Share        Apple Market Share
                                                                                                                                                                                 Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 166 of 245




Source: See Exh b t 13.1.



                                                                                                                       Submitted Under Seal; Highly Confidential;
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App e nc v Samsung E ectronics Co , LTD , et a                                EXHIBIT 13.1
                                                                                              Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 167 of 245




                                                 Submitted Under Sea ; High y Confidentia ;
          Prepared by nvotex Group                            Outside Counse Eyes On y
                                     Apple Inc. v. Samsung Electronics Co., LTD., et al.                                         EXHIBIT 14


                             Intellectual Property Damage Types By Form Of IP


                                                 Patent                         Trademark         Copyright     Trade Secret
                                 Utility          Plant
                                 Patent          Patent      Design Patent

Lost Profits                       ;               ;                ;               ;                ;               ;
Price Erosion                      ;               ;                ;               ;                ;               ;
Corrective Advertising                                                              ;
Unjust Enrichment                                                   ;               ;                ;               ;
Reasonable Royalty                 ;               ;                ;               ;                ;               ;
Decrease in Value                                                                   ;                ;               ;
Statutory                                                                           ;                ;


Source: AICPA Practice Aid 06-1 - Calculating Intellectual Property Infringement Damages, p.20.
                                                                                                                                                Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 168 of 245




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                                                Prepared by Invotex Group                                       Outside Counsel Eyes' Only
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                                               Apple Inc. v. Samsung Electronics Co., LTD., et al.                                     EXHIBIT 15


                                        Identification of Appropriate Forms of Damages

                                                                                    Form of Damages
    IP Type        Patent/Registration No.           Lost Profits                   Infringer's Profits                 Reasonable Royalty
                                             Smartphones        Tablets        Smartphones        Tablets          Smartphones       Tablets
                         6,493,002                n/a              n/a             n/a 1/              n/a 1/       Calculated      Calculated
                         7,469,381            Calculated       Calculated          n/a 1/              n/a 1/       Calculated      Calculated
                         7,663,607               n/a 2/        Calculated          n/a 1/              n/a 1/          n/a 2/       Calculated
 Utility Patents         7,844,915            Calculated       Calculated          n/a 1/              n/a 1/       Calculated      Calculated
                         7,853,891                n/a              n/a             n/a 1/              n/a 1/       Calculated      Calculated
                         7,864,163            Calculated       Calculated          n/a 1/              n/a 1/       Calculated      Calculated
                         7,920,129               n/a 2/            n/a             n/a 1/              n/a 1/          n/a 2/       Calculated

                          D627,790                n/a              n/a          Calculated             n/a 3/       Calculated          n/a 3/
                          D617,334                n/a              n/a          Calculated             n/a 3/       Calculated          n/a 3/
                          D604,305                n/a              n/a          Calculated             n/a 3/       Calculated          n/a 3/
 Design Patents           D618,677            Calculated          n/a 3/        Calculated             n/a 3/       Calculated          n/a 3/
                          D504,889               n/a 2/        Calculated           n/a 2/           Calculated        n/a 2/        Calculated
                          D593,087            Calculated          n/a 3/        Calculated             n/a 3/       Calculated          n/a 3/
                          D622,270            Calculated          n/a 3/        Calculated             n/a 3/       Calculated          n/a 3/


                            iPhone            Calculated          n/a 3/        Calculated             n/a 3/       Calculated          n/a 3/
                          iPhone 3G           Calculated          n/a 3/        Calculated             n/a 3/       Calculated          n/a 3/
                           iPhone 4           Calculated          n/a 3/        Calculated             n/a 3/       Calculated          n/a 3/
                    iPhone / iPhone 3G /
  Trade Dress              iPhone4            Calculated          n/a 3/        Calculated             n/a 3/       Calculated          n/a 3/
                       iPad and iPad 2           n/a 2/        Calculated           n/a 2/           Calculated        n/a 2/        Calculated
                          3,470,983           Calculated          n/a 3/        Calculated             n/a 3/       Calculated          n/a 3/
                          3,457,218           Calculated          n/a 3/        Calculated             n/a 3/       Calculated          n/a 3/
                          3,475,327           Calculated          n/a 3/        Calculated             n/a 3/       Calculated          n/a 3/


                         3,886,196               n/a 4/           n/a 4/        Calculated           Calculated     Calculated       Calculated
                         3,889,642               n/a 4/           n/a 4/        Calculated           Calculated     Calculated       Calculated
                         3,886,200               n/a 4/           n/a 4/        Calculated           Calculated     Calculated       Calculated
                         3,889,685               n/a 4/           n/a 4/        Calculated           Calculated     Calculated       Calculated
  Trademarks
                         3,886,169               n/a 4/           n/a 4/        Calculated           Calculated     Calculated       Calculated
                         3,886,197               n/a 4/           n/a 4/        Calculated           Calculated     Calculated       Calculated
                         2,935,038               n/a 4/           n/a 4/        Calculated           Calculated     Calculated       Calculated
                    85/041,463 (Pending)         n/a 4/           n/a 4/        Calculated           Calculated     Calculated       Calculated


Sources/Notes:
1/ Form of intellectual property is not appropriate for the damages remedy.
2/ Intellectual property relevant to tablets only.
3/ Intellectual property relevant to smartphones only.
4/ Not a form of damages claimed by Apple regarding certain Trademarks.




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                  Sequential Consideration & Application of the Various Forms of IP Remedy
                            Apple Intellectual Property: Patent A, Patent B, and Trade Dress C
                          Samsung Accused Products: 10 units of a Smartphone named Captivate

 Samsung                                                    4 Samsung
                                Apple lost
Smartphone                                                 units qualify         X                                     =          $1000
                                profits on
 Captivate                                                for Apple Lost
                              accused units
  10 units                                                    Profits


                        6 Remaining Accused Units



                                                             2 Samsung                         Samsung
                              Samsung                       units qualify                      operating
                            Operating Profit                                     X                                     =           $240
                                                            for Infringer                        profit
                                                               Profits                           $120


                    4 Remaining Accused Products

                                                                                                  Patent A
                                                                                              Per Unit Royalty : $1
                       Reasonable Royalty on                 4 Samsung                            Patent B
                              Patent A                      units qualify                     Per Unit Royalty : $2
                       Reasonable Royalty on                                     X                                     =           $24
                                                                 for                           Trade Dress C
                              Patent B                      Reasonable                        Per Unit Royalty : $3
                       Reasonable Royalty on                  Royalties                                  Total : $6
                           Trade Dress C
                                                                                                                                                      Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 170 of 245




             Note: All amounts portrayed are for demonstration purposes only.                                    Total Damages = $1264
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                                    Samsung Per Product Damages
             (Lost Profits, Infringer's Profits [Revenue], and Reasonable Royalty)

           Product              Lost Profits             Infringer's Profits              Reasonable              Total
                                     1/        Design, Trade Dress, and Trademark 2/       Royalty 2/
  Acclaim                                                                                      $0
  Captivate                                                                                    $0
  Continuum                                                                                    $0
  Droid Charge                                                                                 $0
  Epic 4G                                                                                      $0
  Exhibit 4G                                                                                   $0
  Fascinate                                                                                    $0
  Galaxy Ace                                                                                   $0
  Galaxy Prevail                                                                               $0
  Galaxy S (i9000)                                                                             $0
  Galaxy S 4G                                                                                  $0
  Galaxy S II (AT&T)                                                                           $0
  Galaxy S II (Epic 4G Touch)                                                                  $0
  Galaxy S II (i9100)                                                                          $0
  Galaxy S II (Skyrocket)                                                                      $0
  Galaxy S II (TMobile)                                                                       $0
  Galaxy S Showcase (i500)                                                                     $0
  Galaxy Tab                                                                                   $0
  Galaxy Tab 10.1 (4G LTE)                                                                     $0
  Galaxy Tab 10.1 (WiFi)                                                                       $0
  Gem                                                                                          $0
  Gravity Smart                                                                                $0
  Indulge                                                                                      $0
  Infuse 4G                                                                                    $0
  Intercept                                                                                    $0
  Mesmerize                                                                                    $0
  Nexus S                                                                                      $0
  Nexus S 4G                                                                                   $0
  Replenish                                                                                    $0
  Sidekick                                                                                     $0
  Transform                                                                                    $0
  Vibrant                                                                                      $0
       Total                                                                                   $0


Sources/Notes:
1/ Exhibit 17.2
2/ Exhibit 17.3




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                                   Samsung Per Product Damages
           (Lost Profits, Infringer's Profits [Gross Profit], and Reasonable Royalty)

           Product              Lost Profits             Infringer's Profits              Reasonable              Total
                                     1/        Design, Trade Dress, and Trademark 2/       Royalty 2/
  Acclaim                         $1,049,129              $31,372,471                           $0               $32,421,600
  Captivate                     $204,416,141              $80,875,136                           $0              $285,291,277
  Continuum                       $6,981,279              $38,386,818                           $0               $45,368,096
  Droid Charge                   $37,618,271              $92,670,269                           $0             $130,288,540
  Epic 4G                        $31,296,962             $297,752,798                           $0              $329,049,761
  Exhibit 4G                              $0              $19,566,880                           $0               $19,566,880
  Fascinate                      $47,828,264             $239,505,666                           $0              $287,333,930
  Galaxy Ace                              $0                       $0                           $0                        $0
  Galaxy Prevail                  $8,573,370              $96,079,988                           $0             $104,653,359
  Galaxy S (i9000)                        $0                       $0                           $0                        $0
  Galaxy S 4G                    $13,884,674             $126,076,701                           $0              $139,961,375
  Galaxy S II (AT&T)                      $0              $76,846,200                           $0               $76,846,200
  Galaxy S II (Epic 4G Touch)                                                                   $0                        $0
  Galaxy S II (i9100)                                                                           $0                        $0
  Galaxy S II (Skyrocket)                                                                       $0                        $0
  Galaxy S II (TMobile)                  $0              $68,344,562                           $0               $68,344,562
  Galaxy S Showcase (i500)        $2,780,133              $37,192,297                           $0               $39,972,430
  Galaxy Tab                     $50,313,041              $51,108,617                           $0             $101,421,658
  Galaxy Tab 10.1 (4G LTE)                                                                      $0                        $0
  Galaxy Tab 10.1 (WiFi)         $56,350,254               $8,198,340                           $0               $64,548,594
  Gem                             $4,779,357               $9,811,925                           $0               $14,591,282
  Gravity Smart                           $0              $26,113,063                           $0               $26,113,063
  Indulge                         $4,009,197              $37,984,786                           $0               $41,993,983
  Infuse 4G                      $44,404,466              $84,869,200                           $0              $129,273,666
  Intercept                       $9,602,429              $83,462,550                           $0               $93,064,978
  Mesmerize                       $9,687,923              $98,299,253                           $0             $107,987,176
  Nexus S                         $2,094,937              $17,602,613                           $0               $19,697,550
  Nexus S 4G                      $9,126,938              $65,896,359                           $0               $75,023,297
  Replenish                       $7,266,720              $35,197,870                           $0               $42,464,591
  Sidekick                        $4,088,016              $48,929,677                           $0               $53,017,693
  Transform                       $7,863,653              $60,379,886                           $0               $68,243,539
  Vibrant                        $19,175,967             $176,470,222                           $0              $195,646,189
       Total                    $583,191,122           $2,008,994,149                           $0            $2,592,185,271



Sources/Notes:
1/ Exhibit 17.2
2/ Exhibit 17.4




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                                                                                                                            AppleInc.v.SamsungElectronicsCo.,LTD.,etal.                                                                                                                        EXHIBIT17.2
Lost Profits Summary
                                                                                   2010                                                                                                                                 2011
                           MayJuneJulyAugSeptOctNovDec JanFebMarAprMayJuneJulyAugSeptOctNovDec Total
TotalUnitsSoldSmartphones1/ 0 124,940 742,962 735,760 1,193,060 1,171,774 705,696 448,298 621,734 674,366 702,374 1,318,814 1,742,377 1,636,644 1,211,086 1,027,345 710,826 895,758 927,137 493,878 17,084,829

 Acclaim                                         0           0          0            0             0            0           26          770          258            8        1,094        1,052            0             0            0            0            0            0            0            0        3,208
 Captivate                                       0           0    133,351      130,335        74,422       76,530       19,595       67,548       56,689       53,389       28,997       22,885       14,296             0            0            0            0            0            0            0      678,037
 Continuum                                       0           0          0            0             0          119        5,226        3,342           19            0        2,788        4,034        6,064             0            0            0            0            0            0            0       21,592
 DroidCharge                                    0           0          0            0             0            0            0            0            0            0            0       75,547       35,697             0            0            0            0            0            0            0      111,244
 Epic4G                                         0           0          1       15,227        11,125        8,039        7,777          672       11,043        6,821       12,969        8,967       16,368             0            0            0            0            0            0            0       99,009
 Exhibit4G                                      0           0          0            0             0            0            0            0            0            0            0            0            0             0            0            0            0            0            0            0            0
 Fascinate                                       0           0          0        3,472        34,715       16,518        4,090        3,733        9,053        2,707       17,767       43,117       15,412             0            0            0            0            0            0            0      150,584
 GalaxyAce                                      0           0          0            0             0            0            0            0            0            0            0            0            0             0            0            0            0            0            0            0            0
 GalaxyPrevail                                  0           0          0            0             0            0            0            0            0            0            0        7,894       17,459             0            0            0            0            0            0            0       25,353
 GalaxyS(i9000)                                0           0          0            0             0            0            0            0            0            0            0            0            0             0            0            0            0            0            0            0            0
 GalaxyS4G                                     0           0          0            0             0            0            0            0            0       17,472       12,199       10,701        1,192             0            0            0            0            0            0            0       41,564
 GalaxySII(AT&T)                              0           0          0            0             0            0            0            0            0            0            0            0            0             0            0            0            0            0            0            0            0
 GalaxySII(Epic4GTouch)
 GalaxySII(i9100)
 GalaxySII(Skyrocket)
 GalaxySII(TMobile)                          0          0           0            0            0            0             0            0           0            0            0            0             0             0            0            0            0            0            0            0            0
 GalaxySShowcase(i500)                        0          0           0            0            0            0           795          781       1,132          890        1,182        1,904         1,755             0            0            0            0            0            0            0        8,439
 Gem                                             0          0           0            0            0            0             0            0       1,503        1,362        5,285        4,207         1,915             0            0            0            0            0            0            0       14,272
 GravitySmart                                   0          0           0            0            0            0             0            0           0            0            0            0             0             0            0            0            0            0            0            0            0
 Indulge                                         0          0           0            0            0            0             0            0           0        8,097        3,964            0             0             0            0            0            0            0            0            0       12,061
 Infuse4G                                       0          0           0            0            0            0             0            0           0            0            0        2,759       128,553             0            0            0            0            0            0            0      131,312
 Intercept                                       0      4,255           0            0            0            0           143        2,531       6,020        4,312        3,147        3,125         5,347             0            0            0            0            0            0            0       28,880
 Mesmerize                                       0          0           0            0            0        1,633         3,443          912       3,958        3,779        4,797        6,632         4,328             0            0            0            0            0            0            0       29,482
 NexusS                                         0          0           0            0            0            0             0        2,803         944          260        2,542            0             0             0            0            0            0            0            0            0        6,549
 NexusS4G                                      0          0           0            0            0            0             0            0           0            0            0        6,044        20,946             0            0            0            0            0            0            0       26,990
 Replenish                                       0          0           0            0            0            0             0            0           0            0            0        6,171        15,318             0            0            0            0            0            0            0       21,489
 Sidekick                                        0          0           0            0            0            0             0            0           0            0            0        9,129         2,960             0            0            0            0            0            0            0       12,089
 Transform                                       0          0           0            0            0            0            84          782       7,719        5,502        2,664        3,748         3,115             0            0            0            0            0            0            0       23,614
 Vibrant                                         0        315      23,427        7,659       13,688       10,868         4,865          919       2,677           83          664          118           386             0            0            0            0            0            0            0       65,669
TotalUnitsEligibleforLP                      0      4,570     156,779      156,693      133,950      113,707        46,044       84,793     101,015      104,682      100,059      218,034       291,111             0            0            0            0            0            0            0    1,511,437


       BeginningCapacity
     Add'lExcessCapacity2/
            TotalCapacity

ActualUnitsEligibleforLP                     0      4,570     156,779      156,693      133,950      113,707        46,044       84,793     101,015      104,682      100,059      218,034       291,111             0            0            0            0            0            0            0    1,511,437


               EndingCapacity

AppleIncrem.Margin/Unit($)3/
LostProfits($)
UnitsAvail.forOtherRemedies                  0   120,370      586,183      579,067    1,059,110    1,058,067      659,652      363,505      520,719      569,684      602,315     1,100,780    1,451,266    1,636,644    1,211,086    1,027,345      710,826      895,758      927,137      493,878    15,573,392
                                                                                                                                                                                                                                                                                                                    Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 173 of 245




                                                                                                                                              PreparedbyInvotexGroup                                                                                                    SubmittedUnderSeal;HighlyConfidential;
                                                                                                                                                     Page1of2                                                                                                                        OutsideCounselEyes’Only
                                                                             2010                                                                                                    2011
                                  May     June          Ju y       Aug         Sept       Oct         Nov      Dec          Jan       Feb          Mar      Apr      May      June          Ju y       Aug       Sept         Oct        Nov          Dec        Total
Total Units Sold  Tablets 1/         0          0             0     0                0     220      236,465   25,414      33,372     17,799       25,815   51,648   37,626   176,678        93,692    81,398    50,226     159,538     99,545       56,207     1,145,643

 Ga axy Tab                           0          0             0         0            0     174      187,526   20,154      24,443      13,037      18,908   38,489   23,836          0             0         0          0           0          0            0    326,567
 Ga axy Tab 10 1 (4G LTE)
 Ga axy Tab 10 1 (WiFi)               0          0             0         0            0       0            0        0           0           0           0        0    4,203    95,059        23,618    30,019    28,140      70,820      55,033      34,638      341,530
Total Units Eligible for LP           0          0             0         0            0     174      187,526   20,154      24,443      13,037      18,908   38,489   28,039    95,059        23,618    30,019    28,140      70,820      55,033      34,638      668,097


      Beginning Capacity
    Add'l Excess Capacity 2/
           Total Capacity

Actual Units Eligible for LP          0          0             0         0            0     174      187,526   20,154      24,443      13,037      18,908   38,489   28,039    95,059        23,618    30,019    28,140      70,820      55,033      34,638      668,097


            Ending Capacity

Apple Increm. Margin/Unit ($) 3/
Lost Profits ($)
Units Avail. for Other Remedies       0          0             0         0            0         46    48,939    5,260        8,929      4,762       6,907   13,159    9,587    81,619        70,074    51,379    22,086      88,718      44,512      21,569      477,546




                                                                                                                                                                                                                            Total Lost Profits ($)        583,191,122



Sources/Notes:
1/ Smartphones  Exh b t 37 1, Tab ets  Exh b t 38 1
2/ Smartphones  Exh b t 26, Tab ets  Exh b t 27
3/ Smartphones  Exh b t 32, Tab ets  Exh b t 33
                                                                                                                                                                                                                                                                       Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 174 of 245




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                                                                 Apple Inc. v. Samsung Electronics Co., LTD., et al.                                                                     EXHIBIT 17.4

Infringer's Profits (Gross Profit) and Reasonable Royalty Summary  for Units not Eligible for Lost Profits
In USD
                                                                        2010                                                       2010                                 2011
Infringer's Profits             May        June         July         Aug     Sept              Oct          Nov          Dec       Total            Jan           Feb           Mar          Apr
  Acc a m                         0    6,500,476   11,396,227    3,801,962    4,085,462    1,217,807    1,734,695    1,480,080    30,216,710     270,223                0      430,487      455,051
  Capt vate                       0            0   10,780,406   10,599,843    6,526,986    7,869,619    1,960,753    6,601,250    44,338,857    6,101,154      5,600,294     2,161,973     2,259,213
  Cont nuum                       0            0            0            0            0      410,618   18,792,918    9,909,441    29,112,977      357,156              0       783,221       190,684
  Dro d Charge                    0            0            0            0            0            0            0            0             0            0              0             0    25,524,401
  Ep c 4G                         0            0     577,938   41,338,222   31,937,205   32,926,803   31,502,277      865,172   137,991,741   23,377,966     12,753,721    26,371,254    15,245,395
  Exh b t 4G                      0            0            0            0            0            0            0            0             0            0              0             0             0
  Fasc nate                       0            0            0    8,917,834   89,229,196   63,893,666   15,231,014   12,604,032   189,875,742   19,148,951        160,641    11,632,399     9,196,045
  Ga axy Ace                      0            0            0            0            0            0            0            0             0            0              0             0             0
  Ga axy Preva                    0            0            0            0            0            0            0            0             0            0              0             0     6,702,659
  Ga axy S ( 9000)                0            0            0            0            0            0            0            0             0            0              0             0             0
  Ga axy S 4G                     0            0            0            0            0            0            0            0             0            0     35,300,326    20,361,134    16,500,961
  Ga axy S II (AT&T)              0            0            0            0            0            0            0            0             0              0             0            0             0
  Ga axy S II (Ep c 4G Touch)
  Ga axy S II ( 9100)
  Ga axy S II (Skyrocket)
  Ga axy S II (TMob e)           0            0            0            0            0            0            0            0             0            0              0             0             0
  Ga axy S Showcase ( 500)        0            0            0            0            0            0    3,683,315    3,187,233     6,870,548    3,061,488      2,343,723     1,942,621     3,423,368
  Ga axy Tab                      0            0            0            0            0        9,719   12,016,666      837,399    12,863,785    1,113,265       391,421        84,022     1,504,466
  Ga axy Tab 10.1 (4G LTE)
  Ga axy Tab 10.1 (W F )          0            0            0            0            0            0            0            0             0           0              0              0             0
  Gem                             0            0            0            0            0            0            0            0             0     778,689        395,345      1,328,889     1,194,749
  Grav ty Smart                   0            0            0            0            0            0            0            0             0           0              0              0             0
  Indu ge                         0            0            0            0            0            0            0            0             0            0     14,874,690     7,428,808             0
  Infuse 4G                       0            0            0            0            0            0            0            0             0            0              0             0       396,253
  Intercept                       0    6,517,328   11,067,240   10,292,489   12,901,024   13,134,864    5,280,518    3,252,608    62,446,072    4,308,675      1,798,640     1,691,977     1,657,200
  Mesmer ze                       0            0            0            0            0    7,222,972   14,737,092    3,594,899    25,554,962    8,932,216      7,973,523     9,345,494    12,418,533
  Nexus S                         0            0            0            0            0            0            0   10,228,979    10,228,979    1,865,109        593,699     4,378,935           548
  Nexus S 4G                      0            0            0            0            0            0            0            0             0            0              0             0    11,268,074
  Rep en sh                       0            0            0            0            0            0            0            0             0            0              0             0     4,852,866
  S dek ck                        0            0            0            0            0            0            0            0             0            0              0             0    13,508,240
  Transform                       0            0            0            0    4,859,299   15,208,770    4,759,712      343,102    25,170,883    7,423,339      3,598,919    9,763,914     3,160,004
  V brant                         0    1,090,243   57,735,823   18,439,573   35,496,073   39,391,330   16,498,113    2,710,959   171,362,114    4,690,633       255,626       623,097        50,004
                                  0   14,108,047   90,401,757   93,389,924 185,035,247 181,286,167 126,197,073      55,615,154   746,033,370   81,428,863     84,746,475    78,800,398 129,508,712

Reasonable Royalty
  No Products Ava ab e            0           0            0            0            0            0            0            0              0           0                0           0              0
                                                                                                                                                                                                        Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 177 of 245




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                                                                                 2011                                                             2011
                                    May          June           July           Aug          Sept             Oct         Nov          Dec         Total          Total
Infringer's Profits
  Acc a m                                 0             0              0            0              0             0            0             0     1,155,761     31,372,471
  Capt vate                         574,060    6,442,534     4,063,833      4,808,780      979,925       1,227,924    1,418,461      898,129     36,536,279     80,875,136
  Cont nuum                         880,921    3,825,028     1,913,855        783,674      539,302               0            0            0      9,273,840     38,386,818
  Dro d Charge                   13,183,263   25,297,905    14,709,457      8,972,669            0               0    2,768,213    2,214,361     92,670,269     92,670,269
  Ep c 4G                        34,627,580   26,056,595    10,256,917              0            0       2,747,648    5,415,098    2,908,882    159,761,057    297,752,798
  Exh b t 4G                              0   10,306,375     1,729,721      4,103,189    2,714,088         713,507            0            0     19,566,880     19,566,880
  Fasc nate                       3,278,102    2,756,803     2,834,980        622,004            0               0            0            0     49,629,924    239,505,666
  Ga axy Ace                              0            0             0              0            0               0            0            0              0              0
  Ga axy Preva                   16,212,990   20,879,886    19,244,321     13,597,526     438,692       6,807,028   10,289,698    2,784,573     96,079,988     96,079,988
  Ga axy S ( 9000)                        0            0             0              0            0               0            0            0              0              0
  Ga axy S 4G                       734,739    8,336,839     7,773,465     12,308,353    4,776,265       3,360,343    5,874,356   10,749,920    126,076,701    126,076,701
  Ga axy S II (AT&T)                      0             0              0            0   22,579,558      33,849,096   18,219,834    2,197,712     76,846,200     76,846,200
  Ga axy S II (Ep c 4G Touch)
  Ga axy S II ( 9100)
  Ga axy S II (Skyrocket)
  Ga axy S II (TMob e)                   0            0             0              0            0      42,655,944   10,645,628   15,042,990     68,344,562     68,344,562
  Ga axy S Showcase ( 500)        3,646,881    4,346,237     2,999,189      4,246,439    1,195,746         344,614    2,771,442            0     30,321,749     37,192,297
  Ga axy Tab                        312,509   13,478,828     5,367,259      3,594,607      979,432       9,241,116    1,953,823    1,006,926     38,244,833     51,108,617
  Ga axy Tab 10.1 (4G LTE)
  Ga axy Tab 10.1 (W F )            13,294     1,837,668       585,855        681,568    1,325,155       2,148,721    1,310,983     295,097       8,198,340      8,198,340
  Gem                              666,646     2,026,413     1,112,800        780,596      705,004         729,175       93,617           0       9,811,925      9,811,925
  Grav ty Smart                          0    10,928,206     4,512,740      3,273,304    4,138,855       1,843,993    1,053,131     362,835      26,113,063     26,113,063
  Indu ge                                 0            0     2,018,875      3,581,606    2,287,958       2,713,790    3,388,270    1,690,787     37,984,786     37,984,786
  Infuse 4G                      18,987,576    5,243,273    11,955,972     14,900,669   13,339,432       8,658,054   11,859,404     471,433     84,869,200     84,869,200
  Intercept                       3,466,125    1,337,192        22,134              0            0         260,101      548,811    5,925,622     21,016,477     83,462,550
  Mesmer ze                       9,373,105    8,936,699        8,103      2,998,737    2,364,937       5,228,508    4,338,657      841,985     72,744,291     98,299,253
  Nexus S                          121,440     575,325     2,081,081        216,857      157,580               0   1,239,118       15,709      7,373,634     17,602,613
  Nexus S 4G                     41,997,230    3,158,660     1,872,487              0            0               0    7,599,908            0     65,896,359     65,896,359
  Rep en sh                      11,664,881    3,167,937     3,072,128      2,355,156   10,043,207          85,055     330,494      287,134     35,197,870     35,197,870
  S dek ck                        4,551,372    7,889,458    10,564,606     10,146,887            0               0            0    2,269,114     48,929,677     48,929,677
  Transform                       2,725,865   24,323,924     1,801,022      1,939,845            0               0            0            0     35,209,003     60,379,886
  V brant                                 0            0             0              0            0               0            0            0      5,108,108    176,470,222
                                166,775,696 190,001,134 110,484,596        93,912,467   67,687,753 122,614,617       87,979,722   49,020,344 1,262,960,778    2,008,994,149

Reasonable Royalty
  No Products Ava ab e                   0              0              0           0            0               0            0              0             0              0
                                                                                                                                                                                                          Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 178 of 245




                                                                                                       Infringer's Profits and Reasonable Royalty Total 2,008,994,149



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                             Samsung Per Product Damages
               (Infringer's Profits [Revenue] and Reasonable Royalty)
             Product                      Infringer's Profits           Reasonable             Total
                                Design, Trade Dress, and Trademark 1/    Royalty 1/
  Acclaim                                                                   $0
  Captivate                                                                 $0
  Continuum                                                                 $0
  Droid Charge                                                              $0
  Epic 4G                                                                   $0
  Exhibit 4G                                                                $0
  Fascinate                                                                 $0
  Galaxy Ace                                                                $0
  Galaxy Prevail                                                            $0
  Galaxy S (i9000)                                                          $0
  Galaxy S 4G                                                               $0
  Galaxy S II (AT&T)                                                        $0
  Galaxy S II (Epic 4G Touch)                                               $0
  Galaxy S II (i9100)                                                       $0
  Galaxy S II (Skyrocket)                                                   $0
  Galaxy S II (TMobile)                                                    $0
  Galaxy S Showcase (i500)                                                  $0
  Galaxy Tab                                                                $0
  Galaxy Tab 10.1 (4G LTE)                                                  $0
  Galaxy Tab 10.1 (WiFi)                                                    $0
  Gem                                                                       $0
  Gravity Smart                                                             $0
  Indulge                                                                   $0
  Infuse 4G                                                                 $0
  Intercept                                                                 $0
  Mesmerize                                                                 $0
  Nexus S                                                                   $0
  Nexus S 4G                                                                $0
  Replenish                                                                 $0
  Sidekick                                                                  $0
  Transform                                                                 $0
  Vibrant                                                                  $0
       Total                                                               $0


Sources/Notes:
1/ Exhibit 18.2




                                           Prepared by Invotex Group       Submitted Under Seal; Highly Confidential;
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                         Apple Inc. v. Samsung Electronics Co., LTD., et al.



                               Samsung Per Product Damages
             (Infringer's Profits [Gross Profit] and Reasonable Royalty)
            Product                      Infringer's Profits          Reasonable             Total
                                 Design, Trade Dress, Trademark 1/     Royalty 1/
 Acclaim                                   $31,554,405                   $0              $31,554,405
 Captivate                                $202,100,400                   $0            $202,100,400
 Continuum                                 $40,997,795                   $0              $40,997,795
 Droid Charge                             $113,156,712                   $0            $113,156,712
 Epic 4G                                  $316,323,020                   $0            $316,323,020
 Exhibit 4G                                $19,565,125                   $0              $19,565,125
 Fascinate                                $267,735,061                   $0            $267,735,061
 Galaxy Ace                                          $0                  $0                          $0
 Galaxy Prevail                            $97,854,762                   $0              $97,854,762
 Galaxy S (i9000)                                    $0                  $0                          $0
 Galaxy S 4G                              $132,575,465                   $0            $132,575,465
 Galaxy S II (AT&T)                        $76,846,200                   $0              $76,846,200
 Galaxy S II (Epic 4G Touch)                         $0                  $0                          $0
 Galaxy S II (i9100)                                 $0                  $0                          $0
 Galaxy S II (Skyrocket)                             $0                  $0                          $0
 Galaxy S II (TMobile)                    $68,344,562                   $0              $68,344,562
 Galaxy S Showcase (i500)                  $38,781,982                   $0              $38,781,982
 Galaxy Tab                               $107,920,148                   $0            $107,920,148
 Galaxy Tab 10.1 (4G LTE)                            $0                  $0                          $0
 Galaxy Tab 10.1 (WiFi)                    $29,101,730                   $0              $29,101,730
 Gem                                       $10,188,964                   $0              $10,188,964
 Gravity Smart                             $26,113,063                   $0              $26,113,063
 Indulge                                   $40,027,961                   $0              $40,027,961
 Infuse 4G                                $105,623,146                   $0            $105,623,146
 Intercept                                 $85,102,356                   $0              $85,102,356
 Mesmerize                                $103,772,074                   $0            $103,772,074
 Nexus S                                   $18,768,140                   $0              $18,768,140
 Nexus S 4G                                $68,663,024                   $0              $68,663,024
 Replenish                                 $36,477,277                   $0              $36,477,277
 Sidekick                                  $50,374,706                   $0              $50,374,706
 Transform                                 $60,985,291                   $0              $60,985,291
 Vibrant                                  $188,565,313                   $0            $188,565,313
    Total                               $2,337,518,680                   $0          $2,337,518,680


Sources/Notes:
1/ Exhibit 18.3




                                          Prepared by Invotex Group      Submitted Under Seal; Highly Confidential;
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                                  Samsung Per Product Damages
                                (Lost Profits and Reasonable Royalty)
              Product                  Lost Profits 1/              Reasonable Royalty 2/                Total
  Acclaim                                $1,049,129                      $5,831,133                   $6,880,262
  Captivate                            $204,416,141                     $22,568,898                 $226,985,039
  Continuum                              $6,981,279                      $9,151,247                  $16,132,526
  Droid Charge                          $37,618,271                     $19,996,148                  $57,614,419
  Epic 4G                               $31,296,962                     $52,448,546                  $83,745,508
  Exhibit 4G                                       $0                    $9,624,482                   $9,624,482
  Fascinate                             $47,828,264                     $36,246,033                  $84,074,297
  Galaxy Ace                                       $0                            $0                            $0
  Galaxy Prevail                         $8,573,370                     $51,390,558                  $59,963,928
  Galaxy S (i9000)                                 $0                            $0                            $0
  Galaxy S 4G                           $13,884,674                     $37,540,692                  $51,425,366
  Galaxy S II (AT&T)                               $0                   $13,044,474                  $13,044,474
  Galaxy S II (Epic 4G Touch)                                                                                  $0
  Galaxy S II (i9100)                                                                                          $0
  Galaxy S II (Skyrocket)                                                                                      $0
  Galaxy S II (TMobile)                         $0                       $13,573,780                $13,573,780
  Galaxy S Showcase (i500)               $2,780,133                        $8,537,497                $11,317,631
  Galaxy Tab                            $50,313,041                       $13,636,707                $63,949,748
  Galaxy Tab 10.1 (4G LTE)                                                                                     $0
  Galaxy Tab 10.1 (WiFi)                $56,350,254                        $5,816,706                $62,166,960
  Gem                                    $4,779,357                       $12,230,055                $17,009,412
  Gravity Smart                                  $0                       $16,104,746                $16,104,746
  Indulge                                $4,009,197                        $8,790,734                $12,799,931
  Infuse 4G                             $44,404,466                       $24,457,254                $68,861,720
  Intercept                              $9,602,429                       $34,516,415                $44,118,843
  Mesmerize                              $9,687,923                       $20,506,611                $30,194,534
  Nexus S                                $2,094,937                        $4,157,286                 $6,252,223
  Nexus S 4G                             $9,126,938                       $16,220,652                $25,347,590
  Replenish                              $7,266,720                       $19,767,532                $27,034,252
  Sidekick                               $4,088,016                       $14,183,134                $18,271,150
  Transform                              $7,863,653                       $16,377,909                $24,241,562
  Vibrant                               $19,175,967                       $25,280,213                $44,456,180
      Total                            $583,191,122                      $511,999,442             $1,095,190,564



Sources/Notes:
1/ Exhibit 17.2
2/ Exhibit 19.1




                                             Prepared by Invotex Group          Submitted Under Seal; Highly Confidential;
                                                                                             Outside Counsel Eyes’ Only
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Reasonable Royalty Summary  for Units not Eligible for Lost Profits
n USD
                                                                 2010                                                                                                         2011
                               May     June      Ju y        Aug        Sept        Oct        Nov        Dec       Jan        Feb        Mar        Apr        May        June       Ju y      Aug        Sept          Oct       Nov       Dec        Total
Acc a m                          0   811,278 1,685,970      718,333    702,421   253,562    375,921    412,473     87,901       2,889    375,104    405,939         0       879       157        63        63         502         0         0      5,831,133
Capt vate                        0         0 1,470,274 1,437,046       820,560 1,066,260    274,426 1,115,335 1,241,806 1,178,236        639,948    631,822    455,396 3,418,258 2,857,292 2,623,678     682,958      838,032 1,082,900    734,672    22,568,898
Cont nuum                        0         0            0          0        0     59,020 2,591,773 1,954,401        7,121        714    148,104    250,648    416,976 1,024,794 1,744,166     612,238   345,576        1,734    3,230     2,108     9,151,247
Dro d Charge                     0         0            0          0        0          0          0          0            0          0          0 4,693,802 2,454,562 4,439,618 3,231,666 1,815,770      236,776      968,694 1,080,078 1,075,182     19,996,148
Ep c 4G                          0         0        546 5,212,818 3,808,610 3,966,326 3,856,705        393,111 4,068,402 2,531,606 4,813,414 3,743,502 7,342,368 5,749,740 2,282,760            64,260          0 1,242,360 2,084,880 1,287,138       52,448,546
Exh b t 4G                       0         0            0          0        0          0          0          0            0          0          0          0        0 4,004,554     917,524 2,078,352 1,503,514       513,978    607,682    1,122     9,624,482
Fasc nate                        0         0            0 1,188,668 11,884,236 8,148,946 2,028,286 2,182,786 3,335,151        157,862    943,772 2,678,928 1,059,814 1,000,280 1,162,494       212,840   267,648        1,224    6,120     1,666    36,246,033
Ga axy Ace                       0         0            0          0        0          0          0          0            0          0          0          0        0          0          0          0          0           0         0         0               0
Ga axy Preva                     0         0            0          0        0          0          0          0            0          0          0 3,295,484 7,831,594 10,652,880 8,917,860 6,854,400 2,548,980 3,394,560 6,303,600 1,591,200          51,390,558
Ga axy S ( 9000)                 0         0            0          0        0          0          0          0            0          0          0          0        0          0          0          0          0           0         0         0               0
Ga axy S 4G                      0         0            0          0        0          0          0          0            0 6,484,412 4,527,644 4,467,226      534,752 3,197,700 3,232,958 4,643,040 2,391,458 1,531,462 2,486,012 4,044,028          37,540,692
Ga axy S (AT&T)                  0         0            0          0        0          0          0          0            0          0          0          0        0          0          0          0 3,750,846 5,307,944 3,437,910       547,774    13,044,474
Ga axy S (TMob e)               0         0            0          0        0          0          0          0            0          0          0          0        0          0          0          0          0 8,072,155 1,888,427 3,613,198       13,573,780
Ga axy S Showcase ( 500)         0         0            0          0        0          0    394,483    456,925    417,400     330,480    438,872    795,124    787,236   961,690    995,792 1,148,792    373,830      107,406    895,798   433,670     8,537,497
Ga axy Tab                       0         0            0          0        0      1,444 1,543,210     190,480    349,556     187,623    272,136    548,116    342,300 2,063,040 2,317,098 1,362,228     181,734 2,744,868 1,106,952       425,922    13,636,707
Ga axy Tab 10 1 (W F )           0         0            0          0        0          0          0          0            0          0          0          0    60,354 1,364,958    626,010    795,690   745,878      981,288    762,552   479,976     5,816,706
Gem                              0         0            0          0        0          0          0          0    554,047     505,852 1,961,494 1,756,338      859,214 2,394,178 1,616,122     976,616   864,960      615,298    139,536   13,600    12,230,055
Grav ty Smart                    0         0            0          0        0          0          0          0            0          0          0          0        0 6,279,800 2,961,910 1,912,092 3,081,624         936,938    648,652   283,730    16,104,746
 ndu ge                          0         0            0          0        0          0          0          0            0 3,005,158 1,471,248        238       374    1,122    678,028 1,044,922    510,034      618,902    856,936   607,240     8,790,734
 nfuse 4G                        0         0            0          0        0          0          0          0            0          0          0    76,194 4,095,062 1,163,820 3,061,190 4,421,938 4,760,102 2,966,806 3,840,266           71,876    24,457,254
 ntercept                        0 2,074,410 3,876,600 3,797,040 4,442,620 4,446,780 2,240,594 1,480,221 2,217,944 1,600,652 1,168,002 1,304,750 2,398,802               989,400     85,000          0          0     204,000    931,600 1,258,000    34,516,415
Mesmer ze                        0         0            0          0        0    805,662 1,707,474     533,618 1,458,335 1,402,874 1,780,682 2,768,586 1,941,434 1,930,962           12,750    798,014 1,042,848 1,910,766 2,047,242       365,364    20,506,611
Nexus S                          0         0            0          0        0          0          0 1,639,154     347,980      96,560    943,738        102        34      102    554,880    145,486   205,700            0    224,332      510     4,157,286
Nexus S 4G                       0         0            0          0        0          0          0          0            0          0          0 2,523,004 9,396,036    785,400    578,000    204,680          0           0 2,733,600        68    16,220,652
Rep en sh                        0         0            0          0        0          0          0          0            0          0          0 2,576,146 6,871,128 4,732,290 2,029,120 1,446,666 1,606,330         498,440       680      6,732    19,767,532
S dek ck                         0         0            0          0        0          0          0          0            0          0          0 3,811,094 1,328,142 2,173,042 3,160,198 2,983,534        4,828      61,982     85,578   584,392    14,183,134
Transform                        0         0            0          0 1,002,924 3,036,150 1,184,339     418,623 2,624,594 1,885,821       913,300 1,445,091 1,290,697     692,370 1,013,592     870,408          0           0         0         0     16,377,909
V brant                          0   153,790 8,020,038 2,622,022 4,686,006 5,361,512 2,412,525         537,408    986,330      31,178    246,704     49,708    173,366       34       136          0       204          68        68        0     25,280,213
Total Reasonable Royalty ($)     0 3,039,478 15,053,428 14,975,927 27,347,377 27,145,663 18,609,735 11,314,533 17,696,567 19,400,489 20,644,163 37,821,366 49,638,825 59,016,637 44,036,117 37,015,581 25,095,701 33,513,491 33,235,795 17,398,568   511,999,442
                                                                                                                                                                                                                                                                Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 186 of 245




                                                                                                                                                                                                                    Subm tted Under Sea ; H gh y Conf dent a ;
                                                                                                           Prepared by nvotex Group                                                                                              Outs de Counse Eyes’ On y
                                                                                                                                                               Apple Inc. v. Samsung Electronics Co., LTD., et al.                                                                                                                                                            EXHIBIT 20




                                                                                                                                                     Summary of Damage Calculation Methodology
                                                                                                                                                                                                                                                            Infringer s Profits                                     Reasonable Royalty
                                                                                                                                                       Apportionment Of Accused Base
                      Patent/                                          Apple           Apple
   IP Type                           Available Apple Average                                                                                                                                                                                    Available                                    Available
                  Registration No.                                 Incremental      Incremental                                 Carrier Switching   Mor-Flo Apportionment For Acceptable Non- Design Around Apportionment                                      Samsung's Profit per Device               Basis of Royalty Base     Reasonable Royalty per Unit Rate
                                     Remedy     Sales Price                                           Carrier Apportionment                                                                                                          Capacity   Remedy                                       Remedy
                                                                  Profit per Unit   Profit Margin                                Apportionment                Infringing Substitutes             (Months Out of Market)

                                                   1/, 2/              3/, 4/            5/                                            6/

                                        No         N/A                                                         N/A                    N/A                               N/A                                          N/A                           No                       N/A                 Yes       Accused units sold                 See Exhib t 46
                       ’002
                                        No         N/A                                                         N/A                    N/A                               N/A                                          N/A                           No                       N/A                 Yes       Accused units sold                 See Exhibit 47
                                        No         N/A                                                         N/A                    N/A                               N/A                                          N/A                           No                       N/A                 Yes       Accused units sold                 See Exhibit 46
                        129
                                        No         N/A                                                         N/A                    N/A                               N/A                                          N/A                           No                       N/A                 Yes       Accused units sold                 See Exhibit 47

                                                                                                                                                    Distribute Samsung's sales among other
                                                                                                    Carrier apportionment
                                                                                                                                                    smartphone manufacturers available at a
                                                                                                    applied when the accused
                                                                                                                                                    specific carrier. 8/
                                                                                                    smartphone was sold at a                                                                                          1
                                       Yes     $            645                                                                       26%                                                                                                          No                       N/A                 Yes       Accused units sold                 See Exhibit 46
                                                                                                    carrier that also sold                                                                                           13/
                                                                                                                                                    Alternatively, distribute carrier switchers
                                                                                                    iPhone(s) during the same
                        163                                                                                                                         between market participants using market
                                                                                                    period.
                                                                                                                                                    share for the entire smartphone market. 9/


                                                                                                                                                    Distribute Samsung's sales among other                            1
                                       Yes     $            590                                                N/A                    N/A                                                                                                          No                       N/A                 Yes       Accused units sold                 See Exhibit 47
                                                                                                                                                    tablet manufacturers. 10/                                        13/


                                                                                                                                                    Distribute Samsung's sales among other
                                                                                                    Carrier apportionment
                                                                                                                                                    smartphone manufacturers available at a
                                                                                                    applied when the accused
                                                                                                                                                    specific carrier. 8/
                                                                                                    smartphone was sold at a                                                                                          1
                                       Yes     $            645                                                                       26%                                                                                                          No                       N/A                 Yes       Accused units sold                 See Exhibit 46
                                                                                                    carrier that also sold                                                                                           13/
                                                                                                                                                    Alternatively, distribute carrier switchers
                                                                                                    iPhone(s) during the same
                        381                                                                                                                         between market participants using market
                                                                                                    period.
                                                                                                                                                    share for the entire smartphone market. 9/
Utility Patents
                                                                                                                                                    Distribute Samsung's sales among other                            1
                                       Yes     $            590                                                N/A                    N/A                                                                                                          No                       N/A                 Yes       Accused units sold                 See Exhibit 47
                                                                                                                                                    tablet manufacturers. 10/                                        13/

                                        No         N/A                                                         N/A                    N/A                               N/A                                          N/A                           No                       N/A                 Yes       Accused units sold                 See Exhib t 46

                                                                                                                                                                                                   Products with screens 10 inches
                                                                                                                                                                                                     or larger: no design around.
                       ’607                                                                                                                         Distribute Samsung's sales among other
                                       Yes     $            590                                                N/A                    N/A                                                          Products with screens 8 inches                  No                       N/A                 Yes       Accused units sold                 See Exhibit 47
                                                                                                                                                    tablet manufacturers. 10/
                                                                                                                                                                                                     or less: design around after
                                                                                                                                                                                                            12/31/10. 13/
                                        No         N/A                                                         N/A                    N/A                               N/A                                          N/A                           No                       N/A                 Yes       Accused units sold                 See Exhibit 46
                       ’891
                                        No         N/A                                                         N/A                    N/A                               N/A                                          N/A                           No                       N/A                 Yes       Accused units sold                 See Exhibit 47

                                                                                                                                                    Distribute Samsung's sales among other
                                                                                                    Carrier apportionment
                                                                                                                                                    smartphone manufacturers available at a
                                                                                                    applied when the accused
                                                                                                                                                    specific carrier. 8/
                                                                                                    smartphone was sold at a                                                                                          6
                                       Yes     $            645                                                                       26%                                                                                                          No                       N/A                 Yes       Accused units sold                 See Exhibit 46
                                                                                                    carrier that also sold                                                                                           13/
                                                                                                                                                    Alternatively, distribute carrier switchers
                                                                                                    iPhone(s) during the same
                        915                                                                                                                         between market participants using market
                                                                                                    period.
                                                                                                                                                    share for the entire smartphone market. 9/


                                                                                                                                                    Distribute Samsung's sales among other                            6
                                       Yes     $            590                                                N/A                    N/A                                                                                                          No                       N/A                 Yes       Accused units sold                 See Exhibit 47
                                                                                                                                                    tablet manufacturers. 10/                                        13/



                                                                                                                                                    Distribute Samsung's sales among other
                                                                                                    Carrier apportionment                                                                                                                                      Samsung's revenue as a
                                                                                                                                                    smartphone manufacturers available at a
                                                                                                    applied when the accused                                                                                                                                   starting point or Samsung's
                                                                                                                                                    specific carrier. 8/
                                                                                                    smartphone was sold at a                                                                                         8                                         gross profit if Samsung
                       'D087           Yes     $            645                                                                       26%                                                                                                          Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                    carrier that also sold                                                                                           7/                                        does not provide a
                                                                                                                                                    Alternatively, distribute carrier switchers
                                                                                                    iPhone(s) during the same                                                                                                                                  reasonable explanation of
                                                                                                                                                    between market participants using market
                                                                                                    period.                                                                                                                                                    incremental costs.
                                                                                                                                                    share for the entire smartphone market. 9/

                                                                                                                                                    Distribute Samsung's sales among other
                                                                                                    Carrier apportionment                                                                                                                                      Samsung's revenue as a
                                                                                                                                                    smartphone manufacturers available at a
                                                                                                    applied when the accused                                                                                                                                   starting point or Samsung's
                                                                                                                                                    specific carrier. 8/
                                                                                                    smartphone was sold at a                                                                                         8                                         gross profit if Samsung
                       'D270           Yes     $            645                                                                       26%                                                                                                          Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                    carrier that also sold                                                                                           7/                                        does not provide a
                                                                                                                                                    Alternatively, distribute carrier switchers
                                                                                                    iPhone(s) during the same                                                                                                                                  reasonable explanation of
                                                                                                                                                    between market participants using market
                                                                                                    period.                                                                                                                                                    incremental costs.
                                                                                                                                                    share for the entire smartphone market. 9/

                                                                                                                                                                                                                                                               Samsung's revenue as a
                                                                                                                                                                                                                                                               starting point or Samsung's
                                                                                                                                                                                                                                                               gross profit if Samsung
                       'D305            No         N/A                                                         N/A                    N/A                               N/A                                          N/A                           Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                                                                                                                                                                               does not provide a
                                                                                                                                                                                                                                                               reasonable explanation of
                                                                                                                                                                                                                                                               incremental costs.

                                                                                                                                                                                                                                                               Samsung's revenue as a
                                                                                                                                                                                                                                                               starting point or Samsung's
Design Patents                                                                                                                                                                                                                                                 gross profit if Samsung
                       'D334            No         N/A                                                         N/A                    N/A                               N/A                                          N/A                           Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                                                                                                                                                                               does not provide a
                                                                                                                                                                                                                                                               reasonable explanation of
                                                                                                                                                                                                                                                               incremental costs.
                                                                                                                                                                                                                                                                                                                                                                                             Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 187 of 245




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                                                                                                                                                                                 Page 1 of 3                                                                                                                                                                 Outside Counsel Eyes’ Only
                                                                                                                                                             Apple Inc. v. Samsung Electronics Co., LTD., et al.                                                                                                                                                   EXHIBIT 20




                                                                                                                                                   Summary of Damage Calculation Methodology
                                                                                                                                                                                                                                                 Infringer s Profits                                     Reasonable Royalty
                                                                                                                                                     Apportionment Of Accused Base
                   Patent/                                           Apple           Apple
  IP Type                          Available Apple Average                                                                                                                                                                           Available                                    Available
               Registration No.                                  Incremental      Incremental                                 Carrier Switching   Mor-Flo Apportionment For Acceptable Non- Design Around Apportionment                             Samsung's Profit per Device               Basis of Royalty Base     Reasonable Royalty per Unit Rate
                                   Remedy     Sales Price                                           Carrier Apportionment                                                                                                 Capacity   Remedy                                       Remedy
                                                                Profit per Unit   Profit Margin                                Apportionment                Infringing Substitutes             (Months Out of Market)

                                                 1/, 2/              3/, 4/            5/                                            6/

                                                                                                                                                  Distribute Samsung's sales among other
                                                                                                  Carrier apportionment                                                                                                                             Samsung's revenue as a
                                                                                                                                                  smartphone manufacturers available at a
                                                                                                  applied when the accused                                                                                                                          starting point or Samsung's
                                                                                                                                                  specific carrier. 8/
                                                                                                  smartphone was sold at a                                                                                         8                                gross profit if Samsung
                    'D677            Yes     $            645                                                                       26%                                                                                                 Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                  carrier that also sold                                                                                           7/                               does not provide a
                                                                                                                                                  Alternatively, distribute carrier switchers
                                                                                                  iPhone(s) during the same                                                                                                                         reasonable explanation of
                                                                                                                                                  between market participants using market
                                                                                                  period.                                                                                                                                           incremental costs.
                                                                                                                                                  share for the entire smartphone market. 9/

                                                                                                                                                                                                                                                    Samsung's revenue as a
                                                                                                                                                                                                                                                    starting point or Samsung's
                                                                                                                                                                                                                                                    gross profit if Samsung
                    'D790             No         N/A                                                         N/A                    N/A                               N/A                                          N/A                  Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                                                                                                                                                                    does not provide a
                                                                                                                                                                                                                                                    reasonable explanation of
                                                                                                                                                                                                                                                    incremental costs.

                                                                                                                                                                                                                                                    Samsung's revenue as a
                                                                                                                                                                                                                                                    starting point or Samsung's
                                                                                                                                                  Distribute Samsung's sales among other                           8                                gross profit if Samsung
                    'D889            Yes     $            590                                                N/A                    N/A                                                                                                 Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                                                                  tablet manufacturers. 10/                                        7/                               does not provide a
                                                                                                                                                                                                                                                    reasonable explanation of
                                                                                                                                                                                                                                                    incremental costs.



                                                                                                                                                   Distribute Samsung's sales among other
                                                                                                  Carrier apportionment                                                                                                                             Samsung's revenue as a
                                                                                                                                                  smartphone manufacturers available at a
                                                                                                  applied when the accused                                                                                                                          starting point or Samsung's
                                                                                                                                                  specific carrier. 8/
                                                                                                  smartphone was sold at a                                                                                         8                                gross profit if Samsung
                   iPhone            Yes     $            645                                                                       26%                                                                                                 Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                  carrier that also sold                                                                                           7/                               does not provide a
                                                                                                                                                  Alternatively, distribute carrier switchers
                                                                                                  iPhone(s) during the same                                                                                                                         reasonable explanation of
                                                                                                                                                  between market participants using market
                                                                                                  period.                                                                                                                                           incremental costs.
                                                                                                                                                  share for the entire smartphone market. 9/

                                                                                                                                                   Distribute Samsung's sales among other
                                                                                                  Carrier apportionment                                                                                                                             Samsung's revenue as a
                                                                                                                                                  smartphone manufacturers available at a
                                                                                                  applied when the accused                                                                                                                          starting point or Samsung's
                                                                                                                                                  specific carrier. 8/
                                                                                                  smartphone was sold at a                                                                                         8                                gross profit if Samsung
                  iPhone 3G          Yes     $            645                                                                       26%                                                                                                 Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                  carrier that also sold                                                                                           7/                               does not provide a
                                                                                                                                                  Alternatively, distribute carrier switchers
                                                                                                  iPhone(s) during the same                                                                                                                         reasonable explanation of
                                                                                                                                                  between market participants using market
                                                                                                  period.                                                                                                                                           incremental costs.
                                                                                                                                                  share for the entire smartphone market. 9/

                                                                                                                                                   Distribute Samsung's sales among other
                                                                                                  Carrier apportionment                                                                                                                             Samsung's revenue as a
                                                                                                                                                  smartphone manufacturers available at a
                                                                                                  applied when the accused                                                                                                                          starting point or Samsung's
                                                                                                                                                  specific carrier. 8/
                                                                                                  smartphone was sold at a                                                                                         8                                gross profit f Samsung
                  iPhone 4           Yes     $            645                                                                       26%                                                                                                 Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                  carrier that also sold                                                                                           7/                               does not provide a
                                                                                                                                                  Alternatively, distribute carrier switchers
                                                                                                  iPhone(s) during the same                                                                                                                         reasonable explanation of
                                                                                                                                                  between market participants using market
                                                                                                  period.                                                                                                                                           incremental costs.
                                                                                                                                                  share for the entire smartphone market. 9/

                                                                                                                                                   Distribute Samsung's sales among other
                                                                                                  Carrier apportionment                                                                                                                             Samsung's revenue as a
                                                                                                                                                  smartphone manufacturers available at a
                                                                                                  applied when the accused                                                                                                                          starting point or Samsung's
                                                                                                                                                  specific carrier. 8/
              iPhone / iPhone 3G                                                                  smartphone was sold at a                                                                                         8                                gross profit if Samsung
                                     Yes     $            645                                                                       26%                                                                                                 Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                  / iPhone4                                                                       carrier that also sold                                                                                           7/                               does not provide a
                                                                                                                                                  Alternatively, distribute carrier switchers
                                                                                                  iPhone(s) during the same                                                                                                                         reasonable explanation of
                                                                                                                                                  between market participants using market
                                                                                                  period.                                                                                                                                           incremental costs.
                                                                                                                                                  share for the entire smartphone market. 9/
Trade Dress

                                                                                                                                                                                                                                                    Samsung's revenue as a
                                                                                                                                                                                                                                                    starting point or Samsung's
                  iPad and                                                                                                                         Distribute Samsung's sales among other                          8                                gross profit if Samsung
                                     Yes     $            590                                                N/A                    N/A                                                                                                 Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                    iPad 2                                                                                                                        tablet manufacturers. 10/                                        7/                               does not provide a
                                                                                                                                                                                                                                                    reasonable explanation of
                                                                                                                                                                                                                                                    incremental costs.

                                                                                                                                                   Distribute Samsung's sales among other
                                                                                                  Carrier apportionment                                                                                                                             Samsung's revenue as a
                                                                                                                                                  smartphone manufacturers available at a
                                                                                                  applied when the accused                                                                                                                          starting point or Samsung's
                                                                                                                                                  specific carrier. 8/
                                                                                                  smartphone was sold at a                                                                                         8                                gross profit if Samsung
                     983             Yes     $            645                                                                       26%                                                                                                 Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                  carrier that also sold                                                                                           7/                               does not provide a
                                                                                                                                                  Alternatively, distribute carrier switchers
                                                                                                  iPhone(s) during the same                                                                                                                         reasonable explanation of
                                                                                                                                                  between market participants using market
                                                                                                  period.                                                                                                                                           incremental costs.
                                                                                                                                                  share for the entire smartphone market. 9/

                                                                                                                                                   Distribute Samsung's sales among other
                                                                                                  Carrier apportionment                                                                                                                             Samsung's revenue as a
                                                                                                                                                  smartphone manufacturers available at a
                                                                                                  applied when the accused                                                                                                                          starting point or Samsung's
                                                                                                                                                  specific carrier. 8/
                                                                                                  smartphone was sold at a                                                                                         8                                gross profit if Samsung
                     218             Yes     $            645                                                                       26%                                                                                                 Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                  carrier that also sold                                                                                           7/                               does not provide a
                                                                                                                                                  Alternatively, distribute carrier switchers
                                                                                                  iPhone(s) during the same                                                                                                                         reasonable explanation of
                                                                                                                                                  between market participants using market
                                                                                                  period.                                                                                                                                           incremental costs.
                                                                                                                                                  share for the entire smartphone market. 9/

                                                                                                                                                   Distribute Samsung's sales among other
                                                                                                  Carrier apportionment                                                                                                                             Samsung's revenue as a
                                                                                                                                                  smartphone manufacturers available at a
                                                                                                  applied when the accused                                                                                                                          starting point or Samsung's
                                                                                                                                                  specific carrier. 8/
                                                                                                  smartphone was sold at a                                                                                         8                                gross profit if Samsung
                     327             Yes     $            645                                                                       26%                                                                                                 Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                                                                                                                                                                                                                                                                                                  Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 188 of 245




                                                                                                  carrier that also sold                                                                                           7/                               does not provide a
                                                                                                                                                  Alternatively, distribute carrier switchers
                                                                                                  iPhone(s) during the same                                                                                                                         reasonable explanation of
                                                                                                                                                  between market participants using market
                                                                                                  period.                                                                                                                                           incremental costs.
                                                                                                                                                  share for the entire smartphone market. 9/




                                                                                                                                                                        Prepared by Invotex Group                                                                                                                                    Submitted Under Seal; Highly Confidential;
                                                                                                                                                                               Page 2 of 3                                                                                                                                                        Outside Counsel Eyes’ Only
                                                                                                                                                                                  Apple Inc. v. Samsung Electronics Co., LTD., et al.                                                                                                                                                                            EXHIBIT 20




                                                                                                                                                                        Summary of Damage Calculation Methodology
                                                                                                                                                                                                                                                                                               Infringer s Profits                                     Reasonable Royalty
                                                                                                                                                                           Apportionment Of Accused Base
                          Patent/                                           Apple           Apple
      IP Type                              Available Apple Average                                                                                                                                                                                                                 Available                                    Available
                      Registration No.                                  Incremental      Incremental                                         Carrier Switching         Mor-Flo Apportionment For Acceptable Non- Design Around Apportionment                                                      Samsung's Profit per Device               Basis of Royalty Base     Reasonable Royalty per Unit Rate
                                           Remedy     Sales Price                                          Carrier Apportionment                                                                                                                               Capacity            Remedy                                       Remedy
                                                                       Profit per Unit   Profit Margin                                        Apportionment                      Infringing Substitutes             (Months Out of Market)

                                                            1/, 2/          3/, 4/            5/                                                     6/


                                                                                                                                                                                                                                                                                                  Samsung's revenue as a
                                                                                                                                                                                                                                                                                                  starting point or Samsung's
                                                                                                                                                                                                                                                                                                  gross profit if Samsung
                             '038             No             n/a             n/a              n/a                    n/a                            n/a                                     n/a                                         n/a                      n/a                  Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                                                                                                                                                                                                                  does not provide a
                                                                                                                                                                                                                                                                                                  reasonable explanation of
                                                                                                                                                                                                                                                                                                  incremental costs.

                                                                                                                                                                                                                                                                                                  Samsung's revenue as a
                                                                                                                                                                                                                                                                                                  starting point or Samsung's
                                                                                                                                                                                                                                                                                                  gross profit if Samsung
                             169              No             n/a             n/a              n/a                    n/a                            n/a                                     n/a                                         n/a                      n/a                  Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                                                                                                                                                                                                                  does not provide a
                                                                                                                                                                                                                                                                                                  reasonable explanation of
                                                                                                                                                                                                                                                                                                  incremental costs.

                                                                                                                                                                                                                                                                                                  Samsung's revenue as a
                                                                                                                                                                                                                                                                                                  starting point or Samsung's
                                                                                                                                                                                                                                                                                                  gross profit if Samsung
                             196              No             n/a             n/a              n/a                    n/a                            n/a                                     n/a                                         n/a                      n/a                  Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                                                                                                                                                                                                                  does not provide a
                                                                                                                                                                                                                                                                                                  reasonable explanation of
                                                                                                                                                                                                                                                                                                  incremental costs.

                                                                                                                                                                                                                                                                                                  Samsung's revenue as a
                                                                                                                                                                                                                                                                                                  starting point or Samsung's
                                                                                                                                                                                                                                                                                                  gross profit if Samsung
                             197              No             n/a             n/a              n/a                    n/a                            n/a                                     n/a                                         n/a                      n/a                  Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                                                                                                                                                                                                                  does not provide a
                                                                                                                                                                                                                                                                                                  reasonable explanation of
                                                                                                                                                                                                                                                                                                  incremental costs.
   Trademarks
                                                                                                                                                                                                                                                                                                  Samsung's revenue as a
                                                                                                                                                                                                                                                                                                  starting point or Samsung's
                                                                                                                                                                                                                                                                                                  gross profit if Samsung
                             200              No             n/a             n/a              n/a                    n/a                            n/a                                     n/a                                         n/a                      n/a                  Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                                                                                                                                                                                                                  does not provide a
                                                                                                                                                                                                                                                                                                  reasonable explanation of
                                                                                                                                                                                                                                                                                                  incremental costs.

                                                                                                                                                                                                                                                                                                  Samsung's revenue as a
                                                                                                                                                                                                                                                                                                  starting point or Samsung's
                                                                                                                                                                                                                                                                                                  gross profit if Samsung
                             '642             No             n/a             n/a              n/a                    n/a                            n/a                                     n/a                                         n/a                      n/a                  Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                                                                                                                                                                                                                  does not provide a
                                                                                                                                                                                                                                                                                                  reasonable explanation of
                                                                                                                                                                                                                                                                                                  incremental costs.

                                                                                                                                                                                                                                                                                                  Samsung's revenue as a
                                                                                                                                                                                                                                                                                                  starting point or Samsung's
                                                                                                                                                                                                                                                                                                  gross profit if Samsung
                             '685             No             n/a             n/a              n/a                    n/a                            n/a                                     n/a                                         n/a                      n/a                  Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                                                                                                                                                                                                                  does not provide a
                                                                                                                                                                                                                                                                                                  reasonable explanation of
                                                                                                                                                                                                                                                                                                  incremental costs.

                                                                                                                                                                                                                                                                                                  Samsung's revenue as a
                                                                                                                                                                                                                                                                                                  starting point or Samsung's
                                                                                                                                                                                                                                                                                                  gross profit if Samsung
                       '463 (Pending)         No             n/a             n/a              n/a                    n/a                            n/a                                     n/a                                         n/a                      n/a                  Yes                                          Yes       Accused units sold             See Exhibits 46 and 47
                                                                                                                                                                                                                                                                                                  does not provide a
                                                                                                                                                                                                                                                                                                  reasonable explanation of
                                                                                                                                                                                                                                                                                                  incremental costs.



Sources/Notes:
1/ Apple Average Sales Price for iPhone = (Total Worldwide iPhone Revenues from Q3FY10 through Q1FY12) / (Total Worldwide iPhone Units sold from Q3FY10 through Q1FY12). See Exhibit 32.
2/ Apple Average Sales Price for iPad = (Total Worldwide iPad Revenues from Q1FY11 through Q1FY12) / (Total Worldwide iPad Units sold from Q1FY11 through Q1FY12). See Exhibit 33.
3/ Apple Incremental Profit per Unit for iPhone = (Total Worldwide iPhone Gross Profit from Q3FY10 through Q1FY12) - (Total iPhone Sales and Distribution Expense from Q3FY10 through Q1FY12). See Exhibit 32.
4/ Apple Incremental Profit per Unit for iPad = (Total Worldwide iPad Gross Profit from Q1FY11 through Q1FY12) - (Total iPad Sales and Distribution Expense from Q1FY11 through Q1FY12). See Exhibit 33.
5/ Apple Incremental Profit Margin = Apple Incremental Profit per Unit / Apple Average Sales Price.
6/ Some Samsung smartphone units are not sold at a carrier selling iPhone units. Based on a ThinkTech with Google presentation, I have assumed that 26% of units sold at a carrier not selling iPhone units would be subject to carrier switching and are available for lost profits. See Exhibit 28.
7/ Discussion with Tang Tan.
8/ See Exhibits 31.1, 31.2, and 31.3.
9/ See Exhibit 31.
10/ See Exhibit 30.
11/ See Exhibit 26.
12/ See Exhibit 27.
13/ See Exhibit 45.
                                                                                                                                                                                                                                                                                                                                                                                                                                Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 189 of 245




                                                                                                                                                                                              Prepared by Invotex Group                                                                                                                                                            Submitted Under Seal; Highly Confidential;
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Apple Inc. v. Samsung Electronics Co., LTD., et al.                                EXHIBIT 21

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                                                                     App e nc. v. Samsung E ectron cs Co., LTD., et a .                                                        EXHIBIT 22



                                                                 Apple Other Line of Business P&L Summary 1/

                                                         FY 2010                                                          FY 2011                                 FY 2012
      (Revenue in Millions USD)                                                         FY Total                                                     FY Total               Grand Total
                                          Q1         Q2         Q3           Q4                         Q1            Q2          Q3       Q4                       Q1
                  Revenue                   923      1,108       1,015        1,023         4,069        1,157         1,387       1,359    1,444        5,347        1,697     11,113

   iTunes 2/




                  Revenue                                0         11           16            27            30           23         18        26           97          37           161
    Mobile
 Advertising 3/




Sources/Notes:
1/ F sca year end ng September 31.
2/ App e "GAAP L ne of bus ness Report ng  TS", APLNDCY0000051616  1617.
3/ App e "GAAP L ne of Bus ness Report ng  Mob.Adv", APLDNCY0000051620. Per Depos t on of Mark Buck ey, 2/23/12, p.153156, mob e advert s ng revenues nc ude se ng advert sements from
   th rdparty compan es w th n apps from the App Store nsta ed on OS dev ces ( Phone, Pad, and Pod Touch).
                                                                                                                                                                                              Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 191 of 245




                                                                                                                                                 Subm tted Under Sea ; H gh y Conf dent a ;
                                                                                Prepared by nvotex Group                                                      Outs de Counse Eyes On y
                                                        Apple, Inc. v. Samsung Electronics Co., LTD., et al.                                               EXHIBIT 23


                                             Worldwide Apple iOS Search Revenue

         $90,000,000


         $80,000,000


         $70,000,000


         $60,000,000


         $50,000,000


         $40,000,000


         $30,000,000


         $20,000,000


         $10,000,000


                  $-
                         2007 2008 2008 2008 2008 2009 2009 2009 2009 2010 2010 2010 2010 2011 2011 2011 2011
                          Q4   Q1   Q2   Q3   Q4   Q1   Q2   Q3   Q4   Q1   Q2   Q3   Q4   Q1   Q2   Q3   Q4

                                                                              iOS 1/
Source/Notes:
                                                                                                                                                                        Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 192 of 245




1/ Search Revenue nc udes revenue share pa d by Goog e (APLNDC-Y0000232431-2433), M crosoft B ng (APLNDC-Y0000232434-2444) and Yahoo (APLNDC-Y0000232445-2446)
for searches performed on OS dev ces.



                                                                                                                         Submitted Under Seal; Highly Confidential;
                                                                    Prepared by Invotex Group                                         Outside Counsel Eyes' Only
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                              Apple Inc. v Samsung Electronics Co., LTD., et al.                                                                                                                                          EXHIBIT 24

                                                                       Demand for Design Patents and Trade Dress

#              Document Description                         Bates Number                 Party                                      Comment                                         Smartphone       Tablets

                                                                                                  "the look and the feel of iPhone, both physical, you know, dimensions and
      Deposition of Eric Jue, Product Line                                                        materials, and also the look and feel of the user interface, the icons that you
1                                                   N/A, page in document: 100-101       Apple                                                                                          x
      Manager for iPod at Apple, 2/24/12                                                          see, are all part of what people associate with Apple and iPhone."


                                                                                                  "Q When you say "design and aesthetics," what do you mean by that?
                                                                                                  A I think customers love the look of the product. They love how beautiful
      Deposition of Stanley Ng, Senior Director                                                   the product appears.
      of iPhone Product Marketing, Worldwide                                                      Q Any particular aspect of the look of the product that you think customers
2                                                     N/A, page in document: 55          Apple                                                                                          x                x
      Product Marketing Group at Apple,                                                           like in particular?
      2/21/12                                                                                     A Not specifically. I think they love the overall look and beauty of the
                                                                                                  products that we [Apple] create."


                                                                                                  "I think it is very possible that consumers who have never owned any Apple
      Deposition of Philip Schiller, VP of                                                        product whatsoever still might recognize this icon [phone call] as associated
3                                                     N/A, page in document: 185         Apple                                                                                          x
      Product Marketing at Apple, 2/17/12                                                         with Apple and even the iPhone, given how distinctive it is and how much
                                                                                                  marketing there has been…"
                                                                                                  "Q. Do you recall any feedback specifically as to the shape of the original
                                                                                                  iPad?
                                                                                                  A. I believe there was feedback on specifically comfortable to hold, which
      Deposition of Michael Tchao, VP of
                                                                                                  would, in my mind, include -- incorporate shape.
4     Product Marketing for iPad at Apple,            N/A, page in document: 63          Apple                                                                                                           x
                                                                                                  Q. How so?
      2/21/12
                                                                                                  A. That the contours of the device and the way the housing and screen
                                                                                                  came together made it easy to hold on to."

                                                                                                  Q. What about the physical design of the product makes it [the iPad]
                                                                                                  comfortable to hold?
      Deposition of Michael Tchao, VP of
                                                                                                  A. The shape of the back housing, the area of the -- around the screen, the
5     Product Marketing for iPad at Apple,            N/A, page in document: 67          Apple                                                                                                           x
                                                                                                  bezel around the screen, the weight of the product and the distribution of
      2/21/12
                                                                                                  that weight, the balance of the product.

                                                                                                  Between Q4 2010 and Q4 2011, 44-50% of those surveyed noted attractive
      Various iPhone Buyer Surveys, by Apple
6                                                                 1/                     Apple    appearance and design as a very important attribute in the iPhone purchase            x
      Market Research & Analysis
                                                                                                  decision.
                                                                                                  "Strong trust in Apple and appeal of design swayed many who considered
                                                                                                  Android to purchase iPhone." 32% of those surveyed in the U.S. liked the
      iPhone Owner Study, by Apple Market           APLNDC-Y0000025024 - 5147, at                 physical appearance and design as a reason that swayed them to purchase
7                                                                                        Apple                                                                                          x
      Research & Analysis, May 2011                        5060 and '5064                         iPhone over Android.
                                                                                                  46% of those surveyed in the U.S. also listed physical appearance and
                                                                                                  design as a very important feature in deciding to buy the iPhone.
                                                                                                  The 7th top reason for buying an iPhone is for better appearance/design
      Smartphone Market Study, Apple Market         APLNDC0001434059 - 4154, at
8                                                                                        Apple    (37%); better appearance/design is listed 10th top reason for buying an               x
      Research & Analysis, January 2011                      '4144
                                                                                                  Android-based smartphone (27%).
      iPhone Early Buyer Wave 1 Final Report,
                                                    APLNDC-Y0000029092 - 9135, at                 The 4th top feature leading to an iPhone purchase is appearance and design
9     Apple Market Research & Analysis, July                                             Apple                                                                                          x
                                                               '9125                              (78%).
      2007
      iPhone 4S Early Buyer Survey, Apple
                                                    APLNDC-Y0000026096 - 6137, at                 64% of iPhone 4S buyers are very satisfied with the physical appearance and
10    Market Research & Analysis, November                                               Apple                                                                                          x
                                                               '6116                              design, and 25% are somewhat satisfied.
      2011
      Exhibit 7 to Declaration of Sissie Twiggs,
11    Director of Worldwide Advertising at             N/A, time in video: 00:00         Apple    Back of phone is shown with logo.                                                     x
      Apple, 7/1/11
      Exhibit 20 to Declaration of Sissie Twiggs,
12    Director of Worldwide Advertising at              N/A, time in video: 0:01         Apple    iPad 2 frontal design shown.                                                          x
      Apple, 7/1/11
      Exhibit 37 to Deposition of Sissie Twiggs,
13    Director of Worldwide Advertising at            N/A, page in document: 116         Apple    Advertisement on the design of the iPad 2. "Thinner. Lighter. Faster."                                 x
      Apple, 7/27/11
      Exhibit 40 to Deposition of Sissie Twiggs,
14    Director of Worldwide Advertising at                       N/A                     Apple    Advertisement showing two fingers picking up the iPad 2.                                               x
      Apple, 7/27/11
                                                                                                  In a graph titled "Main reasons why customers purchased current
      Exhibit D to Declaration of Minn Chung,                                                     [Samsung] smartphone (%)", "Exterior Design" was chosen by 28.6%-40.8%
15    Attorney at Morrison & Foerster LLP,               SAMNDCA10257319               Samsung    of the customers depending on age group. Above the graph is the                       X
      counsel of record for Apple, 2/8/12                                                         statement "Key Analysis: Need to recognize the importance of exterior
                                                                                                  design and screen size, as they are customer purchase decision factors."

      Exhibit D to Declaration of Minn Chung,                                                     In a slide titled Proposed Exterior Design Improvement Factors," there is the
16    Attorney at Morrison & Foerster LLP,               SAMNDCA10257322               Samsung    statement "Need to Improve by Adding Glossiness: iPhone's strengthened                X
      counsel of record for Apple, 2/8/12                                                         glass (front/back) has a glossy feel, which looks classy."

      Exhibit E to Declaration of Minn Chung,                                                     In the chart, "Comparison between Samsung Mobile Phone and iPhone,"
17    Attorney at Morrison & Foerster LLP,               SAMNDCA00202379               Samsung    "iPhone is on average 5.9 points higher compared to Samsung mobile                    X
      counsel of record for Apple, 2/8/12                                                         phone."

      Exhibit F to Declaration of Minn Chung,                                                     "Although released nearly a year ago, the Apple iPhone has maintained its
18    Attorney at Morrison & Foerster LLP,               SAMNDCA00229020               Samsung    position as the most inspired mobile handset on the market…. The iPhone is            X
      counsel of record for Apple, 2/8/12                                                         a delight to the eye as well as a highly usable device."
                                                                                                  T-Mobile's comments to Samsung about their phones include:
      Exhibit G to Declaration of Minn Chung,
                                                                                                  "Please explore other design alternatives here, including lighter
19    Attorney at Morrison & Foerster LLP,               SAMNDCA10247537               Samsung                                                                                          X
                                                                                                  backgrounds and colors throughout. For example, the iPhone has been
      counsel of record for Apple, 2/8/12
                                                                                                  successful at achieving a light and airy aesthetic…"

      Exhibit G to Declaration of Minn Chung,                                                     T-Mobile's comments to Samsung about their phones also include:
20    Attorney at Morrison & Foerster LLP,               SAMNDCA10247538               Samsung    "iPhone maintains a lively, vivid experience largely due to the 'pop' of their        X
      counsel of record for Apple, 2/8/12                                                         icons. We should be able to create similar magic here."


      Exhibit H to Declaration of Minn Chung,                                                     Samsung's Head of Mobile Division stated, "When our UX is compared to
21    Attorney at Morrison & Foerster LLP,               SAMNDCA10247377               Samsung    the unexpected competitor Apple's iPhone, the difference is truly that of             X
      counsel of record for Apple, 2/8/12                                                         Heaven and Earth. It's a crisis of design."

                                                                                     Prepared by Invotex Group                                                                              Submitted Under Seal; Highly Confidential;
                                                                                            Page 1 of 5                                                                                                   Outside Counsel Eyes' Only
     Case 5:11-cv-01846-LHK Document             2454-6 Filed 09/25/13 Page 194 of 245
                              Apple Inc. v Samsung Electronics Co., LTD., et al.                                                                                                                                            EXHIBIT 24

                                                                     Demand for Design Patents and Trade Dress

#              Document Description                       Bates Number                    Party                                      Comment                                          Smartphone       Tablets

                                                                                                   CEO Gee Sung Choi criticized Samsung UX's mindset of "clinging to the past
      Exhibit I to Declaration of Minn Chung,
                                                                                                   generation," stating, "I'm not saying, let's make a UX that is exactly the
22    Attorney at Morrison & Foerster LLP,             SAMNDCA10247549                  Samsung                                                                                           X
                                                                                                   same as the iPhone, I am saying, let's learn the wisdom of the iPhone and
      counsel of record for Apple, 2/8/12
                                                                                                   recognize that they have already set the industry standard (?) [sic]."

      Exhibit J to Declaration of Minn Chung,
                                                                                                   In the chart, "Evaluation results of design quality/luxury brand recognition,"
23    Attorney at Morrison & Foerster LLP,             SAMNDCA10252809                  Samsung                                                                                           X
                                                                                                   iPhone scores 90% on attractiveness, while Galaxy S phone scores 79%.
      counsel of record for Apple, 2/8/12

      Exhibit J to Declaration of Minn Chung,
                                                                                                   When compared with the GA3, iPhone 4's "icon illustrations look
24    Attorney at Morrison & Foerster LLP,             SAMNDCA10252818                  Samsung                                                                                           X
                                                                                                   professional and luxurious."
      counsel of record for Apple, 2/8/12

      Exhibit J to Declaration of Minn Chung,
                                                                                                   "The border is designed with metal silver, providing a futuristic and
25    Attorney at Morrison & Foerster LLP,             SAMNDCA10252832                  Samsung                                                                                           X
                                                                                                   luxurious feeling."
      counsel of record for Apple, 2/8/12
                                                                                                   In a slide titled, "Apple has overtaken Samsung as the most stylish brand
                                                                                                   overall," there is a quote from London: "I think Apple is so successful
      Exhibit K to Declaration of Minn Chung,
                                                                                                   because they have come out with a unique product [and] you see all other
26    Attorney at Morrison & Foerster LLP,             SAMNDCA10244368                  Samsung                                                                                           X
                                                                                                   mobile phone providers are trying to copy each other. Apple came out with
      counsel of record for Apple, 2/8/12
                                                                                                   something different and that's why everyone likes Apple - because it's
                                                                                                   different"
      Exhibit P to Declaration of Minn Chung,                                                      "The impact on the category is likely to be material because the product
27    Attorney at Morrison & Foerster LLP,             SAMNDCA00249046                  Samsung    [iPhone] will affect consumer expectations for design, user interface and              X
      counsel of record for Apple, 2/8/12                                                          presumably cell phone music capabilities."
                                                                                                   In a Market Intelligence Group Survey for Samsung, iPhone scores high in
                                                                                                   items such as "Sensual Design," "Stylish," "Prestigious," "Contemporary,"
      Exhibit Q to Declaration of Minn Chung,
                                                                                                   "Young," "Passionate," and "Imaginative." Above the chart of survey results,
28    Attorney at Morrison & Foerster LLP,             SAMNDCA00232256                  Samsung                                                                                           X
                                                                                                   there is the statement "iPhone generally shows a distinctive image
      counsel of record for Apple, 2/8/12
                                                                                                   compared to Samsung." Apple generally outperformed Samsung in almost
                                                                                                   every category.
                                                                                                   In a Samsung presentation titled, "iPhone 4.0 Quick Report and Analysis,
                                                                                                   there is a side to side comparison of the back of Galaxy S phone and the
29    iPhone 4.0 Quick Report & Analysis        SAMNDCA00024872-4941, at '4908          Samsung                                                                                           X
                                                                                                   iPhone with a check on the iPhone side and the comment, "Apple logo on
                                                                                                   back."
      Corrected Exhibit C to Declaration of
                                                  SAMNDCA00025016 - 5079, at                       "Design on the Galaxy Tab 10.1 was and is the main sales driver for the
30    Francis Ho, 11/7/11 (Title of document:                                           Samsung                                                                                                           X
                                                           '5031                                   device."
      STA Post Launch Consumer Insights)
      Samsung Galaxy Tab 10.1 & 8.9               SAMNDCA00027944 - 8005, at                       "Apple iPad 2 was rated significantly higher in overall design than Samsung
31                                                                                      Samsung                                                                                                           X
      Competitive Product Experience                       '7948                                   Galaxy Tab 10.1, Blackberry Playbook and HP Touchpad."
                                                                                                   "The halo effect. If you can own one attribute, the prospect is inclined to
                                                  SAMNDCA00176269 - 6897, at
32    Samsung, part 1. Endless opportunities.                                           Samsung    give many others. The proof of the principle. Apple's focus on design has              X               X
                                                        '6343-'7644
                                                                                                   built a powerful brand."
      Samsung Lovemark Mobile & Web               SAMNDCA00207695 - 7765, at                       Apple was rated "among the best" while Samsung was rated "about
33                                                                                      Samsung                                                                                           X
      Research: Lovemarks.                                 '7731                                   average" for "Physical Design."
                                                                                                   In a slide titled, "Comparison between Current and Wish Phones Design,"
                                                                                                   Samsung states "Apple iPhone users rate design satisfaction higher than the
      Business & Messaging Users Qualitative      SAMNDCA00218063 - 8130, at
34                                                                                      Samsung    others." The chart below shows Apple ratings that are higher in terms of               X
      Research Results                                     '8099
                                                                                                   easy to carry, color, size of phone, form factor, material, button to input text
                                                                                                   easily, and keypad type.
                                                  SAMNDCA00230535 - 0645, at
      2009 Samsung Umbrella Brand                                                                  "Sony is known for quality, trust and worth; Apple for buzz, design, and
35                                                         '0571                        Samsung                                                                                           X               X
      Architecture                                                                                 innovation…"
                                                  SAMNDCA00236017 - 6112, at
36    BAS H1 2010 Final Report USA                                                      Samsung    "Apple distinguishes itself on Expertise, Sensual Design, and Endorsement."            X               X
                                                           '6077
      Brand Attitude Survey 2010 2H - Main        SAMNDCA00245494 - 5611, at                       A chart titled "Performance on BE attributes - Samsung vs. Apple" rates
37                                                                                      Samsung                                                                                           X               X
      Module: USA                                          '5584                                   Apple higher in "Sensual Design" compared to Samsung.
      Brand Attitude Survey H2 2009 Country       SAMNDCA00232190 - 2290, at
38                                                                                      Samsung    "iPhone generally shows a distinctive image compared to Samsung."                      X
      Report: USA                                          '2256
                                                                                                   Samsung's draft presentation includes a quote from Fox News, "The hype
                                                                                                   isn't without substance. Though each carrier alters its phone a bit, all three
                                                  SAMNDCA00259131 - 9239, at
39    COO Visit to STA - September, 2011                                                Samsung    Galaxy S II smartphones have some specs in common: a 4.3-inch, Super                   X
                                                           '9167
                                                                                                   AMOLED 800x480 screen, a dual core 1.2-GHz processor, fast 4G network
                                                                                                   connectivity, and a sleek, simple design evocative of the iPhone."
                                                                                                   In a slide of side to side comparison of the iPad 2 and P5, Samsung
      Samsung, European Telecommunication                                                          comments that on the iPad2, "icons are big and the gap between the
40                                               S-ITC-010617659 - 7694, at '7663       Samsung                                                                                                           X
      Operation, P5 vs. iPad2, 18th May, 2011                                                      applications are ideal!!!" "Due to the big size of Icons and the big gap
                                                                                                   between applications, it is easier to find applications."
                                                                                                   Samsung comments that the contacts function on the iPad 2 has "very nice
      Samsung, European Telecommunication
41                                               S-ITC-010617659 - 7694, at '7670       Samsung    UI design and easy to edit contacts because Edit button is always visible!!!                           X
      Operation, P5 vs. iPad2, 18th May, 2011
                                                                                                   Very nice Book design and the editing is easy and intuitive."
      Samsung Galaxy S Launch Event
                                                                                                   9.9 mm thickness and 4 inch screen are described in a video clip about the
42    (http://www.youtube.com/watch?v Pnx                      N/A                      Samsung                                                                                           X
                                                                                                   Galaxy S.
      fnFm0Wb8)
43                                                             N/A                      Samsung    Describes tablet design as "revolutionary".                                                            X
      [GALAXY Tab 10.1] Official Demo - HD
      [GALAXY S II] Official Live Demo -
44                                                             N/A                      Samsung    Design of the phone seen from every angle.                                             X
      Viewing
                                                                                                   Samsung describes "Design" as a main feature of the Galaxy S II and notes
                                                                                                   the phone's "Slim and Light Design." Diagrams show "a double tap and tilt
                                                  SAMNDCA10775587 - 5624, at                       of the device will zoom in and out" and "tap and pan will move the user
45    Samsung Galaxy S II Presentation           '5594, '5599, '5607, '5619, '5621,     Samsung    from widgets to menus." Samsung in its 30 second pitch described the                   x
                                                                '9831                              screen as "wrapped in the sleekest design you can find anywhere." and
                                                                                                   highlights Design in its 3 minute pitch guidelines. Picture at the CTIA
                                                                                                   Unpacked event with Design on a powerpoint slide.




                                                                                      Prepared by Invotex Group                                                                               Submitted Under Seal; Highly Confidential;
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                              Apple Inc. v Samsung Electronics Co., LTD., et al.                                                                                                                                           EXHIBIT 24

                                                                     Demand for Design Patents and Trade Dress

#              Document Description                        Bates Number                  Party                                      Comment                                          Smartphone       Tablets
      Samsung Galaxy Tab 10.1 - Official
      Commercial
46                                                    N/A, time in video: 00:30        Samsung    Apple comparison is shown between a Galaxy Tab 10.1 and iPad.                                           x
      (http://www.youtube.com/watch?v OM
      1Pt0AXSaI)

                                                                                                  From a Design Competitiveness Evaluation, Samsung notes that "the
                                                                                                  [iPhone] design has simple appearance, but becomes more and more
                                                                                                  attractive as it is used)," and "out of the evaluation items for Delight, Total
                                                                                                  Design Uniformity and Design Leadership are more than 6 points higher
                                                                                                  than our company's mobile phones."
      [Blank Title], by Design Management          SAMNDCA00202336 - 2380, at
47                                                                                     Samsung    "Deliver overall consistent images over the entire process of product use in           x
      center, 10/8/7 (Translated)                      '2358, '2363, '2379
                                                                                                  addition to the product itself. Provide reliability by implementing Identity
                                                                                                  that involves integration of brand, design and marketing." [Slide shows
                                                                                                  Apple marketing items]
                                                                                                  "Intuitive Interface...Advanced Technology that simplifies complicated
                                                                                                  external function keys and thus enhances usability." [Shows picture of iPod]


      Experts' Evaluation Result, Self                                                            "When it comes to design, advance market dominance is important. The
      Inspection Program - Major Status on         SAMNDCA00203016 - 3040, at                     design that lost market dominance may appear to be an imitation."
48                                                                                     Samsung                                                                                           x
      Global Design Competitiveness                         '3033                                 "iPhone GUI appears to be alive. There is a lack of GUI that is more vivid and
      Evaluation, October 2007 (Translated)                                                       attractive GUI."

                                                                                                  After comparing iPhone and i9000 icons, directions for improvement
      Relative Evaluation Report on S1, iPhone,    SAMNDCA00203880 - 4010, at
49                                                                                     Samsung    include " change replicate icons and select and use highly intuitive icons"            x
      3/2/10 (Translated)                               '4006 and '4010
                                                                                                  and "eliminate the feeling that the iPhone’s menu icons were copied."
                                                                                                  "Summary of confirmed issues and comments following this morning’s
      Email from Kim Ah-young RE Octopus
50                                                   SAMNDCA00507826 - 7827            Samsung    report by the general business manager: …. 7. Packaging: Proceed with                  x
      3/17 Report Result, 3/17/10 (Translated)
                                                                                                  iPhone/Droid type"
                                                                                                  Apple's Desire, Intrigue, and Delight scores are consistently higher than
      Expert Evaluation Result [Cell Phone],       SAMNDCA00203092 - 3179, at
51                                                                                     Samsung    Samsung's. "There are more significant differences in "intrigue" and "design           x
      October '07 (Translated)                              '3137
                                                                                                  leadership."
                                                                                                  Survey contain user preferences of tablets:
      Competitive Tablets Product Experience:
                                                   SAMNDCA00237976 - 8036, at                     "consumers ranked Apple iPad (41%), Galaxy Tab 10.1" (26%) and 8.9 (17%)
52    Form Factor & Display Size / Aspect Ratio                                        Samsung                                                                                                            x
                                                            '7978                                 as most preferred tablet based on overall preference, taking into
      validation Research Report, 8/28/11
                                                                                                  consideration form factor AND display size."
      Critical Findings Brief: Competitive UX
                                                                                                  "Overall, the iPhone 3GS was rated better than other devices in overall
      Evaluation of Atlas, Victory, Supersonic     SAMNDCA00238251 - 8277, at
53                                                                                     Samsung    design, life needs and values, touchscreen, general usability and users                x
      and Vegas with HTC Incredible and Apple               '8254
                                                                                                  satisfaction across the sessions."
      iPhone 3GS
      Email chain from Shoneel Kolhatkar, RE                                                      In response to requests to change tablet specs, YK Yongki Min noted it was
                                                   SAMNDCA00514511 - 4520, at
54    "Changes of Tablet Spec", 3/7/11                                                 Samsung    "intending the improvement of product competitiveness against i-PAD 2, to                               x
                                                            '4512
      (Translated)                                                                                my understanding."
      Email chain between Yong Il Lee and                                                         Don Ju Lee: “The bottom line is that our P3 should go head-to-head against
      others, RE "About Galaxy Tab 10.1 Inch                                                      I-Pad II [sic] this time. First, the problem is strengthening the quality of the
55                                                SANDCA00514571 - 4578, at '4576      Samsung                                                                                                            x
      Introduction Strategy", 3/11/11                                                             product. 1. We will proceed on the premise that the thickness of the P3 that
      (Translated)                                                                                is already in the process of being reviewed should be less than 8.8mm."
      North America P4(P7510 Wifi) BBY Retail
                                                                                                  Samsung conducted a survey of customer returns, and 15% were attributed
56    Store Visit T/F Report, August 2011      SANDCA10154003 - 4053, at '4013         Samsung                                                                                                            x
                                                                                                  to design, of which 4% was attributable to appearance alone.
      (Translated)
      P5 Usability Evaluation Results - 4/9/11   SAMNDCA00176053 - 6171, at                       A major problem area "Legibility [for P5] is not good [as iPad 2] as the icon
57                                                                                     Samsung                                                                                                            x
      (Translated)                                        '6057                                   label is too small in proportion to the large screen."
                                                                                                  A side by side comparison of secondary icons from various phones,
                                                                                                  including the iPhone, is listed. In reviewing iPhone's secondary icons, "many
      Competitor Analysis Design & Layout -        SAMNDCA00228887 - 8933, at                     icon metaphors are simple vector shapes which are easy to understand….
58                                                                                     Samsung                                                                                           x
      2009 GUI Framework, 04/2008                      '8900, '8905, '8915                        Icons are very ownable and can easily be identified as part of the Apple
                                                                                                  family." The reported recommended "maintaining a strong link between
                                                                                                  the visual style of main menu icons helps maintain a family feel."

                                                                                                  A side by side comparison of the main menu layout and main menu icons is
                                                                                                  listed. The Apple iPhone's "iconography used is very ownable - even icons
      Competitor Analysis Design & Layout -        SAMNDCA00228934 - 8980, at                     for third party applications or features seem very iPhone-like… Visual
59                                                                                     Samsung                                                                                           x
      2009 GUI Framework, 04/2008                  '8947, '8964, '8969, and '8979                 language of iconography fits into the overall Apple family identity." The
                                                                                                  report recommended "maintain consistent visual application of icon style
                                                                                                  within the brand."
                                                                                                  "P1 does have some strengths compared with iPad but also gives a stuffy
      Analysis of Relative Strengths and
                                                   SAMNDCA00203727 - 3768, at                     feeling at the same time. The details on graphics are not enough to
60    Weaknesses P1 vs. iPad App, 4/20/10                                              Samsung                                                                                                            x
                                                            '3728                                 experience reality compared with iPad. Due to the lack of visual effects, fun
      (Translated)
                                                                                                  factors are not enough, and usability is low.
                                                                                                  "Compared with our own TouchWiz, P3 [Honeycomb] GED is in a
                                                                                                  disadvantageous position in terms of usability and intuitiveness. It requires
      iPad vs. Honeycomb P5 UX Comparison          SAMNDCA00203811 - 3879, at                     tablet UI/UX that is optimized and comparable with iPad. The somewhat
61                                                                                     Samsung                                                                                                            x
      of Competitiveness, 2/10/11 (Translated)              '3878                                 poor quality black UI causes inconvenience, degrading visibility and
                                                                                                  readability.... Menu offering method, pop-up menu location, coherence of
                                                                                                  icon, and unity are low."
      The Cambridge Group - Developing an
                                                                                                  The Cambridge Group notes that the iPhone "will affect consumer
      Optimized Positioning Strategy for
                                                   SAMNDCA00249029 - 9120, at                     expectations for design, user interface and presumably cell phone music
62    Samsung's U.S. Mobile Phone Business,                                            Samsung                                                                                           x
                                                        '9046 and '9049                           capabilities." the report also notes that reviewers are "most impressed with
      Positioning Strategy Recommendation.
                                                                                                  the uniqueness of the form…."
      Final Report. 1/30/07

      European Telecommunication Operation                                                        The P5 "Icons are too small and too close to each other," while the iPad 2
63                                                S-ITC-010617659 - 7694, at '7663     Samsung                                                                                                            x
      P5 vs. iPad 2, 5/18/11                                                                      "icons are big and the gap between the applications are ideal."
                                                   SAMNDCA10275576 - 5646, at                     "Overall, they were quick to compare it to the iPhone. Uniformly, people
64    Acme, July 2008                                                                  Samsung                                                                                           x
                                                            '5593                                 felt Acme was a copy of the iPhone."




                                                                                     Prepared by Invotex Group                                                                               Submitted Under Seal; Highly Confidential;
                                                                                            Page 3 of 5                                                                                                    Outside Counsel Eyes' Only
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                              Apple Inc. v Samsung Electronics Co., LTD., et al.                                                                                                                                       EXHIBIT 24

                                                                   Demand for Design Patents and Trade Dress

#              Document Description                      Bates Number                   Party                                     Comment                                        Smartphone       Tablets



                                                                                                 "Research suggests that brands that engage people emotionally can
                                                                                                 command prices as much as 20% to 200% higher than competitors', and sell
                                                                                                 in far higher volumes."
                                                                                                 "Samsung products were considered commodities. Samsung focus was on
                                                                                                 low cost manufacturing. Samsung products provided good value at low cost.
                                                                                                 But people neither loved nor respected the Samsung brand or its products."
                                                                                                 "Now Samsung must move from a well respected brand to a brand whose
                                                                                                 products are designed to make people love them.... This also necessitates
                                                                                                 moving from design as an expression of only form and function to designing
                                                                                                 an emotional, multi-sensory experience for the consumer."
      Global Evaluation Criteria For Tier 1       SAMNDCA00221705 - 1818, at
65                                                                                    Samsung    "We must add a higher level of inspired and inspiring design. Design cannot         x
      Design                                        '1708, '1709, '1713, '1718
                                                                                                 be only focused on the traditional role of the invention of new product
                                                                                                 architectures and the elegant expression of contemporary forms in
                                                                                                 conjunction with improved ease of use. This is not only because
                                                                                                 conventional design standards have been raised by all of the major
                                                                                                 competitors but because this type of design, no matter how good, is not
                                                                                                 longer sufficiently engaging. For design to emotionally engage the
                                                                                                 consumer and command the attention of media, one must love to design as
                                                                                                 theater. This type of design is based upon the stimulation of all of the
                                                                                                 senses, the creation of mystery and the engagement of the viewer and user
                                                                                                 in a more intimate relationship."



                                                                                                 "Start with materials…. Iconic Beauty that others cannot easily copy. Cost
                                                  SAMNDCA10809734 - 9875, at
66    Agenda [table of contents in Korean]                                            Samsung    Innovation that makes bigger profit. Value creator that maximizes product           x
                                                        '9838 - '9840
                                                                                                 concept." On the next slide, it shows the iPhone.

                                                                                                 "Touch device is being positioned as a premium phone... stylish and
                                                                                                 characteristic design for touch device is needed.... Stylish touch phone need
                                                  SAMNDCA10202899 - 2983, at
67    '10 US Archetype Design Input, 10/23/08                                         Samsung    to focus on the design itself to appeal self-esteemed people. With the              x
                                                           '2925
                                                                                                 design identity, large screen, easily usability, and multimedia functionality
                                                                                                 will be weighed in as a state of the art device."
      Feasibility Review on Standalone AP
                                                  SAMNDCA10809390 - 9460, at                     "Our research has identified four key factors that we expect will shape
68    Business for Smart Phone Market                                                 Samsung                                                                                        x
                                                           '9402                                 handsets in the coming five years. Those factors are: 1. the iPhone…."
      (Untranslated document)

                                                                                                 "Pundits tell us that the iPhone is a revolution…. 'Apple Inc's iPhone…
                                                                                                 widely hailed for its beauty and functionality….' -Walter Mossberg"
                                                                                                 "The iPhone has delivered on the promise of touch, permanently altering a
                                                                                                 consumer's mental model of a mobile phone across key product
      Touch Portfolio, Rollout Strategy,          SAMNDCA00191811 - 1987, at
69                                                                                    Samsung    dimensions. [Design is shown as a dimension]."                                      x
      12/17/08                                      '1830, '1838, '1841, '1842
                                                                                                 "The iPhone is in some ways 'undesigned' but its strong ,screen-centric
                                                                                                 design has come to equal what's on trend and cool for many consumers."
                                                                                                 "For State of the Art, Apple has overtaken Samsung as the most stylish
                                                                                                 brand overall."

                                                                                                 "When [Omnia II] compared with the iPhone, it fell short in some cases, and
      Final Report - i920 Usability Test &
70                                               S-ITC-009302888 - 2969, at '2894     Samsung    was on par in others. The main advantage of the iPhone was its perceived            x
      iPhone Benchmarking - UT1, 9/25/09
                                                                                                 simplicity."
                                                                                                 Findings of the final report on competitive touch UX design between the
                                                                                                 iPhone 3GS and other phones include "home screen preference - iPhone
      Email chain from Sang Hung to YK Tongki                                                    3GS has the highest ranking…. We should use iPhone 3GS (for the time
      Min, et al. RE Competitive Touch UX                                                        being until another best-of-the-class in usability) as benchmark/goal for
71                                                 SAMNDCA10175266 - 5267             Samsung                                                                                        x
      design consumer usability report,                                                          improvement in any of our products. In the Android platform, we will want
      12/4/09                                                                                    to make sure any of the enhanced designs should at least match the default
                                                                                                 UX supported by the platform through user-centered research and
                                                                                                 consumer usability testing...."

      Winning in Smartphones - It's now or        SAMNDCA10807316 - 7387, at                     Strategic plays for Samsung include, "UI on par with iPhone….. Match the
72                                                                                    Samsung                                                                                        x
      never, by McKinsey&Co, 12/10/09                      '7358                                 iPhone UI within the next 12 months."

                                                                                                 "The iPhone is in direct competition with a large number of Samsung
                                                                                                 devices (Form Factor view)"
                                                                                                 "Apple (in combination with RIM) is creating a growing threat to Samsung's
                                                                                                 market share."
                                                                                                 "State-of-the-Art were driven by the Apple brand and design."
      Support to STA's Counter-Apple Strategy,    SAMNDCA10036081 - 6204, at
73                                                                                    Samsung    "iPhone segments are very distinct in terms of why they bought the                  x
      Mercator Partners, 9/18/08                    '6089, '6094, '6103, '6106
                                                                                                 iPhone..." under State-of-the-art, "Key buying factors - high on Design &
                                                                                                 Appearance."
                                                                                                 "Recommendation #1 - Contain Apple by 'encircling the iPhone' through
                                                                                                 systematically targeting the under-served needs of different iPhone
                                                                                                 segments" an arrow points to "State-of-the-art Style + Apple - Price."

                                                                                                 "Changes in high-end consumers' awareness of styles" include: "focus not
                                                                                                 only on the external design but on the UX design and usability."
                                                                                                 "Customized Design" points to "Personalized Experience"
      Results of Global Segmentation 2.0
                                                  SAMNDCA00196646 - 6827, at                      "Recognize touch screen as the best tool to ensure
74    Study, Mobile Marketing Group /                                                 Samsung                                                                                        x
                                                           '6658                                 intuitiveness/style/visibility."
      Strategy & MI Part, March 2010
                                                                                                 "Style In & Out + Trendy + Latest." Same slide also depicts different
                                                                                                 pictures of the iPhone.


      Samsung Mobile Philosophy, Analysis of                                                     Samsung is compared with Apple and Sony. Apple is described as "simple,
                                                 SAMNDCA 00217372 - 7388, at
75    Survey Results, Mobile UX Group                                                 Samsung    innovation, new, easy, minimal" and Samsung as "techy, balance, wide &              x
                                                          '7380
      Samsung Electronics, 8/13/07                                                               deep, reason & feeling, absence of consistency."




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                                                                           Demand for Design Patents and Trade Dress

       #               Document Description                      Bates Number                 Party                                      Comment                                         Smartphone       Tablets

                                                                                                       "Vibrant users value the product's features over the product's brand and
                                                                                                       design.... There were not many Apple users who purchased Samsung
                                                                                                       products. In contrast, many Samsung users purchased Apple products
              Final Report, Galaxy S Market Response     SAMNDCA 00521309 - 1396, at
       76                                                                                   Samsung    subsequently."                                                                        x
              Survey (US), October 6                         '1316, '1318, '1374
                                                                                                       “Brand and Design were the main reasons consumers purchased the iPhone
                                                                                                       4, which is the main competing product to Samsung Phones.” Design is the
                                                                                                       fourth most important reason for buying the Samsung Vibrant.
                                                         SAMNDCA00251457 - 1505, at                    iPhone has “Innovative UI,” “touch screen,” and “focusing emotional
       77     3G iPhone Counter Plan, 6/14/08                                               Samsung                                                                                          x
                                                                  '1460                                benefits."
                                                                                                       iPhone strengths include "user friendly", "usability", "touch-screen", and
                                                                                                       "cool factor.”
                                                                                                       "While it has no immediate competition in terms of usability and style, it
                                                         SAMNDCA00251538 – 1565, at
       78     iPhone 3G UX Analysis, 7/12/08                                                Samsung    [iPhone] will undoubtedly create a world of copycat products and                      x
                                                                  '1561
                                                                                                       competitors. Competitors' new technologies, business model and/or
                                                                                                       creative user interface have been and will be launched to compete with
                                                                                                       iPhone.”
              Design Strategy of Apple, Concept          SAMNDCA10808165 - 8199, at
       79                                                                                   Samsung    Samsung outlines iPhone and iPad design history.                                      x                x
              Planning Unit, 3/16/11                          '8174 and '8175
              Touch Devices Browser User Experience      SAMNDCA10166661 - 6742, at                    "Apple iPhone browser url/search UX provides one of the best reference
       80                                                                                   Samsung                                                                                          x
              Best Practices, STA UX, 2/13/09                     '6683                                designs in the market."
                                                                                                       “iPhone [Korean text] Premium/[Korean Text]”
              "Premium & Mass Design Preference          SAMNDCA00176172 - 6202, at                    The "Most Trendy" phone is the iPhone 3GS and 4. "It's simple, it looks like
       81                                                                                   Samsung                                                                                          x
              Study"                                           '6178, '6192                            it's more skinny and it's enough space to navigate it. It's everything that you
                                                                                                       need in a phone."
              Email from Nandakumar Ramachandran,
              11/16/09 RE: Competitive Intelligence on                                                 "iPhone 3GS still scored best across virtually all the tasks tested (and in
                                                         SAMNDCA10410283 - 0293, at
       82     2010 TMO Android Product Roadmap                                              Samsung    some cases by a wide margin), the home screen design and the general                  x
                                                                  '0283
              against Samsung 2H10 Android Product                                                     interaction design."
              Roadmap Strategy for TMO



Sources/Notes:
1/ (a) iPhone Buyer Survey, Apple Market Research & Analysis, FY11 - Q4, APLNDC-X0000006548 - 6647, at '6566 and '6620;
   (b) iPhone Buyer Survey, Apple Market Research & Analysis, FY11 - Q3, APLNDC0000036172 - 6265, at '6189 and '6238;
   (c ) iPhone Buyer Survey, Apple Market Research & Analysis, FY11 - Q2, APLNDC0000036266 - 6348, at '6293;
   (d) iPhone Buyer Survey, Apple Market Research & Analysis, FY11 - Q1, APLNDC-Y0000027341 - 7422, at '7362;
   (e) iPhone Buyer Survey, Apple Market Research & Analysis, FY10 - Q4, APLNDC-Y0000027256 - 7340, at '7277.




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                                                                                                                 Apple Inc. v. Samsung Electronics Co., LTD., et al.                                                                                                                                 EXHIBIT 25


                                                                                                                        Demand for Utility Patents

                                                                                                                                                                                                                                                                              Patent
#                        Title of Document                             Bates Beg - End             Page in Document                        Party                       Relevant Patent or Feature                        Comments on Utility
                                                                                                                                                                                                                                                                       '381 '915 '163 '607
                                                                                                                                                                                                    Multi-touch is focused on because "it's the way that you
     Deposition of Tamara Whiteside, Worldwide Advertising                                                                                                    Scroll or Gesture/Zoom and            interact with the product...you can pinch to zoom in or out, tap
1                                                                            N/A                        P. 124                             Apple                                                                                                                              x     x     x
     Manager at Apple, 2/28/12                                                                                                                                Refocus/Multi-touch                   to zoom." There are "various ways that you can interact with
                                                                                                                                                                                                    this product that are unique to it."
     Deposition of Tamara Whiteside, Worldwide Advertising                                                                                                                                          Apple featured the bounceback functionality in ads because
2                                                                            N/A                        P. 158                             Apple              Bounce Effect                                                                                             x
     Manager at Apple, 2/28/12                                                                                                                                                                      "nobody else had…the ability to do that in their software."

     Deposition of Eric Jue, Product Line Manager for iPod at                                                                                                                                       "Q Do you think the bounceback feature was revolutionary?
3                                                                            N/A                         P. 49                             Apple              Bounce Effect                                                                                             x
     Apple, 2/24/12                                                                                                                                                                                 A Absolutely"

                                                                                                                                                                                                    "Apple has pioneered multi-touch and focuses on ease-of-use of
     "Apple: iOS - Powering the Mobility Revolution",                                                                                                                                               the phone (for example, the 3 MP camera in the iPhone 3GS
4                                                                APL-ITC796-0000071960 - 2051    APL-ITC796-0000071990                     Apple              Multi-touch                                                                                                                 x
     BernsteinResearch                                                                                                                                                                              wasn't cutting-edge, but featured revolutionary user
                                                                                                                                                                                                    functionality such as touch-to-focus)."
                                                                                                                                                                                                    When asked what was the most important features that
                                                                                                                                                                                                    prompted purchase of an iPad, multi-touch was the most
5    iPad Buyer Survey: Initial US Results, August 2010          APLNDC-Y0000023361 - 3427       APLNDC-Y0000023387                        Apple              Multi-touch                           important reason for 2% of those surveyed (4% choose this                             x
                                                                                                                                                                                                    feature as second-most important, and 3% choose as third-most
                                                                                                                                                                                                    important).
     Exhibit 6 to Declaration of Sissie Twiggs, Director of
6                                                                            N/A                       0:01; 0:19                          Apple              Scroll or Gesture                     Scrolling function is shown during commercial for the iPhone.             x
     Worldwide Advertising at Apple, 7/1/11
     Exhibit 8 to Declaration of Sissie Twiggs, Director of                                                                                                                                         Scrolling function is shown during commercial for the iPhone
7                                                                            N/A                    0:01; 0:11; 0:17                       Apple              Scroll or Gesture                                                                                               x
     Worldwide Advertising at Apple, 7/1/11                                                                                                                                                         3G.
     Exhibit 10 to Declaration of Sissie Twiggs, Director of                                              0:06                                                Scroll or Gesture/Zoom and            In the commercial for the iPhone 4, double tap feature is shown
8                                                                            N/A                                                           Apple                                                                                                                              x     x     x
     Worldwide Advertising at Apple, 7/1/11                                                            0:14; 0:20                                             Refocus/Multi-touch                   once; pinch to zoom feature is shown multiple times.

     Exhibit 19 to Declaration of Sissie Twiggs, Director of                                              0:01                                                                                      In the commercial for the iPad, multi-point touch feature
9                                                                            N/A                                                           Apple              Scroll or Gesture/Multi-touch                                                                                   x           x
     Worldwide Advertising at Apple, 7/1/11                                                         0:10; 0:15; 0:26                                                                                shown; scrolling function is shown during commercial.

     Exhibit 29 to Deposition of Sissie Twiggs, Director of                                                                                                                                         "Touching is Believing": advertisement depicting the ease of use
10                                                                           N/A                         p.66                              Apple              Scroll or Gesture                                                                                               x
     Worldwide Advertising at Apple, 7/27/11                                                                                                                                                        of iPhone with its touchscreen feature.
                                                                                                                                                                                                    Mentions iPad 2 rumors "expect thinner, lighter device" with
11   DJ Koh Review - 3/16/11                                      SAMNDCA00236805 - 6847          SAMNDCA00236817                        Samsung              Scroll or Gesture/Multi-touch                                                                                   x           x
                                                                                                                                                                                                    "new multi-touch gestures."
                                                                                                                                                                                                    Survey asks if the Samsung Vibrant is "easy to use with multi-
     Latest Mobile Phone Usage and Satisfaction Survey - T-                                                                                                   Scroll or Gesture/Zoom and
12                                                                SAMNDCA00247578 - 7604          SAMNDCA00247594                        Samsung                                                    touch function (lets you enlarge/minimize everything using only           x     x     x
     Mobile Vibrant MRS Questionnaire                                                                                                                         Refocus/Multi-touch
                                                                                                                                                                                                    your fingers)"
     VZW "SCH-i905(P4_LTE)" - Product Planning Group                                                                                                                                                Mentions Samsung P4 LTE is "Easy and Fast to Use" with "10
13                                                                SAMNDCA00522001 - 2025          SAMNDCA00522009                        Samsung              Multi-touch                                                                                                                 x
     3/31/2011                                                                                                                                                                                      Finger Multi-touch"
                                                                                                                                                                                                    Document mentions increase in input methods (such as
14   Samsung Equaliser - UX Forecast 2012-13                      SAMNDCA00190881 - 1029          SAMNDCA00190971                        Samsung              Scroll or Gesture                                                                                               x
                                                                                                                                                                                                    scrolling on an iPhone) as a trend in mobile platforms
                                                                                                                                                                                                    Survey shows consumers are concerned about "accidental
     Touch Portfolio - Rollout Strategy - Recommendation                                          SAMNDCA00178036                                                                                   touches" and "lack of pinpoint control" on their touch screens;
15                                                                SAMNDCA00178021 - 8112                                                 Samsung              Bounce Effect/Scroll or Gesture                                                                           x     x
     Based on Consumer Insight - 12/17/08                                                         SAMNDCA00178056                                                                                   Survey found touch gestures and the "bounce" feature as "fun"
                                                                                                                                                                                                    and "whimsical" features of the iPhone

     Touchscreen Mobile Browsers: Best Practice Guidelines
16                                                                SAMNDCA00190046 - 0093          SAMNDCA00190053                        Samsung              Scroll or Gesture/Zoom and Refocus    The iPhone "meets user needs very well for zooming."                      x     x
     and Browser Evaluations - November 2009

     ARIES (GT -I8700) Product Proposal Document                                                                                                                                                    Document mentions "Multi-touch" and "One Finger Zoom" as
17                                                                  S-ITC-001012125 - 2139          S-ITC-001012133                      Samsung              Zoom and Refocus/Multi-touch                                                                                          x     x
     12/14/2009                                                                                                                                                                                     part of the "Cutting-Edge Technology" selling point.

     Analysis of Galaxy tab Operation Speed and Screen Effects                                                                                                                                      Document compares Galaxy Tab's Bounce feature to the iPad's.
18                                                                SAMNDCA00201771 - 1780        SAMNDCA00201772-1780                     Samsung              Bounce Effect                                                                                             x
     (Translated)                                                                                                                                                                                   Bounce effect is listed as unemotional in several areas.

                                                                                                                                                                                                    Samsung Fascinate features "advanced touch screen gesture
19   VZW News Release - 6/28/10                                   SAMNDCA00312249 - 2251          SAMNDCA00312250                        Samsung              Scroll or Gesture/Zoom and Refocus    capabilities", including different zoom methods and horizontal            x     x
                                                                                                                                                                                                    swiping.
                                                                                                                                                                                                    Document states that VCAST apps in Model I510 (Droid Charge)
20   Verizon Wireless Weekly Report - Week 38 - 9/26/11             S-ITC-005218927 - 8984          S-ITC-005218936                      Samsung              Bounce Effect                                                                                             x
                                                                                                                                                                                                    have bounce effect.
     Samsung Epic 4G, America's First 4G-Capable Phone with                                                                                                                                         Samsung Epic 4G "supports a series of advanced touch screen
21   Slide-out QWERTY Keyboard and Brilliant Super AMOLED         SAMNDCA00312245 - 2251          SAMNDCA00312246                        Samsung              Scroll or Gesture                     gestures including multi-touch pinch" and "vertical and                   x
     Touchscreen, Coming to Sprint - 6/28/10                                                                                                                                                        horizontal swiping."

     Samsung Mobile and U.S. Cellular Announce Availability                                                                                                                                         Samsung Mesmerize "supports a series of advanced touch
22   of the Samsung Mesmerize, a Galaxy S Smartphone, at          SAMNDCA00312263 - 2266          SAMNDCA00312264                        Samsung              Scroll or Gesture                     screen gestures including multi-touch pinch" and "vertical and            x
                                                                                                                                                                                                                                                                                                                    Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 198 of 245




     CTIA Enterprise & Applications - 10/6/10                                                                                                                                                       horizontal swiping"

     AT&T and Samsung Mobile Announce Upcoming                                                                                                                                                      Samsung Captivate "supports a series of advanced touch screen
23   Availability of the Samsung Captivate, a Galaxy S            SAMNDCA00312274 - 2279          SAMNDCA00312275                        Samsung              Scroll or Gesture                     gestures including multi-touch pinch" and "vertical and                   x
     Smartphone - 6/17/10                                                                                                                                                                           horizontal swiping."
                                                                                                                                                                                                    Document states "multi-touch enhances type accuracy" and
24   Samsung Gem(SCH-i100) Sales Point                            SAMNDCA10173553 - 3573        SAMNDCA10173564 - 3565                   Samsung              Scroll or Gesture/Multi-touch         that "pinch-zoom enabled android browser can give                         x           x
                                                                                                                                                                                                    convenience while browsing."



                                                                                                                            Prepared by Invotex Group                                                                                                                  Submitted Under Seal; Highly Confidential;
                                                                                                                                   Page 1 of 3                                                                                                                                      Outside Counsel Eyes' Only
                                                                                                           Apple Inc. v. Samsung Electronics Co., LTD., et al.                                                                                                                                    EXHIBIT 25


                                                                                                                  Demand for Utility Patents

                                                                                                                                                                                                                                                                           Patent
#                        Title of Document                            Bates Beg - End         Page in Document                       Party                       Relevant Patent or Feature                         Comments on Utility
                                                                                                                                                                                                                                                                    '381 '915 '163 '607
                                                                                                                                                                                              Document states "Touch is History - Gesture Input is
25   Samsung 'THOR' '11 Hero Proposal - 7/12/10                   SAMNDCA10138344 - 8429      SAMNDCA10138389                      Samsung              Scroll or Gesture                                                                                                  x
                                                                                                                                                                                              Innovative."
                                                                                                                                                                                              Document recommends that "traditional scroll bar aesthetics is
26   Competitor Benchmarking Samsung Qbowl 09/07                  SAMNDCA00219766 - 9880      SAMNDCA00219878                      Samsung              Scroll or Gesture                                                                                                  x
                                                                                                                                                                                              not used but the iPhones' scrolling mechanism instead."
                                                                                                                                                                                              Document states the iPhone's "Zoom and Scroll are simple and
27   Mobile Internet User Research - 1/18/08                      SAMNDCA00220591 - 0672      SAMNDCA00220603                      Samsung              Scroll or Gesture                                                                                                  x
                                                                                                                                                                                              intuitive using finger gestures."
     Samsung Galaxy Tab Official Commercial
28                                                                         N/A                      0:14                           Samsung              Scroll or Gesture                     Scrolling function is shown in commercial for the Galaxy Tab.                x
     (http://www.youtube.com/watch?v=GHPJdqgsJ9g)

     Time to Tab - Samsung Galaxy Tab 10.1 Global TV
                                                                                                                                                                                              Pinch to zoom and scrolling features are shown in the
29   Commercial                                                            N/A                      0:04                           Samsung              Scroll or Gesture/Multi-touch                                                                                      x           x
                                                                                                                                                                                              commercial for the Galaxy Tab 10.1.
     (http://www.youtube.com/watch?v=QL8ePbYsdc8)

     Introducing the Samsung Galaxy Tab - It's Go Time
30                                                                         N/A                      0:09                           Samsung              Scroll or Gesture                     Scrolling function is shown in commercial for the Galaxy Tab.                x
     (http://www.youtube.com/watch?v=yGKthibnyTE)
     Samsung Continuum - A Galaxy S Phone (Verizon)                                                                                                                                           Scrolling function is shown in commercial for the Galaxy S -
31                                                                         N/A                    0:30; 1:12                       Samsung              Scroll or Gesture                                                                                                  x
     (http://www.youtube.com/watch?v=KIi32R3yciY)                                                                                                                                             Continuum.
     Samsung Mobile USA, [Jo Videos] Samsung Galaxy S II Tips
     & Tricks - Email
                                                                                                                                                                                              Pinch to zoom and scrolling features are shown in the
32   (http://www.youtube.com/watch?v=EhwW3cjsbAM&list=                     N/A                      1:08                           Samsung              Scroll or Gesture/Multi-touch                                                                                      x           x
                                                                                                                                                                                              commercial for the Galaxy S II.
     PLB06411CFD33597A3&feature=plcp&context=C337f15fP
     DOEgsToPDskIFli7kLjB29rSJhGXwKF67)

     [GALAXY Tab 10.1] Official Demo - HD                                                            0:51                                                                                     In the commercial for Galaxy Tab 10.1, pinch to zoom and
                                                                                                                                                        Scroll or Gesture/Zoom and
33   (http://www.youtube.com/watch?v=7tfX3Vlz0nI&feature                   N/A                    3:49; 4:00                       Samsung                                                    scrolling features are shown; tap to zoom and navigate feature               x     x     x
                                                                                                                                                        Refocus/Multi-touch
     =related)                                                                                       8:32                                                                                     shown. Tablet design is described as "revolutionary."

     [GALAXY S II] Official Live Demo - Viewing
     (http://www.youtube.com/watch?v=LP38KF-                                                        0:24                                                                                      In the commercial for the Galaxy S II, pinch to zoom and
34                                                                         N/A                                                     Samsung              Scroll or Gesture/Multi-touch                                                                                      x           x
     LR0U&feature=BFa&list=PL3F63929F54D9A90A&lf=plpp_                                              1:01                                                                                      scrolling features are shown.
     video)
                                                                                                                                                                                              Diagrams showing "a double tap and tilt of the device will zoom
35   Samsung Galaxy S II Presentation                             SAMNDCA10775587 - 5624      SAMNDCA10775607                      Samsung              Scroll or Gesture/Zoom and Refocus    in and out" and "Tap and Pan will move the user from widgets                 x     x
                                                                                                                                                                                              to menus."
                                                                                                                                                                                              Samsung notes their current browser has no Bounce effect, and
                                                                                                                                                                                              for the iPad, "there is an element of Fun from the natural
36   P5 Usability Evaluation Results - 4/9/11 (Translated)        SAMNDCA00176053 - 6171      SAMNDCA00176125                      Samsung              Bounce Effect                         Bounce effect following hand movements." There is a text               x
                                                                                                                                                                                              screen noting that the GA Lab Evaluation will evaluate the
                                                                                                                                                                                              Bounce effect.
                                                                                                                                                                                              Samsung compares the Samsung Optical Joystick, with 'Multi
37   WOW Project - July 2007 (Translated)                         SAMNDCA00202212 - 2225      SAMNDCA00202221                      Samsung              Multi-touch                                                                                                                    x
                                                                                                                                                                                              Touch' next to an Apple logo.
                                                                                                                                                                                              After comparing the web browser of the i9000 and iPhone,
                                                                                           SAMNDCA00203909, '3928,                                                                            Samsung notes iPhone's drag and Double Tap feature, and
38   Relative Evaluation Report on S1, iPhone, 3/2/10             SAMNDCA00203880 - 4010                                           Samsung              Scroll or Gesture/Zoom and Refocus                                                                                 x     x
                                                                                                 and '3944                                                                                    recommend "add various features that a user can easily notice
                                                                                                                                                                                              such as up/down transitions."
                                                                                                                                                                                              Two options to deal with the iPhone: "Option 1: match the
                                                                                                                                                                                              iPhone on mainly one dimension (product)…. Option 2: match
                                                                                            SAMNDCA00251508 and
39   3G iPhone US Market Impact, July 2008                        SAMNDCA00251506 - 1512                                           Samsung              Multi-touch                           the iPhone on multiple dimensions."                                                      x
                                                                                                  '1513
                                                                                                                                                                                              Under the Samsung short/medium term plan for Product, under
                                                                                                                                                                                              User Interface, it lists "Multi Finger Touch."

                                                                                                                                                                                              On the Behold3, "unintentional unlocking is possible because
                                                                                                                                                                                              the sliding action works on any part of the screen."
     Behold3 Usability Evaluation Results, 5/10/10 (Translated)                            SAMNDCA00508344, and
40                                                                SAMNDCA00508318 - 8411                                           Samsung              Bounce Effect/Scroll or Gesture       The document also notes that when "a web page is dragged to            x     x
     [Chung Exhibit B]                                                                            '8383
                                                                                                                                                                                              the bottom edge or the sides, no effects are provided and the
                                                                                                                                                                                              overall feel is plain."

     Email from Jaegwan Shin to Ioi Lam et al., RE" "[P1                                                                                                                                      Samsung HQ requested for the implementation of the Bounce
41   Browser] Request for Implementation of Additional            SAMDCA00525347 - 5349       SANDCA00525347                       Samsung              Bounce Effect                         effect: "HQ is asking us to make it for P1 project…. 3. There is no    x
     Effects", 10/6/10 (Translated)                                                                                                                                                           bounce effect in Browser screen."

     Email from Sangwook Han of Nemustech to Seungyun Lee                                                                                                                                     "With regards to bounce, we used Mass Spring Damper model
42   of Samsung RE "[List Bouncing] Questions regarding           SAMNDCA10850604 - 0607      SAMNDCA10850604                      Samsung              Bounce Effect                         which followed the actual physical effect and obtained the             x
     bouncing", 10/28/10 (Translated)                                                                                                                                                         bounce effect that is similar to iPad. "
                                                                                                                                                                                                                                                                                                                 Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 199 of 245




     Email from Sangwook Han of Nemustech to Seungyun Lee
43   of Samsung RE: "[Tiffany Effect] P1 Application Case /       SAMNDCA10850822 - 0824      SAMNDCA10850822                      Samsung              Bounce Effect                         "There is a request to insert Bouncing in GridView."                   x
     Additional Review Items Inquiry", 7/21/10 (Translated)




                                                                                                                      Prepared by Invotex Group                                                                                                                     Submitted Under Seal; Highly Confidential;
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                                                                                                                         Demand for Utility Patents

                                                                                                                                                                                                                                                                                Patent
#                        Title of Document                               Bates Beg - End              Page in Document                     Party                       Relevant Patent or Feature                          Comments on Utility
                                                                                                                                                                                                                                                                         '381 '915 '163 '607
                                                                                                                                                                                                    HQ reported problems regarding:
                                                                                                                                                                                                    "2. Scroll not respond….
                                                                                                                                                                                                    3. Touch performance fail..
     Email from Jaegwan Shin to Arum Kumar et al., RE: "P4                                                                                                    Scroll or Gesture/Zoom and
44                                                                  SAMNDCA00201351 - 1356        SAMNDCA00201351 - 1523                 Samsung                                                        1) Pinch zoom in: focus time slow than iPad 2;                          x     x     x
     Browser Touch performance problems", 5/7/11                                                                                                              Refocus/Multi-touch
                                                                                                                                                                                                        2) Double Tap: zoomout time is slow than iPad 2.
                                                                                                                                                                                                    4. While Scroll/DoubleTap, checkboarder is showing too much
                                                                                                                                                                                                    vs iPad 2."
     Email from Jaegwan Shin to Ioi Lam et al., RE: "[San Jose]
                                                                    SAMNDCA00229399 - 9409,        SAMNDCA00229399, and                                       Scroll or Gesture/Zoom and            Performance test results after applying patch for scroll/zoom on
45   Request for update of P5/P4 zoom/scroll progress",                                                                                  Samsung                                                                                                                                x     x     x
                                                                       SAMNDCA00229410                    '9410                                               Refocus/Multi-touch                   P5 benchmarked against various models of the iPad.
     4/19/11 (Translated)
     GT-P7500/P7510_Browser_Touch Performance Test                                                                                                            Scroll or Gesture/Zoom and            Browser Touch Performance Test of P7510 benchmarked
46                                                                  SAMNDCA00229410 - 9415           SAMNDCA00229410                     Samsung                                                                                                                                x     x     x
     (Translated)                                                                                                                                             Refocus/Multi-touch                   against various models of the iPad.
                                                                                                                                                                                                    "Here is some test result from HW regarding zoom/scroll. As we
                                                                  SAMNDCA00229440 - 9448 (chart SAMNDCA00229440 - 9442
     Email chain between Ioi Lam and Jaegwan Shin, RE: "U1                                                                                                    Scroll or Gesture/Zoom and            has been asked, HQ wants us to improve initial response for
47                                                                    shown more clearly on     (chart shown more clearly on             Samsung                                                                                                                                x     x     x
     browser scrolling patch", 3/3/11                                                                                                                         Refocus/Multi-touch                   zoom especially." Email then lists results for Pinch Zoom, Scroll,
                                                                    SAMNDCA00229449 - 9451)      SAMNDCA00229449 - 9451)
                                                                                                                                                                                                    and DoubleTap between the i9100, Optimus 2x, and iPhone4.
     Email chain between Jaegwan Shin and Ioi Lam et al., RE:
                                                                                                                                                              Scroll or Gesture/Zoom and            HQ requested for various performance improvements regarding
48   "[San Jose - Urgent] [U1] zoom/scroll performance",            SAMNDCA00229396 - 9397           SAMNDCA00229396                     Samsung                                                                                                                                x     x     x
                                                                                                                                                              Refocus/Multi-touch                   the zoom in and scrolling feature.
     3/20/11 (Translated)
                                                                                                                                                                                                    On the SMS-manager and Contact list overview, it is noted
                                                                                                   SAMNDCA10042979 and
49   i900 Improvement Points                                        SAMNDCA10042955 - 2984                                               Samsung              Scroll or Gesture                     "scrolling up/down by vertical finger dragging (just like it is             x
                                                                                                         '2981
                                                                                                                                                                                                    realized on iPhone)."
     European Telecommunication Operation P5 vs. iPad 2,                                                                                                                                            The P5 "touch respond is slow, especially, if you scroll fast, it
50                                                                    S-ITC-010617659 - 7694      S-ITC-010617661 and '7691              Samsung              Scroll or Gesture                                                                                                 x
     5/18/11                                                                                                                                                                                        follows the fingers with delay."
51   Acme, July 2008                                                SAMNDCA10275576 - 5646           SAMNDCA10275618                     Samsung              Scroll or Gesture                     "…the up and down scrolling action is seen as fun…."                        x
                                                                                                                                                                                                    "The most preferred method is "Double-Tap" Zooming…
                                                                                                                                                                                                    Simplicity is the primary reason of the choice."
                                                                                                                                                                                                    "The least preferred methods were split between u960 Browser
                                                                                                                                                                                                    and TouchWiz designs." "Too many steps...""dislike of long
                                                                                                  SAMNDCA11104133, '4134,                                                                           press, perception of reliability issues and complicated
52   Browser Zooming Methods UX Exploration Study, 4/17/09          SAMNDCA11104115 - 4139                                               Samsung              Zoom and Refocus                                                                                                        x
                                                                                                         '4138                                                                                      interactions were reasons given...."
                                                                                                                                                                                                    "Suggestions - Adopt Double-Tap as a supplementary zooming
                                                                                                                                                                                                    method... the UX of iPhone can be used as a design benchmark.
                                                                                                                                                                                                    Apply double-tap method consistently in other applications
                                                                                                                                                                                                    supporting zoom....."
                                                                                                                                                                                                    Document compares the Browser functionality across several
     Touch Devices Browser User Experience Comparison,                                                                                                                                              different phones. "Rendering is among the most accurate
53                                                                  SAMNDCA11082242 - 2299           SAMNDCA11082273                     Samsung              Multi-touch                                                                                                                   x
     November 2008                                                                                                                                                                                  among all browsers with dynamic magnification and reduction
                                                                                                                                                                                                    with multi-touch."
                                                                                                                                                              Scroll or Gesture/Zoom and            Diagrams showing the iPad with Panning, Pinching and Double
54   Apple iPad (untranslated document), 1/28/10                    SAMNDCA10806707 - 6720           SAMNDCA10806713                     Samsung                                                                                                                                x     x     x
                                                                                                                                                              Refocus/Multi-touch                   Tap features.
     Email from Seung Yun Lee to Meeso Kim et al., RE:
55                                                                  SAMNDCA00533366 - 3373           SAMNDCA00533366                     Samsung              Bounce Effect                         "List Bouncing effect is applied to all the applications."            x
     "Today's Conference Call - Action Items", 10/12/10
                                                                                                                                                                                                    "Touch screen is very responsive and accurate."
                                                                                                                                                                                                    "Multi-touch user interface is a competitive advantage for
                                                                                                                                                                                                    finger touch interaction design."
     Touch Devices Browser User Experience Best Practices,                                        SAMNDCA1016698, '6708,                                      Scroll or Gesture/Zoom and            "There is no widget needed to zoom in and out - users interact
56                                                                  SAMNDCA10166661 - 6742                                               Samsung                                                                                                                                x     x     x
     STA UX, 2/13/09                                                                                     '6721                                                Refocus/Multi-touch                   with screen objects directly."
                                                                                                                                                                                                    "Scrollbars appear when scrolling but will time out quickly
                                                                                                                                                                                                    after."

                                                                                                                                                                                                    In a product competitive chart, "What is inferior? Less
                                                                                                                                                                                                    sophisticated User Interface.. No multi-touch UI."
                                                                                                  SAMNDCA00251472, '1473,
57   3G iPhone Counter Plan, 6/14/08                                SAMNDCA00251457 - 1505                                               Samsung              Multi-touch                           Instinct Action Item, "Touchwiz UI."                                                    x
                                                                                                         '1503
                                                                                                                                                                                                    Product competitive analysis for the OMNIA also includes "no
                                                                                                                                                                                                    multitouch UI."
                                                                                                                                                                                                    Shows screenshots of the iPhone "sweep horizontally and
58   iPhone 3G UX Analysis, 7/12/08                                 SAMNDCA00251538 – 1565           SAMNDCA00251545                     Samsung              Scroll or Gesture                                                                                                 x
                                                                                                                                                                                                    delete email."
                                                                                                                                                                                                    “The tablet team will check with the development team to see
     Email chain between Jee Won Lee and others, RE Q1]                                                                                                                                             if the technolocy identical to that of the iPad (lining-up within
59                                                                  SAMNDCA10524415 - 4420           SAMNDCA10524416                     Samsung              Gesture                                                                                                           x
     Email Body, 8/17/11                                                                                                                                                                            the screen without scrolling left-to-right in test view/ fit to
                                                                                                                                                                                                    screen in the image web view) to email that is fit to screen.”
                                                                                                                                                                                                                                                                                                                      Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 200 of 245




                                                                                                                              Prepared by Invotex Group                                                                                                                  Submitted Under Seal; Highly Confidential;
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                                     iPad Capacity Analysis

                          FYQ3'10      FYQ4'10        FYQ1'11        FYQ2'11     FYQ3'11        FYQ4'11        FYQ1'12




Units Sold           2/


  Total                      3,270          4,187         7,303          4,651      9,184          11,092         15,289




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Source: ThinkTech with Google Presentation, “Wireless Shoppers 2.0 How Consumers Shop for Wireless Phones Google
Compete Clickstream and Survey Based Study. U.S. Feb 2010,” pp. 6.
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                                                     Mor-Flo Analysis - Smartphones
           (Units in Thousands)                  2010 Q1      2010 Q2        2010 Q3       2010 Q4         2011 Q1      2011 Q2       2011 Q3      2011 Q4
Smartphone Market Share 1/
  Apple Units Sold                                   2,550        2,772          4,924          3,776         6,830         6,256         4,807       14,757
    Apple Market Share %                             20.2%        19.3%          23.7%          17.2%         29.5%         24.7%         20.0%        45.3%

   Samsung Units Sold                                  720           714         2,950          2,750         2,328         3,750         4,597        6,251
    Samsung Market Share %                            5.7%          5.0%         14.2%          12.5%         10.1%         14.8%         19.2%        19.2%

   Other Manufacturer Units Sold                     9,383       10,873         12,933         15,409        14,001        15,341        14,595       11,561
    Other Manufacturer Market Share %                74.2%        75.7%          62.2%          70.2%         60.5%         60.5%         60.8%        35.5%

   Total Market Units Sold                          12,653       14,359         20,806         21,935        23,158        25,347        23,999       32,569
    Total Market Share %                             100%         100%           100%           100%          100%          100%          100%         100%

Samsung Accused Smartphone Unit Sales to Be Deducted 2/
   Samsung Accused Unit Sales                                       125          2,672          2,326         1,998         4,698         2,949        2,317
    % of Samsung IDC Estimates                    0.0%            17.5%          90.6%          84.6%         85.9%        125.3%         64.2%        37.1%
    % of Total Market                             0.0%             0.9%          12.8%          10.6%          8.6%         14.8%         12.3%         7.1%

Smartphone Market Share After Mor Flo Adjustment 3/
  Apple Units Sold                               2,550            2,772          4,924          3,776         6,830         6,256         4,807       14,757
    Apple Market Share %                         20.2%            19.5%          27.1%          19.3%         32.3%         29.0%         22.8%        48.8%

   Samsung Units Sold                                  720           589           278            424           329                       1,648        3,934
    Samsung Market Share %                            5.7%          4.1%          1.5%           2.2%          1.6%          0.0%          7.8%        13.0%

   Other Manufacturer Units Sold                     9,383       10,873         12,933         15,409        14,001        15,341        14,595       11,561
    Other Manufacturer Market Share %                74.2%        76.4%          71.3%          78.6%         66.2%         71.0%         69.3%        38.2%

   Total Market Units Sold                          12,653       14,234         18,135         19,610        21,160        21,597        21,050       30,252
    Total Market Share %                             100%         100%           100%           100%          100%          100%          100%         100%




Sources/Notes:
1/ IDC Worldwide Quarterly Mobile Phone Tracker, Q4 2011 Final Data, tab "Historical Pivot" (APLNDC Z0000000001). Data was filtered by setting Country to
   "USA" and Device Type to "Smartphone."
2/ See Exhibit 37.
3/ Smartphone Market Share after Mor Flo is calculated after subtracting accused Samsung smartphone units from the Samsung units in the market. For 2011
   Q2, there are more Samsung accused smartphone units than IDC estimates, thus Samsung units sold after the deduction of accused units was changed to 0
   (from a negative units calculation).




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                                              Mor-Flo Analysis - Tablets

            (Units in Thousands)                2010 Q2      2010 Q3     2010 Q4     2011 Q1        2011 Q2   2011 Q3   2011 Q4
Tablet Market Share 1/
   Apple Units Sold                                 2,217       1,957       3,606       1,941         4,308     3,791     6,173
     Apple Market Share %                           96.8%       79.1%       75.0%       71.2%         73.0%     60.0%     73.7%

   Samsung Units Sold                                  -          -           560             235       121       135       166
    Samsung Market Share %                            0.0%       0.0%       11.6%            8.6%      2.1%      2.1%      2.0%

   Other Manufacturer Units Sold                        72        518         643         551         1,473     2,392     2,036
    Other Manufacturer Market Share %                 3.2%      20.9%       13.4%       20.2%         25.0%     37.9%     24.3%

   Total Market Units Sold                           2,289      2,476       4,809       2,728         5,901     6,318     8,375
    Total Market Share %                             100%       100%        100%        100%          100%      100%      100%

Samsung Accused Tablet Unit Sales to Be Deducted 2/
   Samsung Accused Unit Sales                        -            -           262          77           266       225       315
    % of Samsung IDC Estimates                      0.0%         0.0%       46.8%       32.8%        219.3%    166.3%    190.1%
    % of Total Market                               0.0%         0.0%        5.4%        2.8%          2.1%      2.1%      2.0%

Tablet Market Share After Mor-Flo Adjustments 3/
   Apple Units Sold                                 2,217       1,957       3,606       1,941         4,308     3,791     6,173
     Apple Market Share %                           96.8%       79.1%       79.3%       73.2%         74.5%     61.3%     75.2%

   Samsung Units Sold                                  -          -           298             158       -         -         -
    Samsung Market Share %                            0.0%       0.0%        6.6%            6.0%      0.0%      0.0%      0.0%

   Other Manufacturer Units Sold                        72        518         643         551         1,473     2,392     2,036
    Other Manufacturer Market Share %                 3.2%      20.9%       14.1%       20.8%         25.5%     38.7%     24.8%

   Total Market Units Sold                           2,289      2,476       4,547       2,651         5,780     6,183     8,209
    Total Market Share %                             100%       100%        100%        100%          100%      100%      100%




Sources/Notes:
1/ IDC Worldwide Quarterly Media Tablet Tracker, Q4 2011 , tab "Pivot Table' (APLNDC-Z0000000003). Data was filtered by
   'Product Category: Media Tablet' and 'Region: USA'.
2/ See Exhibit 38.
3/ Tablet Market Share after Mor-Flo is calculated after subtracting accused Samsung tablet units from Samsung units in the
   market. For 2011 Q2, 2011 Q3 and 2011 Q4, there are more Samsung accused tablet units than IDC estimates, thus Samsung
   units sold after the deduction of accused units was changed to 0 (from a negative units calculation).




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                                        Smartphone Market Share by Carrier 1/ 2/

       Carrier & Manufacturer               2010 Q1 2010 Q2 2010 Q3 2010 Q4 2011 Q1 2011 Q2 2011 Q3 2011 Q4
         Apple                                  60%     65%     68%     63%     58%     52%     44%     63%
         Samsung                                  3%      0%      4%      6%     6%     10%     11%     12%
  AT&T
         Others                                 37%     35%     29%     32%     36%     38%     45%     24%
           AT&T Total                          100%    100%    100%    100%    100%    100%    100%    100%

          Apple                                  0%          0%          0%          0%           38%        32%        34%        54%
 Verizon Samsung                                 3%          3%          2%         16%            9%        13%        13%        12%
 Wireless Others                                97%         97%         98%         84%           53%        55%        53%        34%
           Verizon Wireless Total              100%        100%        100%        100%          100%       100%       100%       100%

         Apple                                   0%          0%          0%          0%            0%         0%         0%         0%
         Samsung                                 6%          4%         13%         15%           15%        28%        33%        45%
T-Mobile
         Others                                 94%         96%         87%         85%           85%        72%        67%        55%
          T-Mobile Total                       100%        100%        100%        100%          100%       100%       100%       100%

           Apple                                 0%          0%          0%          0%            0%         0%         0%        36%
           Samsung                              21%         22%         39%         28%           25%        42%        41%        32%
  Sprint
           Others                               79%         78%         61%         72%           75%        58%        59%        32%
            Sprint Total                       100%        100%        100%        100%          100%       100%       100%       100%

          Apple                                  0%          0%          0%          0%            0%         1%         1%         3%
  Other Samsung                                  7%         13%         20%         10%            8%        15%        10%        20%
 Carriers Others                                93%         87%         80%         90%           92%        84%        89%        77%
           Other Carriers Total                100%        100%        100%        100%          100%       100%       100%       100%


Sources/Notes:
1/ Strategy Analytics, "USA Smartphone Vendor & OS Shipments by Operator: Q4 2010" and "USA Smartphone Vendor & OS
   Shipments by Operator: Q4 2011."
2/ According to a Strategy Analytics representative, Sprint CMDA does not include their iDEN network which has been included in
   Other Carriers. Additionally, carriers such are Boost Mobile and Virgin Mobile are included within their parent company Sprint.




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                                        Smartphone Mor-Flo Analysis - AT&T

        (Units In Thousands)             2010 Q1    2010 Q2     2010 Q3     2010 Q4     2011 Q1       2011 Q2   2011 Q3     2011 Q4
Manufacturer Market Share 1/
  Apple Units Sold                         2,800       3,300       5,400       4,400       3,700        3,600      2,750      6,500
   Apple Market Share                      59.9%       64.5%       67.6%       62.8%       58.4%        51.6%      44.4%      63.4%

   Samsung Units Sold                        150         -           300         400            350       700        650      1,250
    Samsung Market Share                    3.2%        0.0%        3.8%        5.7%           5.5%     10.0%      10.5%      12.2%

   Others Units Sold                       1,723       1,814       2,290       2,209       2,281        2,681      2,790      2,500
    Others Market Share                    36.9%       35.5%       28.7%       31.5%       36.0%        38.4%      45.1%      24.4%

   AT&T Total Units Sold                   4,673       5,114       7,990       7,009       6,331        6,981      6,190     10,250
    AT&T Total                             100%        100%        100%        100%        100%         100%       100%       100%

Samsung Accused Smartphone Unit Sales To Be Deducted 2/
   Total Units                             -         -               481         251         229          458        652        554
    % of Strategy Analytic Estimates      0.0%      0.0%          160.5%       62.8%       65.5%        65.4%     100.3%      44.3%
    % of Total Market                     0.0%      0.0%            3.8%        3.6%        3.6%         6.6%      10.5%       5.4%

Manufacturer Market Share After Mor-Flo Adjustment 3/
  Apple Units Sold                        2,800     3,300          5,400       4,400       3,700        3,600      2,750      6,500
   Apple Market Share                    59.9%      64.5%          70.2%       65.1%       60.6%        55.2%      49.6%      67.0%

   Samsung Units Sold                        150         -           -           149            121       242        -           696
    Samsung Market Share                    3.2%        0.0%        0.0%        2.2%           2.0%      3.7%       0.0%        7.2%

   Others Units Sold                       1,723       1,814       2,290       2,209       2,281        2,681      2,790      2,500
    Others Market Share                    36.9%       35.5%       29.8%       32.7%       37.4%        41.1%      50.4%      25.8%

   AT&T Total Units Sold                   4,673       5,114       7,690       6,758       6,102        6,523      5,540       9,696
    AT&T Total                             100%        100%        100%        100%        100%         100%       100%        100%


Sources/Notes:
1/ Strategy Analytics, "USA Smartphone Vendor & OS Shipments by Operator: Q4 2010" and "USA Smartphone Vendor & OS
   Shipments by Operator: Q4 2011."
2/ SAMNDCA00372946 - 3138. Sales limited to smartphones sold at AT&T, which include Captivate, Galaxy S II (AT&T Edition, 4G)
   and Infuse 4G (see Exhibit 10).
3/ Manufacturer Market Share percentage after Mor-Flo adjustment is calculated by subtracting accused Samsung AT&T
   smartphone units from AT&T sales estimated by Strategy Analytics. For the third quarter of 2010 and 2011, Samsung sold more
   AT&T smartphone units than Strategy Analytics estimates, thus Samsung Units Sold after accused unit deductions was changed
   to 0 (from a negative units calculation) to reflect this event.




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                               Smartphone Mor-Flo Analysis - Verizon Wireless

       (Units In Thousands)           2010 Q1    2010 Q2     2010 Q3     2010 Q4     2011 Q1       2011 Q2   2011 Q3    2011 Q4
Manufacturer Market Share 1/
  Apple Units Sold                         -          -           -           -         2,600        2,200     2,000       4,300
   Apple Market Share                     0.0%       0.0%        0.0%        0.0%       38.1%        31.7%     33.6%       53.8%

   Samsung Units Sold                      100        100         100         800            600       900       800         950
    Samsung Market Share                  2.8%       2.6%        2.4%       15.7%           8.8%     13.0%     13.4%       11.9%

   Others Units Sold                     3,447      3,714       4,040       4,295       3,630        3,830     3,150       2,750
    Others Market Share                  97.2%      97.4%       97.6%       84.3%       53.1%        55.3%     52.9%       34.4%

   Verizon Total Units Sold              3,547      3,814       4,140       5,095       6,830        6,930     5,950       8,000
    Verizon Total                        100%       100%        100%        100%        100%         100%      100%        100%

Samsung Accused Smartphone Unit Sales To Be Deducted 2/
   Total Units                            -        -              541         660         168          710       283          92
    % of Strategy Analytic Estimates       0%       0%         541.0%       82.5%       28.0%        78.9%     35.4%        9.6%
    % of Total Market                      0%       0%           2.4%       12.9%        2.5%        10.2%      4.8%        1.1%

Manufacturer Market Share After Mor-Flo Adjustment 3/
  Apple Units Sold                        -          -            -           -         2,600        2,200     2,000       4,300
   Apple Market Share                    0.0%      0.0%          0.0%        0.0%       39.0%        35.4%     35.3%       54.4%

   Samsung Units Sold                      100        100         -           140            432       190       517         858
    Samsung Market Share                  2.8%       2.6%        0.0%        3.2%           6.5%      3.1%      9.1%       10.9%

   Others Units Sold                     3,447      3,714       4,040       4,295       3,630        3,830     3,150       2,750
    Others Market Share                  97.2%      97.4%      100.0%       96.8%       54.5%        61.6%     55.6%       34.8%

   Verizon Total Units Sold              3,547      3,814       4,040       4,435       6,662        6,220     5,667       7,908
    Verizon Total                        100%       100%        100%        100%        100%         100%      100%        100%


Sources/Notes:
1/ Strategy Analytics, "USA Smartphone Vendor & OS Shipments by Operator: Q4 2010" and "USA Smartphone Vendor & OS
   Shipments by Operator: Q4 2011".
2/ SAMNDCA00372946 - 3138. Sales limited to smartphones sold at Verizon include Continuum, Droid Charge and Fascinate (see
   Exhibit 10).
3/ Manufacturer Market Share percentage after Mor-Flo adjustment is calculated by subtracting accused Samsung Verizon
   smartphone units from Verizon sales estimated by Strategy Analytics. For the third quarter of 2010, Samsung sold more
   Verizon smartphone units than Strategy Analytics estimates, thus Samsung Units Sold after accused unit deductions was
   changed to 0 (from a negative units calculation) to reflect this event.




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                                           Apple Inc. v. Samsung Electronics Co., LTD., et al.                                 EXHIBIT 31.3


                                          Smartphone Mor-Flo Analysis - Sprint

       (Units In Thousands)             2010 Q1     2010 Q2      2010 Q3     2010 Q4      2011 Q1       2011 Q2     2011 Q3      2011 Q4
Manufacturer Market Share 1/
  Apple Units Sold                            -           -           -            -              -           -          -         1,800
   Apple Market Share                        0.0%        0.0%        0.0%         0.0%           0.0%        0.0%       0.0%       36.0%

   Samsung Units Sold                        300          400         900         800          700         1,700       1,600       1,600
    Samsung Market Share                   21.2%        22.3%       38.7%       27.7%        25.4%         42.0%       41.0%       32.0%

   Others Units Sold                       1,112        1,391       1,425       2,085        2,055         2,343       2,300       1,600
    Others Market Share                    78.8%        77.7%       61.3%       72.3%        74.6%         58.0%       59.0%       32.0%

   Sprint Total Units Sold                  1,412       1,791       2,325        2,885       2,755          4,043      3,900        5,000
    Sprint Total                            100%        100%        100%         100%        100%           100%       100%         100%

Samsung Accused Smartphone Unit Sales To Be Deducted 2/
   Total Units                            -          84               882         833         717          2,288         843         633
    % of Strategy Analytic Estimates       0%      0.0%             98.0%      104.1%      102.5%         134.6%       52.7%       39.6%
    % of Total Market                      0%      4.7%             37.9%       27.7%       25.4%          42.0%       21.6%       12.7%

Manufacturer Market Share After Mor-Flo Adjustment 3/
  Apple Units Sold                        -          -                -            -              -           -          -         1,800
   Apple Market Share                    0.0%       0.0%             0.0%         0.0%           0.0%        0.0%       0.0%       41.2%

   Samsung Units Sold                        300          316          18          -              -           -          757         967
    Samsung Market Share                   21.2%        18.5%        1.2%         0.0%           0.0%        0.0%      24.8%       22.1%

   Others Units Sold                       1,112        1,391       1,425       2,085       2,055          2,343       2,300       1,600
    Others Market Share                    78.8%        81.5%       98.8%      100.0%      100.0%         100.0%       75.2%       36.6%

   Sprint Total Units Sold                  1,412       1,707       1,443        2,085       2,055          2,343      3,057        4,367
    Sprint Total                            100%        100%        100%         100%        100%           100%       100%         100%


Sources/Notes:
1/ Strategy Analytics, "USA Smartphone Vendor & OS Shipments by Operator: Q4 2010" and "USA Smartphone Vendor & OS
   Shipments by Operator: Q4 2011."
2/ SAMNDCA00372946 - 3138. Sales limited to smartphones sold at Sprint, which include Epic 4G, Galaxy Prevail, Intercept, Nexus S
   4G, Replenish, and Transform (see Exhibit 10).
3/ Manufacturer Market Share percentage after Mor-Flo is calculated by subtracting accused Samsung Sprint smartphone units from
   Sprint sales estimated by Strategy Analytics. For the fourth quarter of 2010 and the first and second quarter of 2011, Samsung sold
   more Sprint smartphone units than Strategy Analytics estimates, thus Samsung Units Sold after accused unit deductions was
   changed to 0 (from a negative units calculation) to reflect this event.




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                                                              App e nc v Samsung E ectron cs Co , LTD , et a                                                                   EXHIBIT 32



                                                                  Apple iPhone P&L Summary 1/

   (Units in Thousands, Revenue in                                   FY 2010        Q3 - Q4                         FY 2011                            FY 2012
                                        Ca cu at on Steps                                                                                   FY Total           Grand Total
             Millions USD)                                      Q3             Q4    Total       Q1            Q2             Q3     Q4                  Q1
U.S. Sales 2/, 3/
   Unit                                                        2,778       4,912   7,691        3,767       6,810         5,670      4,820   21,066     15,073      43,829
   Revenue                                                   $ 1,562     $ 2,841 $ 4,402      $ 2,102     $ 4,256       $ 3,438    $ 2,850 $ 12,647    $ 9,358 $    26,407

Worldwide Sales 4/
  Unit                                         [a]             8,398  14,102   22,501   16,235   18,647   20,338   17,073   72,294   37,044   131,838
  Revenue                                      [b]           $ 5,271 $ 8,776 $ 14,047 $ 10,388 $ 12,225 $ 13,312 $ 10,836 $ 46,761 $ 24,267 $ 85,075




Sources/Notes:
1/ F sca year end ng September 31
                                                                                                                                                                                             Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 210 of 245




2/ App e Phone Un ts / Revenue Report, APLNDC-Y0000051357 - 1362 Revenue = "Tota Handset B ngs "
3/ App e does not prepare GAAP L ne of Bus ness reports for product nes on a US geograph c segment bas s See Mark Buck ey Depos t on, 2/23/12, pp 88-89
4/ "GAAP L ne of Bus ness Report ng - Phone", APLNDC-Y0000051611 - 1612


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                                                                         Prepared by nvotex Group                                                            Outs de Counse Eyes On y
                                                       App e nc v Samsung E ectron cs Co , LTD , et a                                                                            EXHIBIT 33



                                                                 Apple iPad P&L Summary

(Units in Thousands, Revenue in Millions                                                     FY 2011                                         FY 2012
                                             Ca cu at on Steps                                                                FY Total                 Grand Total
                  USD)                                                      Q1          Q2             Q3          Q4                          Q1
U.S. Sales 2/, 3/
   Unit                                                                     3,597       1,914          4,293       3,795        13,600          5,967      19,567
   Revenue                                                              $   2,065   $   1,067    $     2,583   $   2,172 $       7,887   $      3,240 $    11,127

Worldwide Sales 4/
  Unit                                               [a]                    7,331       4,694          9,246       11,123       32,395         15,434      47,829
  Revenue                                            [b]                $   4,397 $     2,663 $        5,660 $      6,634 $     19,355 $        8,875 $    28,230
  COGS
    Standard Cost
    Var ances
    Roya t es
    Others
  Tota COGS                                          [c]
  Gross Profit                                 [d] = [b] - [c]
    Gross Margin                               [e] = [d] / [b]

   Operat ng Expenses
    Sa es Expense                                    [f]
    D str but on Expense                             [g]

   Incremental Profit                       [h] = [d] - ([f] + [g])
     Incremental Margin                        [i] = [h] / [b]

    R&D Expense
    Market ng/Advert s ng
    Genera & Adm n
   Tota Operat ng Expenses                            [j]

   Operating Profit                            [k] = [d] - [j]
    Operating Margin                           [l] = [k] / [b]

   ASP                                     [m] = [b] * 1000 / [a]
   Gross Profit per Unit                   [n] = [d] * 1000 / [a]
   Incremental Profit per Unit             [o] = [h] * 1000 / [a]
   Operating Profit per Unit                [p] = [k] * 1000 / [a]


Sources/Notes:
1/ F sca year end ng September 31
                                                                                                                                                                                               Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 211 of 245




2/ App e Pod Touch and Pad Un ts / Revenue Report, APLNDC-Y0000051599 - 1605 Revenue = "Tota Handset B ngs "
3/ App e does not prepare GAAP L ne of Bus ness reports for product nes on a US geograph c segment bas s See Mark Buck ey Depos t on, 2/23/12, pp 88-
4/ "GAAP L ne of Bus ness Report ng - Pad", APLNDC-Y00000516110


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                                                                       App e nc. v. Samsung E ectron cs Co., LTD., et a .                                                          EXHIBIT 34


                                                                Apple iPhone Accessories P&L Summary 1/, 3/

 (Units in Thousands, Revenue in                                  FY 2010               Q3 - Q4                           FY 2011                                    FY 2012
                                     Ca cu at on Steps                                                                                                  FY Total              Grand Total
           Millions USD)                                       Q3         Q4             Total          Q1            Q2          Q3        Q4                         Q1
   iPhone Units Sold 2/                       [a]              8,398      14,102          22,501        16,235        18,647      20,338    17,073         72,294      37,044    131,838

   Revenue                                    [b]                 63             46 $         109            80             74        (2)     145 $           297          150 $         556
   COGS
    Standard Cost
    Var ances
    Roya t es
    Others
   Tota COGS                                  [c]
   Gross Profit                               [d]
    Gross Margin                        [e] = [d] / [b]

   Operat ng Expenses
    Sa es Expense                             [f]
    D str but on Expense                      [g]

   Incremental Profit                [h] = [d] - ([f] + [g])
     Incremental Margin                 [i] = [h] / [b]

    R&D Expense
    Market ng/Advert s ng
    Genera & Adm n
   Tota Operat ng Expenses                     [j]

   Operating Profit                            [k]
    Operating Margin                    [l] = [k] / [b]

   Average Sale per Unit            [m] = [b]* 1000 / [a]
   Gross Profit per Unit            [n] = [d] * 1000 / [a]
   Incremental Profit per Unit      [o] = [h] * 1000 / [a]
   Operating Profit per Unit        [p] = [k] * 1000 / [a]


Sources/Notes:
1/ F sca year end ng September 31.
2/ See Exh b t 32.
3/ "GAAP L ne of Bus ness Report ng - Ph.Acc", APLNDC-Y0000051606 - 1609, at 1607.
                                                                                                                                                                                                  Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 212 of 245




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                                                                                  Prepared by nvotex Group                                                        Outs de Counse Eyes On y
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                                                Apple iPad Accessories P&L Summary 1/, 3/

 (Units in Thousands, Revenue in                                                    FY 2011                                      FY 2012
                                     Ca cu ation Steps                                                             FY Total               Grand Total
           Millions USD)                                          Q1            Q2          Q3            Q4                       Q1
   iPad Units Sold 2/                        [a]                   7,331         4,694       9,246        11,123     32,395        15,434     47,829

   Revenue                                   [b]                     211           172           385        234       1,002           278 $       1,562
   COGS
    Standard Cost
    Variances
    Roya ties
    Others
   Tota COGS                                 [c]
   Gross Profit                              [d]
    Gross Margin                       [e] = [d] / [b]

   Operating Expenses
    Sa es Expense                            [f]
    Distribution Expense                     [g]

   Incremental Profit               [h] = [d] - ([f] + [g])
     Incremental Margin                [i] = [h] / [b]

    R&D Expense
    Marketing/Advertising
    Genera & Admin
   Tota Operating Expenses                    [j]

   Operating Profit                           [k]
    Operating Margin                   [l] = [k] / [b]

   Average Sale per Unit           [m] = [b]* 1000 / [a]
   Gross Profit per Unit           [n] = [d] * 1000 / [a]
   Incremental Profit per Unit     [o] = [h] * 1000 / [a]
   Operating Profit per Unit       [p] = [k] * 1000 / [a]


Sources/Notes:
                                                                                                                                                                           Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 213 of 245




1/ Fisca year ending September 31.
2/ See Exhibit 33.
3/ "GAAP Line of Business Reporting - iPad.Acc", APLNDC-Y0000051606 - 1609, at 1606.

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                                                                  App e nc. v. Samsung E ectron cs Co., LTD., et a .                                                       EXHIBIT 37


                                                             Samsung Accused Smartphones P&L 1/, 3/

   (Units in Thousands, Revenue in                                        2010                                                   2011
                                     Ca cu at on Steps                                            YE Total                                                   YE Total   Grand Total
             Millions USD)                                   2Q             3Q           4Q                      1Q         2Q          3Q          4Q
U.S. Sales - STA and SEA 2/
    Units                                                         125        2,672   2,326   5,122                1,998     4,698       2,949        2,317  11,962           17,085
    Revenue                                              $         36 $      1,101 $   954 $ 2,090 $                759 $   1,523 $       815 $        731 $ 3,827 $          5,917

Worldwide Sales - Manufacturing                              4/
  Units                                     [a]                   689        5,184   5,622  11,495                7,064     12,669      16,602      14,966   51,300          62,795
  Revenue                                   [b]                   270 $      2,153 $ 2,344 $ 4,768 $              2,606 $    4,616 $     5,846 $     4,334 $ 17,403 $        22,171
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                                                           App e nc v Samsung E ectron cs Co , LTD , et a                                                                          EXHIBIT 37.1



                                                STA and SEA U.S. Sales of Accused Smartphones 1/, 2/
                                                           Un ts n Thousands, Revenue n M ons USD


                                                                2010                                                            2011
                   Accused Products     Data                                                YE Total                                                                 YE Total   Grand Total
                                                    2Q           3Q            4Q                           1Q            2Q            3Q             4Q
Acc a m                               Un ts              35            133           42            210            16            14            (0)              0            30         240
                                      Revenue   $        13 $           44 $         12 $           70 $            4 $           3 $         (0) $            0 $           7 $        77
Capt vate                             Un ts               -            481          251            733           229           170           181             78            658       1,391
                                      Revenue             -            215          110            325            84            48            51             15            199         524
Cont nuum                             Un ts               -               -         174            174              7           60            79             (0)           147         320
                                      Revenue             -             (0)          73             73              1           15            21               1            39         112
Dro d Charge                          Un ts               -               -           -              -              -          452           155             92            699         699
                                      Revenue             -               -           -              -              -          241            76             35            351         351
Ep c 4G                               Un ts               -            373          329            703           367           521            69            136          1,093       1,795
                                      Revenue             -            193          170            363           179           216            16             47            459         822
Exh b t 4G                            Un ts               -               -           -              -              -          118           132             33            283         283
                                      Revenue             -               -           -              -              -           32            34               7            73          73
Fasc nate                             Un ts               -            541          486          1,027           161           198            48             (0)           407       1,434
                                      Revenue             -            249          219            469            68            65            15               3           150         619
Ga axy Ace                            Un ts               -               -           -              -              -             -             -              -             -           -
                                      Revenue             -               -           -              -              -             -             -              -             -           -
Ga axy Preva                          Un ts               -               -           -              -              -          666           539            332          1,537       1,537
                                      Revenue             -               -           -              -            (0)          122            82             55            259         259
Ga axy S ( 9000)                      Un ts               -               -           -              -              -             -             -              -             -           -
                                      Revenue             -               -           -              -              -             -             -              -             -           -
Ga axy S 4G                           Un ts               -               -           -              -           354           253           302            237          1,146       1,146
                                      Revenue             -               -           -              -           152            90            91             62            395         395
Ga axy S (AT&T Ed t on, 4G) 3/        Un ts               -               -           -              -              -             -          110            273            384         384
                                      Revenue             -               -           -              -              -             -           53            126            180         180
Ga axy S (T-Mob e ed t on)            Un ts               -               -           -              -              -             -             -           432            432         432
                                      Revenue             -               -           -              -              -             -             -           196            196         196
Ga axy S Showcase                     Un ts               -               -          32             32            38            78            74             42            233         265
                                      Revenue             -               -          16             16            18            30            26             14             88         104
Gem                                   Un ts               -               -           -              -            97           153           102             22            374         374
                                      Revenue             -               -           -              -            18            28            15               3            64          64
Grav ty Smart                         Un ts               -               -           -              -              -          185           234             55            474         474
                                      Revenue             -               -           -              -              -           36            44             10             90          90
ndu ge                                Un ts               -               -           -              -           144            (0)           66             61            271         271
                                      Revenue             -               -           -              -            59            (4)           23             21             98          98
nfuse 4G                              Un ts               -               -           -              -              -          288           360            202            851         851
                                      Revenue             -               -           -              -              -          138           155             67            361         361
ntercept                              Un ts              84            466          307            858           161           147              3            70            380       1,238
                                      Revenue            20            107           69            196            31            30            (1)              8            67         264
                                                                                                                                                                                                   Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 216 of 245




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                                                                                  2010                                                        2011
                   Accused Products                     Data                                                YE Total                                                          YE Total    Grand Total
                                                                     2Q            3Q            4Q                           1Q         2Q          3Q            4Q
    Mesmer ze                                        Un ts                    -           -          120           120            149        206           55          127          537           657
                                                     Revenue                  -           -           57            57             67         81           19           38          205           261
    Nexus S                                          Un ts                    -           -           56            56             45         (0)          27             7          78           134
                                                     Revenue                  -           -           27            27             18         (2)            7            2          25            52
    Nexus S 4G                                       Un ts                    -           -             -             -              -       401           23           80          504           504
                                                     Revenue                  -           -             -             -              -       178           (5)          20          193           193
    Rep en sh                                        Un ts                    -           -             -             -              -       439          149           15          603           603
                                                     Revenue                  -           -             -             -              -        72           23           (3)          92            92
    S dek ck                                         Un ts                    -           -             -             -              -       227          181           22          429           429
                                                     Revenue                  -           -             -             -              -        73           56             4         133           133
    Transform                                        Un ts                    -         43           196           239            189        116           60             -         365           604
                                                     Revenue                  -         13            54            66             50         25           11           (0)          86           153
    V brant                                          Un ts                   6         634           333           973             41           7          (0)            -          48         1,021
                                                     Revenue                 3         279           147           429             13           3            1            0          17           445
    Total                                            Units                125       2,672         2,326         5,122          1,998      4,698        2,949        2,317        11,962        17,085
                                                     Revenue     $         36 $     1,101 $         954 $       2,090 $          759 $    1,523 $        815 $        731 $       3,827 $       5,917


Sources/Notes:
1/ STA and SEA sa es of accused smartphones (SAMNDCA00372946 - 3138)
2/ Samsung d d not prov de sa es data for the Ga axy S Ep c 4G Touch
3/ Ga axy S (AT&T ed t on, 4G) s mode number s sted w th n the Ga axy S ( 9100) n Samsung s f nanc a data have counted sa es through STA and SEA as sa es of the Ga axy S (AT&T ed t on, 4G) because
    understand that the 9100 mode s not so d n the US and a other mode s sted were not found on Samsung’s North Amer ca Web S te
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                                                  Apple Inc. v. Samsung Electronics Co., LTD., et al.                                           EXHIBIT 38


                                                   Samsung Accused Tablets P&L 1/, 3/

   (Units in Thousands, Revenue in                              2010                                      2011
                                     Calculation Steps                  YE Total                                                  YE Total   Grand Total
              Millions USD)                                      4Q                    1Q          2Q            3Q       4Q
U.S. Sales - STA and SEA 2/
    Units                                                         262        262            77          266       225       315        884         1,146
    Revenue                                                 $     154 $      154 $          22          112        95       125        353 $         507

Worldwide Sales - Manufacturing
  Units                                     [a]               1,550   1,550              946            957       784       947   3,635            5,184
  Revenue                                   [b]             $   816 $   816 $            432 $          418 $     296 $     354 $ 1,499 $          2,315
                                                                                                                                                               Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 218 of 245




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                                                   STA and SEA U.S. Sales of Accused Tablets 1/, 2/
                                                           Units in Thousands, Revenue in Millions USD


                                                    2010                                                2011
          Accused Products            Data                       YE Total                                                                  YE Total   Grand Total
                                                     4Q                           1Q             2Q            3Q            4Q
  Galaxy Tab                       Units                 262            262             77             133            92           102           404           666
                                   Revenue      $        154 $          154 $           22 $            49 $          37 $          40 $         148 $         302
  Galaxy Tab 10.1                  Units                    -              -              -            133           133           213           480           480
                                   Revenue                  -              -              -             63            58            85           206           206
  Total                            Units                262            262             77             266           225           315            884         1,146
                                   Revenue     $        154 $          154 $           22 $           112 $          95 $         125 $          353 $         507


Sources/Notes:
1/ STA and SEA sales of accused tablets (SAMNDCA00372946 - 3138).
2/ Samsung did not provide sales data for the Galaxy Tab 10.1 LTE.
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                           Cost Value Reference Points for Samsung

                                                                    Cost Value per Unit
    IP Type          Patent/Registration No.
                                                          Smartphones 1/              Tablets 2/
                            6,493,002
                            7,469,381
                            7,663,607
 Utility Patents            7,844,915
                            7,853,891
                            7,864,163
                            7,920,129

                              D627,790
                              D617,334
                              D604,305
Design Patents                D618,677
                              D504,889
                              D593,087
                              D622,270
                               iPhone
                             iPhone 3G
                              iPhone 4
                   iPhone / iPhone 3G / iPhone 4
  Trade Dress
                          iPad and iPad 2
                             3,470,983
                             3,457,218
                             3,475,327
                             3,886,196
                             3,889,642
                             3,886,200
                             3,889,685
  Trademarks
                             3,886,169
                             3,886,197
                       85/041,463 (Pending)
                             2,935,038

                           Grand Total
Sources/Notes:
1/ See Exhibit 39.1. The '607 and '129 Patents do not cover smartphones.
2/ See Exhibit 39.2.




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                        Accused Smartphone Cost Value Analysis for Samsung

                                                Patent Qualitative                                  Weighted Cost Value
    IP Type        Patent/Registration No.                              % of Total Ranking 2/
                                                    Ranking 1/                                          per Unit 3/
                          6,493,002                                                                                 0.53
                          7,469,381
                          7,663,607
 Utility Patents          7,844,915
                          7,853,891
                          7,864,163
                          7,920,129
                     Utility Patent Total

                           D627,790
                           D617,334
                           D604,305
Design Patents             D618,677
                           D504,889
                           D593,087
                           D622,270
                            iPhone
                          iPhone 3G
                           iPhone 4
                    iPhone / iPhone 3G /
  Trade Dress              iPhone 4
                       iPad and iPad 2
                          3,470,983
                          3,457,218
                          3,475,327
                          3,886,196
                          3,889,642
                          3,886,200
                          3,889,685
  Trademarks
                          3,886,169
                          3,886,197
                    85/041,463 (Pending)
                          2,935,038




Sources/Notes:
1/ For Qualitative Rankings for Utility Patents, see Exhibit 45. Design Patents, Trade Dress and Trademarks are
   grouped together, no ranking is necessary.
2/ % Of Total Ranking is calculated by dividing Patent Qualitative Ranking for each patent/registration by the
   Subtotal of Patent Qualitative Ranking by IP Type.
3/ Weighted Cost Value per Unit is calculated by multiplying % of Total Ranking by the Total Weighted Cost Value
   per Unit by IP Type (see Exhibit 39.3). The '607 and '129 Patents do not cover smartphones.
4/ See Exhibit 39.3.




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                            Accused Tablet Cost Value Analysis for Samsung

                                                Patent Qualitative                                Weighted Cost Value
    IP Type        Patent/Registration No.                               % of Total Ranking 2/
                                                    Ranking 1/                                        per Unit 3/
                          6,493,002                                                                               0.65
                          7,469,381
                          7,663,607
 Utility Patents          7,844,915
                          7,853,891
                          7,864,163
                          7,920,129
                     Utility Patent Total

                           D627,790
                           D617,334
                           D604,305
Design Patents             D618,677
                           D504,889
                           D593,087
                           D622,270
                            iPhone
                          iPhone 3G
                           iPhone 4
                    iPhone / iPhone 3G /
  Trade Dress              iPhone 4
                       iPad and iPad 2
                          3,470,983
                          3,457,218
                          3,475,327
                          3,886,196
                          3,889,642
                          3,886,200
                          3,889,685
  Trademarks
                          3,886,169
                          3,886,197
                    85/041,463 (Pending)
                          2,935,038




Sources/Notes:
1/ For Qualitative Rankings for Utility Patents, see Exhibit 45. Design Patents, Trade Dress and Trademarks are
   grouped together, no ranking is necessary.
2/ % Of Total Ranking is calculated by dividing Patent Qualitative Ranking for each patent/registration by the Subtotal
   of Patent Qualitative Ranking by IP Type.
3/ Weighted Cost Value per Unit is calculated by multiplying % of Total Ranking by the Total Weighted Cost Value per
   Unit by IP Type (see Exhibit 39.3).
4/ See Exhibit 39.3.



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                                          Weighted Cost Value per Unit Apportionment

                                                                       Cost Value per Unit      Design Around        Weighted Cost Value per
Product Type                           IP Type
                                                                               1/                Allocation 2/         Unit by IP Type 3/
                  Utility Patents
Smartphones
                  Design Patents, Trade Dress, and Trademarks


                  Utility Patents
    Tablets
                  Design Patents, Trade Dress, and Trademarks




                                                                         Design Around          Design Around
   IP Type                    Patent/Registration No.
                                                                        Time (Months) 5/         Allocation 2/
                                     6,493,002                                  0.5
                                     7,469,381                                  1.0
                                     7,663,607                                 12.0
Utility Patents                      7,844,915                                  6.0                    25%
                                     7,853,891                                  0.5
                                     7,864,163                                  1.0
                                     7,920,129                                  0.5

                                       D627,790                                 0.5
                                       D617,334                                 0.5
                                       D604,305                                 0.5
Design Patents                         D618,677                                 8.0
                                       D504,889                                 8.0
                                       D593,087                                 8.0
                                       D622,270                                 8.0
                                        iPhone                                  8.0
                                      iPhone 3G                                 8.0
                                       iPhone 4                                 8.0
                            iPhone / iPhone 3G / iPhone 4                       8.0
 Trade Dress
                                   iPad and iPad 2                              8.0                    75%
                                      3,470,983                                 8.0
                                      3,457,218                                 8.0
                                      3,475,327                                 8.0
                                      3,886,196                                 0.5
                                      3,889,642                                 0.5
                                      3,886,200                                 0.5
                                      3,889,685                                 0.5
 Trademarks
                                      3,886,169                                 0.5
                                      3,886,197                                 0.5
                                85/041,463 (Pending)                            0.5
                                      2,935,038                                 0.5

                                  Average Design Around Time 4/                 4.0



Sources/Notes:
1/ See Exhibit 39.4.
2/ Design Around Allocation is assigned based on number of IP Types. Of the four IP Types, utility patents receive one quarter of the weight
    and the group of design patents, trade dress, and trademarks receive three quarters of the weight.
3/ Weighted Cost Value per Unit by IP Type is calculated by multiplying Design Around Allocation by Cost Value per Unit.
4/ Rounded to the nearest whole month.
5/ See Exhibit 45 for design around time for Utility Patents. All design patents and trade dress were assigned an 8 month design around
    time based on my discussions with Apple representative Tang Tan (with the exception of the GUI design patents). The 3 GUI design
    patents (D'790, D'334, and D'305) and all Trademarks had no assigned design around time. Accordingly, I have assumed a design around
    time of less than a month (i.e. 0.5).


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                             Samsung's Cost Value per Unit Due To Redesign

                          Calculation Steps                                    Smartphones                Tablets
     Average Gross Profit per Month for Accused Products                  $     128,346,467 1/ $          10,620,510 2/
 x   No. of Months Out Of Market                                                           4 3/                     4 3/
 =   Samsung's Total Loss Due to Redesign                                 $     513,385,868     $         42,482,042
 ÷   Total Accused Units Sold                                                    17,084,829 4/             1,145,643 5/
 =   Samsung's Cost Value per Unit Due To Redesign                        $           30.00 6/ $               37.00 6/


Sources/Notes:
1/ 'Average Gross Profit per Month for Accused Products' for Smartphones is calculated by averaging the monthly 'U.S.
    Revenue (by STA and SEA)' multiplied by the 'Manufacturing Gross Margins' for June 2010 through December 2011.
    See note 4 on Exhibit 37.
2/ 'Average Gross Profit per Month for Accused Products' for Tablets is calculated by averaging the monthly 'U.S.
    Revenue (by STA and SEA)' multiplied by the 'Manufacturing Gross Margins' for October 2010 through December
    2011. See note 4 on Exhibit 38.
3/ See Exhibit 39.3.
4/ 'Total Accused Units Sold' for Smartphones by STA & SEA entities, see Exhibit 37.
5/ 'Total Accused Units Sold' for Tablets by STA & SEA entities, see Exhibit 38.
6/ Amounts are rounded to the nearest dollar.




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                                           Market Value Reference Points

                 Patent/Registration                        Apple                                      Samsung
    IP Type
                        No.              Smartphones                Tablets                  Smartphones       Tablets
                     6,493,002
                                                                     $40.00
                     7,469,381
                                                                  (Reducing to
                     7,663,607              $30.00 1/
                                                                $30/unit over 2
                     7,844,915
                                      (Rate is for a portfolio      years) 1/
 Utility Patents     7,853,891
                                        of patents. It is not
                     7,864,163       limited to the Patents (Rate is for a portfolio
                                                 in Suit)         of patents. It is not
                                                                limited to the Patents
                                                                        in Suit)
                        7,920,129

                        D627,790
                        D617,334
                        D604,305
                                          Not to be Licensed Not to be Licensed             No Comparable      No Comparable
Design Patents          D618,677
                                                   2/                     2/                 License Rate       License Rate
                        D504,889
                        D593,087
                        D622,270

                          iPhone
                        iPhone 3G
                         iPhone 4
                  iPhone / iPhone 3G /
                                       Not to be Licensed Not to be Licensed                No Comparable      No Comparable
  Trade Dress            iPhone 4
                                               2/                 2/                         License Rate       License Rate
                     iPad and iPad 2
                        3,470,983
                        3,457,218
                        3,475,327

                        3,886,196
                        3,889,642
                        3,886,200
                        3,889,685
                                          Not to be Licensed Not to be Licensed             No Comparable      No Comparable
  Trademarks            3,886,169
                                                   2/                     2/                 License Rate       License Rate
                        3,886,197
                       85/041,463
                        (Pending)
                        2,935,038


Sources/Notes:
1/ Samsung-Apple Licensing Discussion, October 5, 2010 (APLNDC000010886-917 at APLNDC000010897).
2/ Chip Lutton Deposition, July 26, 2011, p. 52.




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                                            Income Value Reference Points

                                                          Apple                                    Samsung
   IP Type        Patent/Registration No.
                                              Smartphones           Tablets              Smartphones       Tablets
                        6,493,002           $          2.80 $                2.80      $          0.49 $           0.49
                        7,469,381           $          5.20 $                5.20      $          0.91 $           0.91
                        7,663,607                            $              10.80                      $           1.89
Utility Patents
                        7,844,915           $          8.00 $                8.00      $          1.40 $           1.40
       1/
                        7,853,891           $          2.80 $                2.80      $          0.49 $           0.49
                        7,864,163           $          5.20 $                5.20      $          0.91 $           0.91
                        7,920,129                            $               5.20                      $           0.91

                          D627,790
                          D617,334
                          D604,305
Design Patents
                          D618,677
      2/
                          D504,889
                          D593,087
                          D622,270
                           iPhone
                         iPhone 3G
                          iPhone 4
                      iPhone/iPhone
    Trade
                        3G/iPhone 4
   Dress 2/                                 $          22.00   $            22.00      $            9.00   $           9.00
                      iPad and iPad 2
                         3,471,983
                         3,457,218
                         3,475,327
                         3,886,196
                         3,889,642
                         3,886,200
                         3,889,685
Trademarks 2/
                         3,886,169
                         3,886,197
                   85/041,463 (Pending)
                         2,935,038

Sources/Notes:
1/ See Exhibit 41.1.
2/ See Exhibit 41.2.




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              Weighted Utility Income Value Reference Point for Utility Patents

                                              Patent Qualitative     % of Total
    IP Type        Patent/Registration No.                                                Apple 3/    Samsung 3/
                                                 Ranking 1/          Ranking 2/
                         6,493,002                    1                 7%            $        2.80   $     0.49
                         7,469,381                    2                 13%           $        5.20   $     0.91
                         7,663,607                    4                 27%           $       10.80   $     1.89
 Utility Patents         7,844,915                    3                 20%           $        8.00   $     1.40
                         7,853,891                    1                 7%            $        2.80   $     0.49
                         7,864,163                    2                 13%           $        5.20   $     0.91
                         7,920,129                    2                 13%           $        5.20   $     0.91

                     Utility Patent Total             15                100%          $       40.00 $       7.00
                                                                                                 4/            4/

Sources/Notes:
1/ See Exhibit 45.
2/ % Of Total Ranking is calculated by dividing Patent Qualitative Ranking for each Apple Utility Patent by the
    Total Utility Patent Qualitative Ranking.
3/ Weighted Rate per Unit is calculated by multiplying % of Total Ranking by the Total Rate for Utility Patents.
    The Total Utility Rate per Unit is based on Apple's and Samsung's average selling price times the value of
    intangible value assigned to the utility patents listed above (see Exhibit 41.2).
4/ See Exhibit 41.2.




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      Per Unit Reference Rate Calculations for Smartphones and Tablets Combined

                              Calculation Steps                                 Apple                Samsung
Per unit rate for utility patents
    Average Product Selling Price                                           $          628.30 1/ $       358.94 2/
 x Value of Intangibles                                                                  6.4% 3/           2.0% 3/
 = Per Unit Rate                                                            $           40.00 4/ $         7.00 4/

Per unit rate for design patents, trade dress, and trademarks
    Average Product Selling Price                                           $          628.30 1/ $       358.94 2/
 x Value of Brand/Design Rate                                                            3.6% 5/           2.6% 5/
 = Per Unit Rate                                                            $          22.00 6/ $         9.00 6/




Sources/Notes:
1/ Average Product Selling Price for Apple is a weighted average of Apple iPhone and iPad ASPs. The worldwide
   ASPs are calculated between Q3 FY2010 and Q1 FY2012 for smartphones and Q1 FY2011 and Q1 FY2012 for
   tablets and are weighted by the respective units sold into the US during those time periods (see Exhibits 32
   and 33).
2/ Average Product Selling Price for Samsung is a weighted average of Samsung smartphone and tablet ASPs.
   The worldwide ASPs are calculated between Q2 2010 and Q4 2011 for smartphones and Q4 2010 and Q4
   2011 for tablets and are weighted by the respective units sold into the US during the same time period (see
   Exhibits 37 and 38).
3/ Value of Intangibles includes the iPhone and iPad combined for Apple, and the Accused Products combined
   for Samsung (see Exhibit 41.3).
4/ The Per Unit Rate for Utility Patents is calculated by multiplying the ASP by the Value of Intangibles.
   Rounded to the nearest dollar.
5/ See Exhibit 41.3.
6/ The Per Unit Rate for Design Patents and Trade Dress is calculated by multiplying the ASP by the Value of
   Brand/Design rate. Rounded to the nearest dollar.




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                                         Value of Intangibles Calculations
                                                2010 to 2011 Time Period

                                                                            Apple                           Samsung
                     Calculation Steps
                                                                Company Wide    iPhone and iPad         Accused Products
   Operating Margin                                                  30.1% 1/                                   21.9% 3/
 x Reduction from taxes                                              75.7% 4/                                   99.5% 5/
 = Net Operating Profit after tax (NOPAT)                            22.8%                                      21.8%
 - Industry Weighted Average Cost of Capital (WACC)                  11.9% 6/                                   11.9% 6/
 = Economic Value Added (EVA) 7/                                     10.9%                                       9.9%
 - Brand/Design Value                                                 3.6%                                    2.6% 9/
 = EVA net of Brand Value                                             7.3%                                       7.3%
 - Value of the Company's Other Intangibles                                                                      5.3% 10/
   Value of iPhone and iPad Combined/
 =                                                                                                           < 2.0% >
   Accused Products Combined Intangibles


Sources/Notes:
1/ Average operating margins for Apple Companywide in 2010 and 2011 are calculated per Apple Inc. Form 10-K for the
    fiscal year ended September 24, 2011, p. 43. The combined margin over the time period is weighted by 2010 and
    2011 net sales.
2/ Operating margin is a weighted average of Apple iPhone and iPad operating margins. Worldwide operating margins
    are calculated between Q3 FY2010 and Q1 FY2012 for iPhones and Q1 FY2011 and Q1 FY2012 for iPads and are
    weighted by the respective units sold into the US during the same time period (see Exhibits 32 and 33).
3/  Operating margin is a weighted average of Samsung smartphone and tablet operating margins. Worldwide operating
    margins are calculated between Q2 2010 and Q4 2011 for smartphones and Q4 2010 and Q4 2011 for tablets and are
    weighted by the respective units sold into the US sold during the same time period (see Exhibits 37 and 38).
4/ Apple's effective tax rate is 24.4% in 2010 and 24.2% in 2011 per Apple Inc. Form 10-K for the fiscal year ended
    September 24, 2011, p. 63. Accordingly, Apple's Reduction from Taxes is 75.7% (100% - 24.3%).
5/ STA applies a Berry Ratio (deposition of Timothy Sheppard, dated February 29, 2012, pp. 123-124) to its 2010 income
    statement (SAMNDCA00322209-238 at SAMNDCA00322214), which results in a ratio of gross margin to total revenue
    of 3.3% . SEC's actual gross margin for manufacturing is 39.6% from 2010-2011 (see Exhibit 36). This margin is used to
    adjust STA's gross profit to actual levels. This adjustment factor (39.6% divided by 3.3%) is applied to STA's gross
    profit, after which all expenses (per SAMNDCA00322209-238 at SAMNDCA00322214) are deducted to derive an
    actual operating profit before taxes. STA's income tax expense is then divided by actual operating profit before taxes
    to derive STA's effective tax rate and subtracted from 100% to derive its Reduction from Taxes above, 99.5% (100% -
    0.5%).
6/ See Exhibit 41.4.
7/ Economic Value Added (EVA) measures return to investors (Interbrand's brand valuation methodology,
    http://www.interbrand.com/en/best-global-brands/best-global-brands-methodology/Overview.aspx).
8/ Apple's (the company) Brand/Design Value is calculated by multiplying its operating profit by the ratio of its brand
    value to market capitalization (see Exhibit 41.5). Apples iPhone and iPad Combined are assigned the same
    Brand/Design Value.
9/ The Brand/Design Value of Samsung is calculated by multiplying the operating margin of Samsung's Accused Products
    Combined by the ratio of Apple's Brand/Design Value to Apple's companywide operating margin.
10/ The EVA net of the Brand Value of the Company for Samsung is calculated by multiplying the operating margin of
    Samsung's Accused Products Combined by the ratio of Apple's EVA net of the Brand Value of the Company to Apple's
    companywide operating margin.




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                                                        Industry Weighted Average Cost of Capital
                                                                     2010 to 2011 Time Period

                                                                                                                                      2010             2011
 Interbrand Top Global   Sector (Interbrand                                                                                         Weighted        Weighted
                                             SIC Code                             SIC Description
       Brands 1/          Classification) 1/                                                                                      Average Cost of Average Cost of
                                                                                                                                   Capital 2/, 4/  Capital 3/, 4/
Hewlett Packard          Electronics           3570                                             Computer and Office Equipment             13.08%          12.26%
Apple, Dell              Electronics           3571                                                        Electronic Computers           13.27%          11.77%
Xerox                    Electronics           3577                     Computer Peripheral Equipment, Not Elsewhere Classified           11.68%          11.24%
Intel                    Electronics           3674                                         Semiconductors and Related Devices            13.44%          12.77%
Amazon.com               Internet Services     5961                                              Catalog and Mail-Order Houses            12.38%          12.05%
Google                   Internet Services     7370         Computer Programming, Data Processing, and Other Computer Services            11.65%          11.05%
Microsoft, Adobe         Computer Software     7372                                                       Prepackaged Software            11.51%          11.22%
Yahoo                    Internet Services     7373                                        Computer Integrated Systems Design             11.54%          10.95%
eBay                     Internet Services     7389                                   Business Services, Not Elsewhere Classified         10.98%          10.89%

                                                                                                                   Average WACC           12.17%           11.58%

                                                                                                          Average 2010-2011 WACC          11.87%


Sources/Notes:
1/ Brands that make up "industry" were selected on the following criteria:
  a) Appear in the 2010 or 2011 Interbrand "Ranking of the Top 100 Brands" (http://www.interbrand.com/en/best-global-brands/best-global-brands-2008/best-global-
     brands-2010.aspx and http://www.interbrand.com/en/best-global-brands/best-global-brands-2008/best-global-brands-2011.aspx);
 b) United States brands (as categorized by Interbrand);
  c) Limited to the following sectors (as categorized by Interbrand): computer software, electronics, and internet services.
2/ Ibbotson Cost of Capital 2010 Yearbook (data through March 2010).
3/ Ibbotson Cost of Capital 2011 Yearbook (data through March 2011).
4/ Weight average cost of capital, using median CAPM.
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                                                                      Apple Brand Value as Percentage of Market Capitalization
                                                                                                2010 to 2011 Time Period



                                                                                         2010                                            2011                                         2010-2011
    2010 Global Brand     2011 Global Brand                                                            Brand Value:                                  Brand Value:  Total Brand                     Weighted Brand
                                                   Brand 1/ 2/       Brand Value       Market Cap                       Brand Value    Market Cap                               Total Market
         Rank 1/               Rank 2/                                                                 Market Cap                                    Market Cap Value ($bn) 2/                         Value:
                                                                       ($bn) 1/         ($bn) 3/                          ($bn) 2/      ($bn) 3/                                Cap ($bn) 3/
                                                                                                          Ratio                                         Ratio           3/                         Market Cap Ratio
            17                    8                  App e                    21 1            177 4            11 9%            33 5        282 6            11 9%         54 6        460 0                  11 9%


Sources/Notes:
1/ nterbrand s 2010 Ranking of the Top 100 Brands, dated September 15, 2010 nterbrand s financia ana ysis run from June 2009 to June 2010 Do ar amounts converted from mi ions to bi ions
   http //www interbrand com/en/best-g oba -brands/best-g oba -brands-2008/best-g oba -brands-2010 aspx
2/ nterbrand s 2011 Ranking of the Top 100 Brands, dated October 4, 2011 nterbrand s financia ana ysis run from June 2009 to June 2010 Do ar amounts converted from mi ions to bi ions
   http //www interbrand com/en/best-g oba -brands/best-g oba -brands-2008/best-g oba -brands-2011 aspx
3/ Market Capita ization figures per http //www wo frama pha com The 2010 market capita ization is recorded between June 1, 2009 and June 1, 2010; the 2011 market capita ization is recorded between June 1, 2010
   and June 1, 2011
                                                                                                                                                                                                                           Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 231 of 245




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                                                                                                                    Georgia-Pacific Analysis for Apple's Intellectual Property - Tablets
                  Patent/Registration                                                                                                                                         Georgia-Pacific Factor
   IP Type
                         No.                   1                    2                  3               4                       5                              6                        7               8                     9                          10                        11                   12                  13

                                                                                                                                                                                          Weighs in favor of
                                                           No rates paid by                                                                  Very strong and acknowledged                                                                  Economic benefits to    Royalty rate to reflect
                                                                                                 The Apple        Apple's unwillingness to                                     Upward        the income         This feature enhances
                                                        Samsung for the use of                                                             connection by both parties of the                                                              Apple and the market      the full measure of
                                         No established                                    Intellectual Property   license its proprietary                                   pressure on    approach and      the ease of use and value                                                           Factor does    See Income Reference
                       6,493,002                           other intellectual  Neutral. 3/                                                  sale of smartphones and tablets                                                              advantages associated      Samsung's financial
                                          license. 1/                                        In Suit for Apple's assets thereby enabling a                                   the royalty calculated as a part    of a smartphone or                                                                not apply.     Range on Exhibit 41.
                                                         property comparable.                                                                with the sale of non-patented                                                              with the benefits provided gain and Apple's loss.
                                                                                             exclusive use. 4/     direct competitor. 5/                                       rate. 7/    of my reference      tablet computer. 13/
                                                                   2/                                                                                 products. 6/                                                                        to the consumer. 10/               11/
                                                                                                                                                                                          point analysis. 9/

                                                                                                                                                                                          Weighs in favor of
                                                           No rates paid by                                                                  Very strong and acknowledged                                                                      Economic benefits to    Royalty rate to reflect
                                                                                                 The Apple        Apple's unwillingness to                                     Upward        the income            This provides a major
                                                        Samsung for the use of                                                             connection by both parties of the                                                                  Apple and the market      the full measure of
                                         No established                                    Intellectual Property   license its proprietary                                   pressure on    approach and           enhancement to the                                                             Factor does    See Income Reference
                       7,469,381                           other intellectual  Neutral. 3/                                                  sale of smartphones and tablets                                                                  advantages associated      Samsung's financial
                                          license. 1/                                        In Suit for Apple's assets thereby enabling a                                   the royalty calculated as a part       quality of the user                                                            not apply.     Range on Exhibit 41.
                                                         property comparable.                                                                with the sale of non-patented                                                                  with the benefits provided gain and Apple's loss.
                                                                                             exclusive use. 4/     direct competitor. 5/                                       rate. 7/    of my reference             interface. 14/
                                                                   2/                                                                                 products. 6/                                                                            to the consumer. 10/               11/
                                                                                                                                                                                          point analysis. 9/

                                                                                                                                                                                            Weighs in favor of Provides technology for a
                                                             No rates paid by                                                                  Very strong and acknowledged                                                                 Economic benefits to    Royalty rate to reflect
                                                                                                   The Apple        Apple's unwillingness to                                     Upward        the income         touchscreen used to
                                                          Samsung for the use of                                                             connection by both parties of the                                                             Apple and the market      the full measure of
                                         No established                                      Intellectual Property   license its proprietary                                   pressure on    approach and          obtain accurate                                                               Factor does    See Income Reference
                       7,663,607                             other intellectual  Neutral. 3/                                                  sale of smartphones and tablets                                                             advantages associated      Samsung's financial
                                          license. 1/                                          In Suit for Apple's assets thereby enabling a                                   the royalty calculated as a part information on multiple                                                            not apply.     Range on Exhibit 41.
                                                           property comparable.                                                                with the sale of non-patented                                                             with the benefits provided gain and Apple's loss.
                                                                                               exclusive use. 4/     direct competitor. 5/                                       rate. 7/    of my reference         touches on a
                                                                     2/                                                                                 products. 6/                                                                       to the consumer. 10/               11/
                                                                                                                                                                                            point analysis. 9/ touchscreen device. 15/

                                                                                                                                                                                          Weighs in favor of
                                                           No rates paid by                                                                  Very strong and acknowledged                                                                      Economic benefits to    Royalty rate to reflect
                                                                                                 The Apple        Apple's unwillingness to                                     Upward        the income
                                                        Samsung for the use of                                                             connection by both parties of the                                      Provides functionality      Apple and the market      the full measure of
                                         No established                                    Intellectual Property   license its proprietary                                   pressure on    approach and                                                                                          Factor does    See Income Reference
Utility Patents        7,844,915                           other intellectual  Neutral. 3/                                                  sale of smartphones and tablets                                        that is central to the    advantages associated      Samsung's financial
                                          license. 1/                                        In Suit for Apple's assets thereby enabling a                                   the royalty calculated as a part                                                                                      not apply.     Range on Exhibit 41.
                                                         property comparable.                                                                with the sale of non-patented                                        accused products. 16/     with the benefits provided gain and Apple's loss.
                                                                                             exclusive use. 4/     direct competitor. 5/                                       rate. 7/    of my reference
                                                                   2/                                                                                 products. 6/                                                                            to the consumer. 10/               11/
                                                                                                                                                                                          point analysis. 9/

                                                                                                                                                                                            Weighs in favor of
                                                             No rates paid by                                                                  Very strong and acknowledged                                        This feature enhances       Economic benefits to    Royalty rate to reflect
                                                                                                   The Apple        Apple's unwillingness to                                     Upward        the income
                                                          Samsung for the use of                                                             connection by both parties of the                                     the user interface and     Apple and the market      the full measure of
                                         No established                                      Intellectual Property   license its proprietary                                   pressure on    approach and                                                                                        Factor does    See Income Reference
                       7,853,891                             other intellectual  Neutral. 3/                                                  sale of smartphones and tablets                                           experience in        advantages associated      Samsung's financial
                                          license. 1/                                          In Suit for Apple's assets thereby enabling a                                   the royalty calculated as a part                                                                                    not apply.     Range on Exhibit 41.
                                                           property comparable.                                                                with the sale of non-patented                                         smartphones and        with the benefits provided gain and Apple's loss.
                                                                                               exclusive use. 4/     direct competitor. 5/                                       rate. 7/    of my reference
                                                                     2/                                                                                 products. 6/                                                     tablets. 17/         to the consumer. 10/               11/
                                                                                                                                                                                            point analysis. 9/

                                                                                                                                                                                          Weighs in favor of
                                                           No rates paid by                                                                  Very strong and acknowledged                                           The invention        Economic benefits to   Royalty rate to reflect
                                                                                                 The Apple        Apple's unwillingness to                                     Upward        the income
                                                        Samsung for the use of                                                             connection by both parties of the                                    significantly enhances  Apple and the market     the full measure of
                                         No established                                    Intellectual Property   license its proprietary                                   pressure on    approach and                                                                                          Factor does    See Income Reference
                       7,864,163                           other intellectual  Neutral. 3/                                                  sale of smartphones and tablets                                     the user interface of a advantages associated    Samsung's financial
                                          license. 1/                                        In Suit for Apple's assets thereby enabling a                                   the royalty calculated as a part                                                                                      not apply.     Range on Exhibit 41.
                                                         property comparable.                                                                with the sale of non-patented                                    touchscreen smartphone with the benefits provided gain and Apple's loss.
                                                                                             exclusive use. 4/     direct competitor. 5/                                       rate. 7/    of my reference
                                                                   2/                                                                                 products. 6/                                                 and tablet. 18/      to the consumer. 10/              11/
                                                                                                                                                                                          point analysis. 9/

                                                                                                                                                                                          Weighs in favor of Provides technology for a
                                                           No rates paid by                                                                  Very strong and acknowledged                                                                 Economic benefits to    Royalty rate to reflect
                                                                                                 The Apple        Apple's unwillingness to                                     Upward        the income       touchscreen display to
                                                        Samsung for the use of                                                             connection by both parties of the                                                             Apple and the market      the full measure of
                                         No established                                    Intellectual Property   license its proprietary                                   pressure on    approach and       address the issue of                                                               Factor does    See Income Reference
                       7,920,129                           other intellectual  Neutral. 3/                                                  sale of smartphones and tablets                                                             advantages associated      Samsung's financial
                                          license. 1/                                        In Suit for Apple's assets thereby enabling a                                   the royalty calculated as a part interference from the                                                                not apply.     Range on Exhibit 41.
                                                         property comparable.                                                                with the sale of non-patented                                                             with the benefits provided gain and Apple's loss.
                                                                                             exclusive use. 4/     direct competitor. 5/                                       rate. 7/    of my reference      LCD display sensing
                                                                   2/                                                                                 products. 6/                                                                       to the consumer. 10/               11/
                                                                                                                                                                                          point analysis. 9/  multitouch inputs. 19/



   Design
                       D504,889
   Patents


                                                                                                                                                                                                                  Apple's design elements                                                      I view this
 Trade Dress                                                                                                                                                                              Weighs in favor of
                    iPad and iPad 2                        No rates paid by                                                                  Very strong and acknowledged                                          included in the design    Economic benefits to    Royalty rate to reflect amount as
                                                                                                 The Apple        Apple's unwillingness to                                     Upward        the income
                                                        Samsung for the use of                                                             connection by both parties of the                                       patents, trade address   Apple and the market      the full measure of       setting a
                                         No established                                    Intellectual Property   license its proprietary                                   pressure on    approach and                                                                                                         See Income Reference
                       3,886,196                           other intellectual  Neutral. 3/                                                  sale of smartphones and tablets                                         and trademarks give    advantages associated      Samsung's financial     floor below
                                          license. 1/                                        In Suit for Apple's assets thereby enabling a                                   the royalty calculated as a part                                                                                                     Range on Exhibit 41.
                       3,889,642                         property comparable.                                                                with the sale of non-patented                                             Apple a distinct   with the benefits provided gain and Apple's loss. which Apple
                                                                                             exclusive use. 4/     direct competitor. 5/                                       rate. 8/    of my reference
                       3,886,200                                   2/                                                                                 products. 6/                                                    advantage over        to the consumer. 10/               11/             would not
                                                                                                                                                                                          point analysis. 9/
                       3,889,685                                                                                                                                                                                     competitors. 20/                                                        license. 12/
 Trademarks
                       3,886,169
                                                                                                                                                                                                                                                                                                                                         Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 232 of 245




                       3,886,197
                  85/041,463 (Pending)
                       2,935,038




                                                                                                                                                      Prepared by Invotex Group                                                                                                                  Submitted Under Seal; Highly Confidential;
                                                                                                                                                             Page 1 of 2                                                                                                                                      Outside Counsel Eyes’ Only
                                                                                                                Apple Inc. v. Samsung Electronics Co., LTD., et al.                                                                                                  EXHIBIT 42

Sources/Notes
1/ This factor demonstrates that there is no estab ished icense for any of the asserted App e inte ectua Property n Suit
2/ This factor demonstrate that there are no rates paid by Samsung for the use of other inte ectua property comparab e to the App e nte ectua Property in Suit
3/ According y, the scope of the icense is imited based on the geographic restrictions resu ting from the app ication of U S aw However, there are internationa economic benefits to App e and to Samsung for the use of the re evant techno ogy Consequent y, the
    scope of the hypothetica icense for the App e nte ectua Property n Suit is neutra
4/ This factor does not provide support for a specific rate but does strong y indicate App e’s unwi ingness to negotiate a icense at essentia y any price versus ho ding the App e nte ectua Property n Suit for App e’s exc usive use
5/ This factor does not provide support for a specific rate but does confirm and reinforce App e’s unwi ingness to icense its proprietary assets thereby enab ing a direct competitor with the number one goa of beating App e
6/ Whi e it is not possib e to capture a of the ost convoyed profits in a reasonab e roya ty damage, the very strong and acknow edged connection by both parties of the sa e of smartphones and tab ets with the sa e of non-patented products supports a higher
    reasonab e roya ty rate that ref ects this major economic benefit
7/ The ong ega ife coup ed with the risk of a shortened economic ife in a rapid y expanding market p aces upward pressure on the roya ty rate to avoid missing the window of economic opportunity re ated to each patent
8/ The ong ega ife coup ed with the estab ished commercia success and emphasis on design by App e p aces upward pressure on the roya ty rate to preserve the estab ished va ue of these va uab e design patents
9/ This factor provides strong support in the present case for a reasonab e roya ty rate that weighs in favor of the income approach and ca cu ated as a part of my reference point ana ysis
10/ The commercia embodiment of a categories of App e nte ectua Property n Suit and App e's focus on the qua ity of the overa user experience has produced considerab e financia rewards for App e and provided an enhanced user experience to the
    consumers that use the products that embody the c aimed techno ogy According y, the rate shou d ref ect the economic benefits to App e and the market advantages associated with the benefits provided to the consumer
11/ Based on the fact that Samsung is assumed to have used App e’s nte ectua Property n Suit to make significant profits through the sa e of the accused devices that are virtua y untaxed in the U S and transferred to Korea, has used App e’s nte ectua Property
     n Suit to bui d market share in the smartphone and tab et markets at App e’s expense, and has used App e’s nte ectua Property n Suit to gain additiona profits through the sa e of both convoyed and derivative products tied to Samsung’s ecosystem, this factor
    wou d support the need for the roya ty rate to ref ect the fu measure of Samsung’s financia gain and App e’s oss
12/ Based on the “Made for iPod” agreements, one examp e of a va ue p aced on the right by a third party to use a trademark that referenced App e is $4 per unit in a circumstance invo ving a comp ementary use This is not ana ogous to a icense to a competitor
    such as Samsung Nonethe ess, view this amount as setting a f oor be ow which App e wou d not icense any of its trademarks Whi e the u timate rate for mu tip e trademarks or trade dress wou d be higher for the reasons discussed above, it certain y wou d
    not be ess than the amount that App e charges to use a trademark in a context that resu ts in additiona benefits through expansion of the number and variety of accessories that work with its products
13/ understand that the patent he ps to provide a cohesive experience for the user when there are many different app ications running The '002 teaches a way for different app ications to give information to the user in an unobtrusive way As a resu t, this feature
    enhances the ease of use and va ue of a smartphone or tab et computer
14/ understand that this patent provides an e egant and appea ing form of visua feedback to a user that there is no more of an e ectronic document to be seen For examp e, if a user is zoomed in on one part of a arge photo, he may continue to scro the photo as
    he ooks at other parts of the image Not knowing exact y where the photo ends, he may continue to scro in a direction even when there is no more of the photo to disp ay When this happens, an area beyond the edge of the photo wi be disp ayed, and once
    the user ifts his finger, the photo wi “bounce” or “rubber band” back to fi the screen This form of visua feedback is readi y understood and makes c ear to the user that he cannot continue to scro in that direction As a resu t, the inventions of the ‘381
    patent make possib e a user interface that is more visua y appea ing and intuitive in its hand ing of the disp ay of e ectronic documents This provides a major enhancement to the qua ity of the user interface App e a so considers this invention to be c ose y
    associated with App e products in the marketp ace
15/ understand that the patent provides techno ogy for a touchscreen used to obtain accurate information on mu tip e touches on a touchscreen device This patent is being asserted by App e on y with respect to Samsung’s tab et computers understand from
    my discussions with the App e technica expert that no commercia y viab e, a ternative, non-infringing touchscreen techno ogies were in existence when the Samsung Ga axy Tab devices entered the market None of the a ternative avai ab e touchscreen
    techno ogies afforded true mu ti-touch functiona ity For these reasons, Samsung did not have a commercia y viab e a ternative to these techno ogies embodied in the App e iPad and iPhone products for a ten inch tab et understand that Samsung introduced
    a 7 7 inch tab et with an AMOLED disp ay in ear y 2012, which was re eased in Austra ia in or around January 2012 that does not make use of the '607 techno ogy, but that it was not re eased in the United States unti this month
16/ understand that the patent provides functiona ity that is centra to the accused products the abi ity to distinguish automatica y between a one-finger scro ca and a two-finger gesture such as a zoom or rotate gesture This functiona ity is high y intuitive
    Scro ing, zooming and rotating are among the most common actions users take with touchscreens and smartphones, and are used in mu tip e app ications further understand that any effort to redesign wou d make the ’915 Accused Products much ess
    useab e, render them inconvenient for users, and deprive them of intuitive functiona ity that smart phone and tab et users have come to expect The a ternatives wou d provide a much ess satisfying user experience than devices that practice the ’915 patent
    Further, given how frequent y the functions are used in the interface, understand it wou d be difficu t and time consuming to rep ace
17/ understand that the patent provides usefu ways for providing unobtrusive visua feedback to the user input in a digita processing system, such as a desktop or aptop computer, a smartphone, or a tab et computer t does so by conveying information on a
    new window for the user that automatica y disappears without the need for action by the user As a resu t, this feature enhances the user interface and experience in smartphones and tab ets
18/ understand that the patent provides for an efficient means for users to navigate structured e ectronic documents on a touchscreen disp ay further understand it is possib e to imp ement other methods to navigate in structured e ectronics documents using
    touch gestures, but they wou d not have been as e egant or intuitive a so understood that Samsung eva uated a ternatives and conc uded that they were inferior and instead revised the user interface to inc ude the ‘163 patent’s features t is my
    understanding that the invention significant y enhances the user interface of a touchscreen smartphone and tab et
19/ understand that the patent provides techno ogy for a touchscreen disp ay to address the issue of interference from the LCD disp ay sensing mu titouch inputs Through the use of the patent, the device can be thinner, and the screen requires fewer ayers
    understand that this patent is being asserted by App e on y with respect to Samsung’s tab et computers understand from my discussions with App e’s technica expert that there wou d be significant disadvantages to designing without using the patent’s
    techno ogies when the Samsung Ga axy Tab devices entered the market None of the a ternative disp ay techno ogies to LCD was mature enough for use in tab et-size devices, and using a touchscreen on top of an LCD pane was prob ematic because the disp ay
    needed to have an extra ayer of shie ding to protect the sensitive touch screen e ectrodes from the e ectrica interference from the LCD Adding this extra ayer wou d resu t in a ess visua y desirab e screen, increased manufacturing costs, and a heavier and
    thicker device
20/ This factor does not provide a specific rate for any of the items of design patents, trade dress and trademarks However, based on the acute focus by App e on the design e ements of its products, the significant degree of success as evidenced by consumer
    demand and acceptance for App e’s design e ements, App e’s design e ements inc uded in the design patents, trade dress and trademarks give App e a distinct advantage over competitors and strong y support a higher roya ty rate Simi ar y the strength of
    App e’s uti ity patents, its importance to the user interface and the degree to which App e treats these aspects as proprietary, a strong y support a higher roya ty rate
                                                                                                                                                                                                                                                                               Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 233 of 245




                                                                                                                           Prepared by Invotex Group                                                                                   Submitted Under Seal; Highly Confidential;
                                                                                                                                  Page 2 of 2                                                                                                       Outside Counsel Eyes’ Only
                                                                                                                                     Apple Inc. v. Samsung Electronics Co., LTD., et al.                                                                                                                                          EXHIBIT 43


                                                                                                          Georgia-Pacific Analysis for Apple's Intellectual Property - Smartphones
                                                                                                                                                                          Georgia-Pacific Factor
   IP Type        Patent/Registration No.
                                                1                   2                3              4                      5                              6                        7                   8                        9                          10                        11                  12               13
                                                             No rates paid by                                                              Very strong and acknowledged                      Weighs in favor of the      This feature     Economic benefits to Apple Royalty rate to reflect
                                                                                                The Apple       Apple's unwillingness to                                         Upward
                                                No        Samsung for the use of                                                         connection by both parties of the                   income approach and enhances the ease of and the market advantages       the full measure of                            See Income
                                                                                 Neutral. Intellectual Property license its proprietary                                        pressure on                                                                                                           Factor does
                        6,493,002           established     other intellectual                                                            sale of smartphones and tablets                    calculated as a part of  use and value of a associated with the benefits Samsung's financial                          Reference Range
                                                                                   3/       In Suit for Apple's assets thereby enabling                                        the royalty                                                                                                            not apply.
                                            license. 1/   property comparable.                                                             with the sale of non-patented                       my reference point    smartphone or tablet provided to the consumer. gain and Apple's loss.                          on Exhibit 41.
                                                                                            exclusive use. 4/   a direct competitor. 5/                                          rate. 7/
                                                                    2/                                                                              products. 6/                                  analysis. 9/         computer. 13/                 10/                       11/

                                                             No rates paid by                                                              Very strong and acknowledged                      Weighs in favor of the                        Economic benefits to Apple Royalty rate to reflect
                                                                                                The Apple       Apple's unwillingness to                                         Upward                              This provides a major
                                                No        Samsung for the use of                                                         connection by both parties of the                   income approach and                           and the market advantages    the full measure of                          See Income
                                                                                 Neutral. Intellectual Property license its proprietary                                        pressure on                           enhancement to the                                                              Factor does
                        7,469,381           established     other intellectual                                                            sale of smartphones and tablets                    calculated as a part of                       associated with the benefits Samsung's financial                        Reference Range
                                                                                   3/       In Suit for Apple's assets thereby enabling                                        the royalty                            quality of the user                                                             not apply.
                                            license. 1/   property comparable.                                                             with the sale of non-patented                       my reference point                           provided to the consumer. gain and Apple's loss.                        on Exhibit 41.
                                                                                            exclusive use. 4/   a direct competitor. 5/                                          rate. 7/                                interface. 14/
                                                                    2/                                                                              products. 6/                                  analysis. 9/                                         10/                       11/

                                                             No rates paid by                                                              Very strong and acknowledged                      Weighs in favor of the         Provides           Economic benefits to Apple Royalty rate to reflect
                                                                                                The Apple       Apple's unwillingness to                                         Upward
                                                No        Samsung for the use of                                                         connection by both parties of the                   income approach and       functionality that is   and the market advantages    the full measure of                      See Income
                                                                                 Neutral. Intellectual Property license its proprietary                                        pressure on                                                                                                           Factor does
                        7,844,915           established     other intellectual                                                            sale of smartphones and tablets                    calculated as a part of      central to the       associated with the benefits Samsung's financial                    Reference Range
Utility Patents                                                                    3/       In Suit for Apple's assets thereby enabling                                        the royalty                                                                                                            not apply.
                                            license. 1/   property comparable.                                                             with the sale of non-patented                       my reference point       accused products.       provided to the consumer. gain and Apple's loss.                    on Exhibit 41.
                                                                                            exclusive use. 4/   a direct competitor. 5/                                          rate. 7/
                                                                    2/                                                                              products. 6/                                  analysis. 9/                 15/                         10/                       11/
                                                                                                                                                                                                                           This feature
                                                             No rates paid by                                                              Very strong and acknowledged                      Weighs in favor of the                            Economic benefits to Apple Royalty rate to reflect
                                                                                                The Apple       Apple's unwillingness to                                         Upward                                 enhances the user
                                                No        Samsung for the use of                                                         connection by both parties of the                   income approach and                               and the market advantages    the full measure of                      See Income
                                                                                 Neutral. Intellectual Property license its proprietary                                        pressure on                                interface and                                                              Factor does
                        7,853,891           established     other intellectual                                                            sale of smartphones and tablets                    calculated as a part of                           associated with the benefits Samsung's financial                    Reference Range
                                                                                   3/       In Suit for Apple's assets thereby enabling                                        the royalty                                experience in                                                               not apply.
                                            license. 1/   property comparable.                                                             with the sale of non-patented                       my reference point                               provided to the consumer. gain and Apple's loss.                    on Exhibit 41.
                                                                                            exclusive use. 4/   a direct competitor. 5/                                          rate. 7/                               smartphones and
                                                                    2/                                                                              products. 6/                                  analysis. 9/                                             10/                       11/
                                                                                                                                                                                                                           tablets. 16/
                                                                                                                                                                                                                          The invention
                                                             No rates paid by                                                              Very strong and acknowledged                      Weighs in favor of the        significantly       Economic benefits to Apple Royalty rate to reflect
                                                                                                The Apple       Apple's unwillingness to                                         Upward
                                                No        Samsung for the use of                                                         connection by both parties of the                   income approach and        enhances the user      and the market advantages    the full measure of                      See Income
                                                                                 Neutral. Intellectual Property license its proprietary                                        pressure on                                                                                                           Factor does
                        7,864,163           established     other intellectual                                                            sale of smartphones and tablets                    calculated as a part of      interface of a       associated with the benefits Samsung's financial                    Reference Range
                                                                                   3/       In Suit for Apple's assets thereby enabling                                        the royalty                                                                                                            not apply.
                                            license. 1/   property comparable.                                                             with the sale of non-patented                       my reference point          touchscreen          provided to the consumer. gain and Apple's loss.                    on Exhibit 41.
                                                                                            exclusive use. 4/   a direct competitor. 5/                                          rate. 7/
                                                                    2/                                                                              products. 6/                                  analysis. 9/           smartphone and                    10/                       11/
                                                                                                                                                                                                                            tablet. 17/

                         D627,790
                         D617,334
                         D604,305
Design Patents
                         D618,677
                         D593,087
                         D622,270
                          iPhone
                        iPhone 3G                                                                                                                                                                                          Apple's design
                                                                                                                                                                                                                                                                                                I view this
                         iPhone 4                                                                                                                                                                                      elements included in
                                                             No rates paid by                                                              Very strong and acknowledged                      Weighs in favor of the                         Economic benefits to Apple Royalty rate to reflect amount as
                      iPhone/iPhone                                                             The Apple       Apple's unwillingness to                                         Upward                                 the design patents,
 Trade Dress                                    No        Samsung for the use of                                                         connection by both parties of the                   income approach and                            and the market advantages    the full measure of setting a floor  See Income
                       3G/iPhone 4                                               Neutral. Intellectual Property license its proprietary                                        pressure on                               trade address and
                                            established     other intellectual                                                            sale of smartphones and tablets                    calculated as a part of                        associated with the benefits Samsung's financial below which Reference Range
                        3,470,983                                                  3/       In Suit for Apple's assets thereby enabling                                        the royalty                                trademarks give
                                            license. 1/   property comparable.                                                             with the sale of non-patented                       my reference point                            provided to the consumer. gain and Apple's loss. Apple would    on Exhibit 46.
                        3,457,218                                                           exclusive use. 4/   a direct competitor. 5/                                          rate. 8/                                 Apple a distinct
                                                                    2/                                                                              products. 6/                                  analysis. 9/                                          10/                       11/          not license.
                        3,475,327                                                                                                                                                                                         advantage over
                                                                                                                                                                                                                                                                                                    12/
                        3,886,196                                                                                                                                                                                          Samsung. 18/
                        3,889,642
                        3,886,200
                        3,889,685
 Trademarks
                        3,886,169
                        3,886,197
                   85/041,463 (Pending)
                        2,935,038
                                                                                                                                                                                                                                                                                                                                            Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 234 of 245




                                                                                                                                                Prepared by Invotex Group                                                                                                                           Submitted Under Seal; Highly Confidential;
                                                                                                                                                       Page 1 of 2                                                                                                                                               Outside Counsel Eyes’ Only
                                                                                                              Apple Inc. v. Samsung Electronics Co., LTD., et al.                                                                                                     EXHIBIT 43

Sources/Notes
1/ This factor demonstrates that there is no estab ished icense for any of the asserted App e inte ectua Property n Suit.
2/ This factor demonstrate that there are no rates paid by Samsung for the use of other inte ectua property comparab e to the App e nte ectua Property in Suit.
3/ According y, the scope of the icense is imited based on the geographic restrictions resu ting from the app ication of U.S. aw. However, there are internationa economic benefits to App e and to Samsung for the use of the re evant techno ogy.
    Consequent y, the scope of the hypothetica icense for the App e nte ectua Property n Suit is neutra .
4/  This factor does not provide support for a specific rate but does strong y indicate App e’s unwi ingness to negotiate a icense at essentia y any price versus ho ding the App e nte ectua Property n Suit for App e’s exc usive use.
5/  This factor does not provide support for a specific rate but does confirm and reinforce App e’s unwi ingness to icense its proprietary assets thereby enab ing a direct competitor with the number one goa of beating App e.
6/  Whi e it is not possib e to capture a of the ost convoyed profits in a reasonab e roya ty damage, the very strong and acknow edged connection by both parties of the sa e of smartphones and tab ets with the sa e of non-patented products supports a
    higher reasonab e roya ty rate that ref ects this major economic benefit.
7/ The ong ega ife coup ed with the risk of a shortened economic ife in a rapid y expanding market p aces upward pressure on the roya ty rate to avoid missing the window of economic opportunity re ated to each patent.
8/ The ong ega ife coup ed with the estab ished commercia success and emphasis on design by App e p aces upward pressure on the roya ty rate to preserve the estab ished va ue of these va uab e design patents.
9/ This factor provides strong support in the present case for a reasonab e roya ty rate that weighs in favor of the income approach and ca cu ated as a part of my reference point ana ysis.
10/ The commercia embodiment of a categories of App e nte ectua Property n Suit and App e's focus on the qua ity of the overa user experience has produced considerab e financia rewards for App e and provided an enhanced user experience to the
    consumers that use the products that embody the c aimed techno ogy. According y, the rate shou d ref ect the economic benefits to App e and the market advantages associated with the benefits provided to the consumer.
11/ Based on the fact that Samsung is assumed to have used App e’s nte ectua Property n Suit to make significant profits through the sa e of the accused devices that are virtua y untaxed in the U.S. and transferred to Korea, has used App e’s nte ectua
    Property n Suit to bui d market share in the smartphone and tab et markets at App e’s expense, and has used App e’s nte ectua Property n Suit to gain additiona profits through the sa e of both convoyed and derivative products tied to Samsung’s
    ecosystem, this factor wou d support the need for the roya ty rate to ref ect the fu measure of Samsung’s financia gain and App e’s oss.
12/ Based on the “Made for iPod” agreements, one examp e of a va ue p aced on the right by a third party to use a trademark that referenced App e is $4 per unit in a circumstance invo ving a comp ementary use. This is not ana ogous to a icense to a
    competitor such as Samsung. Nonethe ess, view this amount as setting a f oor be ow which App e wou d not icense any of its trademarks. Whi e the u timate rate for mu tip e trademarks or trade dress wou d be higher for the reasons discussed above,
    it certain y wou d not be ess than the amount that App e charges to use a trademark in a context that resu ts in additiona benefits through expansion of the number and variety of accessories that work with its products.
13/ understand that the patent he ps to provide a cohesive experience for the user when there are many different app ications running. The '002 teaches a way for different app ications to give information to the user in an unobtrusive way. As a resu t, this
    feature enhances the ease of use and va ue of a smartphone or tab et computer.
14/  understand that this patent provides an e egant and appea ing form of visua feedback to a user that there is no more of an e ectronic document to be seen. For examp e, if a user is zoomed in on one part of a arge photo, he may continue to scro the
    photo as he ooks at other parts of the image. Not knowing exact y where the photo ends, he may continue to scro in a direction even when there is no more of the photo to disp ay. When this happens, an area beyond the edge of the photo wi be
    disp ayed, and once the user ifts his finger, the photo wi “bounce” or “rubber band” back to fi the screen. This form of visua feedback is readi y understood and makes c ear to the user that he cannot continue to scro in that direction. As a resu t, the
    inventions of the ‘381 patent make possib e a user interface that is more visua y appea ing and intuitive in its hand ing of the disp ay of e ectronic documents. This provides a major enhancement to the qua ity of the user interface. App e a so considers
    this invention to be c ose y associated with App e products in the marketp ace.
15/ understand that the patent provides functiona ity that is centra to the accused products the abi ity to distinguish automatica y between a one-finger scro ca and a two-finger gesture such as a zoom or rotate gesture. This functiona ity is high y
    intuitive. Scro ing, zooming and rotating are among the most common actions users take with touchscreens and smartphones, and are used in mu tip e app ications. further understand that any effort to redesign wou d make the ’915 Accused Products
    much ess useab e, render them inconvenient for users, and deprive them of intuitive functiona ity that smart phone and tab et users have come to expect. The a ternatives wou d provide a much ess satisfying user experience than devices that practice
    the ’915 patent. Further, given how frequent y the functions are used in the interface, understand it wou d be difficu t and time consuming to rep ace.
16/ understand that the patent provides usefu ways for providing unobtrusive visua feedback to the user input in a digita processing system, such as a desktop or aptop computer, a smartphone, or a tab et computer. t does so by conveying information
    on a new window for the user that automatica y disappears without the need for action by the user. As a resu t, this feature enhances the user interface and experience in smartphones and tab ets.
17/ understand that the patent provides for an efficient means for users to navigate structured e ectronic documents on a touchscreen disp ay. further understand it is possib e to imp ement other methods to navigate in structured e ectronics documents
    using touch gestures, but they wou d not have been as e egant or intuitive. a so understood that Samsung eva uated a ternatives and conc uded that they were inferior and instead revised the user interface to inc ude the ‘163 patent’s features. t is my
    understanding that the invention significant y enhances the user interface of a touchscreen smartphone and tab et.
18/ This factor does not provide a specific rate for any of the items of design patents, trade dress and trademarks. However, based on the acute focus by App e on the design e ements of its products, the significant degree of success as evidenced by
    consumer demand and acceptance for App e’s design e ements, App e’s design e ements inc uded in the design patents, trade dress and trademarks give App e a distinct advantage over competitors and strong y support a higher roya ty rate. Simi ar y the
    strength of App e’s uti ity patents, its importance to the user interface and the degree to which App e treats these aspects as proprietary, a strong y support a higher roya ty rate.
                                                                                                                                                                                                                                                                                Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 235 of 245




                                                                                                                         Prepared by Invotex Group                                                                                      Submitted Under Seal; Highly Confidential;
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                                                         App e nc. v. Samsung E ectron cs Co., LTD., et a .                                                                 EXHIBIT 44



                                                         Apple's Asserted Intellectual Property

                                                                                                                Years to Expiration 1/   Date of First Accused      Hypothetical
   IP Type        Patent/Registration No.   Issue Date       In Commerce Date           Expiration Date
                                                                                                                                            Samsung Sale          Negotiation Date
                        6,493,002           12/10/2002                                   9/30/2014                      2.5                    6/1/2010              6/1/2010
                        7,469,381           12/23/2008                                   12/14/2027                     15.7                   6/1/2010              6/1/2010
                        7,663,607           2/16/2010                                    3/29/2028        4/            16.0                  10/1/2010              10/1/2010
Ut ty Patents
                        7,844,915           11/30/2010                                   8/12/2028        5/            16.4                   6/1/2010             11/30/2010
     2/ 3/
                        7,853,891           12/14/2010                                   3/14/2023        6/            11.0                   6/1/2010             12/14/2010
                        7,864,163            1/4/2011                                    7/23/2029        7/            17.3                   6/1/2010              1/4/2011
                        7,920,129            4/5/2011                                    1/23/2030        8/            17.8                  10/1/2010              4/5/2011
                         D627,790           11/23/2010                                   11/23/2024                     12.7                   6/1/2010              11/23/2010
                         D617,334            6/8/2010                                     6/8/2024                      12.2                   6/1/2010               6/8/2010
                         D604,305           11/17/2009                                   11/17/2023                     11.7                   6/1/2010               6/1/2010
Des gn Patents
                         D618,677           6/29/2010                                    6/29/2024                      12.3                   6/1/2010               6/29/2010
    9/ 10/
                         D504,889           5/10/2005                                    5/10/2019                      7.1                    5/1/2011               5/1/2011
                         D593,087           5/26/2009                                    5/26/2023                      11.2                   6/1/2010               6/1/2010
                         D622,270           8/24/2010                                    8/24/2024                      12.4                   6/1/2010               8/24/2010
                           Phone                              6/29/2007     14/, 15/                                                           6/1/2010              6/1/2010
                         Phone 3G                             7/11/2008     14/, 16/                                                           6/1/2010              6/1/2010
                          Phone 4                             6/24/2010     14/, 17/                                                                                 6/24/2010
                 Phone / Phone 3G / Phone
 Trade Dress                                                  6/29/2007                                                                        6/1/2010               6/1/2010
                             4                                              14/, 15/
     11/
                      Pad and Pad 2                            4/3/2010     14/, 18/                                                          10/1/2010              10/1/2010
                         3,470,983          7/22/2008         6/29/2007       19/        7/22/2018        12/            6.3                   6/1/2010              6/1/2010
                         3,457,218           7/1/2008         6/29/2007        19/        7/1/2018        12/            6.3                   6/1/2010              6/1/2010
                         3,475,327          7/29/2008         6/29/2007        19/       7/29/2018        12/            6.4                   6/1/2010              6/1/2010
                         3,886,196          12/7/2010         6/29/2007        20/       12/7/2020        12/            8.7                   6/1/2010               6/1/2010
                         3,889,642          12/14/2010        6/29/2007        20/       12/14/2020       12/            8.7                   6/1/2010               6/1/2010
                         3,886,200          12/7/2010         6/29/2007        20/       12/7/2020        12/            8.7                   6/1/2010               6/1/2010
                         3,889,685          12/14/2010        6/29/2007        20/       12/14/2020       12/            8.7                   6/1/2010               6/1/2010
 Trademark
                         3,886,169          12/7/2010         6/29/2007        20/       12/7/2020        12/            8.7                   6/1/2010               6/1/2010
     13/
                         3,886,197          12/7/2010         6/19/2009        20/       12/7/2020        12/            8.7                   6/1/2010               6/1/2010
                        85/041,463              n/a           6/00/2008        20/        Pend ng                                                                     6/1/2010
                                                                                                                         n/a                   6/1/2010
                         (Pend ng)
                         2,935,038          3/22/2005          1/9/2001        20/       3/22/2015        12/            3.0                   6/1/2010               6/1/2010
                                                                                                                                                                                           Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 236 of 245




                                                                    Prepared by nvotex Group                                                  Subm tted Under Sea ; H gh y Conf dent a ;
                                                                           Page 1 of 2                                                                     Outs de Counse Eyes On y
                                                                        App e nc. v. Samsung E ectron cs Co., LTD., et a .                                                             EXHIBIT 44


Sources/Notes:
1/ Years to exp rat on as of 3/22/2012.
2/ App e nc. Amended Comp a nt, 6/16/11, Exh b ts 2 to 8.
3/ n genera , a (other than des gn) patent’s term beg ns on the date on wh ch the patent s ssued and ends 20 years from the date on wh ch the app cat on for the patent was f ed n the Un ted
    States. 35 U.S.C. 154 (a)(2) (http://www.uspto.gov/web/off ces/pac/mpep/conso dated_ aws.pdf).
4/ Cert f cate of Correct on for US Patent No.7,663,607, dated 2/16/10, there s a Patent Term Adjustment of 1423 days.
5/ ssue Not f cat on for US Patent No.7,844,915, dated 11/10/10, there s a Patent Term Adjustment of 583 days.
6/ ssue Not f cat on for US Patent No.7,853,891, dated 11/23/10, there s a Patent Term Adjustment of 247 days.
7/ ssue Not f cat on for US Patent No.7,864,163, dated 12/15/10, there s a Patent Term Adjustment of 688 days.
8/ ssue Not f cat on for US Patent No.7,920,129, dated 3/16/11, there s a Patent Term Adjustment of 1116 days.
9/ App e nc. Amended Comp a nt, 6/16/11, Exh b ts 9 to 15.
10/ n genera , a des gn patent’s term beg ns on the date on wh ch the patent s granted and ends 14 years from that date. 35 U.S.C. 173
    (http://www.uspto.gov/web/off ces/pac/mpep/conso dated_ aws.pdf).
11/ App e nc. Amended Comp a nt, 6/16/11, paragraphs 57-88 and Exh b ts 16 to 18.
12/ Subject to renewa ; federa trademark reg strat ons ssued on or after 11/6/1989 rema n n force for 10 years, and may be renewed for 10-year per ods
    (http://www.uspto.gov/trademarks/process/ma nta n/prfaq.jsp).
13/ App e nc. Amended Comp a nt, 6/16/11, Exh b ts 23 to 30.
14/ Unreg stered trade dress do not have an ssue date, therefore the ssue date s based on the commerc a re ease date of the re evant product.
15/ App e nc. Press Re ease, 6/28/07
    (http://www.app e.com/pr/ brary/2007/06/28 Phone-Prem eres-Th s-Fr day-N ght-at-App e-Reta -Stores.htm ).
16/ App e nc. Press Re ease, 7/10/08
     (http://www.app e.com/pr/ brary/2008/07/10 Phone-3G-on-Sa e-Tomorrow.htm ).
17/ App e nc. Press Re ease, 6/7/10
    (http://www.app e.com/pr/ brary/2010/06/07App e-Presents- Phone-4.htm ); App e nc. Press Re ease, 2/2/11 http://www.app e.com/pr/ brary/2011/02/02 Phone-4-on-Ver zon-W re ess-
    Ava ab e-for-Pre-Order-Tomorrow.htm ).
18/ App e nc. Press Re ease, 3/5/10 (http://www.app e.com/pr/ brary/2010/03/05 Pad-Ava ab e- n-US-on-Apr -3.htm ).
19/ App e nc. Amended Comp a nt, 6/16/11, Exh b ts 16 to 18.
20/ App e nc. Amended Comp a nt, 6/16/11, Exh b ts 23 to 30.
                                                                                                                                                                                                      Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 237 of 245




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                                                                                                           Apple nc. v. Samsung Electronics Co., LTD., et al.                                                                                                              EXHIBIT 45


                                                                                                     Description of Apple's Asserted Utility Patents

                                               Apple Technical     Accused Product                                              Patent Qualitative                                                                                            Number of Months Out
  Patent                  Title                                                                 Detailed Description                                             Benefits of Patent 1/                     Potential Design Around
                                                   Expert              Type 1/                                                     Ranking 2/                                                                                                    of Market 3/

           Method and Apparatus for
           Displaying and Accessing
                                                                  Smartphones         See report section titled Apple's                              User friendly and non-intrusive basis of                                               No time given; assumed
   '002    Control and Status                Alex Snoeren                                                                                1                                                          See Georgia Pacific Factor 9.
                                                                  and Tablets         Utility Patents.                                               displaying information.                                                                  less than a month.
            nformation in a Computer
           System
           Method and Apparatus for
                                                                  Smartphones         See report section titled Apple's                              Non-obtrusive way to convey information                                                No time given; assumed
   '891    Displaying a Window for a         Karan Singh                                                                                 1                                                   See Georgia Pacific Factor 9.
                                                                  and Tablets         Utility Patents.                                               to the user.                                                                             less than a month.
           User nterface

                                                                                                                                                     Solves two problems; (1) differentiates
           List Scrolling and Document                                                                                                               reaching the edge of an electronic
           Translation, Scaling, and         Ravin                Smartphones         See report section titled Apple's                              document versus a frozen screen, and (2)                                                        1 Month
   '381                                                                                                                                  2                                                      See Georgia Pacific Factor 9.
           Rotation on a Touch-Screen        Balakrishnan         and Tablets         Utility Patents.                                               preventing navigation away from data and                                                           4/
           Display                                                                                                                                   ending up in blank space often referred to
                                                                                                                                                     as the "dessert fog."

           Application Programming
                                                                  Smartphones         See report section titled Apple's                              nterpretation of multiple touches to                                                           6 months
   '915    nterfaces for Scrolling           Karan Singh                                                                                 3                                                          See Georgia Pacific Factor 9.
                                                                  and Tablets         Utility Patents.                                               perform different functions.
           Operations
           Portable Electronic Device,
           Method, and Graphical User
                                                                  Smartphones         See report section titled Apple's                              Quick and effective basis to refocus the                                                        1 month
   '163     nterface for Displaying          Karan Singh                                                                                 2                                                          See Georgia Pacific Factor 9.
                                                                  and Tablets         Utility Patents.                                               display.
           Structured Electronic
           Documents

                                                                                                                                                                                                                                             Products with screens
                                                                                                                                                                                                                                             10 inches or larger no
                                                                                      See report section titled Apple's                              Allows for the interpretation of multiple                                                   design around.
   '607    Multipoint Touchscreen            Michel Maharbiz Tablets                                                                     4                                                          See Georgia Pacific Factor 9.
                                                                                      Utility Patents.                                               simultaneous touches.                                                                  Products with screens 8
                                                                                                                                                                                                                                             inches or less design
                                                                                                                                                                                                                                            around after 12/31/10.



                                                                                                                                                                                                                                             Products with screens
                                                                                                                                                                                                                                             10 inches or larger no
           Double-Sided Touch-Sensitive
                                                                                      See report section titled Apple's                              Shields touch sensors from noise created                                                    design around.
   '129    Panel with Shield and Drive  Michel Maharbiz Tablets                                                                          2                                                          See Georgia Pacific Factor 9.
                                                                                      Utility Patents.                                               by LCD screen.                                                                         Products with screens 8
           Combined Layer
                                                                                                                                                                                                                                             inches or less design
                                                                                                                                                                                                                                            around after 12/31/10.




Sources/Notes:
1/ Discussions with counsel as well as Apple's technical experts Ravin Balakrishnan, Michel Maharbiz, Karan Singh, and Alex Snoeren.
2/ have assigned a rating of 1 through 4 on each patent based on my discussions with technical experts and representatives of Apple (Henri Lamiraux on the '381, '915, and '163 patents; Steve Hotelling on the '607 and '129 patents). A rating of 4 is of greatest
relative weight and 1 is the lowest relative weight. n assigning a rating, have considered and used my discussions with experts, discussions with Apple personnel, the design around time, degree of program integration, and the results of the John Hauser's Conjoint
Analysis (with respect to the '607, '915, '163, and '381 patents).
3/ Design around times were provided by Apple representatives identified in note 2. No design around is deemed to be commercially acceptable by any expert. Design around or removal of the infringing aspect is based on an option with the purpose of establishing
a degree of difficulty in attempting to work around the patent and not whether it was suitable or acceptable.
                                                                                                                                                                                                                                                                                          Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 238 of 245




4/ On August 24th, 2011, a Dutch court ruled that Samsung was guilty of infringing one of Apple's patents (EP 868) pertaining to user interface for scrolling and moving digital objects on the Galaxy S, S and Ace. Samsung announced on October 12, 2011 that an
upgraded version of the three Galaxy smartphones will be released to avoid the infringement. have used 1 month for the purpose of the design around period to be conservative.
Judgment, District Court The Hague, The Netherlands, 24 August 2011, docket numbers 396957 / KG ZA 11-730 and 396959 / KG ZA 11-731 of Apple nc. v. Samsung Electronics Co. LTD et al. and
http //www.reuters.com/article/2011/10/12/us-samsung-smartphones-netherlands-idUSTRE79B1W020111012.




                                                                                                                                                                                                                                             Submitted Under Seal; Highly Confidential;
                                                                                                                       Prepared by nvotex Group                                                                                                           Outside Counsel Eyes' Only
                                                                 Apple Inc. v. Samsung Electronics Co., LTD., et al.                                                                EXHIBIT 46



                                                               Reasonable Royalty Rates - Smartphones

                                        Reference Range                                                                                                                       Final Per Unit
Patent/Registration #                                                                                           Georgia-Pacific Results
                             Market          Income 1/        Cost 2/                                                                                                         Royalty Rate
                                                                            The quantitative reference points range from $0.49-$2.80 per unit. There is no additional
                                                                            specific rate suggested by the results of the Georgia Pacific analysis that is outside the
                                                                            reference range. The qualitative results of the Georgia Pacific analysis overwhelmingly
                                                                            emphasize the significant financial advantages lost by Apple and gained by Samsung as a
                                                                            result of the assumed infringement. There are no results that support or suggest that the
                                                                            patent at issue is of low financial importance. There is only one neutral factor and I have
     6,493,002          No Market Rate 3/   $0.49-$2.80   $         0.53    derived the income based reference point after apportioning the profit for an allowed return      $        1.40
                                                                            on existing tangible and intangible assets consistent with a desired return by investors in the
                                                                            industry, a return for all other intellectual property licensed in, and a return for all other
                                                                            companywide based intellectual property. As a result I have concluded that the appropriate
                                                                            reasonable royalty for this patent on a standalone basis is at least 50 percent of the high end
                                                                            of the reference range. 4/

                                                                            The quantitative reference points range from $0.91-$5.20 per unit. There is no additional
                                                                            specific rate suggested by the results of the Georgia Pacific analysis that is outside the
                                                                            reference range. The qualitative results of the Georgia Pacific analysis overwhelmingly
                                                                            emphasize the significant financial advantages lost by Apple and gained by Samsung as a
                                                                            result of the assumed infringement. There are no results that support or suggest that the
                                                                            patent at issue is of low financial importance. There is only one neutral factor and I have
     7,469,381          No Market Rate 3/   $0.91-$5.20   $         1.05    derived the income based reference point after apportioning the profit for an allowed return      $        2.60
                                                                            on existing tangible and intangible assets consistent with a desired return by investors in the
                                                                            industry, a return for all other intellectual property licensed in, and a return for all other
                                                                            companywide based intellectual property. As a result I have concluded that the appropriate
                                                                            reasonable royalty for this patent on a standalone basis is at least 50 percent of the high end
                                                                            of the reference range. 4/

     7,663,607
                                                                            The quantitative reference points range from $1.40-$8.00 per unit. There is no additional
                                                                            specific rate suggested by the results of the Georgia Pacific analysis that is outside the
                                                                            reference range. The qualitative results of the Georgia Pacific analysis overwhelmingly
                                                                            emphasize the significant financial advantages lost by Apple and gained by Samsung as a
                                                                            result of the assumed infringement. There are no results that support or suggest that the
                                                                            patent at issue is of low financial importance. There is only one neutral factor and I have
     7,844,915          No Market Rate 3/   $1.40-$8.00   $         1.50    derived the income based reference point after apportioning the profit for an allowed return      $        4.00
                                                                            on existing tangible and intangible assets consistent with a desired return by investors in the
                                                                            industry, a return for all other intellectual property licensed in, and a return for all other
                                                                            companywide based intellectual property. As a result I have concluded that the appropriate
                                                                                                                                                                                                 Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 239 of 245




                                                                            reasonable royalty for this patent on a standalone basis is at least 50 percent of the high end
                                                                            of the reference range. 4/



                                                                            Prepared by Invotex Group                                               Submitted Under Seal; Highly Confidential;
                                                                                   Page 1 of 3                                                                   Outside Counsel Eyes' Only
                                                                 Apple Inc. v. Samsung Electronics Co., LTD., et al.                                                                EXHIBIT 46



                                                               Reasonable Royalty Rates - Smartphones

                                        Reference Range                                                                                                                       Final Per Unit
Patent/Registration #                                                                                           Georgia-Pacific Results
                             Market          Income 1/        Cost 2/                                                                                                         Royalty Rate
                                                                            The quantitative reference points range from $0.49-$2.80 per unit. There is no additional
                                                                            specific rate suggested by the results of the Georgia Pacific analysis that is outside the
                                                                            reference range. The qualitative results of the Georgia Pacific analysis overwhelmingly
                                                                            emphasize the significant financial advantages lost by Apple and gained by Samsung as a
                                                                            result of the assumed infringement. There are no results that support or suggest that the
                                                                            patent at issue is of low financial importance. There is only one neutral factor and I have
     7,853,891          No Market Rate 3/   $0.49-$2.80   $         0.53    derived the income based reference point after apportioning the profit for an allowed return      $        1.40
                                                                            on existing tangible and intangible assets consistent with a desired return by investors in the
                                                                            industry, a return for all other intellectual property licensed in, and a return for all other
                                                                            companywide based intellectual property. As a result I have concluded that the appropriate
                                                                            reasonable royalty for this patent on a standalone basis is at least 50 percent of the high end
                                                                            of the reference range. 4/

                                                                            The quantitative reference points range from $0.91-$5.20 per unit. There is no additional
                                                                            specific rate suggested by the results of the Georgia Pacific analysis that is outside the
                                                                            reference range. The qualitative results of the Georgia Pacific analysis overwhelmingly
                                                                            emphasize the significant financial advantages lost by Apple and gained by Samsung as a
                                                                            result of the assumed infringement. There are no results that support or suggest that the
                                                                            patent at issue is of low financial importance. There is only one neutral factor and I have
     7,864,163          No Market Rate 3/   $0.91-$5.20   $         1.05    derived the income based reference point after apportioning the profit for an allowed return      $        2.60
                                                                            on existing tangible and intangible assets consistent with a desired return by investors in the
                                                                            industry, a return for all other intellectual property licensed in, and a return for all other
                                                                            companywide based intellectual property. As a result I have concluded that the appropriate
                                                                            reasonable royalty for this patent on a standalone basis is at least 50 percent of the high end
                                                                            of the reference range. 4/

     7,920,129
                                                                                                                                                                                                 Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 240 of 245




                                                                            Prepared by Invotex Group                                               Submitted Under Seal; Highly Confidential;
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                                                                          Apple Inc. v. Samsung Electronics Co., LTD., et al.                                                                EXHIBIT 46



                                                                        Reasonable Royalty Rates - Smartphones

                                               Reference Range                                                                                                                         Final Per Unit
 Patent/Registration #                                                                                                   Georgia-Pacific Results
                                 Market             Income 1/         Cost 2/                                                                                                          Royalty Rate
        D627,790                                                                     The quantitative reference points range from $9 to $22.00 per unit. There is no additional
        D617,334                                                                     specific rate suggested by the results of the Georgia Pacific analysis that is outside the
        D604,305                                                                     reference range. The qualitative results of the Georgia Pacific analysis overwhelmingly
        D618,677                                                                     emphasize the significant financial advantages lost by Apple and gained by Samsung as a
        D504,889                                                                     result of the assumed infringement. There are no results that support or suggest that the
        D593,087                                                                     design patents, trade dress, and trademarks are of low financial importance. There is only
        D622,270                                                                     one neutral factor and I have derived the income based reference point after apportioning
         iPhone                                                                      the profit for an allowed return on existing tangible and intangible assets consistent with a
       iPhone 3G                                                                     desired return by investors in the industry, a return for all other intellectual property
        iPhone 4                                                                     licensed in, and a return for all other companywide based intellectual property. As a result I
 iPhone / iPhone 3G /                                                                have concluded that the appropriate reasonable royalty for the design patents, trade dress,
                                                  $9.00-$22.00
        iPhone 4            No Market Rate.                                          and trademarks as a whole is the high end of the reference range. 5/
                                                  per Unit. See   $        22.00                                                                                                        $      22.00
    iPad and iPad 2          See Exhibit 40.
                                                   Exhibit 41.
       3,470,983
       3,457,218
       3,475,327
       3,886,196
       3,889,642
       3,886,200
       3,889,685
       3,886,169
       3,886,197
 85/041,463 (Pending)
       2,935,038

Sources/Notes:
1/ See Exhibit 41.
2/ See Exhibit 39.
3/ No market rate provided for Apple utility patents. Licensing discussions and proposals by both Apple and Samsung involved a portfolio of unspecific patents. See Exhibit 40.
4/ The U.S. Treasury Department utilizes an interquartile range methodology in evaluating an accepting royalty rates that are considered comparable and acceptable for use in transfer pricing. A
range of proposed data points are divided into four quartiles and the highest and lowest quartiles are removed to produce a resulting range of acceptable comparable royalty rates. The 50
percent is the mid point in the range and still leaves 50% of excess profits.
5/ Due to the extreme importance of Apple’s design to its corporate success and future, I have assigned the high end of the range for the licensing of all design related assets as a whole. Further,
Apple has consistently and emphatically rejected any consideration of allowing a competitor to utilize Apple’s proprietary design elements. Therefore, although Apple has refused to license any
of its design related assets and would consider the license of one as injurious as licensing the group, the "Made for iPod" program rate of $4.00 per unit is considered a floor royalty for the
license of any individual item within this group.
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                                                                   Reasonable Royalty Rates - Tablets

                                Reference Range                                                                                                                             Final Per Unit
Apple IP Number                                                                                              Georgia-Pacific Results
                       Market          Income 1/         Cost 2/                                                                                                            Royalty Rate
                                                                      The quantitative reference points range from $0.49-$2.80 per unit. There is no additional specific
                                                                      rate suggested by the results of the Georgia Pacific analysis that is outside the reference range.
                                                                      The qualitative results of the Georgia Pacific analysis overwhelmingly emphasize the significant
                                                                      financial advantages lost by Apple and gained by Samsung as a result of the assumed
                                                                      infringement. There are no results that support or suggest that the patent at issue is of low
                                                                      financial importance. There is only one neutral factor and I have derived the income based
   6,493,002      No Market Rate 3/   $0.49-$2.80    $        0.65    reference point after apportioning the profit for an allowed return on existing tangible and          $        1.40
                                                                      intangible assets consistent with a desired return by investors in the industry, a return for all
                                                                      other intellectual property licensed in, and a return for all other companywide based intellectual
                                                                      property. As a result I have concluded that the appropriate reasonable royalty for this patent on a
                                                                      standalone basis is at least 50 percent of the high end of the reference range. 4/


                                                                      The quantitative reference points range from $0.91-$5.20 per unit. There is no additional specific
                                                                      rate suggested by the results of the Georgia Pacific analysis that is outside the reference range.
                                                                      The qualitative results of the Georgia Pacific analysis overwhelmingly emphasize the significant
                                                                      financial advantages lost by Apple and gained by Samsung as a result of the assumed
                                                                      infringement. There are no results that support or suggest that the patent at issue is of low
   7,469,381      No Market Rate 3/   $0.91-$5.20    $        1.30    financial importance. There is only one neutral factor and I have derived the income based            $        2.60
                                                                      reference point after apportioning the profit for an allowed return on existing tangible and
                                                                      intangible assets consistent with a desired return by investors in the industry, a return for all
                                                                      other intellectual property licensed in, and a return for all other companywide based intellectual
                                                                      property. As a result I have concluded that the appropriate reasonable royalty for this patent on a
                                                                      standalone basis is at least 50 percent of the high end of the reference range. 4/
                                                                      The quantitative reference points range from $1.89-$10.80 per unit. There is no additional specific
                                                                      rate suggested by the results of the Georgia Pacific analysis that is outside the reference range.
                                                                      The qualitative results of the Georgia Pacific analysis overwhelmingly emphasize the significant
                                                                      financial advantages lost by Apple and gained by Samsung as a result of the assumed
                                                                      infringement. There are no results that support or suggest that the patent at issue is of low
                                                                      financial importance. There is only one neutral factor and I have derived the income based
   7,663,607      No Market Rate 3/   $1.89-$10.80   $        2.20                                                                                                          $        5.40
                                                                      reference point after apportioning the profit for an allowed return on existing tangible and
                                                                      intangible assets consistent with a desired return by investors in the industry, a return for all
                                                                      other intellectual property licensed in, and a return for all other companywide based intellectual
                                                                      property. As a result I have concluded that the appropriate reasonable royalty for this patent on a
                                                                      standalone basis is at least 50 percent of the high end of the reference range. 4/
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                                                                  Reasonable Royalty Rates - Tablets

                                Reference Range                                                                                                                            Final Per Unit
Apple IP Number                                                                                             Georgia-Pacific Results
                       Market          Income 1/        Cost 2/                                                                                                            Royalty Rate
                                                                     The quantitative reference points range from $1.40-$8.00 per unit. There is no additional specific
                                                                     rate suggested by the results of the Georgia Pacific analysis that is outside the reference range.
                                                                     The qualitative results of the Georgia Pacific analysis overwhelmingly emphasize the significant
                                                                     financial advantages lost by Apple and gained by Samsung as a result of the assumed
                                                                     infringement. There are no results that support or suggest that the patent at issue is of low
   7,844,915      No Market Rate 3/   $1.40-$8.00   $        1.85    financial importance. There is only one neutral factor and I have derived the income based            $        4.00
                                                                     reference point after apportioning the profit for an allowed return on existing tangible and
                                                                     intangible assets consistent with a desired return by investors in the industry, a return for all
                                                                     other intellectual property licensed in, and a return for all other companywide based intellectual
                                                                     property. As a result I have concluded that the appropriate reasonable royalty for this patent on a
                                                                     standalone basis is at least 50 percent of the high end of the reference range. 4/
                                                                     The quantitative reference points range from $0.49-$2.80 per unit. There is no additional specific
                                                                     rate suggested by the results of the Georgia Pacific analysis that is outside the reference range.
                                                                     The qualitative results of the Georgia Pacific analysis overwhelmingly emphasize the significant
                                                                     financial advantages lost by Apple and gained by Samsung as a result of the assumed
                                                                     infringement. There are no results that support or suggest that the patent at issue is of low
   7,853,891      No Market Rate 3/   $0.49-$2.80   $        0.65    financial importance. There is only one neutral factor and I have derived the income based            $        1.40
                                                                     reference point after apportioning the profit for an allowed return on existing tangible and
                                                                     intangible assets consistent with a desired return by investors in the industry, a return for all
                                                                     other intellectual property licensed in, and a return for all other companywide based intellectual
                                                                     property. As a result I have concluded that the appropriate reasonable royalty for this patent on a
                                                                     standalone basis is at least 50 percent of the high end of the reference range. 4/
                                                                                                                                                                                             Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 243 of 245




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                                                                  Reasonable Royalty Rates - Tablets

                                Reference Range                                                                                                                            Final Per Unit
Apple IP Number                                                                                             Georgia-Pacific Results
                       Market          Income 1/        Cost 2/                                                                                                            Royalty Rate
                                                                     The quantitative reference points range from $0.91-$5.20 per unit. There is no additional specific
                                                                     rate suggested by the results of the Georgia Pacific analysis that is outside the reference range.
                                                                     The qualitative results of the Georgia Pacific analysis overwhelmingly emphasize the significant
                                                                     financial advantages lost by Apple and gained by Samsung as a result of the assumed
                                                                     infringement. There are no results that support or suggest that the patent at issue is of low
   7,864,163      No Market Rate 3/   $0.91-$5.20   $        1.30    financial importance. There is only one neutral factor and I have derived the income based            $        2.60
                                                                     reference point after apportioning the profit for an allowed return on existing tangible and
                                                                     intangible assets consistent with a desired return by investors in the industry, a return for all
                                                                     other intellectual property licensed in, and a return for all other companywide based intellectual
                                                                     property. As a result I have concluded that the appropriate reasonable royalty for this patent on a
                                                                     standalone basis is at least 50 percent of the high end of the reference range. 4/
                                                                     The quantitative reference points range from $0.91-$5.20 per unit. There is no additional specific
                                                                     rate suggested by the results of the Georgia Pacific analysis that is outside the reference range.
                                                                     The qualitative results of the Georgia Pacific analysis overwhelmingly emphasize the significant
                                                                     financial advantages lost by Apple and gained by Samsung as a result of the assumed
                                                                     infringement. There are no results that support or suggest that the patent at issue is of low
   7,920,129      No Market Rate 3/   $0.91-$5.20   $        1.30    financial importance. There is only one neutral factor and I have derived the income based            $        2.60
                                                                     reference point after apportioning the profit for an allowed return on existing tangible and
                                                                     intangible assets consistent with a desired return by investors in the industry, a return for all
                                                                     other intellectual property licensed in, and a return for all other companywide based intellectual
                                                                     property. As a result I have concluded that the appropriate reasonable royalty for this patent on a
                                                                     standalone basis is at least 50 percent of the high end of the reference range. 4/
                                                                                                                                                                                             Case 5:11-cv-01846-LHK Document 2454-6 Filed 09/25/13 Page 244 of 245




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                                                                            Apple Inc. v. Samsung Electronics Co., LTD., et al.                                                               EXHIBIT 47



                                                                                Reasonable Royalty Rates - Tablets

                                            Reference Range                                                                                                                               Final Per Unit
   Apple IP Number                                                                                                        Georgia-Pacific Results
                                 Market            Income 1/          Cost 2/                                                                                                             Royalty Rate

        D627,790                                                                   The quantitative reference points range from $9 to $27.75 per unit. There is no additional specific
        D617,334                                                                   rate suggested by the results of the Georgia Pacific analysis that is outside the reference range.
        D604,305                                                                   The qualitative results of the Georgia Pacific analysis overwhelmingly emphasize the significant
        D618,677                                                                   financial advantages lost by Apple and gained by Samsung as a result of the assumed
        D504,889                                                                   infringement. There are no results that support or suggest that the design patents and trade dress
        D593,087                                                                   are of low financial importance. There is only one neutral factor and I have derived the income
        D622,270                                                                   based reference point after apportioning the profit for an allowed return on existing tangible and
         iPhone                                                                    intangible assets consistent with a desired return by investors in the industry, a return for all
       iPhone 3G                                                                   other intellectual property licensed in, and a return for all other companywide based intellectual
        iPhone 4                                                                   property. As a result I have concluded that the appropriate reasonable royalty for the design
 iPhone / iPhone 3G /                                                              patents and trade dress as a whole is the high end of the reference range. 5/
                                                  $9.00-$22.00
        iPhone 4           No Market Rate. See
                                                  per Unit. See   $       27.75                                                                                                              $22.00 6/
    iPad and iPad 2            Exhibit 40.
                                                   Exhibit 41.
       3,470,983
       3,457,218
       3,475,327
       3,886,196
       3,889,642
       3,886,200
       3,889,685
       3,886,169
       3,886,197
 85/041,463 (Pending)
       2,935,038

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Apple has consistently and emphatically rejected any consideration of allowing a competitor to utilize Apple’s proprietary design elements. Therefore, although Apple has refused to license any of its
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individual item within this group.
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6/ Although the resulting royalty rate for tablets as calculated above is higher than the $22.00 rate determined for smartphones on Exhibit 46, I assume that Apple and Samsung would agree to one
rate for both smartphones and tablets. Accordingly, I've chosen the lower of the two rates as my final royalty rate.




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